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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION

IN RE:         ETHICON, INC.
               PELVIC REPAIR SYSTEMS                                          MDL 2327
               PRODUCTS LIABILITY LITIGATION


THIS DOCUMENT RELATES TO THE CASE(S)
IN EXHIBIT A ATTACHED HERETO

                                INACTIVE DOCKET ORDER

       The Court has been advised by counsel that in the cases listed on the

attached Exhibit A, the plaintiff(s) and Ethicon, Inc., Johnson & Johnson and where

named, Ethicon LLC (hereinafter collectively referred to as “Ethicon”)1 because of

prior agreements have agreed to a mutual stay of activity. The Court therefore

finds it unnecessary to conduct further proceedings or to keep these cases on the

active docket. Accordingly, the Court ORDERS as follows:

       1. All discovery deadlines are continued until further order of the Court.

       2. The Clerk shall retire each of the cases listed on the attached Exhibits(s)

           from the active docket.

       3. Any case listed on Exhibit A that has not been dismissed or does not have

           a motion to reinstate to the active docket filed with the court for

           consideration by March 31, 2018, will be reinstated to the active docket by

           order of the court with a shortened Docket Control Order.

1 As used herein, “Ethicon” refers collectively to Johnson & Johnson, Ethicon LLC, Ethicon, Inc. as

well as any of its former or present parent companies, subsidiaries, affiliated companies, directors,
officers, design surgeons, employees, distributors, detail representatives named in an action pending
in MDL No. 2327.
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        The court DIRECTS the Clerk to file a copy of this order in MDL No. 2327

and in the individual cases(s) listed on the attached Exhibit and to link this Order

to the Proposed Inactive Docket Order filed at    5045            . The court further

DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented party.

                                              Respectfully submitted,



                                              _s/ Christy D. Jones____________
                                              Christy D. Jones
                                              BUTLER SNOW LLP
                                              P.O. Box 6010
                                              Ridgeland, MS 39158
                                              601-948-5711
                                              christy.jones@butlersnow.com


                                              Counsel for Defendants


APPROVED:

Dated:
                                               Honorable Joseph R. Goodwin




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                                          2
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                                    Exhibit A

SDWV Case
  Number                                        Plaintiff
2:15cv11607   Yulah Sisler
2:12cv00258   Carrie Smith
2:12cv00298   Helga White
2:12cv00304   Maggie McEwan
2:12cv00396   Polly Middlebrook
2:12cv00570   Karen Hanchosky
2:12cv00654   Stacy Shultis and Kevin Shultis
2:12cv00747   Karyn E. Drake and Douglas E. Drake
2:12cv00748   Myra Byrd and Richard Byrd
2:12cv00756   Dee Woolsey and Michael Woolsey
2:12cv00759   Diane Matott and Robert Matott
2:12cv00769   Kimberly Burnham
2:12cv00783   Wendy Hagans
2:12cv00867   Victoria Rock
2:12cv00947   Sharon Harris
2:12cv00989   Ivabel Toups
2:12cv01052   Marty Babcock
2:12cv01053   Dorothy Baugher
2:12cv01088   Rebecca Wheeler and David Wheeler
2:12cv01090   Thelma Wright
2:12cv01206   Jeanie Holmes
2:12cv01268   Sharon Honeycutt and Jerry Honeycutt
2:12cv01273   Rebekah Barlett, also known as Rebecca Pratt, Rebecca Pratt
2:12cv01283   Sandra Cyrus, Gregory Cyrus
2:12cv01329   Angela M. Almendarez, Robert Conrad Cotton, Jr.
2:12cv01375   Jeanne Buglewicz
2:12cv01488   Sang Ornelas and Mario Ornelas
2:12cv01489   Valerie Brown
2:12cv01657   Nona Hatfield and Billy Ray Hatfield
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2:12cv01681   Jean E. Fleck
2:12cv01737   Loretta Sidwell
2:12cv01829   Veda Hemingway and Gary Hemingway
2:12cv01865   Phyllis Bowles, Charles David Bowles, and Charles Bowles
2:12cv01983   Barbara M. Covington-Branker and Brian B. Branker
2:12cv02074   Kristen Dawson
2:12cv02257   Patricia Kuks and Martin Kuks, Jr.
2:12cv02266   Frankie Miller and Jimmy Miller
2:12cv02368   Melissa D. Trammell
2:12cv02385   Kimberly Dierickx
2:12cv02657   Lori Morse
2:12cv02672   Deborah Young and Steven Ray Young, Jr.
2:12cv02687   Kathleen Toennies
2:12cv02690   Barbara Lawyer-Johnson
2:12cv02742   Jennifer Aguilar and Hilario Aguilar
2:12cv02779   Norma Potter and R. L. Potter
2:12cv02802   Kathy Robertson
2:12cv02812   Judy Williams, Ronald Williams
2:12cv02879   Lisa A. Russell
2:12cv02921   Susan D. Bartley
2:12cv02956   Audrey Smallridge and Theron Smallridge
2:12cv02973   Lydia Correa and Jose Correa
2:12cv02991   Susan Grizzle, Simon Thomas Grizzle
2:12cv02994   Vicki Trammell and Randall W. Trammell
2:12cv03078   Araceli Baez
2:12cv03108   Melissa Moore
2:12cv03198   Rose Young and William E. Young, Jr.
2:12cv03306   Bertha Towns and Frank Towns, husband and wife
2:12cv03309   Pamela Hubbard, an individual
2:12cv03365   Alice Christine Kane
2:12cv03367   Carolyn Reggio and Sidney Reggio
2:12cv03368   Deshawn Augustus and Charles Augustus
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2:12cv03369   Vivian Chandler
2:12cv03394   Norma Patterson and Randall Patterson
2:12cv03491   Mary Sither
2:12cv03493   Mildred Holloway and Gregory Allen Holloway
2:12cv03520   Joyce Moss and Eric Moss
2:12cv03524   Pamela McDonald
2:12cv03532   Wanda B. May and Philip A. May
2:12cv03547   Joyce A. Cupp and Carmen Cupp
2:12cv03555   Cindy Bain
2:12cv03569   Stephanie Clingan and Donald Clingan, Jr.
2:12cv03573   Marilyn S. Ackerman
2:12cv03614   Glendora Neal, Raul Mendelovici, Interested Party
2:12cv03616   Patty Cox, Raymond Cox, and James Johnson
2:12cv03641   Barbara Horton and Michael Horton
2:12cv03652   Deborah M. Davis and Wayne Davis
2:12cv03736   Jessica White
2:12cv03788   Roseale Williams
2:12cv03795   Margaret Godrich and David W.K. Godrich
2:12cv03800   Glenda Sparks and Charles M. Sparks
2:12cv03801   Debra Stokely and Joseph Stokely
2:12cv03805   Susan G. Smith and Alvin D. Smith
2:12cv03849   Cicily Beckstead, Jeffery Beckstead
2:12cv03850   Melanie W. Hollingsworth
2:12cv03854   Lorna G. Thornwall
2:12cv03855   Susan D. West
2:12cv03866   Melissa D. Collins, Charles Collins
2:12cv03867   Tina Blankenship and Shelby Blankenship
2:12cv03871   Cynthia Jackson and William Jackson
2:12cv03939   Dana Bates
2:12cv03965   Annette Stapleton
2:12cv03992   Myrna Stark and James B. Stark
2:12cv03993   Jo-Ann Wulf
    Case WVS/2:15-cv-14812        Document 1    Filed 12/01/17   Page 6 of 267




2:12cv03994   Marjorie Dumortier
2:12cv03995   Brenda Metz and Perry Metz
2:12cv04010   Joy E. Stokes and Jerry Stokes
2:12cv04040   Tammy Jo Heady
2:12cv04052   Donna Mack
2:12cv04065   Wanda C. Sally and Robert Sally
2:12cv04081   Patricia Stephens
2:12cv04082   Tina Jenkins and Randy Jenkins
2:12cv04083   Elizabeth Taylor and Robert Taylor
2:12cv04090   Kim D. McCurdy
2:12cv04092   Margie Lowery
2:12cv04100   Autumn Dano and Larry Dano,
2:12cv04150   Virgie Conrardy and Donald Conrardy
2:12cv04196   Jeanette Alvarado
2:12cv04245   Edna M. Spoon and William S. Spoon
2:12cv04270   Sharon Bartley and Larry D. Bartley,
2:12cv04282   Beverly Patterson and Donald Patterson
2:12cv04287   Debra Riegert
2:12cv04328   Carol Perkins
2:12cv04349   Nancy Blades
2:12cv04358   Reba L. Thacker
2:12cv04395   Rochelle Mackey
2:12cv04508   Christine A. Sheldon and Michael Sheldon
2:12cv04512   Mary F. Wade and Forrest Wade
2:12cv04515   Stephanie Q. Browley and Marcus Johnson
2:12cv04551   Sherrie Noles and Michael Noles
2:12cv04610   Susan T. Morgan
2:12cv04635   Dorthoy Iona Ott
2:12cv04696   Kathy Jeltema, Allan Jeltema
2:12cv04710   Valerie Barclay, an individual,
2:12cv04905   Joyce Nix and Thurman Nix
2:12cv04962   Flodean Laney
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2:12cv04987   Sarah R. Jenkins, Billy Ray Jenkins
2:12cv05013   Cindy Wollitz, John Wollitz
2:12cv05053   Sheila Birchfield and Dennis Birchfield,
2:12cv05067   Paula J. Donley
2:12cv05246   Regina Baillio
2:12cv05252   Nancy Gibson
2:12cv05255   Jeanette Roman
2:12cv05337   Sharon Elizabeth Hancock, James Claude Hancock
2:12cv05472   Teresa Furrow
2:12cv05485   Lynn M. Bowman, Bradley Bowman
2:12cv05562   Kelly A. Phung, Huy Phung
2:12cv05594   Amy L. Draper
2:12cv05622   Maxine Marie Looper
2:12cv05701   Tauna R. Woolley
2:12cv05702   Karla Yetter
2:12cv05712   Veronica B. Thomas, Kenneth Thomas
2:12cv05723   Wanda R. Tann, William Tann
2:12cv05724   Beatrice Parks, Curtis Parks
2:12cv05838   Theresa G. Blevins
2:12cv05863   Lavonda M. Walker, James Walker
2:12cv05868   Dortha Thaxton, Curtis Thaxton
2:12cv05883   Jeri K. Sanders, Larry A. Sanders
2:12cv05892   Norma J. Turner, Lindel Turner
2:12cv05916   Judy M. Endicott, Gary Endicott
2:12cv05935   Becky Lindsey, Jason Lindsey
2:12cv05959   Nova Darlene Robertson, Dennis Robertson
2:12cv05978   Mary Ruth Bone, Herman C. Bone
2:12cv05987   Betty F. Pierce
2:12cv05994   Beverly C. Wilkinson, Carlton A. Wilkinson
2:12cv06012   Donna Sanders, James Sanders
2:12cv06020   Hope M. Greening,
2:12cv06031   Rita Karen Kolb
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2:12cv06079   Doris Alvey
2:12cv06216   Mary Lenderman, James Lenderman, Sr.
2:12cv06334   Tami Smith, Harold Smith
2:12cv06357   Suylane Bitowt, John Bitowt
2:12cv06385   Ola Delorious Guillory
2:12cv06387   Sonja Callahan, Layn Callahan
2:12cv06390   Cherrie Garrison
2:12cv06409   Lynn A. Scuderi
2:12cv06523   Deborah McKeever
2:12cv06529   Mary Ann Hickerson, Thomas Hickerson
2:12cv06531   Judi Larson, William Larson
2:12cv06534   Renee Woodie, Keith Cummings
2:12cv06632   Kristy Durkin, Brian Durkin
2:12cv06738   Brenda L. Pegg
2:12cv06748   Ethel L. Bland, Fred Bland
2:12cv06757   Barbara E. Mills
2:12cv06840   Angelina Christian, Peter Christian
2:12cv06868   Charlotte Higginbotham, Tilton Ray Higginbotham
2:12cv06871   Rosemary Wagoner, Charlie Wagoner
2:12cv07140   Ruth Johnson
2:12cv07209   Alison L. Haynes, Steve Haynes
2:12cv07325   Sarah Claypool, Timothy Claypool
2:12cv07414   Danielle Forpomes
2:12cv07478   Amy Lee
2:12cv07481   Rachel Thorson, James Thorson
2:12cv07482   Betty Suggs, William Suggs, Jr.
2:12cv07490   Catherine Dupont, Richard Dupont
2:12cv07499   Judy M. Roberts
2:12cv07515   Betty Woods-Fraley, Steven Fraley
2:12cv07537   Carolyn A. Gillson, Robert Gillson
2:12cv07538   Marcia A. Grindle, Charles S. Grindle
2:12cv07573   Dianne Jaufre
    Case WVS/2:15-cv-14812       Document 1      Filed 12/01/17   Page 9 of 267




2:12cv07582   Sabrina Harris
2:12cv07646   Clarisa McCoy
2:12cv07649   Maria Lockwood
2:12cv07700   Donna K. Smith, William A. Smith
2:12cv07718   Toni Jo Conrad
2:12cv07726   Connie Rhoden, John Rhoden
2:12cv07730   Cherie Irvin
2:12cv07740   Sandra M. Woody
2:12cv07768   Anita Harvey
2:12cv07777   Loral Tichbourn
2:12cv07821   Linda S. Tacon
2:12cv07833   Viki Anzalone
2:12cv07836   Irene Peralez
2:12cv07852   Susan Bethune, Ronnie Jerome Buthune
2:12cv07853   Linda A. Martin, Henry Martin
2:12cv07902   Teresa Palmer
2:12cv07920   Sandra A. Salva, Ronnie L. Salva, Jr.
2:12cv07932   Mary Morin-Alvarez
2:12cv07935   Ella Morrison
2:12cv07947   Rebecca Kitchen
2:12cv08004   Jamie McLain
2:12cv08011   Patricia Sloane
2:12cv08123   Kay McMillan
2:12cv08144   Christy A. Ashley, William Ashley
2:12cv08145   Elaine E. Beebe, Harold Beebe
2:12cv08146   Sharon K. Benavides, Jeffery Benavides
2:12cv08147   Ida Boyd, Jerry Boyd
2:12cv08148   Casaundra L. Dorton
2:12cv08152   Kathy P. Hymas, Kim Hymas
2:12cv08154   Elizabeth Jensen
2:12cv08156   Betty King
2:12cv08165   Teddy J. Parker, Larry G. Parker
   Case WVS/2:15-cv-14812         Document 1      Filed 12/01/17   Page 10 of 267




2:12cv08169   Karen L. Reid, Dale Reid
2:12cv08170   Betty L. Roth, Larry A. Roth
2:12cv08172   Kristy E. Vaughn, Terry Lynn Vaughn
2:12cv08173   Vickie L. Watters
2:12cv08176   Venus S. Witt
2:12cv08179   Debbie K. LaRue
2:12cv08220   Martha E. Moore
2:12cv08248   Cora Mae Brush
2:12cv08277   Yulonda Williams
2:12cv08294   Rebecca Law, Jerry G. Law
2:12cv08309   LaVerna Pugh
2:12cv08356   Tammy Taylor, Dan Taylor
2:12cv08360   Holly J. Foster
2:12cv08430   Ginger Bolcar, Christopher Bolcar
2:12cv08472   Emma Pyfrom-Ward, John Ward
2:12cv08479   Melissa Marshall
2:12cv08480   Natalie Romo
2:12cv08490   Glenda L. Flier, Richard D. Flier
2:12cv08519   Marlys A. Martin
2:12cv08564   Terri L. Stotts
2:12cv08567   Ezperanza Rivas, Ramon Rivas
2:12cv08585   Ruby Robertson
2:12cv08589   Dianna Shaffer
2:12cv08650   Thelma Snelling, David Snelling
2:12cv08653   Rebecca Morris, Randy Morris
2:12cv08671   Kumusk Hampton, James Hampton
2:12cv08672   Lisa A. Fraley
2:12cv08684   Katrina Lineske, Harold Luneske
2:12cv08713   Rosamond North
2:12cv08716   Nelli Davidson, Grant Davidson
2:12cv08719   Nadine Pritzkau
2:12cv08759   Mary Bartee, Royce Bartee
   Case WVS/2:15-cv-14812          Document 1    Filed 12/01/17   Page 11 of 267




2:12cv08763   Patricia D. Burns, John L. Burns
2:12cv08764   Tonya Powell, Michael Powell
2:12cv08767   Rhoda Zelitt-Balentine, James Balentine
2:12cv08773   Judy Hope O'Brien
2:12cv08777   Lynn L. McDonaldson
2:12cv08790   Elaine Citrano
2:12cv08794   Candy Farmer
2:12cv08798   Beth Durham
2:12cv08801   Wanda Adkins
2:12cv08803   Iva Spight
2:12cv08806   Linda Esco, David Esco, Sr.
2:12cv08816   Terry Arnold, Clint Arnold
2:12cv08817   Lisa Beeler, Jerry Beeler
2:12cv08818   Conchita Caldwell, Robert Caldwell
2:12cv08819   Emma Edwards
2:12cv08820   Donna Smith
2:12cv08822   Shirley Smith
2:12cv08823   Pamela Cooper, Martin Cooper
2:12cv08831   Cathy Wooten, James Wooten
2:12cv08843   Suzann J. Phillips
2:12cv08845   Suzette Bourque, Raymond Bourque
2:12cv08848   Angela Mitchell
2:12cv08858   Jackie Stinson, David Stinson
2:12cv08875   Dianne L. Thomas-Secord, Thomas Secord
2:12cv08882   Elba L. Rodriguez, Enrique B. Rodriguez
2:12cv08943   Ernestina Alaniz
2:12cv09032   Melissa Chadwell
2:12cv09148   Teresa Pena
2:12cv09177   Johnnie Potts, Joseph Potts
2:12cv09205   Shirley Barnett
2:12cv09206   Michelle Bauman
2:12cv09208   Angela Broglin
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2:12cv09214   Martha Sandlin
2:12cv09215   Laura Teems, Michael Teems
2:12cv09220   Rebecca Lynne Endsley, Eddie Dwayne Endsley
2:12cv09253   Paula Richardson
2:12cv09265   Cynthia Lee Harrington
2:12cv09266   Helen D. Longo
2:12cv09309   Tammy Pegorch, Frank Pegorch
2:12cv09384   Carolyn H. Brown, Wylie Brown
2:12cv09392   Crystal Phelps, Joshua Phelps
2:12cv09412   Wanda Presley
2:12cv09414   Sasha Rosenbalm, Joseph Rosenbalm
2:12cv09453   Ramona Rogers
2:12cv09460   Pattie Ann Norton
2:12cv09461   Michelle Rindler, Gary Rindler
2:12cv09479   Sharon Jean Barnett
2:12cv09520   Vickie L. Cheston
2:12cv09611   Tina M. Anselmo, John Anselmo
2:12cv09723   Carolyn Drake, Daniel Drake
2:12cv09760   Bonnie J. Lentz, Thomas Lentz
2:12cv09784   Michelle Harwig, David Harwig
2:12cv09817   Kathy Kadletz, Terry Kadletz
2:12cv09915   Kimberly Symonds, Charles Symonds
2:12cv09965   Towon Harris
2:12cv09966   Phyllis Perry, Donald Perry
2:13cv00009   Janie Gray, Willie Gray
2:13cv00010   Maureen Schatzman
2:13cv00053   Sandra Oseguera, Louis M. Oseguera
2:13cv00119   Debrah Poullion
2:13cv00148   Lucille Alma Ray, John Harley Ray
2:13cv00252   Laurie Eisenberg
2:13cv00264   Helen Garcia
2:13cv00268   Mildred Nettles, William Nettles
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2:13cv00363   Pamela Campbell, Daniel Campbell
2:13cv00414   Betty A. Doherty, Robert E. Doherty, Sr.
2:13cv00426   Vicky Lynn Hedlin
2:13cv00427   Lorrie Wharton, Ronald Wharton
2:13cv00491   Dorothy M. Snyder, Bryan Snyder
2:13cv00516   Donna Gardner, Jeffrey Gardner
2:13cv00548   Stacey Maria Paul
2:13cv00565   Emeline Lee
2:13cv00568   Judy Chapman
2:13cv00569   Jacqueline Drone, Joe T. Drone
2:13cv00583   Sharon Lacey
2:13cv00585   Lori Neill, Joseph Neill
2:13cv00594   Judy Wilcox, Richard Wilcox
2:13cv00601   Teresa Stanfield, Houston W. Stanfield
2:13cv00613   Carolyn Freeman, Daniel Freeman
2:13cv00642   Pamela Nickols
2:13cv00644   Victoria Jacobs
2:13cv00651   Darlene Brungardt
2:13cv00665   Shelly Hammack
2:13cv00667   Teresa McKinney
2:13cv00692   Zenora Thompson, Keith Thompson
2:13cv00709   Lakeisha Booker, Lafayette Booker
2:13cv00715   Barbara Lynn Sanner
2:13cv00716   Deborah Repp, Jerry Repp
2:13cv00725   Laura Paul, John M. Paul
2:13cv00730   Teresa A. Breland, Richard T. Breland
2:13cv00740   Stefanie L. Tate, Bryan Tate
2:13cv00747   Kerensa Lane
2:13cv00822   Rebecca Harmon, Ives Harmon
2:13cv00824   Sharon Peek, Brad Peek
2:13cv00825   Trudy Sargent, Stephen Sargent
2:13cv00855   Linda Shepherd
   Case WVS/2:15-cv-14812       Document 1      Filed 12/01/17   Page 14 of 267




2:13cv00866   Karyn Whitlatch, Dale Whitlatch
2:13cv00868   Sharon Smith, John Smith
2:13cv00925   Brenda Bowling
2:13cv00933   Linda Burns, Larry Burns
2:13cv00934   Pamela Finklea
2:13cv00940   Shyrell Copas
2:13cv00941   Doris Evans
2:13cv00959   Mardell Mullins
2:13cv00960   Brenda Rogers, Deceased, James Rogers, as Representative
2:13cv00962   Cheryl Rougeou-Carter, Carol Edward Carter
2:13cv00963   Martha Russell, David Russell
2:13cv00966   Angela Stanton
2:13cv00973   Corinza Cross, Leslie Cross
2:13cv00986   Samantha K. Sanchez, Jacobo L. Sanchez
2:13cv00996   Cathy L. Orosz, Thomas Orosz
2:13cv01007   Laura Forbus
2:13cv01058   Anna Grimes, Steven Grimes
2:13cv01078   Rose Castaneda, Terry Castaneda
2:13cv01132   Dolores Hazard, Arthur Hazard
2:13cv01167   Joanne Wyatt, Thomas Wyatt
2:13cv01174   Jo-Antoinette Frey, Steven Pereira
2:13cv01260   Rhonda May and Jeffery May, wife and husband
2:13cv01309   Rebecca Jeffers
2:13cv01376   Dana G. Embry
2:13cv01379   Djunia D. Hankins
2:13cv01483   Miriam Casey
2:13cv01486   Laura Ratcliff, Melvin Ratcliff
2:13cv01489   Susan Lustri
2:13cv01505   Brenda F. Young
2:13cv01531   Tammy Alexander
2:13cv01544   Penny Baldus
2:13cv01572   Dana Rae Harper, Walter Harper
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2:13cv01612   Margaret C. Bellamy
2:13cv01628   Wanda Loretta Frisby, Tilden Frisby
2:13cv01640   Misty Seabolt
2:13cv01641   Carol Wilhoit, Kenneth Wilhoit
2:13cv01647   Pamela Breeding, Ed Breeding
2:13cv01682   Stacy Berry, Brain Keith Berry
2:13cv01690   Lynn Hoot
2:13cv01696   Marjorie Bubner, Edward Bubner
2:13cv01729   Gerri Smith
2:13cv01738   Laura L. Pomeroy, William Pomeroy
2:13cv01766   Sandra K. Beito, Harold D. Beito
2:13cv01768   Robalynn Krantz
2:13cv01807   Kathy Smith
2:13cv01810   Misty Stanfield
2:13cv01811   Teresa Tabor
2:13cv01861   Cindy Ackerman
2:13cv01870   Jennifer DeTurk
2:13cv01876   Cindy Laub
2:13cv01887   Connie K. Denney, Troy Denney
2:13cv01922   Betty Dearen, Cecil Dearen
2:13cv01926   Colleen Purper-Leafty
2:13cv01935   Elizabeth Mary Rozell
2:13cv01962   Jennifer Holcombe-Wheeler, Kevin Wheeler
2:13cv01987   Annette Calvisky, Douglas Calvisky
2:13cv02019   Elouise Nichee
2:13cv02023   Regina Vahldick, Quintin Vahldick
2:13cv02043   Maria Quintanilla, Rodolfo Carlos Quintanilla
2:13cv02049   Christina Clinton
2:13cv02074   Stephanie Dorney, Scott Dorney
2:13cv02075   Jeanelle D. Harrell
2:13cv02092   Janice Rice, Robert Rice
2:13cv02140   Becky Rencowski, Alan Rencowski
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2:13cv02147   Martha Martinez, Gustavo Martinez
2:13cv02155   Edibell Stone
2:13cv02178   Jerry D. Scott, Don Scott
2:13cv02189   Paulette C. Harris, James C. Harris
2:13cv02205   Dixie Keepers, Michael Keepers
2:13cv02221   Remelda Pearson, Chet Pearson
2:13cv02251   Dayna Reso, Robert Reso
2:13cv02317   Julie A. Belisle
2:13cv02321   Lois E. Burge
2:13cv02322   Janet L. Campbell, Michael Campbell
2:13cv02328   LaShonda J. Richardson
2:13cv02390   Linda D. Frye
2:13cv02391   Linda Saldana, Arthur Saldana
2:13cv02441   Melonee A. Dix
2:13cv02448   Bonnie Walker
2:13cv02464   Kathy Cabrales
2:13cv02474   Melissa Triche, Ernest Scott
2:13cv02534   Barbara Abernathy
2:13cv02535   Barbara Pollard
2:13cv02536   Mary Altieri
2:13cv02537   Wonell Dietz
2:13cv02539   Karen Owens
2:13cv02544   Robin Kershaw
2:13cv02556   Rosalie K. Johnson, Ron Johnson
2:13cv02558   Dianne Gould, Steven J. Gould
2:13cv02560   Billie Hernandez
2:13cv02561   Madalene Masevicius, David Roy Masevicius
2:13cv02562   Diane Wagner
2:13cv02585   Teresa Rivas, Luciano Rivas
2:13cv02587   Ita P. Ortiz, Mario Ortiz
2:13cv02594   Christie Ratcliffe, Paul G. Ratcliffe
2:13cv02598   Theresa DeWitt
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2:13cv02603   Dawn Morrill
2:13cv02614   Jimmie Edwards
2:13cv02621   Billie Gage
2:13cv02625   Arlene Cathey
2:13cv02687   Marjorie Bradshaw
2:13cv02695   Bobbi Mullins, Otto Mullins
2:13cv02699   Katherine D. Berry
2:13cv02710   Laura Harrold
2:13cv02740   Melisha Graham, Michael Graham
2:13cv02751   Donna C. Waggoner
2:13cv02819   Tina Stephens, Billy Stephens
2:13cv02843   Pamela Horne
2:13cv02850   Christy Marie Hannon, Ronny Jay Hannon
2:13cv02911   Debbie Palmer
2:13cv02918   Virginia Englestead
2:13cv02919   Reta J. Dillon, Perry E. Dillon
2:13cv02933   Deborah Epps
2:13cv02935   Amelia Lindquist
2:13cv02937   Vicki L. Basa
2:13cv02953   Brenda Moore
2:13cv02981   Donna Rogers, Gary Rogers
2:13cv02985   Cynthia D. Djuric
2:13cv02996   Ana M. Feagans
2:13cv02999   Pamela L. Suhr, William L. Suhr, Jr.
2:13cv03002   Luz Torres-Trimble
2:13cv03015   Rhonda Roberts
2:13cv03018   Sharon Lincoln, Jeff Lincoln
2:13cv03023   Connie Brosious
2:13cv03037   Ginger Collins, James Collins
2:13cv03081   Cynthia Wilde, Kevin Wilde
2:13cv03130   Tammy Trotter
2:13cv03131   Susan L. Fedric, Randall Fedric
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2:13cv03132   Connie St. Duran
2:13cv03146   Delores J. Herrel
2:13cv03149   Misty Davis
2:13cv03155   Kimberly Mowery
2:13cv03156   Rebecca Jumper
2:13cv03160   Judith Bounds
2:13cv03214   Sharon Bailey, Jerry N. Bailey
2:13cv03244   Juilie Climenson
2:13cv03247   Teri Hudak
2:13cv03248   Laurice Jordan-Jones
2:13cv03249   Helen Jordan
2:13cv03251   Ana Guerrero
2:13cv03254   Lois K. Lokhorst
2:13cv03315   ValDonna K. Montgomery
2:13cv03329   Tina Lafrance, Richard Lafrance
2:13cv03348   Wendy Sanders, Joe Sanders
2:13cv03393   Tammy Dalton, Alan Dalton
2:13cv03395   Kimberly Dunnaville
2:13cv03407   Rita Stephan
2:13cv03411   Doris Helgeson, Edwin Helgeson
2:13cv03442   Glenda Bates
2:13cv03454   Alice McKee, Roger McKee
2:13cv03458   Grace Taylor
2:13cv03488   Julie Davidson
2:13cv03489   Linda Gardner
2:13cv03491   Barbara J. Banning, Barry Banning
2:13cv03494   Rhonda L. Eldfrick
2:13cv03496   Dianna Meyer, Thomas Meyer
2:13cv03500   Jill Harrison
2:13cv03501   Yolanda Almanzar
2:13cv03507   Tammie L. Sims
2:13cv03521   Deanna McCreight
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2:13cv03522   Judy Mallory, Max Mallory
2:13cv03525   Evelyn Storms, Robert Storms
2:13cv03527   Sherry K. Luna
2:13cv03537   Debbie Johnson
2:13cv03538   Mary S. George
2:13cv03545   Jasmine Crowl, Glenn Crowl
2:13cv03556   Paula Stepp, Malta Stepp
2:13cv03559   Teresa Barnes
2:13cv03572   Danielle Bowers
2:13cv03588   Teresa Spinner, David R. Spinner
2:13cv03589   Louise A. Piercey, Harold J. Piercey
2:13cv03590   Tressa Valtri
2:13cv03595   Margaret Banks
2:13cv03596   Beverly M. Roberts, Charles Davis
2:13cv03597   Christina Brooks, David Brooks
2:13cv03606   Tracie R. Chick
2:13cv03617   Angelita Bermudez, Macario Bermudez
2:13cv03619   Norma Black, Robert Black
2:13cv03620   Jennifer Chase
2:13cv03623   Nicole Ford
2:13cv03638   Jane Moran, Ralph Moran
2:13cv03640   Gloria Szwajkowski, William Szwajkowski
2:13cv03657   Robin Goodiron
2:13cv03664   Nargiss Abdelmuti
2:13cv03666   Margaret Olson
2:13cv03704   Babara Salkheld
2:13cv03705   Kelly Shott, Vernon Shott
2:13cv03737   Anna M. Bryant
2:13cv03740   Maria Haluapo-Birchard
2:13cv03741   Hettie Bowman
2:13cv03742   Nancy Dube
2:13cv03747   Marilyn Mansour, Hichem Mansour
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2:13cv03756   Donna Cole, Adam Cole
2:13cv03791   Lisa Lynn Gatlin, Jackie Wayne Gatlin
2:13cv03813   Annie R. Brown, Johnny Brown
2:13cv03824   Patsy A. Allen
2:13cv03826   Norma Cruz
2:13cv03828   Diane J. Ervin, Lawrence E. Ervin
2:13cv03832   Roxanne Joy, James Joy
2:13cv03840   Linda M. Newmann
2:13cv03849   Stacy E. Tumminia
2:13cv03856   Angela McNabb
2:13cv03899   Heather Roman, Kevin Alvarez, Sr.
2:13cv03906   Angela Henderson
2:13cv03917   Barbara Gayle Luck
2:13cv03921   Laura Amacher
2:13cv03933   Earnestine Gant, Willie Gant
2:13cv03968   Virginia McBride
2:13cv03983   Madonna Broussard, Olies Broussard
2:13cv03987   Jennifer Gipson, William Gipson
2:13cv03990   Patsy Garrett
2:13cv03993   Brenda Harris, Donald Harris
2:13cv04002   Sandra Wolff, Kenneth Wolff
2:13cv04005   Donna Thompson
2:13cv04013   Lesli T. Abbott
2:13cv04015   Lisa D. Beane, Robert Beane
2:13cv04034   Marianne Jefford, Garry Jefford
2:13cv04058   Marion Saulnier
2:13cv04112   Dawna Jones, John Jones
2:13cv04141   Maria A. Renfrow
2:13cv04145   Linda Pace
2:13cv04146   Christina Malvaso, Frank Malvaso, Jr.
2:13cv04147   Karen Tompkins, William Tompkins
2:13cv04159   Lynn Fidlar, Jim Fidlar
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2:13cv04174   Juliana Rose
2:13cv04177   Libby Mosley
2:13cv04180   Jacqueline Allred, Martin Allred
2:13cv04184   Carmany Thorp, Erik Thorp
2:13cv04186   Joyce Peacock
2:13cv04197   Linda Knight, David Knight
2:13cv04231   Mary J. Gruber
2:13cv04240   Iralena L. Mulkey, William L. Mulkey
2:13cv04265   Renee Shields
2:13cv04266   Jacqueline Sachs
2:13cv04267   Rhonda Huffaker, Thomas Huffaker
2:13cv04268   Rose Jackson, Marc Jackson
2:13cv04275   Regina Khakh
2:13cv04276   Loretta Kitchens, Robert Kitchens
2:13cv04279   Anita Hernandez, Jose S. Hernandez
2:13cv04286   Esther Armstrong, Artie Armstrong
2:13cv04293   Brenda Hobbs
2:13cv04294   Lois Grady, William Grady
2:13cv04296   Eva Barker
2:13cv04298   Rebecca Cain
2:13cv04299   Teresa Dawson
2:13cv04321   Marilyn Ann Clements, Miguel Miranda
2:13cv04327   La Verne Graves
2:13cv04334   Patricia Pilgreen
2:13cv04343   Dolores Heil, John Heil
2:13cv04344   Tammy Highsmith, Charles Highsmith
2:13cv04345   Blanca E. Dominguez
2:13cv04350   Tracy Kephart
2:13cv04354   Ann Kuula
2:13cv04382   Heidi A. Bechtel, Stacy Bechtel
2:13cv04383   Helen Mims
2:13cv04384   Carrie Brandenburg-Clemens
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2:13cv04387   Lois Clark
2:13cv04393   Deborah K. Conners, John Conners
2:13cv04394   Alice Ozell Edgerton
2:13cv04399   Frances A. Dooley, Kenneth Dooley
2:13cv04405   Paula S. Gentry, Terry Gentry
2:13cv04410   Hazel Townsend, Ralph James Townsend, Jr.
2:13cv04428   Marsha Lewis
2:13cv04429   Gail Lisek
2:13cv04430   Carolyn Garrison
2:13cv04456   Marlisha Brown
2:13cv04467   Jacqueline Poe, Shannan Poe
2:13cv04472   Bessie Louise Jenkins, Kenneth W. Jenkins
2:13cv04499   Jimmie Stroud, Tommy Stroud
2:13cv04501   Susan Swanger
2:13cv04502   Lois Tate, Leroy Tate Sr.
2:13cv04509   Annie Smith
2:13cv04510   Juanita Smith, Dempsey Smith
2:13cv04512   Carlie Vetrano, Joseph Vetrano
2:13cv04513   Dorothy Walker, Kenneth Walker
2:13cv04518   Kimberly Willers, Matthew Willers
2:13cv04522   Mary Ann Gomez
2:13cv04529   Barbara Kay Harn
2:13cv04535   Marlene Carpenter, Robert L. Carpenter
2:13cv04546   Tina Webster, James Kenneth Webster
2:13cv04547   Helena Lawson
2:13cv04561   Carol Gomez
2:13cv04575   Sara Heet
2:13cv04577   Tammy Stanley, Billie Stanley
2:13cv04580   Linda C. Patterson
2:13cv04597   Shona S. Henderson
2:13cv04598   Teresa M. Bailey, Gary David Bailey
2:13cv04610   Christina Lattimer, Robert Todd Lattimer
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2:13cv04611   Arnulfa Flores, Lorenzo Flores
2:13cv04663   Amy Bedinger, Charles Bedinger
2:13cv04710   Nancy Kelly
2:13cv04730   Patricia Bernice Martinez
2:13cv04731   Tonya Carroll-Davis, Dioh Davis
2:13cv04738   Linda Pierson, Brian Pierson
2:13cv04746   Brendalyn Beach
2:13cv04754   Alison Eaves, Joshua Eaves
2:13cv04767   Victoria Bradley
2:13cv04770   Pamela J. Sciara, Samuel Sciara, Jr.
2:13cv04793   Maxine Breitenstine
2:13cv04843   Loretta J. Hicks
2:13cv04845   Sylvia Banks, Paul Banks
2:13cv04848   Olivia Brannan, Charles Brannan
2:13cv04853   Betty Talley, Kelley R. Talley
2:13cv04854   Patricia Lee
2:13cv04855   Joyce E. Reid
2:13cv04856   Lois Dunagan, Lee Grant Dunagan
2:13cv04860   Lorraine M. Engus
2:13cv04861   Linda Butts
2:13cv04881   Delores Alaniz
2:13cv04883   Angela Anderson
2:13cv04969   Debra Bradshaw
2:13cv04976   Rita Reyes
2:13cv04990   Lori Kaster, Kevin Kaster
2:13cv04995   Sharon Lytsell
2:13cv04998   Tonia Manis
2:13cv05000   Judy Mann, Jim Mann
2:13cv05003   Mary Marino, Anthony Marino
2:13cv05007   Martha Canfield, Ronald E. Canfield
2:13cv05054   Shirley Woods Carney
2:13cv05059   Mechelle Basile
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2:13cv05061   Annette Bermudez
2:13cv05067   Deborah Capone
2:13cv05070   Melinda Francis, Daniel Francis
2:13cv05087   Kelley D. Guthrie
2:13cv05093   Jeri L. Buchanan, Mert Buchanan
2:13cv05126   Jolene M. Daughtery
2:13cv05178   Tracy Ellis
2:13cv05190   Joanne Ganly
2:13cv05191   Ruth Ellen Walenta
2:13cv05192   Marianne Meyer
2:13cv05207   Laura Adams
2:13cv05208   Sharon Huskins
2:13cv05235   Sheila Heartfield, Bobby Heartfield
2:13cv05242   Christy Lively, Floyd Lively
2:13cv05246   Shirley A. Mueller, Gary R. Mueller
2:13cv05337   Cheryl Brayton
2:13cv05354   Sunni Douglas, Kenneth Douglas
2:13cv05357   Gail Coldwell
2:13cv05364   Bessie Lameman
2:13cv05388   Donna Thompson, Coy Lee Thompson, Jr.
2:13cv05410   Donna G. Fisher
2:13cv05412   Brenda J. Wilson
2:13cv05414   Colette Butler
2:13cv05418   Angela Harrison
2:13cv05431   Linda Cartwright
2:13cv05476   Judith L. Grant
2:13cv05487   Kathy Woods
2:13cv05493   Charlotte Forwalt
2:13cv05496   Norma Jeansonne, Rodney Jeansonne
2:13cv05511   Deborah Patterson
2:13cv05542   Anita Estrada
2:13cv05559   Teresa Muncy
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2:13cv05573   Sherry Moore
2:13cv05610   Rebekah Garner, Bobby Lee Garner, Jr.
2:13cv05629   Nancy Martinez
2:13cv05631   Laurie Davis
2:13cv05633   Ryanne McAfee
2:13cv05636   Lelanda Dee Maier
2:13cv05659   Jacqueline Ott
2:13cv05668   Linda Aiton, Gordon Aiton
2:13cv05685   Lori M. Young
2:13cv05700   Kimberly Bridges
2:13cv05703   Trinette Dowdy-Coleman, David Coleman
2:13cv05705   Kimberly Erchul
2:13cv05709   Marily Hearn
2:13cv05714   Debra A. Fields
2:13cv05724   Rebecca B. Pinter, Charles Pinter
2:13cv05763   Ana Gonazalez, Conard Gonzalez
2:13cv05766   Paula g. Gorham
2:13cv05768   Velia Guajardo
2:13cv05770   Allison R. Hartwell
2:13cv05771   Barbara J. Johnson, Larry Johnson
2:13cv05836   Julita Jeffries, Rodney Jeffries
2:13cv05852   Wilma J. Dorrell, Chester W. Dorrell
2:13cv05912   Christina Kellogg
2:13cv05923   Gaylia Brock
2:13cv05928   Amma Hanner
2:13cv05995   Brenda Guernsey, Berton Guernsey
2:13cv06033   Jamie Lynn Honea
2:13cv06042   Jacqueline Johnstone, Anthony Johnstone
2:13cv06049   Donna M. Sawyer, Robert Sawyer
2:13cv06051   Terry Sumrall
2:13cv06052   Jennifer Seale
2:13cv06057   Monkra Moore
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2:13cv06093   Tina Marie Albrecht,, Larry Albrecht
2:13cv06102   Anette Davis
2:13cv06113   Pamela Byrd
2:13cv06114   Paulette Carter, Louis Carter, Jr.
2:13cv06117   Julie Brodie
2:13cv06120   Estella Martinez
2:13cv06130   Carroll Hays
2:13cv06135   Shellie Bezzant
2:13cv06186   Henrietta Benningfield
2:13cv06190   Mary Katherine Sadler, John Ramsey
2:13cv06223   Jacqueline Craig
2:13cv06227   Janet Davis
2:13cv06232   LaDoris McAllister
2:13cv06240   Myra Paredes
2:13cv06263   Debra McCarty
2:13cv06272   Mary Daw, Colin Daw
2:13cv06288   Terry Sue McClaren
2:13cv06297   Ernestine Davis, Allen Lewis Davis, Sr.
2:13cv06300   Dawn Mendez-Chiles, Dennis Chiles Jr.
2:13cv06316   Susan Carr, John Carr
2:13cv06323   Gwendolyn Davis
2:13cv06337   Kelly Hathcock
2:13cv06348   Ann Allen
2:13cv06353   Corina Barrera, Albert Barrera
2:13cv06359   Mary Caputo
2:13cv06365   Catherine Kip McGrath
2:13cv06366   Tina Maria Robinson
2:13cv06379   Michelle Davis, Michael Davis
2:13cv06386   Kathleen Foley
2:13cv06393   Michelle Cook, James Cook
2:13cv06403   Amanda Kiesling
2:13cv06432   Sarah Fisher
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2:13cv06445   Velma Reed
2:13cv06463   Mary Joan Carnes, Richard Carnes
2:13cv06474   Shannon N. Hicks
2:13cv06475   Heather Marie Hutton Giles, Grant C. Giles, Jr.
2:13cv06477   Vicki C. Woods, Tim Woods, Sr.
2:13cv06479   Kafi Cunningham
2:13cv06480   Patricia L. Black, Randy J. Black
2:13cv06481   Carolyn Abrams, Robert Abrams
2:13cv06492   Sandra Clark
2:13cv06517   Candy Lynn Fisher
2:13cv06545   Angela Flatt, Andrew Flatt
2:13cv06549   Paula Pylate
2:13cv06552   Lupe Wamsher
2:13cv06553   Donna Lynn Dart
2:13cv06558   Deborah Seymour
2:13cv06559   Sandy C. Porter
2:13cv06595   Sandra Morgan, Ronald Morgan
2:13cv06598   Gail Talucci, Mario Talucci
2:13cv06606   Barbara A. McFall
2:13cv06635   Patricia Darling, Jack Darling
2:13cv06650   Jennifer Grossich
2:13cv06667   Barbara E. Fish, Craig Fish
2:13cv06704   Glenna Hale
2:13cv06732   Donna Williams
2:13cv06763   Debra Perry, Tony Perry
2:13cv06770   Sandra M. Quintana, Armando Quintana
2:13cv06771   Rebecca Secrest
2:13cv06772   Lucinda Renee Edge
2:13cv06798   Elizabeth A. Lindow, Arthur Lindow
2:13cv06805   Barbara A. Breen, Patrick Garelli
2:13cv06807   Farah Dormanesh, Mehrdad Dormanesh
2:13cv06808   Shanna S. Franke
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2:13cv06809   Janice A. Hale, Robert Hale
2:13cv06811   Patricia A. Hart, Mark Hart
2:13cv06812   Debra Hodson
2:13cv06813   Brenda L. Kirby, Jeffrey Kirby
2:13cv06876   Karla F. Alexander, Michael L. Alexander
2:13cv06877   Tammy Remagen, Aubrey Dale Remagen
2:13cv06878   Pamela Crittenden
2:13cv06882   Sandra H. Dickson
2:13cv06926   Jane Parsons, Arthur Parsons
2:13cv06997   Patricia Susan Dell
2:13cv07006   Toni Annette Warren
2:13cv07013   Michelle Chaney, Brian S. Chaney
2:13cv07045   Beverly A. Blongiewicz
2:13cv07046   Cynthia Anspach
2:13cv07051   Katherine Cornell
2:13cv07054   Dale Gillum
2:13cv07058   Rosemary Harrison
2:13cv07060   Mendy Wright
2:13cv07070   Michelle Leary, William Leary
2:13cv07101   Danni Olsen
2:13cv07102   Rose Oropallo, Timothy Oropallo
2:13cv07113   LaWanda F. Evett
2:13cv07152   Christine Daugherty, Gerald Daugherty
2:13cv07153   Brenda Prather, Richard Prather
2:13cv07160   Sandra Harrigan, Dennis Michael Harrigan
2:13cv07162   Terri Hernandez, Thomas Hernandez
2:13cv07171   Catherine Kelly
2:13cv07184   Nancy J. Butler
2:13cv07189   Frances Remund
2:13cv07264   Eula Brock
2:13cv07275   Kelly Rinker, Ricky Rinker
2:13cv07288   Bonnie L. Stoner, Donald A. Stoner
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2:13cv07301   Laurie Burruezo, Roberto Burruezo
2:13cv07330   Dorsha Bartlett
2:13cv07358   Sylvia Watchman, Kenneth Watchman
2:13cv07379   Melissa Oschner, Michael Oschner
2:13cv07399   Teresa Buchs
2:13cv07422   Nancy K. Richards, Douglas A. Richards
2:13cv07458   Sherrie Duerr
2:13cv07460   Katherine Furgeson, Darin Furgeson
2:13cv07470   Carolyn A. Asbery
2:13cv07473   Carolyn V. Campbell
2:13cv07507   Marilyn S. Huston, Allen Huston
2:13cv07508   Barbara L. Krolikowski, Edward Krolikowski
2:13cv07509   Genoveva C. Lowy
2:13cv07510   Melody B. Matherly, Joseph Matherly
2:13cv07511   Brenda McCubbins
2:13cv07526   Brenda S. Gilman, Lee D. Gilman
2:13cv07527   Patricia Mason
2:13cv07531   Barbara Middleton
2:13cv07544   Lowanda Kilby, Rodney Kilby Sr.
2:13cv07545   Bonnie Collis, Harry Collis
2:13cv07554   Tonya Tuttle
2:13cv07557   Taunie Wiggins, Frank Wiggins
2:13cv07635   Donna Quattrini, Dennis Quattrini
2:13cv07663   Mabel D. Allen
2:13cv07665   Moncia Dailey
2:13cv07671   Kimberly Sutton, Jason Scott Sutton
2:13cv07678   Cindy Brown,
2:13cv07680   Letitia Dawn Bronte
2:13cv07704   Brenda Oliver
2:13cv07706   Elizabeth Ann Piersall
2:13cv07713   Nuti Antebi
2:13cv07719   Susan Styles, Michael Styles
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2:13cv07729   Maryanne Hawkins
2:13cv07732   Christina Lambert, Bruce Watkins
2:13cv07735   Cora Phillips, Lyle Phillips
2:13cv07744   Angel Suggs
2:13cv07745   Danita Pierce
2:13cv07801   Deborah Bell
2:13cv07813   Peggy Gilbert
2:13cv07816   Irma Koch, Dale Koch
2:13cv07826   Janet Sue Golden, Clyde Golden
2:13cv07834   Lisa Spurling
2:13cv07883   Emma Edenfield, Henry Edenfield
2:13cv07922   Tammy Smith
2:13cv07932   LuAnn Elaine Wells
2:13cv07939   Edith Dailey
2:13cv07955   Diane Yeargin, Robert Yeargin
2:13cv07961   Shirley J. Skidgell
2:13cv08004   Shannon Canada
2:13cv08064   Kathrine Connelly, John Connelly
2:13cv08069   Betty Beliew, Bobby Beliew
2:13cv08080   Tamara Martin, Antonio Martin
2:13cv08112   Theresa Glass
2:13cv08114   Diana Lewandowski
2:13cv08130   Virgina Allen
2:13cv08181   Betty Reed Pitts
2:13cv08186   Sharon Kay Rhodes
2:13cv08189   Patricia Butscha
2:13cv08214   Melinda Ray, James Ray
2:13cv08221   Connie Barnes, Dawin Curt Barnes
2:13cv08223   Jane Godshall, David Godshall
2:13cv08225   Kathy Sturgeon
2:13cv08226   Marquisha Campbell
2:13cv08227   Julianna Bock
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2:13cv08272   Bobbie Brown, Cleon Brown Jr.
2:13cv08281   Kimberly McPhetridge, James Jackson
2:13cv08285   Pearlene Abbott, John Abbott
2:13cv08290   Melissa Stephanson
2:13cv08321   Maria Pulido, Ramon Mendoza
2:13cv08327   Darlene Hammock
2:13cv08340   Melissa Leathers, Gary Leathers
2:13cv08341   Shelia Goodson
2:13cv08347   Cathy Osborne, Emmitt Osborne
2:13cv08379   Yvonne Faith Snyder
2:13cv08394   Amelia Becker
2:13cv08407   Theresa Buoniello
2:13cv08413   Crystal Henson, Terry Henson
2:13cv08422   Veronica S. Dilley, Hector E. Dilley
2:13cv08435   Joanne Reedy
2:13cv08450   Martha A. Widrig, Rodney Widrig
2:13cv08475   Gloria A. Fritz
2:13cv08500   Rosalee A. Davila
2:13cv08501   Dorothy Gullo, Anthony Gullo
2:13cv08505   Melodie A. Merica
2:13cv08507   Joy J. Miller
2:13cv08508   Holly Monfries, Ken Monfries
2:13cv08509   Marcella L. Richardson
2:13cv08510   Eleanor J. Robinson
2:13cv08515   Billie Peters
2:13cv08519   Elena Rodriguez
2:13cv08529   Patricia A. Herrick, James Herrick
2:13cv08569   Christy Free, Claude Free
2:13cv08609   Tammy Bean, Kristopher Bean
2:13cv08623   Jean Boone, Michael Boone
2:13cv08668   Jana Reid, Richard Reid, Jr.
2:13cv08681   Anna Baron
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2:13cv08683   Gloria Rangel
2:13cv08690   Pamela Roman, Stephen Roman
2:13cv08699   Cathy L. Brown
2:13cv08732   Katherine Dennis
2:13cv08770   Karen DeHerrera, Jake DeHerrera
2:13cv08783   Julianne Cooley
2:13cv08793   Sally Finney
2:13cv08799   Michele Mikulic, John Mikulic
2:13cv08800   Linda M. Fraser
2:13cv08801   Rebecca Millage, Roger Millage
2:13cv08804   Joyce L. Maness
2:13cv08835   Karen Robinson
2:13cv08851   Courtney Peridore, Linsy Peridore
2:13cv08870   Joyce Denzer, Clifford Denzer
2:13cv08913   Patricia Quiroz
2:13cv08915   Jeanine Kirckof, Scott Kirckof
2:13cv08925   Sylvia Trevino Gonzalez
2:13cv08926   Elizabeth Dube
2:13cv08950   Linda Cammallere
2:13cv08955   Vickie Berwick
2:13cv08957   Laverne Williams
2:13cv09019   Myrna A. Homer
2:13cv09022   Joan B. Wright, Raymond Wright
2:13cv09024   Lavanda F. Hill
2:13cv09052   Barbara Flynn
2:13cv09071   Cynthia Fry, Allen Fry
2:13cv09136   Lisa Peterson
2:13cv09187   Judy C. Arnold
2:13cv09220   Mary Jo Monroe
2:13cv09267   Margaret Gray
2:13cv09273   Patricia I. Ortiz
2:13cv09277   Margaret A. Mach
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2:13cv09279   Sherryl Jones, David Jones
2:13cv09287   Michelle H. Looney
2:13cv09327   Janine M. Learmonth
2:13cv09413   Carmen J. Ruiz
2:13cv09419   Loretta France
2:13cv09444   Maria Sanchez
2:13cv09459   Rose Pannullo
2:13cv09479   Letha Brantley, Charles Brantley
2:13cv09504   Michelle Weis, Jody Weis
2:13cv09507   Delynn James
2:13cv09550   Susan A. Simone
2:13cv09558   Peggy S. Bates
2:13cv09587   Patricia Salvatore, Michael Salvatore
2:13cv09611   Dorethea Mosley
2:13cv09617   Heather Guzman, Victor Guzman
2:13cv09626   Joyce Diane Whaley
2:13cv09656   Tanisha Rowley
2:13cv09669   Rosa Cantrell
2:13cv09683   Joni A. Murphy, Leroy W. Murphy
2:13cv09697   Jennifer L. Cook
2:13cv09699   Grace Gates
2:13cv09738   Linda Almquist, Doyle Almquist
2:13cv09775   Barbara Metcalf, Jerry Metcalf
2:13cv09780   Lori Rogers, James Rogers
2:13cv09798   Wanda G. Wagner, Michael Wagner
2:13cv09810   Jennifer Sturgill, Steve Sturgill
2:13cv09818   Abigail Clendaniel
2:13cv09874   Sherry Winsted, Harry E. Winsted
2:13cv09881   Estelle Duck, Robert Duck
2:13cv09940   Athena R. Rippy
2:13cv10018   Eva Asher, Wayne Asher
2:13cv10067   Cathy Wood
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2:13cv10075   Anne Hittle, Ted W. Hittle
2:13cv10082   Diane Amann, Daniel Amann
2:13cv10095   Lisa Dillon
2:13cv10096   Cindy Esancy, Frank Esancy
2:13cv10100   Wendy Cable, Brandon Cable
2:13cv10126   Jennifer Nicole Knight, Trent Knight
2:13cv10161   Carolyn Thorn
2:13cv10168   Angela Kinney, Kyle Kinney
2:13cv10242   Lisa Amberson, David Amberson
2:13cv10248   Patricia Davis, Charles Davis
2:13cv10253   Susan Rosemary Fisher, Michael Fisher
2:13cv10257   Maxene Holland
2:13cv10271   Cathy DeGuido
2:13cv10277   Maria E. Chavez, Juan Chavez
2:13cv10278   Stacy K. Cobb
2:13cv10279   Charla R. DiDio
2:13cv10282   Randa E. Gass, George Gass
2:13cv10283   Jamie K. Goodwin, Chris Goodwin
2:13cv10288   Kelly D. Schuster, Troy Schuster
2:13cv10289   Sandra C. Serfass
2:13cv10347   Arlene Blatter, Kent Blatter
2:13cv10426   Lindsey Sturdevant
2:13cv10435   Sonia Rodriguez
2:13cv10436   Jody A. Read
2:13cv10440   Karen Stephanishen, Joe Stephanishen
2:13cv10442   Cassandra Beck
2:13cv10445   Molly E. Ford, Donald G. Ford
2:13cv10446   Dana M. Lane, Jack Lane
2:13cv10447   Kimberly Maguire, Gene Maguire
2:13cv10448   Donna Eckart, William E. Eckart
2:13cv10454   Victoria E. Franco
2:13cv10456   Connie R. Snow, Paul R. Snow
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2:13cv10461   Shirley S. Gomez, Joseph M. Gomez
2:13cv10480   Sandra Hackmeier, Daniel Hackmeier
2:13cv10493   Charlotte Weber Certain
2:13cv10499   Eleisha Strunk
2:13cv10502   Helen R. Fox, Robert Fox
2:13cv10504   Darlene Harrison, Clifford Harrison
2:13cv10518   Sabrina L. Holder
2:13cv10522   Barbara Main
2:13cv10526   Peggy Kelley, Romualdas Kelley
2:13cv10532   Nancy Borrus
2:13cv10535   Diana Burkhart, Douglas Burkhart
2:13cv10552   Bonita Meredith
2:13cv10553   Cleo Morris, Alan Morris
2:13cv10555   Brenda Phillips
2:13cv10556   Judy Ross, John Ross
2:13cv10596   Misty Simpkins
2:13cv10604   Allison Dunning, Brian Dunning
2:13cv10626   Deborah Rose, Floyd Rose, Jr.
2:13cv10641   Susan Jean Fink, Jerry Joseph Fink
2:13cv10645   Alecia Forgey
2:13cv10652   Edith Johnson-Gerken
2:13cv10694   Ruth Baker
2:13cv10704   Antonia Harrison
2:13cv10721   Ramona Phelps
2:13cv10741   Ivory Harris
2:13cv10785   Patricia Ann Anderson, Danny L. Anderson
2:13cv10789   Hazel Faye Martin
2:13cv10817   Paula L. Manning
2:13cv10819   Deborah Baker
2:13cv10820   Jeanne Nicholas
2:13cv10821   Regina L. Morphew, Thad R. Morphew
2:13cv10878   Cynthia J. Pratt
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2:13cv10891   Thelma J. Sheppard
2:13cv10915   Carolyn Y. Bryant, Cecil R. Bryant
2:13cv10918   Mary Hyde, Bobby Hyde
2:13cv10920   Jane Anne Kopek, Laurence Kopek
2:13cv10924   Susan Litterly, Jeffrey Litterly
2:13cv10926   Eleanor Minter
2:13cv10931   Linda Byrd, Eric Byrd
2:13cv10933   Teresa O'Neal, John O'Neal
2:13cv10935   Tammy Phillips
2:13cv10936   Delores Walker, Durant Conley
2:13cv10938   Antionette Davidson-Padilla, Harley Davidson
2:13cv10939   Mary Earlene Hudgins, Rodney D. Hudgins
2:13cv10941   Melvie J. Evans, Robbie Evans
2:13cv10947   Terra Fast
2:13cv10957   Patti Lane, Lawrence Lane, Lawrence Lane, Attorney-in-Fact
2:13cv10960   Geri DeVeiga, Stanley DaVeiga
2:13cv10961   Patricia A. Ford
2:13cv10963   Patti J. Galligan, Timothy Galligan
2:13cv10965   Renicia S. Garcia
2:13cv10967   Brenda K. Gregory, Randell Gregory
2:13cv10987   Wanda A. Humphries
2:13cv10989   Teresa K. Johnson, Howard Johnson
2:13cv11008   Mary Ellen Milner, David R. Milner
2:13cv11014   V. Carolyn Sanford
2:13cv11042   Lilian Gudiel, Jose Garcia
2:13cv11052   Patricia Lynn Stallsworth
2:13cv11054   Tami Nan Shepherd, Ronald Shepherd
2:13cv11056   Karen Fae Mulder
2:13cv11061   LoriJean Ann Ranson
2:13cv11133   Pamela L. Harrington, John D. Harrington
2:13cv11142   Cathleen Pachlhofer, James Pachlhofer
2:13cv11208   Janice A. Rosane
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2:13cv11214   Charlotte A. Parman, Bobby Cline Parman
2:13cv11237   Sue Marshall New
2:13cv11281   Lisa Moore
2:13cv11291   Alice Broach-Tyler
2:13cv11294   Deanna Fry, Tim Fry
2:13cv11296   Mary White
2:13cv11299   Susan Collier
2:13cv11323   Julie Clampet, Douglas Clampet
2:13cv11335   Maryanne Jones
2:13cv11351   Tanya L. Thompson
2:13cv11352   Nancy L. Zingg, Mark D. Zingg
2:13cv11371   Jacqueline Calvert
2:13cv11384   Anne A. Garcia
2:13cv11429   Valerie Smith, Bruce Lamar Smith
2:13cv11432   Kimberly Weddle Nelson, Lonnie Nelson
2:13cv11434   Virginia Giles
2:13cv11435   Rachelle Erickson, Scott Erickson
2:13cv11443   Maryann Keating
2:13cv11444   Kathy E. Montague
2:13cv11447   Dora White
2:13cv11467   Rhonda Isreal, Timothy Israel
2:13cv11477   Michelle Solver, Scott Solver
2:13cv11483   Cecilia Blankenship
2:13cv11485   Carolyn Bowman
2:13cv11488   Debra Vinning
2:13cv11593   Maxine Jo Domorod, Lawrence A. Domorod
2:13cv11612   Helen Cox, Calvin Cox
2:13cv11635   Gena Brewer
2:13cv11637   Gina Angrick
2:13cv11642   Carolyn Spivey
2:13cv11652   Deborah Lynn Angel
2:13cv11654   Susen L. Burns
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2:13cv11661   Delores Gray
2:13cv11665   Orelia Green, John T. Green
2:13cv11672   Janet O. Trotter
2:13cv11713   Virginia Rodriguez
2:13cv11721   Victoria Nicely, Billy Nicely
2:13cv11743   Robyn Smith, Curtis Smith
2:13cv11745   Janet Hollingshead
2:13cv11746   Robin Alexander Bailie, Sean Bailie
2:13cv11750   Michelle Snyder, Kent Snyder
2:13cv11752   Melissa Dassing
2:13cv11754   Linda Slayton
2:13cv11755   Michelle Calumpong
2:13cv11760   Debra Akers
2:13cv11783   Karen Hoey
2:13cv11833   Mary Lou Satterwhite, Henry Richard Satterwhite
2:13cv11834   Elizabeth Malone
2:13cv11883   Gail Louella Eickenhorst
2:13cv11911   Dawna A. Shook, James Shook
2:13cv11935   Tammy Traxler
2:13cv11943   Donna Bunch
2:13cv11944   Tammy Michelle Kilgore, Marcus Shane Kilgore
2:13cv11967   Leah Landon, James Landon
2:13cv11974   Kimberly Eva Smith
2:13cv11987   Jane F. Cupples
2:13cv11997   Laura Wheeler
2:13cv11999   Norma Jean Ross
2:13cv12008   Margaret G. Arthur, John Gaffney, Jr.
2:13cv12027   Vicky Marlow
2:13cv12084   Maria Briganti
2:13cv12091   Dianna Carrico
2:13cv12093   Debra K. Barrett, Scott Barrett
2:13cv12108   Tonya Maddox
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2:13cv12134   Veronica Chavez, Ramon Chavez
2:13cv12137   Joan Ferguson, Joe B. Ferguson
2:13cv12140   Judy K. Hooker, Ronald P. Hooker
2:13cv12143   Von Treba Polley
2:13cv12146   Shirley L. Skwarczynski
2:13cv12153   Sherrie Turner
2:13cv12239   Melody T. Johnson, Duane K. Johnson
2:13cv12258   Virginia Cantu
2:13cv12264   Sandra Smith, Kenneth Smith
2:13cv12303   Alexandrea C. Cutrer
2:13cv12312   Peggy Loney, Roger Loney
2:13cv12328   Tara N. McDowell
2:13cv12342   Sharla Pate-Thompson, Jackie Thompson
2:13cv12351   Judith Bushnell
2:13cv12357   Kathleen Ratliff, Robert Ratliff
2:13cv12359   Sheri Williams, Rodger Williams
2:13cv12406   Deloris Harris, James Harris
2:13cv12407   Barbara Hess, Dale N. Hess
2:13cv12412   Tonya Hyte
2:13cv12425   Gayla Rivera
2:13cv12427   Tammy Maske
2:13cv12428   Dwanna Brandon
2:13cv12440   Ollie Warner
2:13cv12442   Diana Yoho
2:13cv12458   Beth Hollis
2:13cv12495   Krystal L. Brooks, Albert Brooks, Jr.
2:13cv12521   Tommie Watson, Steve Watson
2:13cv12522   Elisabeth A. O'Dell, Jamie L. O'Dell
2:13cv12527   Josette Reynolds
2:13cv12529   Tina M. Owens
2:13cv12531   Pamela Bentley
2:13cv12533   Catalina Martinez
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2:13cv12547   Gloria L. Holloway
2:13cv12570   Carolyn Hunt
2:13cv12591   Mary Ann Satterfield, Alton E. Satterfield
2:13cv12597   Gloria Lopez, Miguel Lopez
2:13cv12607   Marlaina L. Forgash, Michael Forgash
2:13cv12642   Joyce Wishart, George Wishart
2:13cv12651   Maria Rosario
2:13cv12655   Elizabeth Jane Davis
2:13cv12672   Kristen Frances Kuyper, Arjen Philip Kuyper
2:13cv12698   Areatha Smith, Steve Smith
2:13cv12707   Kellie Mott
2:13cv12709   Heather Watson, Eric Watson
2:13cv12715   Shelly A. Case
2:13cv12778   Wanda B. Childs, Timothy P. Childs
2:13cv12791   Santa Tejeda
2:13cv12802   Cecilia Cosme-Diaz, Alfredo Cosme
2:13cv12803   Rafaela Gutierrez
2:13cv12813   Brenda Contreras, Freddy Contreras
2:13cv12845   Alisha A. Cawood
2:13cv12850   Diane Tungate, Milburn Tungate
2:13cv12852   Esther Markes, Rob Markes
2:13cv12853   Dawn Lynn Jachim, Roman Jachim
2:13cv12859   Phumzile Ndhlebe
2:13cv12868   Simonetta Wilson, Gary Wilson
2:13cv12870   Linda Linton, Charles Linton
2:13cv12875   Lisa Spear
2:13cv12880   Jamie Ryles, Randy Rules
2:13cv12883   Judy Mullins, David Mullins
2:13cv12884   Barbara Kincaid
2:13cv12885   Judith Maldonado, Walter Carney
2:13cv12892   Claudia P. Garcia, Nelson Reyes
2:13cv12895   Mary J. Webb
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2:13cv12904   Robin L. Trimmer
2:13cv12928   Bridget France
2:13cv12934   Rosemary Paladino
2:13cv12940   Melody Vasquez
2:13cv12943   Marsha Brock, Robert Brock
2:13cv12983   Linda Hall, Horace Hall
2:13cv12984   Barbara Hill
2:13cv13015   Amanda Hall, Freddie Hall
2:13cv13016   Christina Kauffman, Jerry Kauffman
2:13cv13017   Sara A. House
2:13cv13032   Linda Burton, Donald Burton
2:13cv13099   Donna Fortier
2:13cv13102   Lavetta Morgan
2:13cv13103   Tracy Ann Miller, Gerald Miller
2:13cv13111   Carolyn Wesson
2:13cv13113   Christine Flanagan, Benson Flanagan
2:13cv13116   Susan Edenton
2:13cv13121   Delores Marshall, William Marshall
2:13cv13123   Eva Terry
2:13cv13127   Kelly Huggins
2:13cv13129   Linda L. Smith, George W. Smith
2:13cv13132   Allyson E. Stiles, William F. Stiles, Jr.
2:13cv13136   Sonia Bussiere
2:13cv13137   Sheryda Lynn Tucker
2:13cv13149   Nancy Martin, Dennis Martin
2:13cv13151   Linda Breedlove
2:13cv13162   Lisa Gomez
2:13cv13173   Mary Pirovolos
2:13cv13201   Peggy S. Sanders
2:13cv13209   Mary Ann Wright
2:13cv13210   Karre Jean Brown
2:13cv13226   Sandra Gillilan, Gary Gillilan
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2:13cv13278   Maria Mercedes Navarro, Patricio Aguirre
2:13cv13282   Irene Flores
2:13cv13285   Terri Crow, Gary Crow
2:13cv13299   Graciela Castaneda
2:13cv13304   Theresa Bugajny
2:13cv13306   Yolanda Beltran, Juan C. Beltran
2:13cv13322   Davette Shelton, Robert Shelton
2:13cv13350   Sylvia Cano, Sam Cano
2:13cv13357   Carolyn Erstine, James Erstine
2:13cv13412   Constance Stone, Chad Stone
2:13cv13414   Pamela Stugart
2:13cv13426   Becky Hamilton, David Hamilton
2:13cv13433   Eleanor Woytek, Arthur Woytek
2:13cv13463   Janet L. Williams
2:13cv13491   Ofelia Munoz, Jose Munoz
2:13cv13506   Rebecca E. Ferrill, Lawrence Ferrill
2:13cv13564   Maria Rodriguez-Ortiz, David Ortiz
2:13cv13641   Carolyn Romeo
2:13cv13708   Johnnie J. Bowles,
2:13cv13720   Deanna McKnight, Larry McKnight
2:13cv13731   Christine A. Pulleyn
2:13cv13741   Laura Flynn
2:13cv13745   Anita Kimbrell
2:13cv13751   Janet Marie Larson
2:13cv13752   Barbara Stegmann
2:13cv13760   Karen Morgan
2:13cv13768   Sharon Gallert, James Gallert
2:13cv13779   Carmen Trinidad, Jose Trinidad
2:13cv13794   Loretta Cooper
2:13cv13796   Lavinia Gilbert
2:13cv13799   Vickie Nealy
2:13cv13800   Kelly Sabourin
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2:13cv13806   Genevieve Conner
2:13cv13815   Marta Garcia, also known as Martha Garcia, Erasmo Garcia
2:13cv13816   Dora Morales
2:13cv13817   Maria Martinez, Jesus Martinez
2:13cv13818   Brandie Clanton
2:13cv13829   Olga Rocha, Pedro Rocha
2:13cv13863   Launa H. Combs
2:13cv13866   Tracy Miller
2:13cv13874   Norma Gardezi
2:13cv13882   Tracy Marks
2:13cv13886   Helene E. Nalley, Michael T. Nalley
2:13cv13890   Cynthia M. Simpson
2:13cv13897   Edith M. Fulghum
2:13cv13984   Rita Crigler, Tim Crigler
2:13cv13996   Rebecca Schumacher, Gerald Schumacher
2:13cv14054   Donna Faughn
2:13cv14059   Monica Rico
2:13cv14076   Barbara Resendiz
2:13cv14077   Linda Webb, Brian Webb
2:13cv14084   Joyce Terpstra
2:13cv14086   Karen Disque
2:13cv14088   Shirley Graham, Larry Graham, Sr.
2:13cv14092   Adalynn Head
2:13cv14137   Lucia G. Hernandez, Luis R. Noriega
2:13cv14139   Maria De Leon, Jose De Leon
2:13cv14141   Maria Garcia
2:13cv14142   Diane Reczek
2:13cv14147   Racheal D. Neece
2:13cv14174   Wendy R. Forester
2:13cv14179   Tina R. Hamm
2:13cv14184   Andrea Iadevaia, Lee Blaire
2:13cv14212   Michele Phelps
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2:13cv14235   Mary Britt
2:13cv14236   Tina Goga
2:13cv14239   Karen L. Lempergel
2:13cv14249   Clara R. Sanford
2:13cv14254   Cynthia L. Hayes
2:13cv14289   Betty Lane
2:13cv14292   Phyllis Collins
2:13cv14294   Cathy Cushman, James Cushman
2:13cv14320   Sheila Ogletree, Tommy Ogletree
2:13cv14326   Latonya Cross, Johnny Cross
2:13cv14351   Tamera Jones
2:13cv14358   Brenda Marks
2:13cv14420   Tricia Rodman, Michael Rodman
2:13cv14427   Dorothy Straube
2:13cv14447   Vicki Fisher, Gary Fisher
2:13cv14521   Sue Peterson, William Peterson
2:13cv14524   Evangelina Garza, Javier J. Garza
2:13cv14580   Edith Magana, Raul Magana
2:13cv14594   Debbie West, David West
2:13cv14612   Margaret Hahn
2:13cv14622   Tracy M. Doolittle
2:13cv14625   Terry Bryson
2:13cv14645   Kathy Lynn Baumgartner
2:13cv14660   Betty S. Boykin, Bobby Boykin
2:13cv14690   Danielle Hewitt, John Hewitt
2:13cv14691   Eyvette Dawson
2:13cv14750   Denise Goin, Michael J. Goin
2:13cv14751   Nettie Lynn Miller
2:13cv14752   Laura Canals, Israel Gonzales
2:13cv14757   Jill Bonar
2:13cv14767   Shirley Power, Roger Power
2:13cv14803   Christina Johnson, Sanford Johnson
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2:13cv14814   Gloria Alvarez-Zermeno, Normando Zermeno
2:13cv14819   Luz Baz, Mauricio M. Baz
2:13cv14820   Yolanda Regalado, Manuel Regalado
2:13cv14834   Sandra Barron
2:13cv14842   Andrea Ann Tirey, Jack Lee Tirey
2:13cv14862   Lana Charlene Price, Anthony Price
2:13cv14867   Esther Yates, Jared Yates
2:13cv14938   Vicki E. Neitz
2:13cv14939   Christina Wert
2:13cv14942   June Singh-Morgan
2:13cv14962   Sandra Kasminoff
2:13cv14965   Margarita Ortiz, Robert Ortiz
2:13cv14967   Debra Fife
2:13cv14990   Elida Munoz
2:13cv15016   Barbara Kemp, Charles Kemp
2:13cv15017   Martha Smith
2:13cv15114   Cindy James
2:13cv15115   Joye Combest, Charles F. Combest, Sr.
2:13cv15119   Vilma Bellido
2:13cv15148   Bethel Harphant, Glen Harphant
2:13cv15170   Diana L. Hughes, Daniel Hughes
2:13cv15232   Elaine Gibson
2:13cv15272   Lauren Lee Borger, Philip Lee Borger
2:13cv15291   Sharon Malone, John Malone
2:13cv15367   Xochilt Chairez, Gabriel Chairez, Jr.
2:13cv15368   Maria Hortencia Tarin, Vidal Morales
2:13cv15383   Sherry Hill, Stanley Hill
2:13cv15452   Jo Ann Baber
2:13cv15457   Lola Sanders, Edward Yarberry
2:13cv15490   Karen L. Huber
2:13cv15503   Celinda Herrera Vasquez, Max Vasquez
2:13cv15506   Ora Balentine
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2:13cv15511   Robin Burke
2:13cv15513   Linda Butterfield, Daniel Butterfield
2:13cv15514   Virginia Corder, Jeff Corder
2:13cv15542   Jane E. Nichols, Bradley R. Nichols
2:13cv15546   Renee T. Kovach, Dale Paul Kovach, Sr.
2:13cv15548   Katherine Guilliams
2:13cv15551   Carolyn Harris
2:13cv15555   Sara Hawkins
2:13cv15560   Karen Howell
2:13cv15566   Beatriz Irby
2:13cv15567   Angela Richards Ellis, Benjamin Edgar Ellis
2:13cv15570   Patricia Jerslid
2:13cv15571   Kimberly Kicklighter, Michael Kicklighter
2:13cv15572   Betty Kohutek
2:13cv15574   Linda Lambrecht, Gregory Lambrecht
2:13cv15584   Kimberly McCrary, Joseph McCrary
2:13cv15586   Helen McVicker, William McVicker
2:13cv15609   Terry Showen, Lewis Showen
2:13cv15614   Stacey Tollison
2:13cv15620   Rita Hood, Greggory D. Hood
2:13cv15640   Sherry Ferrante, Michael Ferrante
2:13cv15648   Barbara Cervantes
2:13cv15658   Consuela Esnaola
2:13cv15661   Gloria T. Ramos
2:13cv15665   Cindy Ballas, Chris Ballas
2:13cv15748   Anita Hodgeman, Kevin Hodgeman
2:13cv15755   Dorothy Harris
2:13cv15759   Patti Sea, Manuel Sea
2:13cv15761   Patricia James
2:13cv15763   Mariecia Kirts
2:13cv15770   Cynthia VanDura
2:13cv15778   Leslie Lee Gomez, Ignacio Gomez Vasquez
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2:13cv15833   Rhonda Lee Elswick, Steven Elswick
2:13cv15839   Mary Helen Nunez
2:13cv15872   Dora Elena DeLaOla
2:13cv15926   Cathy Luttier
2:13cv15940   Diana Cardenas
2:13cv15950   Amanda Marie Harshbarger
2:13cv15968   Leticia Zamora, Valentin Zamora
2:13cv16020   Yasemin Pirkle, Michael Scott Pirkle
2:13cv16093   Bonnie DeSonia
2:13cv16119   Roma Hunt, John Hunt
2:13cv16132   Brenda Talley
2:13cv16141   Dinah Decker
2:13cv16206   Donna Chatterton, David Chatterton
2:13cv16207   Debra Adams
2:13cv16218   Kim Mitchell
2:13cv16259   Martha Martinez, Frank S. Martinez
2:13cv16261   Peggy Weller, Ronald Weller
2:13cv16270   Susan M. Ouimette
2:13cv16288   Terence Elizabeth Paddack, Roscoe Sterling Paddack, Jr.
2:13cv16309   Karoleigh Bernhauser
2:13cv16347   Wanda Bailey
2:13cv16350   Tracey Torre
2:13cv16361   Deborah Thomas, John Thomas
2:13cv16362   Nancy Stevens, Wayne Stevens
2:13cv16402   Sharon Ford
2:13cv16417   Juliana Mata, Jose Mata
2:13cv16419   Mary K. Johnson
2:13cv16451   Teresa Van Frankfoort, Hans Van Frankfoort
2:13cv16456   Veronica Chavez
2:13cv16460   Suzan Semore
2:13cv16465   Sylvia Ornelas
2:13cv16467   Mary Diane LaCommare
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2:13cv16542   Rosa Maria Castillo, Alfredo Castillo
2:13cv16547   Maria Cerda, Juan Cerda, Jr.
2:13cv16671   Maria Najera
2:13cv16676   Rosa Garcia Tena, Jose Tena
2:13cv16731   Kimberly Cullen, James Cullen
2:13cv16760   Cecilia Rivera
2:13cv16761   Hazel Martin
2:13cv16767   Kim Crosser, John Crosser
2:13cv16772   Mary Cortez, Geronimo Cortez
2:13cv16872   Denise MacAllister
2:13cv16888   Helene A. Sampson
2:13cv16890   Lisa Patterson, Gary Patterson
2:13cv16917   Maryelva Luna
2:13cv16925   Rosia C. Burson, Lonnie Burson
2:13cv16928   Cristina Rodriguez Romero, Antonio Romero
2:13cv16956   Debra A. Paulen
2:13cv16979   Judith Jewett, Jerry Jewett
2:13cv17015   Christine L. Gold, Herman L. Gold
2:13cv17016   Janey Moebius
2:13cv17017   Lori R. Gillham, Jeffrey Gillham
2:13cv17020   Gayla Faith
2:13cv17021   Janet S. Hoge, Danny N. Hoge
2:13cv17060   Jeanne Hubler, Michael Hubler
2:13cv17083   Olive M. Richardson, Jeff Richardson
2:13cv17085   Theresa Callahan, William Callahan
2:13cv17091   Theresa Zadroga, Richard Zadroga
2:13cv17096   Elizabeth Diane Mace, Timothy Duane Mace
2:13cv17120   Terri McCart, Randall McCart
2:13cv17125   Phyllis Simmons
2:13cv17141   Diane Passarello
2:13cv17143   Dawn Williams
2:13cv17144   Kristina McCrea
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2:13cv17146   Bonnie Colon, Jose Colon
2:13cv17159   AnnMarie Brokl
2:13cv17174   Wanda Reyes
2:13cv17177   Cynthia White, Bruce White
2:13cv17345   Lynn Rohrer, Michael Moore
2:13cv17353   Vicki Phillips, John Phillips
2:13cv17361   Angela Renae LeMay, Ted Barry LeMay
2:13cv17377   Deborah A. Hood, Bernard Hood, Jr.
2:13cv17382   Audrey Joanne Rhodes, Robert Allen Rhodes
2:13cv17410   Aurelia Robertson
2:13cv17417   Lourdes Ponce
2:13cv17492   Linda J. Pagan
2:13cv17530   Twila Whitfield, Michael Whitfield
2:13cv17551   Sherry Asaro
2:13cv17552   Faye Briggs
2:13cv17553   Gloria Bryant-Jasper
2:13cv17556   Melissa Gentry
2:13cv17560   Jodie Rawson, Robert Rawson
2:13cv17562   Mary Salyer
2:13cv17564   Caroline Spivey, John Spivey
2:13cv17567   Patricia Williams
2:13cv17580   Deborah S. Bowling, James L. Bowling
2:13cv17596   Nancy J. Caldwell
2:13cv17599   Sharon Roczynski
2:13cv17601   Louise White
2:13cv17603   Angela Yobbe
2:13cv17628   Patricia Murphy
2:13cv17670   Delinda G. Gay
2:13cv17699   Elaine Hines
2:13cv17712   Ernestine Reyes, Saturnino Reyes
2:13cv17714   Cynthia Jones, Richard Jones
2:13cv17721   Anita Fuentes
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2:13cv17734   Barbara Daly
2:13cv17750   Stephanie Whitt, Tracy Goodman
2:13cv17751   Sonia Ferry
2:13cv17766   Josefina Moreno, Ruben Moreno
2:13cv17769   Opal Miller
2:13cv17771   Lynda Zuniga
2:13cv17775   Kimberly Rose
2:13cv17777   Mary Shockley
2:13cv17779   Phyllis Lucas
2:13cv17781   Patsy Cole
2:13cv17785   Marlene Fram
2:13cv17792   Charlotte Viterbo
2:13cv17809   Sharon Shores
2:13cv17810   Cynthia Russell
2:13cv17813   Dianne Kanavaloff, John Kanavaloff
2:13cv17837   Martha Luz Artiles, Rafael Artiles
2:13cv17856   Guadalupe Farias, Jose Venegas
2:13cv17869   Patsy Gilliam, Dan Gilliam
2:13cv17871   Eve Escamilla, deceased, Joe Escamilla
2:13cv17874   Elizabeth Young, Richard McFalls
2:13cv17926   Lourdes Hernandez, Juan Querin
2:13cv17933   Alice Dhen
2:13cv17973   Teresa Otero-Nieves, Edwin Rodriguez
2:13cv17996   June Rene Beitler, Daniel Mark Beitler
2:13cv17997   Susan Jones, also known as Susan Castro, Xavier Garza
2:13cv18002   Kristina K. Hensley, Phillip Hensley
2:13cv18025   Nicole Prockno
2:13cv18036   Terri Shovan, James Shovan
2:13cv18081   Rhonda Freytag
2:13cv18082   Madoline Flanagan, Robert Flanagan
2:13cv18083   Dawn Burchfield, Bobby Burchfield
2:13cv18085   Belinda Milligan, Patrick Beard
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2:13cv18090   Allison Wolfert
2:13cv18092   Shelly Walston, Dennis Walston
2:13cv18093   Virginia Scott, Jack Scott
2:13cv18097   Guadalupe Hoye
2:13cv18104   Marcella Hunt
2:13cv18107   Carmen Almanza, Gadalupe Almanza
2:13cv18115   Sallie Davis, Archie Davis
2:13cv18116   Cindy Jaroch, Peter Jaroch
2:13cv18128   Jil Rose
2:13cv18158   Virginia Gonzalez, Alballero Bartolome Mendez
2:13cv18182   Peggy Warren
2:13cv18183   Cordelia W. Lemons, William T. Lemons
2:13cv18194   Linette Spinks, Hosea Spinks, Jr.
2:13cv18198   Mary A. Fountain, Marc Fountain
2:13cv18200   Samantha Travis, Rick Travis
2:13cv18217   Karen Binkley
2:13cv18236   Pauline Blanton
2:13cv18238   Jamie Kidd
2:13cv18245   Patricia Joiner
2:13cv18255   Marilyn Matson
2:13cv18258   Mary Rekieta
2:13cv18262   Judi Whilden
2:13cv18266   Edna Jager
2:13cv18269   Diane Mulhern
2:13cv18305   Ethel Elton
2:13cv18307   Gwendolyn D. Jenkins
2:13cv18380   Elizabeth Pullen
2:13cv18381   Gurly M. Allen , Edward Zane Allen
2:13cv18383   Helen R. Neese , Patrick N. Neese
2:13cv18443   Joanette S. Heitman
2:13cv18456   Silvia Garcia
2:13cv18524   Stephenie Moore
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2:13cv18536   Nancy A. Bradley Hays
2:13cv18567   Cathleen Lightfoot, also known as Cathleen Espinosa
2:13cv18568   Ana Maria Mendoza, a/k/a Ana Maria Gonzalez, Jose C. Mendoza
2:13cv18616   Clarita Alvarado, Jose Guadalupe Alvarado
2:13cv18687   Kathleen Leal-Yniguez
2:13cv18702   Josephine McNair, Charlie McNair
2:13cv18711   Vonda Guthrie
2:13cv18733   Maria Ayala
2:13cv18739   Jeanne Seehafer, Ronald E. Seehafer
2:13cv18742   Teresa Lopez, Eliseo Ibarra Rodriguez
2:13cv18761   Maria Del Rosario Garcia, David Rangel
2:13cv18774   Dora Lara, also known as Dora Avalos-Lara
2:13cv18837   Martha Garza, Juan Antonio Garza
2:13cv18840   Susie Galvez
2:13cv18880   Gloria Hampton, Richard Furr
2:13cv18910   Cheryl Sykes
2:13cv18920   Janet McClung
2:13cv18925   Lori L. Stephens, Craig A. Stephens
2:13cv18931   Rebecca Ann Japp
2:13cv18944   Carol Caine, Lester Caine
2:13cv18946   Diana Crawford, Ronald J. Crawford
2:13cv18952   Mary Jo Sanger, Roger C. Sanger
2:13cv18980   Lisa Tovar, Juan Carlos Divora Saldana
2:13cv19012   Claudia J. Bjerke, Rodney Bjerke
2:13cv19014   Patricia Sobek
2:13cv19125   Tanya Franklin, Charles Franklin
2:13cv19134   Karen Buchler, James Buchler
2:13cv19250   Sandra Kapuler, Stanley Kapuler
2:13cv19281   Elizabeth Hallemeyer, Mark Hallemeyer
2:13cv19315   Deana Becken
2:13cv19320   Sandra Carpenter
2:13cv19452   Jennifer B. Chambers, Patrick Chambers
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2:13cv19464   Jacqueline Ann Magrell, Robert Wayne Magrell
2:13cv19476   Helen C. Spacek
2:13cv19477   Diana L. Strausbaugh, Eugene Strausbaugh
2:13cv19484   Anna M. Williams, Scott Williams
2:13cv19485   Kristina L. Wriston, David Wriston
2:13cv19495   Sheila J. Smith, Micah Smith
2:13cv19514   Lisa Thornton-Parsadanian, Vittor Parsadanian
2:13cv19524   Juanita Bezio, Richard Bezio
2:13cv19530   Lisa M. Phipps
2:13cv19532   Lois Obert
2:13cv19542   Etta J. Durham
2:13cv19543   Ruby Cooper
2:13cv19545   Jennifer Cook
2:13cv19549   Reba J. Byrd
2:13cv19556   Kimberly Langley
2:13cv19590   Irene M. Trujillo
2:13cv19591   Bessie Lou Sumler
2:13cv19612   Margaret Trivett, Carroll Durwood Trivett Sr.
2:13cv19626   Stacy Delgado, James Cheek
2:13cv19627   Carla Sanders
2:13cv19637   Joan Dudkowski, Leonard Dudkowski
2:13cv19643   Wilma Ingram
2:13cv19669   Trilby Anderson
2:13cv19673   Cathey Jean Jordan, John B. Jordan
2:13cv19680   Lisa Cannon
2:13cv19687   Janice Heard
2:13cv19691   Evelyn Shambow
2:13cv19694   Jacqueline Polite
2:13cv19877   Esther Dominguez
2:13cv19938   Kandi E. Sipe, River Sipe
2:13cv19959   Felicia Biggs
2:13cv19968   Rachel Dempson, Jeffrey Dempson
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2:13cv19991   Marion Leonard
2:13cv20053   Glenda Somers
2:13cv20055   Danita Zylks
2:13cv20068   Tami A. Broyles, Russ Broyles
2:13cv20160   Sue L. Lovekin
2:13cv20167   Barbara J. Sherman
2:13cv20169   Connie Lynn Shockley, Bruce D. Shockley
2:13cv20172   Eilene E. Thomas, Ronald Eugene Thomas
2:13cv20178   Carolyn Wesson
2:13cv20182   Debbie Ann West, Mark West
2:13cv20280   Donna Jean Anderson
2:13cv20281   Leonor Oliva, Roberto Oliva
2:13cv20324   Elda Eloise Robinson
2:13cv20426   Dolores Marie Rosado, Nazaniel Rosado
2:13cv20434   Sharron Johnson Schoenfelder
2:13cv20464   Kelley Forrester
2:13cv20492   Stacie Vickers
2:13cv20614   Jennifer Gebert, Jeremy Gebert
2:13cv20622   Juanita Bowman
2:13cv20627   Karen Lewis
2:13cv20637   Tina Bryan
2:13cv20645   Lisa H. Allen
2:13cv20649   Vickie L. Bigford
2:13cv20651   Joy A. Barndt
2:13cv20658   Susan K. Cain
2:13cv20667   Lena Allen
2:13cv20671   Katherine H. Gardner
2:13cv20674   Tjwina Bodkin
2:13cv20745   Joyce R. Petersen
2:13cv20773   Melissa Bailey, Ricky Bailey
2:13cv20847   Alice G. Fortner
2:13cv20853   Lucy Miller-Wilder
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2:13cv20864   Arlene Martinez
2:13cv20865   Tamecka Barley
2:13cv20868   Joyce Garrett
2:13cv20874   Teressa A. Byrd
2:13cv20878   Barbara King, Everett W. King
2:13cv20894   Lori Turey
2:13cv20919   Liesha D'Angelo
2:13cv20920   Teresa Dickinson, Bryan Dickinson
2:13cv20922   Cheryl Edwards, Stephen B. Edwards
2:13cv20923   Camille Ehrhard
2:13cv20927   Golden Evett, Kevin Evett
2:13cv20933   Mary Hicks, Carl Hicks
2:13cv20936   Anna Dobson
2:13cv20962   Christina Cisco-Contreras, Gilbert Contreras Jr.
2:13cv20968   Georgiana Kolpin
2:13cv20999   Jacqueline E. Larson, Anver Larson
2:13cv21014   Lynda Diane Truluck, Peter Truluck
2:13cv21022   Beverly Fowler, Daniel Fowler
2:13cv21025   Faith Cunningham, Jim Cunningham
2:13cv21062   Susan Powser
2:13cv21064   Weenona S. Brannon
2:13cv21065   Frances M. Bassett
2:13cv21067   Constance Chapman
2:13cv21068   Donna L. Capello
2:13cv21070   Marla Curfman
2:13cv21082   Barbara J. Hardwick, Zane G. Hardwick
2:13cv21084   Jennifer Lopez, Reynaldo Lopez
2:13cv21090   Teresa Jo Keeton, Terry Keeton
2:13cv21097   Mary Gilroy
2:13cv21098   Cherie Jenson, Timothy J. Jenson
2:13cv21099   Rebecca S. Hope, Julius W. Hope
2:13cv21100   Patricia Goodrich, Rod Goodrich
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2:13cv21108   Kelly J. Euler, Edmund Euler
2:13cv21141   Teresa Haag, Eric Robin Haag
2:13cv21143   Melissa Hanley, James Michael Hanley
2:13cv21145   Janice Horner
2:13cv21146   Anna Huerta
2:13cv21147   Janet Humphrey,
2:13cv21149   Renee Hunter
2:13cv21174   Mary Wright, Edward Wright
2:13cv21212   Angelique Zupan
2:13cv21216   Karen Brown
2:13cv21305   Marguerite S. Moser
2:13cv21349   Eileen Gaede
2:13cv21354   Marian Lee Lewis
2:13cv21355   Dorothy Davis
2:13cv21362   Kimberly Crawford, Scott Crawford
2:13cv21364   Carole A. Miller
2:13cv21367   Linda Anna Lee Bowman
2:13cv21368   Carolyn Sue Collins
2:13cv21370   Diane Papadogiannis
2:13cv21373   Phyllis C. Gross
2:13cv21375   Nereida De Leon
2:13cv21407   Kimberly Said
2:13cv21432   Felicia Gricunas, Michael Gricunas
2:13cv21433   Mary Cooper
2:13cv21441   Darlena Barton, James Barton
2:13cv21493   Brenda E. Metcalf
2:13cv21498   Wanda Sue Pate
2:13cv21511   Dorothy B. Downs, John Downs
2:13cv21559   Khalilah A. Audain
2:13cv21561   Jeanne Storheim
2:13cv21568   Betti Strom
2:13cv21572   Karen Casoria
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2:13cv21584   Lydia Martinez-De Jesus
2:13cv21596   Charlotte Kathan
2:13cv21603   Melissa Nally
2:13cv21604   Jean M. Simpson
2:13cv21608   Gloria Beard Darden, Kirk Darden
2:13cv21612   Janice Smith
2:13cv21613   Sonja R. Ethun
2:13cv21615   Karen Smith
2:13cv21617   Billie Stovers
2:13cv21634   Patricia D. Pekarek, Nicholas Pekarek
2:13cv21638   Rita Ducharme
2:13cv21652   Michelle P. Smith
2:13cv21668   Marion Edick, Robert Edick
2:13cv21676   Carmen A. Vaughan
2:13cv21680   Donna L. Skreko, Karl M. Skreko
2:13cv21682   Heather Smith
2:13cv21683   Kathleen Teagarden, James Teagarden
2:13cv21684   Bridgette Williams
2:13cv21685   Mary Weeks, William G. Weeks
2:13cv21687   Karol Westbrook
2:13cv21688   Amy L. Wilkinson,
2:13cv21691   Sharon Listul
2:13cv21699   Robynn Fridlund, David Fridlund
2:13cv21700   Cindy Jarriel, James Jarriel
2:13cv21701   Lorene Keener
2:13cv21702   Delores Kiker
2:13cv21704   Florence Knox, Larry Knox
2:13cv21705   Beverly Krob
2:13cv21706   Angie Leija
2:13cv21740   Laurie Burns, James Burns
2:13cv21785   Sofia Zamsky
2:13cv21811   Joyce M. LaVoie, Richard LaVoie
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2:13cv21817   Sonia G. Stidham
2:13cv21876   Connie Baker, James Baker
2:13cv21903   Rita R. Fairley
2:13cv21904   Shannon M. Skaggs
2:13cv21917   Jamie Ellison
2:13cv21924   Debbie Lynn Peake, Billy W. Peake
2:13cv21962   Tonya L. Russ
2:13cv21977   Lamell Henley
2:13cv21996   Vicki L. Propes
2:13cv22008   Tonia Maze, Andrae Maze
2:13cv22010   Jamie McClenan, Gary McClenan
2:13cv22017   Lori McInturff, Alfred McInturff Jr.
2:13cv22018   Gloria Medders, Tony Medders
2:13cv22019   Virginia Mendoza, Benny Mendoza
2:13cv22035   Barbara J. LaCrosse
2:13cv22101   Darlene B. Warner
2:13cv22149   Gwendolyn T. Draayer
2:13cv22170   Tracy Placido
2:13cv22213   Sylvia Botello, Ruben Botello
2:13cv22219   Carol J. Blake
2:13cv22226   Rhonda S. Pfaff-Eaves, Michael Eaves
2:13cv22228   Lynda Kates
2:13cv22264   Candice Motley, Steven Motley Sr.
2:13cv22265   Kimberly Neff
2:13cv22269   Joann Obermeyer
2:13cv22279   Jennifer Lyles
2:13cv22293   Adelaide A. Effertz
2:13cv22303   Angela Ricketts
2:13cv22306   Patricia Rasmussen, Allen Rasmussen
2:13cv22317   Christine Mays, William E. Mays
2:13cv22325   Maria Nave
2:13cv22347   Emily Whitson, David Whitson
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2:13cv22410   Debra Lynn Clark
2:13cv22431   Connie Brothers, Roger Brothers
2:13cv22515   Lou Ann Schulz
2:13cv22520   Maria Sallinger
2:13cv22544   Barbara J. LaBelle
2:13cv22546   Judith E. Stein
2:13cv22568   Norma Quigley, William T. Quigley
2:13cv22577   Sandra Mullins, Lowell Mullins
2:13cv22582   Nora King
2:13cv22589   Rosalie Marino
2:13cv22590   Paulette F. Sanders, Ronald Sanders
2:13cv22639   Julia Holton
2:13cv22663   Tracy Ayala, Jose Ayala
2:13cv22709   Helen Espinosa, Fausto Espinosa
2:13cv22712   Sara Satterfield, Chris Satterfield
2:13cv22721   Carol Ann McGowan
2:13cv22741   Heather Piccione, Brian Piccione
2:13cv22742   Christina Warnock
2:13cv22768   Terri L. Ennis
2:13cv22814   Donna L. Frye
2:13cv22818   Sue A. Mixon
2:13cv22823   Eileen A. Carroll
2:13cv22945   Linda Anderson
2:13cv22950   Angela Dahl
2:13cv22953   Donna Donald
2:13cv22954   Patricia Geiger
2:13cv22958   Lyddia M. Howard
2:13cv22961   Katherine Milam
2:13cv22962   Chris Payan
2:13cv22965   Tina H. Whaley
2:13cv22998   Kathleen Forrester
2:13cv23000   Lavada Lively Hutchison
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2:13cv23006   Kathlyn M. Sears
2:13cv23010   Margaret T. Reinhardt
2:13cv23049   Sharon Louise Broadwater, George Broadwater
2:13cv23058   Geraldine Borrayo, Guadalupe Borrayo, Guadalupe Borrayo
2:13cv23078   Ivette Saylor
2:13cv23079   Debra Shaney Feldt
2:13cv23091   Elizabeth Pena, Alberto Pena
2:13cv23125   Laura Rainey
2:13cv23130   Raetta Kimbel, Ronald Kimbel
2:13cv23133   Clara E. Hawks, Phillip A. Hawks
2:13cv23186   Cherie Kamps
2:13cv23322   Eunice Johnson, Cecil Johnson Jr.
2:13cv23329   Brigitte Alger
2:13cv23337   Catherine A. English
2:13cv23338   Teresa Branham, Randall Branham
2:13cv23347   Ruth N. Butler
2:13cv23349   Gayle Pauline Turner, Zadok Turner
2:13cv23364   Tiffany Keithley, Martin Keithley
2:13cv23373   Doris Ann Suttle, Gene Courtney Suttle
2:13cv23375   Etta Nyoka Keener, Charles R. Keener
2:13cv23407   Mindy Southerland
2:13cv23468   Martha Jean Holmes,
2:13cv23475   Jennifer Brooks
2:13cv23487   Danya Seward, Marvin Seward
2:13cv23492   Geraldine Ferguson
2:13cv23512   Rosanna Frick, David John Frick
2:13cv23513   Gloria Jean Mata, Antonio Mata
2:13cv23515   Jackie Rittenhouse, Matthew Rittenhouse
2:13cv23520   Sandra Moncrief, George Moncrief
2:13cv23543   Dolores L. Gobright, Michael W. Gobright
2:13cv23544   Rita Urbanek
2:13cv23562   Madeline Adamicka, Peter Adamicka
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2:13cv23573   Elaine Lanthier
2:13cv23606   Evelyn Rivers
2:13cv23611   Doreen M. McGarrett
2:13cv23612   Linda Rodriguez
2:13cv23622   Patricia Bridgewater
2:13cv23701   Brenda Albrecht
2:13cv23702   Laura Stidham, Eugene Stidham
2:13cv23742   Catherine T. Crick, Morris Crick
2:13cv23793   Melinda Jean Stokes
2:13cv23796   Emily Viola Hogan
2:13cv23803   Yolanda Navarette
2:13cv23809   Debra McGill
2:13cv23811   Ruth Causer
2:13cv23814   Katrinia Owens
2:13cv23842   Jan Anderson
2:13cv23868   Christine Pipers
2:13cv23874   Nikki Rollins
2:13cv23877   Sandra K. Ekas
2:13cv23878   Carol Sue Binion, Robert Binion
2:13cv23882   Lana Bambao, Ray Bambao
2:13cv23890   Leslie Dill
2:13cv23892   Adrienne Ransom-Harper
2:13cv23901   Julie Betts, Franklin Betts
2:13cv23925   Ida Arvizu
2:13cv23927   Tina Behl
2:13cv23930   Christine Bergamasco
2:13cv23931   Arsula Bracewell, Tony Bracewell
2:13cv23946   Sara Bram, David Bram
2:13cv23970   Donna Lee Bell
2:13cv23997   Vikki Brazeau
2:13cv23999   Evelyn Williams
2:13cv24069   Diana J. Cyrus, Benny Cyrus
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2:13cv24119   Janice Collier, Otis Collier
2:13cv24135   Diana Langford, Mike Langford
2:13cv24143   Brenda Bartlett, Robert Bartlett
2:13cv24145   Linda Moustapha, Mohamad Moustapha
2:13cv24165   Sandra White, Ray White
2:13cv24178   Shera Williams, Louis Williams
2:13cv24197   Melanie Watson, Wesley Watson
2:13cv24218   Claudia Fernandez, Jose Fernandez
2:13cv24281   Rebecca Alford, Calvin Alford
2:13cv24358   Janice Daycock, Kevin Daycock
2:13cv24370   Diane DaSilva, Darryl Tondreau
2:13cv24371   Billie King, Jimmy King
2:13cv24385   Robin Branham
2:13cv24387   Wendy Clark
2:13cv24400   Elaine D. Soley
2:13cv24408   Shirley Ann McRae
2:13cv24418   Sara Moss
2:13cv24420   Carolina Munoz
2:13cv24429   Sara Jane Murdock
2:13cv24499   Cassandra Akins
2:13cv24532   Alma Aitza Cerase
2:13cv24533   Nina Allen
2:13cv24575   Teresa K. White, Robert G. White
2:13cv24579   Rita Moore
2:13cv24589   Brenda Ellis, Paul Ellis
2:13cv24592   Tammy Godwin, Jeremy Godwin
2:13cv24593   Shirley Graham, Larry Graham Sr.
2:13cv24598   Christy Hoskins
2:13cv24604   Julia Gallardo
2:13cv24617   Diana Mathews, Randy Matthews
2:13cv24704   Linda Mueggenborg, Norbert Mueggenborg
2:13cv24710   Diana Scholl, Thomas Scholl
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2:13cv24716   LeeAnn Oldenkamp
2:13cv24718   Barbara A. Paddack
2:13cv24719   Linda B. Pearson
2:13cv24722   Jacqueline Ray
2:13cv24723   Steffani L. Reed
2:13cv24724   Diana O. Renteria
2:13cv24744   Geraldine E. Nicolosi, Francis Nicolosi
2:13cv24755   Lynn Armstrong
2:13cv24758   Anna Connor, Paul Connor
2:13cv24762   Dorisell M. Brooks
2:13cv24782   Linda Leeper, Rick Leeper
2:13cv24786   Patrice J. Mangioe, Don Mangione
2:13cv24787   Meloney J. Myers
2:13cv24788   Stella Rojo, Victor Rojo
2:13cv24791   Cathy L. Zellem
2:13cv24913   Brenda Pitts
2:13cv24919   Timmie Blystone
2:13cv24921   Lorraine Bolli, formerly known as Lorraine Buhalo
2:13cv24927   Claudia Gonzalez
2:13cv24939   Mitzi Daniels, Rodney Bass
2:13cv24943   Sandra Hyder, Michael Hyder
2:13cv24948   Nancy Jordan, Raeford Jordan
2:13cv24953   Carmen Romero
2:13cv24954   Mary Miller, Guy Miller
2:13cv24955   Nancy Pagan
2:13cv25105   Jana L. McNeely
2:13cv25144   Olga Mae Janet Stanfield, James N. Stanfield
2:13cv25166   Melynda A. Wainwright, Benjamin Wainwright
2:13cv25197   Glenda L. Wantland-Busby
2:13cv25222   Melissa M. Ingle, Michael J. Joyner
2:13cv25224   Bernice Scott
2:13cv25237   Cathy E. Collier
   Case WVS/2:15-cv-14812       Document 1      Filed 12/01/17   Page 64 of 267




2:13cv25257   Ann Alexander
2:13cv25261   Michelle Bailey
2:13cv25328   Georgette Makhlouf
2:13cv25407   Darlene Salyers
2:13cv25408   Judie Spangler, Robert Spangler
2:13cv25410   Gina Marcia Denys, Robert Denys
2:13cv25411   Linda C. Ferguson, Harry Ferguson
2:13cv25433   Karen Blann
2:13cv25450   Kristina Engel, David Engel
2:13cv25472   Kelly Metzger, Robert Metzger
2:13cv25496   Norma Wilson, Bryan Wilson
2:13cv25501   Judy Jump
2:13cv25579   Trisha VanArsdalen
2:13cv25637   Lesleigh Harris
2:13cv25660   Helen J. Blue
2:13cv25662   George Ann Byrd
2:13cv25665   Terri R. Hamilton-Guerrero, Rueben Guerrero
2:13cv25717   Kathryn Crim, Joshua Mitchell
2:13cv25733   Sherryl Doyon
2:13cv25737   Ernestine Blue
2:13cv25750   Kitty Eva Marie Custer, John Custer
2:13cv25754   Crystal E. Peele-Rice
2:13cv25784   Lori Deare
2:13cv25786   Terri Duvall
2:13cv25829   Nancy Haines
2:13cv25844   Donna Woods
2:13cv25846   Deanna Harvell
2:13cv25847   Tiffany Eakin, David Eakin
2:13cv25894   Rhonda Hickman
2:13cv25920   Carlene Beasley
2:13cv25925   Lee Anna Miller
2:13cv25976   Cynthia Walz
   Case WVS/2:15-cv-14812        Document 1     Filed 12/01/17   Page 65 of 267




2:13cv26054   Mary Howell
2:13cv26069   Betty G. Holbrook, Billy G. Holbrook
2:13cv26078   Carolyn J. Barley, Ray Barley
2:13cv26079   Angela Hale, John Hale
2:13cv26088   Ella Marshall, Steven Marshall
2:13cv26101   Victoria Cortez, Rodolfo Medina
2:13cv26112   Laura Smigiel
2:13cv26136   Helena S. Gomez
2:13cv26138   Sylvia Lunsford
2:13cv26139   Sue Ozment
2:13cv26153   Jean Smith
2:13cv26156   Josephine Thompson
2:13cv26184   Lillie M. Tabor
2:13cv26186   Sherry Kay Witte, Lonny Witte
2:13cv26193   Sharon Hook, Charles Hook
2:13cv26256   Dorrena L. Galbraith
2:13cv26284   Norma Galbraith, Howard Galbraith
2:13cv26286   Sharon Goodyear, Donald Goodyear
2:13cv26288   Diana Perez
2:13cv26297   Crystal Helms, Ricky Helms
2:13cv26298   Linda Delgado Rodriguez
2:13cv26300   Dawn Adcock, Dale Adcock
2:13cv26302   Mary Ellen Rodriguez
2:13cv26305   Millie Corliss, John Corliss
2:13cv26318   Carol Brown, Donald Brown
2:13cv26331   Sadie M. Cade
2:13cv26337   Callie Taylor
2:13cv26344   Julie Holtschlag
2:13cv26348   Jacqueline Brannon
2:13cv26369   Joan Maddox, Larry Maddox
2:13cv26374   Anna Cisneros, Jose R. Cisneros
2:13cv26378   Daisy Vazheparambil, Raju Vazheparambil
   Case WVS/2:15-cv-14812        Document 1     Filed 12/01/17   Page 66 of 267




2:13cv26380   Susan Schmidt
2:13cv26386   Janet M. Strong, Kyle W. Strong
2:13cv26430   Darlene Hamilton
2:13cv26435   Karen J. Chiesa
2:13cv26486   Mildred K. Zindler, Gerald A. Zindler
2:13cv26540   Delores Butts
2:13cv26545   Eleanor Flippo
2:13cv26647   Crystal Collins
2:13cv26650   Carol Conway
2:13cv26654   Donna Edwards
2:13cv26656   Jean Firetto
2:13cv26695   Tina D. Martin, Rusty Martin
2:13cv26701   Vera Hale
2:13cv26702   Cathy Hixenbaugh
2:13cv26704   Brenda Kay Hughes
2:13cv26706   Bernita V. Jones
2:13cv26708   Nila Lewis
2:13cv26709   Nelly Lorenzana
2:13cv26720   Margaret M. Sinnett
2:13cv26721   Kelly Benton, Gary Benton
2:13cv26722   Jennifer L. Sloan
              Donna Gage, as personal representative of the Estate of Doris Smith,
2:13cv26723   Deceased
2:13cv26740   Teresa Brunson, Richard Brunson
2:13cv26744   Kristine DeWandel
2:13cv26758   Sandra Elliott
2:13cv26762   Enid Finlay
2:13cv26770   Dawn Hollifield
2:13cv26789   Toni Conley
2:13cv26792   Deloures Guard
2:13cv26814   Wanda Pratt
2:13cv26851   Maude Smith, Dominique Smith
   Case WVS/2:15-cv-14812        Document 1   Filed 12/01/17   Page 67 of 267




2:13cv26869   Grace Grover
2:13cv26879   Maria C. Garcia
2:13cv26883   Diane Nedwards
2:13cv26892   Dorothy A. Feeley
2:13cv26906   Judy Petty
2:13cv26909   Evelyn Carrillo
2:13cv26953   Maria Canlas
2:13cv26965   Cynthia Jean Fogal
2:13cv26989   Belinda K. Rager
2:13cv27016   Doris Hardy
2:13cv27027   Charlotte G. McKimie
2:13cv27029   Kathryn Jean McWalters
2:13cv27038   Teresa Marie Robb
2:13cv27039   Mishael Rose
2:13cv27043   Lorgia M. Bermudez, Delvis Tormes
2:13cv27064   Bonita Bligh
2:13cv27072   Maria Slater
2:13cv27108   Stephanie Hawk, John Vanderweel Jr.
2:13cv27149   Jade Griffin
2:13cv27197   Christine Marie Curtis
2:13cv27228   Gina Marrone, Michael Marrone
2:13cv27233   Melanie Joy Clark, Winfred T. Clark Jr.
2:13cv27238   Susan J. Fink, Jerry Fink
2:13cv27268   Idalmis Ocegueda
2:13cv27300   Pamela G. Fix
2:13cv27315   Karen L. Getchell
2:13cv27339   Antonia Hernandez
2:13cv27342   Carolyn Holland
2:13cv27344   Tammy Liskey
2:13cv27346   Tammy Mateos
2:13cv27350   Jana Morgan
2:13cv27379   Reba Beets, Bob Beets
   Case WVS/2:15-cv-14812        Document 1    Filed 12/01/17   Page 68 of 267




2:13cv27420   Ruth Marie Salom
2:13cv27439   Wanda Hess, Glen Hess
2:13cv27478   Linda Hensley, Owen Hensley
2:13cv27565   Christine Coffey
2:13cv27585   Joann Sparkman
2:13cv27588   Jeanette Watson
2:13cv27589   Eva Frazier, George Frazier
2:13cv27624   Traci Ketcher, Richard L. Ketcher III
2:13cv27631   Janice Adkinson
2:13cv27637   Pearl Montano
2:13cv27638   Zayda Serrano, Carlos Serrano
2:13cv27657   Maria Fincher, Paul Fincher
2:13cv27665   Cruz Garcia Cuellar, Gabriel Cuellar
2:13cv27669   Sandra Guerrero, Jose Guerrero Jr.
2:13cv27676   Linda Dick, Robert Dick
2:13cv27709   Shirley Turnbull
2:13cv27712   Jeanie R. Garza
2:13cv27725   Kimberly Jansen, Kenneth Jansen
2:13cv27748   Cynthia L. Milligan
2:13cv27761   Christie Rickmon, Terry Rickmon
2:13cv27762   Angela Rios-Osorio, Alirio Osorio
2:13cv27765   Linda Stein, Gerald Stein
2:13cv27811   Karen M. Todd
2:13cv27815   Christine Wildenauer
2:13cv27818   Wanda Hudson
2:13cv27858   Megan M. Burns
2:13cv27859   Deborah Chadbourne, Joseph Chadbourne
2:13cv27860   Cynthia A. Davidson, Roland Davidson
2:13cv27861   Lyda Fish, Michael Fish
2:13cv27888   Karen Bailey
2:13cv27891   Joann Khalil, Albert Khalil
2:13cv27892   Joy Gold
   Case WVS/2:15-cv-14812        Document 1     Filed 12/01/17   Page 69 of 267




2:13cv27893   Jennifer Elaine Willis
2:13cv27903   Patricia Jackson
2:13cv27938   Vicki Ardecki, John Ardecki
2:13cv27962   Gabriele Kerstin Armendariz, Robert Choate
2:13cv27963   Jessie Baldwin, Thomas Baldwin
2:13cv27973   Sandra Everett, Glen H. Everett
2:13cv27978   Susan Hale, Raul Hale
2:13cv27985   Michelle Wacker
2:13cv27989   Judith A. Tusing, Robert Tusing
2:13cv28000   Candace Richardson
2:13cv28003   Amy Beth Ward
2:13cv28010   Renita Joy Withrow
2:13cv28046   Ruby Darlene Davis, Larry Joe Davis
2:13cv28069   Tina McClure-Peterson, Darnell Peterson
2:13cv28112   Lorra Lee Smith, Derrick Smith
2:13cv28113   Vada Oliver, Cloyd Oliver
2:13cv28126   Melissa Boyd
2:13cv28130   Barbara Morgan
2:13cv28142   Shawn Houston
2:13cv28203   Michelle Schneider
2:13cv28208   Sheryl G. Provence
2:13cv28209   Venessa R. Remo
2:13cv28214   Marjorie G. Snowden
2:13cv28215   Meighen Stebbins
2:13cv28217   Mary Sutton
2:13cv28235   Judy K. Vessell
2:13cv28237   Leslie Abbott Pease
2:13cv28239   Diane Rountree
2:13cv28251   Sandi Turner
2:13cv28252   Margaret Twomoons-Town
2:13cv28260   Carrie Mae Morrisey
2:13cv28366   Shauna Vizina
   Case WVS/2:15-cv-14812       Document 1      Filed 12/01/17   Page 70 of 267




2:13cv28381   Carla Moss, Ted Moss
2:13cv28501   Natosha Farrow, Brain Farrow
2:13cv28507   Dawn Marshock, Daniel Marshock
2:13cv28534   Minnie Lou Thomason, Bobbie Thomason
2:13cv28564   Sharon Halpin, James Halpin Sr.
2:13cv28659   Diana Dotts
2:13cv28664   Heather D. Stegner, Chad J. Stegner
2:13cv28677   Joy L. Walton
2:13cv28701   Patricia Inman
2:13cv28705   Jeanette C. Gagnon, Peter McCretton
2:13cv28718   Susan Giron, Avelina Giron
2:13cv28719   Kathleen Grandchamp
2:13cv28721   Maureen E. Grzebien
2:13cv28744   Erika Pauline Giosia
2:13cv28748   Regina S. Armes, Scott Armes
2:13cv28750   Sara Elizabeth Graham
2:13cv28755   Tressa L. Bickerstaff
2:13cv28761   Gloria Ann Guzman
2:13cv28762   Kathy Correll
2:13cv28763   Betty Sue Worline
2:13cv28816   Dulene Townley, Ricky W. Townley
2:13cv28818   Stella Wagner, Louis Wagner
2:13cv28820   Mary Ellen Wiley, John C. Wiley
2:13cv28821   Janet Williams, George Williams Sr.
2:13cv28823   Mary C. Wright
2:13cv28938   Lee Wright
2:13cv28940   Lourdes Cruz
2:13cv28978   Christina Ann Call
2:13cv28983   Judith Urban
2:13cv29009   Cynthia Dianne Beach Lane
2:13cv29019   Leeann Graves
2:13cv29080   Sheryl D. Galan
   Case WVS/2:15-cv-14812       Document 1    Filed 12/01/17   Page 71 of 267




2:13cv29097   Mary D. Brown
2:13cv29104   Leah J. Russell
2:13cv29125   Luevelma Simmons
2:13cv29130   Virginia Bustos
2:13cv29134   Mildred King
2:13cv29143   Linda King
2:13cv29144   Sandra Tompkins
2:13cv29209   Laura Brockmeier, Dale R. Brockmeier
2:13cv29224   Jewellyn Nickson, Bryon Nickson
2:13cv29232   Shelia Corley, formerly known as Sheila Riggs
2:13cv29235   Jamie Lockwood
2:13cv29249   Kim Vazquez, Joe Vazquez
2:13cv29315   Joye Cumbia, Andrew Cumbia
2:13cv29318   Lisa R. Hodgkins, Gary Hodgkins
2:13cv29345   Barbara J. Belknap
2:13cv29375   Jill M. Healey
2:13cv29376   Geraldine M. Heisey-Dalton
2:13cv29379   Donna Marie Howard
2:13cv29401   Belinda Robinson
2:13cv29457   Connie L. Kinnaman, Ray Kinnaman
2:13cv29463   Virginia Marie Ward, David Timothy Ward
2:13cv29466   Nancy B. McMillan
2:13cv29471   Teressa Schierbaum, Gary E. Schierbaum
2:13cv29481   Allison Lough, Charles Lough
2:13cv29492   Delphia Posey
2:13cv29495   Betty Tidwell
2:13cv29501   Kathleen Fasano
2:13cv29535   April Havard
2:13cv29619   Karen Salas, Anthony Salas
2:13cv29621   Susan Thomas
2:13cv29624   Melodie DiPietro-Moody
2:13cv29627   Wendy M. Hack
   Case WVS/2:15-cv-14812         Document 1   Filed 12/01/17   Page 72 of 267




2:13cv29692   Santos Esparza
2:13cv29756   Easter B. Bowers
2:13cv29761   Micaela Hernandez
2:13cv29805   Barbara Herrin
2:13cv29819   Elaine Pierce
2:13cv29829   Lisa Shoop
2:13cv29830   Laura Hargis
2:13cv29860   Heather Sherwood
2:13cv29867   Karen Wallace, Rodney Wallace
2:13cv29966   Jeanette Tolman, Thomas Tolman
2:13cv29996   Cheryl D. Peoples-Wright
2:13cv29998   Barbara Ann Raines
2:13cv29999   Charlenia Reed
2:13cv30004   Elizabeth Rae Ann Robins
2:13cv30005   Linda M. Robinson
2:13cv30029   Paula L. Breault, Mike E. Breault
2:13cv30038   Pamela S. Strickland
2:13cv30082   Michelle Fisher
2:13cv30092   Tracy Coats, Raymond Coats
2:13cv30095   Charlesetta Cooper
2:13cv30101   Gwenetta Phillips
2:13cv30127   Laura Denton
2:13cv30129   Linda S. Haugan, Michael Haugan
2:13cv30130   Ethel L. Hephner, Sidney Gray
2:13cv30151   Maura L. Cavanaugh, Paul S. Cavanaugh
2:13cv30166   Sheila Kay Bell, Eddie Stacy Bell
2:13cv30318   Tina R. Johnson
2:13cv30347   Barbara Milanovic, Srdjan Milanovic
2:13cv30349   Margaret Annette Reedy, Thomas Eugene Reedy
2:13cv30384   Teresa Jackson
2:13cv30386   Deborah Lacey
2:13cv30535   Katie Lee Jones
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2:13cv30539   Lisa K. Montano
2:13cv30550   Melinda Strickland, Tim Strickland
2:13cv30552   June King
2:13cv30554   Pamela Rector
2:13cv30599   Crystal Samsel, Darryn Samsel
2:13cv30605   Danielle Sherman, Harold Sherman
2:13cv30610   Florita G. Farley,
2:13cv30614   Stella L. Martinez
2:13cv30674   Jeanette Resnick
2:13cv30679   Tracy Semrock, Chris Semrock
2:13cv30695   Amy Chambliss
2:13cv30696   Violet Champagne
2:13cv30746   Dianna L. Aidt
2:13cv30749   Shelly Lou Ball
2:13cv30751   Gina Louise Bjorvik
2:13cv30752   Melissa Joann Bray
2:13cv30770   Michelle Berry, Damion Berry Sr.
2:13cv30778   Margaret Bates, George Bates)
2:13cv30786   Robbyn Beard, Frank Beard
2:13cv30792   Deborah Riddell
2:13cv30797   Grace Veronica Braxton
2:13cv30798   Rebecca Carlile, Roger Wayne Carlile
2:13cv30807   Paula Marie Couch
2:13cv30808   Diane Crain, Jack E. Crain Jr.
2:13cv30809   Debra Doyle, Rich Doyle
2:13cv30825   Ana Marin
2:13cv30828   Karen Lynn Mathis
2:13cv30835   Argelia Meza
2:13cv30839   Nellie B. Montgomery
2:13cv30853   Renae M. Johnson
2:13cv30857   Joyce Roden
2:13cv30886   Brenda K. Weems, Elbert Franklin Weems
   Case WVS/2:15-cv-14812        Document 1     Filed 12/01/17   Page 74 of 267




2:13cv30890   Bonnie Ilene Young, James Young
2:13cv30894   Joye Orcutt
2:13cv30934   Teresa Jayanty
2:13cv30935   Mindy DeMaris
2:13cv30943   Patti Graham
2:13cv30945   Archie Couch, Matthew Couch
2:13cv30968   Sherry Hansch, Thomas Hansch
2:13cv30974   Marcie Harrington
2:13cv30981   Deborah Blake
2:13cv30985   Terrie Ann Brown, Burton Brown
2:13cv31046   Taciana Holt, Justin Holt
2:13cv31049   Lana Watkins
2:13cv31050   Patricia Jean George, Daniel George
2:13cv31071   Judy Kay Herrington
2:13cv31123   Marilyn Miller, Phillip Leopard
2:13cv31133   Angela Wells
2:13cv31137   Katrina M. Brown,
2:13cv31163   Elizabeth Jackson
2:13cv31165   Betty James
2:13cv31166   Lynette James
2:13cv31171   Donna H. Mason, Paul D. Mason
2:13cv31212   Janice M. Childers, Bradley Childers
2:13cv31215   Stephanie Clarke
2:13cv31218   Elisheva R. Corning
2:13cv31219   Nancy L. Smith
2:13cv31221   Terry Lee Robinson
2:13cv31292   Launi Stevens-Smith
2:13cv31313   Lula Smith
2:13cv31344   Carolyn Bates
2:13cv31439   Julie Nottingham, Paul Nottingham
2:13cv31447   Tanya M. Galloway
2:13cv31448   Patricia Ann Borst
   Case WVS/2:15-cv-14812        Document 1   Filed 12/01/17   Page 75 of 267




2:13cv31449   Laura M. Zarnowiec, Stephen Zarnowiec
2:13cv31451   Virginia H. Turnbough, Theodore A. Turnbough
2:13cv31453   Mary Kelline Webb
2:13cv31455   Patty K. Blumberg
2:13cv31459   Sonia Cutler
2:13cv31463   Nora Frances Hull
2:13cv31509   Pamela Pringle-Hatch, David N. Hatch
2:13cv31518   Pamela O. Warden
2:13cv31524   Guadalupe D. Maldonado, Antonio C. Maldonado, Jr.
2:13cv31527   Linda Griffith
2:13cv31534   Chrystal Stevens
2:13cv31562   Angela Watson
2:13cv31563   Christine Wendt
2:13cv31571   Sharon Sanderson
2:13cv31572   Shannon D. Rich
2:13cv31582   Jennifer Nicole Riddle
2:13cv31588   Kimberly A. Hart
2:13cv31591   Lillie Moran Gonzalez
2:13cv31651   Jennifer Benson-Kinchelow, Sabir Quentin Kinchelow
2:13cv31664   Tina Fields, Bobby Fields
2:13cv31683   Beatrice Scott
2:13cv31734   Sylvia L. Garvin
2:13cv31739   Vishaka D. Mendez
2:13cv31750   Cheryl Beck, Michael Beck
2:13cv31752   Emma Jewell, Donald Jewell
2:13cv31755   Carol Kuszewski
2:13cv31757   Cheryl Riggs, Mark Kireta
2:13cv31831   Eva Bush
2:13cv31834   Cynthia L. Mills
2:13cv31850   Lillie Adkins-Rudd, Thomas Jacob Rudd
2:13cv31852   Kathleen M. Albertini
2:13cv31854   Delores Martin (deceased), Joyce Barnes, Deborah Deeds-Kelley,
   Case WVS/2:15-cv-14812        Document 1     Filed 12/01/17   Page 76 of 267




              Lewis Deeds Jr., co-representatives of the Estate of Delores Martin
2:13cv31860   Debra Anderson
2:13cv31865   Ruby T. Baker
2:13cv31892   Carol Blakeley
2:13cv32016   LeAnn Dickenson, Joel L. Dickenson
2:13cv32076   Diana Marie Thompson, Garry Thompson
2:13cv32085   Bonnie Everetts
2:13cv32139   Mary Rose
2:13cv32160   Linda Crayton, Daniel Crayton
2:13cv32168   Brenda Cayo, Thomas Cayo
2:13cv32170   Christine Parker
2:13cv32174   Bonnie Shaw, Richard Shaw
2:13cv32182   Kimberly Silveira
2:13cv32191   Aline Belden-Couch
2:13cv32224   Regina Kolacz
2:13cv32237   Joyce A. Knight, Donnie Ray Knight
2:13cv32255   Maria D. Figueroa, Francisco J. Ortiz Perez
2:13cv32257   Cyndi E. DeSario
2:13cv32273   Sharon Sillery, Brian Sillery
2:13cv32278   Sharla Malone
2:13cv32288   Robin L. Bowman, Gary Bowman
2:13cv32290   Laura Cantwell
2:13cv32313   Amy M. Beitler, Jeffrey Beitler
2:13cv32339   Francine Luna
2:13cv32428   Tammy Mowry
2:13cv32440   Angela Palenzuela
2:13cv32467   Barbara Allen,
2:13cv32497   Patricia Ann Brown
2:13cv32506   Karen L. Eakin
2:13cv32541   Victoria Lynn Ruiz
2:13cv32570   Carolyn Lynn Hutchinson
2:13cv32578   Christine M. Hardy
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2:13cv32627   Alberta Miller
2:13cv32678   Tracy Jean Snyder, Michael Snyder
2:13cv32680   Linda J. Kelly, David Kelly
2:13cv32704   Barbara Jean Sylvester
2:13cv32876   Carol Bohannon
2:13cv32881   Karen Calbert, Ethrain Calbert
2:13cv32929   Lori Glencer
2:13cv32966   Elizabeth Byrd
2:13cv32970   Stephanie Colyer, Albert Colyer III
2:13cv32979   Susan G. Linder
2:13cv32981   Linda B. Hutchinson, Richard S. Hutchinson
2:13cv33008   Barbara Twilley
2:13cv33036   Debra El Shrafi
2:13cv33055   Brenda L. Sinclair, Richard W. Sinclair Sr.
2:13cv33163   Lizzette Bermudez, Carlos Zambrana
2:13cv33164   Verna Brown
2:13cv33166   Rosie Carswell
2:13cv33168   Diane Clements, Todd Knause
2:13cv33188   Renee M. Carr
2:13cv33270   Ingrid Blizzard
2:13cv33271   Kristin T. Boland
2:13cv33276   Rose A. Bretz
2:13cv33286   April L. Bryant, Sanantonio Branch
2:13cv33288   Susan Bryant, Celvin B. Bryant
2:13cv33289   Melba J. Burney, Jodie Burney
2:13cv33290   Janet L. Burns
2:13cv33369   Ione Borg, Michael Borg
2:13cv33370   Rosa Perry, Hans Perry
2:13cv33380   Patricia David, John David
2:13cv33384   Sonya Gallegos, Michael Gallegos
2:13cv33400   Candice Hendrickson, Donald Hendrickson
2:13cv33449   Stephanie Renee Dixon
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2:13cv33452   Kathy Williamson, Timothy A. Williamson
2:13cv33459   Patricia Schneider
2:13cv33472   Linda Annunziata, Anthony Annunziata
2:13cv33482   Kimberly Rae Fortney, Daniel Fortney
2:13cv33497   Catherine Black
2:13cv33503   Mary Cooper
2:13cv33506   Leslie Blanchard
2:13cv33515   Mary Dornbusch
2:13cv33520   Brienne Schultz Fretz, Terry Fretz
2:13cv33530   Jackie Busey
2:13cv33548   Robin Corbette Coleman
2:13cv33552   Donna B. Corey
2:13cv33554   Kathryn F. Crain, Edgar Crain
2:13cv33558   Agnes Dayton
2:13cv33560   Sherry D. Dean
2:13cv33562   Tina Deaton, Curtis Deaton
2:13cv33563   Ramona I. DeLuna
2:13cv33564   Patricia Denson
2:13cv33567   Mary Doig
2:13cv33568   Charlotte Dople
2:13cv33570   Carole B. Ducote
2:13cv33575   Valerie C. Ellegood, Glenn Ellegood
2:13cv33584   Rowena R. Fields, Billy D. Fields
2:13cv33586   Anita Ford, Rudolph S. Ford
2:13cv33596   Wanda Gillis
2:13cv33603   Stacy Greathouse
2:13cv33613   Susan Harry, Gregory Harry
2:13cv33627   Jessie Eylaine Hudgins, Richard Lee Hudgins
2:13cv33633   Diane Marie Happel, Stephen Happel
2:13cv33635   Laverne Johnson
2:13cv33638   Barbara A. Jones
2:13cv33678   Sheila Kirklin, Charles Kirklin
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2:13cv33680   Geraldine Lainhart
2:13cv33683   Gayla Gambs-Anton, Reginald Anton
2:13cv33692   Martha Linkous, Denzil Linkous
2:13cv33703   Janine Lynn Livingston
2:13cv33717   Madelynn Long
2:13cv33742   Rita J. Miller
2:13cv33744   Mary J. Niles, Michael A. Niles
2:13cv33746   Marie L. O'Driscoll
2:13cv33800   Colleen Harms
2:13cv33815   Susan Mudd
2:13cv33817   Judy Myers
2:13cv33822   Teresa A. Nichols
2:13cv33835   Debra St. Jean
2:13cv33837   Andranette Watts
2:13cv33841   Susan Pacheco
2:13cv33851   Crystal Pellot
2:13cv33853   Sandra Percey
2:13cv33869   Linda Theetge, Norman Theetge
2:13cv33901   Mary Robson
2:13cv33907   Arlene Rush
2:13cv33920   Hanna Sarme
2:13cv33921   Nancy L. Saunders
2:13cv33932   Elva Selden, Brian Selden
2:13cv33939   Irene Sheffield, John R. Sheffield
2:13cv33942   Colleen Sidak
2:13cv33945   Jennifer Lynn Silvers, John Blackwell Jr.
2:13cv33948   Lois Siple, Russell J. Siple
2:13cv33950   Cathy Smith
2:13cv33956   Christina S. Smith, John R. Smith
2:13cv33992   Karen Vaughan
2:13cv33999   Christine E. Walker
2:13cv34002   Patricia Miller, Harold Miller Jr.
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2:13cv34003   Deborah Washington
2:13cv34006   Carolyn Patricia Weeks
2:13cv34016   Shelia J. Williams, Scotty E. Williams
2:13cv34020   Julia Hill
2:13cv34023   Tammy Witherington, Arthur Witherington
2:13cv34025   Virgina Renee Randall Thomas, Rob N. Thomas
2:13cv34044   Gloria J. Johnson, Phillip M. Johnson
2:13cv34048   Vickie L. Zigan
2:13cv34055   Julie W. Ryan, Donald K. Ryan
2:13cv34056   Gardenia Goodman
2:13cv34059   Diane DeMasso
2:13cv34061   Charlotte L. Campbell, Michael W. Campbell
2:14cv00042   Sharon R. Finnell, Richard Finnell
2:14cv00081   Bonnie Sue Corfee, Tex Leonard Corfee
2:14cv00082   Alice Couch
2:14cv00084   Barbara Hardie
2:14cv00087   Ruth B. Head, James Thomas Head
2:14cv00089   Jackie Holland
2:14cv00094   Diana K. Keena
2:14cv00098   Linda Sue Lowe
2:14cv00106   Amy C. Mendoza
2:14cv00108   Nellie Miles
2:14cv00114   Lisa Snyder
2:14cv00116   Naomi Wallis
2:14cv00121   Karen White, Gary D. White
2:14cv00122   Shirley A. Young
2:14cv00123   Evelyn Zambrana
2:14cv00140   Deborah Simpkins McClanahan
2:14cv00164   Shannon Marie Moon
2:14cv00196   Jolena Ann Best
2:14cv00202   Cynthia Taylor
2:14cv00212   Julia Lowry, Michael Lowry
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2:14cv00228   Donna Marie Cansler, Joseph Matthew Cansler
2:14cv00252   Rosa I. Camberos, Miguel Guerrero
2:14cv00256   Alice Jean Catania, Salvatore Catania
2:14cv00257   Maria Isabe Celeste
2:14cv00258   Sharon C. Chaffee
2:14cv00263   Billie A. Dentmon
2:14cv00269   Shirley Haley, Otis Haley
2:14cv00282   Patricia Diaz, John Diaz
2:14cv00302   Deloras Bennight
2:14cv00306   Julie Bulrice
2:14cv00308   Candace J. Mason
2:14cv00309   Susan T. Mitchell
2:14cv00344   Kathleen Gumm
2:14cv00345   Lisa Chism
2:14cv00376   Judith Lauth
2:14cv00402   Pamela Garrett, John Garrett
2:14cv00406   Rebecca Goans
2:14cv00407   Cheryl Grenke, Ervin Grenke
2:14cv00450   Tina Murphy Parrott
2:14cv00451   Patricia Louise Patterson
2:14cv00667   Ana Aquino
2:14cv00669   Thespina Avellina,
2:14cv00670   Kathryn Ayotte
2:14cv00675   Mary A. Gaffey
2:14cv00677   Abby Green
2:14cv00701   Mary K. German
2:14cv00707   Debra Jacobson, Erik Jacobson
2:14cv00712   Elizabeth Fritsch
2:14cv00714   Mihaela Zisu
2:14cv00718   Joyce P. Clark, Wilmer Clark
2:14cv00726   Pamela C. Stamps, Norman K. Stamps
2:14cv00763   Stella Bridges
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2:14cv00766   Mary Jean Brown, Thomas Brown
2:14cv00787   Tracy Hatmaker
2:14cv00794   Carolyn Donald
2:14cv00875   Billie Jo Winner, Ross W. Winner
2:14cv00877   Mary M. Reilly
2:14cv00916   Shelly Chrismon, Kenny Chrismon
2:14cv00970   Joyce I. Aguirre
2:14cv00971   Karla E. Buchanan-Howe
2:14cv00973   Rosalie D. Moon
2:14cv00977   Linda Kaye Wilson, Terry Wilson
2:14cv00980   Alia Pagan, Leonard Pagan
2:14cv00982   Sharon E. Ramakrishna-Kresman
2:14cv00983   Bertha May Barnhart
2:14cv00984   Barbara Jean Hynson
2:14cv00985   Georgina DiBella
2:14cv01006   Clara Aultman
2:14cv01040   Elizabeth Bearden
2:14cv01048   Sandra L. Isom
2:14cv01050   Kimberly Cash
2:14cv01054   Leslie Ephraim
2:14cv01059   Lisa Foster
2:14cv01081   Vivian Knoll
2:14cv01082   Sherry O'Neil
2:14cv01090   Mistie Dawn Gladden
2:14cv01091   Kristy Reinke, Dougles Reinke
2:14cv01095   Iris Rivera
2:14cv01101   Sarafina Rodemich
2:14cv01107   Christine Schneider, Keith Schneider
2:14cv01143   Cheryl Annette Bacon
2:14cv01157   Linda Okonowski, Jeffrey Roman Okonowski
2:14cv01162   Patricia Marquez Anaya
2:14cv01163   Ann Davis
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2:14cv01164   Esthela Diaz, Armando Diaz
2:14cv01167   Cherylann Wilson
2:14cv01172   Shannon Moore, Rancho Moore
2:14cv01174   Zella Diane Ayala, Jose L. Ayala
2:14cv01194   Patricia Ann Brodbeck, Deo Brodbeck
2:14cv01195   Maureen M. Soto, Rafael E. Soto
2:14cv01202   Myra E. Corbett
2:14cv01206   Louise G. Mauro
2:14cv01207   Evangelina Bassett, Glenn R. Bassett
2:14cv01314   Cathy Diane Collins
2:14cv01363   Shirley Oder, Kent Oder
2:14cv01460   Marie Hoag
2:14cv01464   Cheryl Knapp
2:14cv01475   Pamela Ritter, Keith Ritter
2:14cv01477   Karen L. Lamb
2:14cv01484   Fannie Sue Bell
2:14cv01486   Stella Trent
2:14cv01487   Teresa Vanbeek
2:14cv01515   Patricia Perullo
2:14cv01614   Linda M. Polland
2:14cv01695   Sandie Adams
2:14cv01718   Carol Kaye Campbell, Allen Campbell
2:14cv01725   Susan Delgadillo, Exiquio Delgadillo
2:14cv01741   Kimberly Graham
2:14cv01747   Debra Kight
2:14cv01752   Sheryl Lipari, Robert Lipari
2:14cv01779   Valencia Scott
2:14cv01780   JaNeal Shattuck, Duane Christopher Shattuck
2:14cv01782   Melissa Soete, John Soete
2:14cv01789   Brenda Workman
2:14cv01822   Debra Rusconi
2:14cv01828   Barbara J. Kuhn
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2:14cv01876   Ashley Bowers, Jason Bowers
2:14cv01878   Patty Bramblett
2:14cv01882   Gail Ann Brawn, Lawrence Brawn
2:14cv01883   Janice Brown, Billy Gene Brown
2:14cv01885   Shelby Cole
2:14cv01888   Teresa Cruce
2:14cv01892   Carol Degray, Raymond Degray
2:14cv01895   Kathy Duvall, Dennie Duvall
2:14cv01900   Karen Fox
2:14cv01901   Monica Hammuck-Gates
2:14cv01905   Patricia Love, Donald Love
2:14cv01940   Elsa Morejon
2:14cv01962   Jerry Smith
2:14cv02001   Jane Caylor, Dale Caylor
2:14cv02012   Anna M. McCann
2:14cv02042   Madeline Abernathy, Malcolm E. Abernathy
2:14cv02055   DeLanea M. Hiskett, Steve R. Hiskett
2:14cv02139   Sally Calloway
2:14cv02273   Lisa K. Lawson
2:14cv02274   Ashley Paige Reyes
2:14cv02280   Connie M. Barfield
2:14cv02296   Sherry Robinson, Jerome Robinson
2:14cv02350   Lori Carpenter
2:14cv02361   Hilda Martinez De Le Hardy
2:14cv02381   Laura Page
2:14cv02382   Lee Perrine
2:14cv02391   Deborah Tolley, Thomas B. Tolley Sr.
2:14cv02395   Martisha Unruh
2:14cv02400   Ruth Yousey
2:14cv02403   Rebecca K. Atkinson, Brian Atkinson
2:14cv02436   Barbara Beasley
2:14cv02604   Jessica L. Wages, Robert Wages
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2:14cv02608   Saundra S. Schwinnen
2:14cv02648   Amber Michele Phillips, Guy Phillips
2:14cv02687   Lorrie Polvado, Michael Polvado
2:14cv02749   Madelina Cuadrado, Antonio Perez
2:14cv02752   Rebecca Field, Mitchell Field
2:14cv02794   Julie Odom, Stedan Odom
2:14cv02798   Annette Pardo Ramos, Angel Zayas
2:14cv02805   Gloria Robinson
2:14cv02887   Susan Geyer
2:14cv02889   Barbara Merholtz
2:14cv02902   Debbie Binnie, Jim Binnie
2:14cv02904   Millie A. Blankenship
2:14cv02905   Sandra L. Bowling, Phillip Bowling
2:14cv02910   Brenda M. Casey, Kirby Casey
2:14cv02911   Lisa A. Cerkowski-Dahoda
2:14cv02914   Laurie K. Clark
2:14cv02916   Charlotte Davis
2:14cv02917   Deborah A. Davis, John Davis
2:14cv02920   Sharon A. Elliott
2:14cv02921   Dora A. Esparza, Adam Esparza
2:14cv02923   Stella Farinacci, Frankie Farinacci
2:14cv02924   Judith Friedel
2:14cv02925   Tina L. Gabel
2:14cv02926   Brenda J. Gagliardo, Samuel Gagliardo
2:14cv02928   Lori T. West
2:14cv02930   Victoria Amirault, Frank Amirault
2:14cv02931   Elizabeth Bickley, Michael Bickley
2:14cv02932   Sulema S. Campos, Alfredo Campos
2:14cv02934   Rebekah DonCarlos, Bill DonCarlos
2:14cv02935   Robin Dunsmore
2:14cv02936   Susan Fink
2:14cv02937   Maggielene Finney, William Finney
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2:14cv02938   Lori A. Fuqua
2:14cv02944   Deborah Bulkoski
2:14cv02949   Emily Plemmons
2:14cv02953   Emily Choate, Robert Choate
2:14cv02954   Penny L. Choate
2:14cv02955   Lisa L. Crandall, Jason Crandall
2:14cv02956   Lenora DeHass
2:14cv03367   Alejandrina Gaucin, Jose Rafael Avila
2:14cv03368   James Robert Gavin, Helen Karlene Gavin
2:14cv03381   Nicole L. Bibbs
2:14cv03387   Tracy Chiquito
2:14cv03775   Retha Cain
2:14cv03790   Marilyn Caldwell
2:14cv03795   Dawn Camp, John L. Camp
2:14cv03801   Jennifer Rands
2:14cv03802   Amy Caraway, John Wesley Caraway
2:14cv03803   Judy Rutland
2:14cv03804   Caren Carlson, Brian L. Carlson
2:14cv03810   Charlotte Carter
2:14cv03812   Tonya Cartwright, Edward Cartwright
2:14cv03815   Martha Casas
2:14cv03818   Helen Cerra
2:14cv03820   Samantha Challingsworth, James Michael Challingsworth
2:14cv03821   Mary Chambers, John Chambers
2:14cv03830   Tricia Clark, Steven D. Clark
2:14cv03831   Phyllis Clark
2:14cv03832   Peggy Clark, Fred Clark
2:14cv03834   Barbara Clayton
2:14cv03838   Kimberly Cochran
2:14cv04076   Darcel Gibson
2:14cv04079   Shirley A. Glover, Greg Glover
2:14cv04081   Joanne Gomez, George Gomez
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2:14cv04084   Brenda G. Grant
2:14cv04085   Heather Graves
2:14cv04088   Phyllis Graybeal
2:14cv04093   Mary Heflin
2:14cv04095   Clara Hughes-Hillman, Edward Hillman
2:14cv04098   Patricia D. Hutto, David Hutto
2:14cv04102   Dora Lee Ott
2:14cv04104   Raelene M. Jezior, Michael Jezior
2:14cv04105   Linda S. Johnson, Richard Johnson
2:14cv04109   Kathy Khatib
2:14cv04110   Janna Kimmons, Barry Kimmons
2:14cv04112   Teresa L. King, Mark King
2:14cv04113   Stacey Salerno
2:14cv04116   Tracei Kristof
2:14cv04123   Tracy A. Lemond, Jack Lemond
2:14cv04128   Priscilla Lermineaux
2:14cv04130   Brenda Loske, Eric Loske
2:14cv04139   Betty A. McDaniel, Leon McDaniel
2:14cv04143   Janice Mcinturff, Donald Mcinturff
2:14cv04145   Angie M. McJunkin
2:14cv04147   Billie Menefee
2:14cv04148   Lisa A. Minor, Thomas Minor
2:14cv04167   Frances M. Bascom
2:14cv04170   Rose E. Commarata, Joe Commarata
2:14cv04277   Dawn Minyoung
2:14cv04283   Tina Moreno
2:14cv04288   Karen Morrison, Patrick Morrison
2:14cv04291   Tracie Mosier, Thornton Mosier
2:14cv04295   Marlene D. Nelson, Lee Nelson
2:14cv04298   Pamela E. Newby, Larry Newby
2:14cv04301   Vivian Obrian, Donald Obrian
2:14cv04311   Debera F. Olsen
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2:14cv04315   Jo Ann Olson, David Olson
2:14cv04319   Catherine Paige, Steven Paige
2:14cv04323   Gloria Parrella
2:14cv04325   Leah Peck
2:14cv04334   Carrie Pine
2:14cv04336   Royal G. Poyneer, Randy Poyneer
2:14cv04343   Delores Matecki, Robert Matecki
2:14cv04480   Barbara Flowers
2:14cv04481   Darlene Gobert
2:14cv04493   Cindy Thomas
2:14cv04500   Yvette Brown, Bryan Brown
2:14cv04515   Brenda Lee Mercer
2:14cv04517   Laila M. Richards, Robert R. Richards
2:14cv04519   Ronda Suzanne Alison
2:14cv04522   Tera Helton, Joseph Helton
2:14cv04523   Agnes Hornick, Donald Hornick
2:14cv04524   Stacie Hubbard, Byron Hubbard
2:14cv04525   Melissa Isbell
2:14cv04527   Rose King
2:14cv04530   Portia Metz
2:14cv04531   Carolyn Oakley, Robert Oakley
2:14cv04532   Joyce Patterson
2:14cv04534   Debra Russell, Charles Russell
2:14cv04537   Kari Scott Schader, Jared Schader
2:14cv04538   Linda Sexton, Travis Sexton
2:14cv04541   Glenda Smallwood
2:14cv04552   Charlene Bryan, Jessie Bryan Jr.
2:14cv04593   Bonnie Gay MacKenzie
2:14cv04599   Kris Lynne Belisle, Paul Belisle
2:14cv04602   Patricia J. McKissick, James A. McKissick Jr.
2:14cv04607   Lori Lynn Becker, Randy Becker
2:14cv04609   Joan Susan Countryman
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2:14cv04610   Lori A. Wenrich, Todd Wenrich
2:14cv04729   Kathy Corbett Geiger, Marty Geiger
2:14cv04731   Ruetta Freitag, Bruce Freitag
2:14cv04745   Julie Rabik
2:14cv04753   Tammy Daniels, Dale R. Daniels
2:14cv04785   Janis K. Refior, Thomas Refior
2:14cv04960   April L. McCloud, John McCloud
2:14cv05298   Penny Reynolds, Jeff Reynolds
2:14cv05300   Angela Richards
2:14cv05301   Michelle R. Rich-Maynard, Johnny Maynard
2:14cv05305   Brenda Rose
2:14cv05309   Brenda Faye Watkins
2:14cv05310   Robyn D. Saldate, Alfedo Saldate
2:14cv05314   Bonnie Scofield
2:14cv05324   Jessine R. Shanks
2:14cv05325   Jennifer Hughes Tate, Charles Tate
2:14cv05327   Connie Shields, Daniel Shields
2:14cv05329   Monica L. Shuler
2:14cv05330   Constance L. Wilcox, Eric Wilcox
2:14cv05332   Lisa F. Sims, William Sims
2:14cv05333   Hannah Sisson
2:14cv05336   Janet Skold
2:14cv05337   Glenda J. Smith, Gary Smith
2:14cv05339   LaVoynne Smith, Terry Smith
2:14cv05340   Sylvia B. Smith
2:14cv05342   Jane Smithbower,
2:14cv05343   Barbara J. Snyder, Glenn Snyder
2:14cv05345   Christina Soliday, Brian Soliday
2:14cv05346   Argentina R. Sousa, John Sousa
2:14cv05349   Linda D. Spears
2:14cv05352   Madeline Springer
2:14cv05353   Julie Staltz
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2:14cv05354   Lynn Stanton, Don Stanton
2:14cv05356   Debera E. Stapleton, Roger Stapleton
2:14cv05359   Theresa A. Stapleton
2:14cv05361   Susan Stompf, Ronald Stompf
2:14cv05364   Elizabeth Strickland
2:14cv05367   Alma R. Taylor
2:14cv05369   Sherry Taylor
2:14cv05371   Beverly R. Teel, Price Teel
2:14cv05374   Ann Tejack, Dennis Tejack
2:14cv05375   Barbara A. Thomas, Ronald Thomas
2:14cv05376   Eva L. Thomas
2:14cv05377   Stacey Thomas, Anthony Thomas
2:14cv05380   Laura Torres
2:14cv05382   Danielle Triolo
2:14cv05385   Sherri Tucker
2:14cv05387   Judy D. Ussery, Richard Ussery
2:14cv05390   Barbara Wadel, Jay Wadel
2:14cv05392   Mary G. Waldheim
2:14cv05394   Wendy L. Watts, George Watts
2:14cv05398   Linda L. Weierbach
2:14cv05399   Grace Wellner
2:14cv05401   Cathy M. Wiley
2:14cv05462   Joan C. Williams, Gregory Baughman
2:14cv05464   Melinda M. Willis, Michael McDaniel
2:14cv05465   Lois Wilson
2:14cv05466   Cynthia Wood, Craig Wood
2:14cv05467   Kristy Woods
2:14cv05468   Cathy Worley, Dennis Worley
2:14cv05541   Pauline Blais, Julien A. Blais
2:14cv05546   Denise Bowe
2:14cv05644   Martha Divens, Odis Divens
2:14cv05672   Tracie R. Liebig, Joshua Woelke
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2:14cv05675   Glory Durham, Charles Durham Jr.
2:14cv05755   Bobbie Gaddis, Bobby G. Gaddis
2:14cv05806   Joey Smith, Craig Black
2:14cv05861   April P. Cetoute
2:14cv05922   Patricia Harden
2:14cv05935   Julie Loftus
2:14cv05939   Marion Martinelli, Wayne Martinelli
2:14cv05955   Elizabeth Ann Peterson, Kenneth Peterson
2:14cv05991   Julanne K. Troha, John M. Troha
2:14cv06006   Cynthia Williams
2:14cv06026   Lori Tozier
2:14cv06072   Amy Petersen
2:14cv06156   Sally Ann Sheppard, Randal Sheppard
2:14cv06192   Sally Ann Furney
2:14cv06205   Elaine I. Moreno, Juan Moreno
2:14cv06238   Bree Ottwell
2:14cv06277   Paula Peerboom
2:14cv06307   Lena B. Haggard
2:14cv06313   Gertrude Johnson, Mark K. Johnson
2:14cv06370   Gayle M. Whatley, Samuel T. Whatley Jr
2:14cv06415   Robin Hill, Robert Hill
2:14cv06431   Thao T. Le
2:14cv06441   Mary A. Lokey
2:14cv06446   Brenda Mahan, Roger Mahan
2:14cv06454   Stephanie Sparks, Shaun Sparks
2:14cv06463   Lena Tyson, William Tyson
2:14cv06475   Kathy Wilson, Terry Wilson
2:14cv06476   Lisa Ann Swick, Raymond E. Swick
2:14cv06496   Susie Hutson
2:14cv06503   Maria Teresa Roman, Sebastian Roman
2:14cv06517   Tammie J. Medley
2:14cv06524   Debra G. Weeks, Ricky Weeks
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2:14cv06526   Rhonda Roxann Wilt, Donald Wilt
2:14cv06530   Brenda Hardesty
2:14cv06589   Maria E. Henrichs, Phil C. Henrichs
2:14cv06595   Karren A. Pontis
2:14cv06604   Janice L. Service
2:14cv06627   Sharon L. Taylor, Larry D. Taylor
2:14cv06687   Gaynell Cora Hillis, Lawin Hillis
2:14cv06725   Barbara Sylvia Pitro
2:14cv06730   Mayra Janet Ortiz-Colon, Victor M. Colon-Velez
2:14cv06738   Debra Higgins
2:14cv06740   Patti J. Martin, Philip Martin
2:14cv06741   Joyce Gibson
2:14cv06742   Dixie Lee Jesse
2:14cv06745   Martha Tipton Gier
2:14cv06755   Melissa G. Hines, Paul Hines
2:14cv06759   Beatrice Ann Grayson
2:14cv06767   Terri L. James
2:14cv06769   Lisa Jean Muir, John Muir
2:14cv06773   Cassie Lorraine Travis
2:14cv06777   Leyda Ivette Gonzalez
2:14cv06780   Roselyn Marie Garza, Manuel Segura
2:14cv06995   Sharon Huckabey
2:14cv07021   Denise Bertolozzi
2:14cv07071   Robynn Brown
2:14cv07095   Stacey J. Baker
2:14cv07099   Sheila Cohen
2:14cv07101   Nora E. Comstock, Robert Comstock
2:14cv07104   Cynthia J. Cooke
2:14cv07108   Barbara Cummings, Terry Cummings
2:14cv07110   Theresa Duffy
2:14cv07111   Judy Fink
2:14cv07115   Candee Geiser, William Frazier
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2:14cv07120   Georgia Harbeck, Sam Kinsley
2:14cv07122   Mary E. Hardy
2:14cv07125   Cindy Heimbuck, Ivan Heimbuck
2:14cv07128   Tonya S. Hicks
2:14cv07130   Tania Huntley
2:14cv07131   Linda B. Jackson, Leon Jackson
2:14cv07133   Sandra L. Karsen
2:14cv07134   Donna Kay Atkinson
2:14cv07138   Tasha Marney-Tinsley, Kenneth Tinsley
2:14cv07141   Anna Mikan
2:14cv07144   Carol D. Mullins
2:14cv07151   Sandra Nadrich
2:14cv07154   Shay Nielsen
2:14cv07172   Ida Sparks
2:14cv07173   Patricia Z. Thompson
2:14cv07174   Ramona Tolman
2:14cv07175   Gloria M. Triplett
2:14cv07177   Kimberley F. White
2:14cv07179   Linda Wiggins
2:14cv07181   Cynthia J. Zack, Craig Zack
2:14cv07182   Sandy M. Bajt
2:14cv07184   Cynthia M. Zimmerman
2:14cv07199   Judith Ann Beeler
2:14cv07234   Jonni K. Carmean
2:14cv07238   Teresa A. Ellis
2:14cv07261   Dorothy Teepe, Donald Teepe
2:14cv07266   Nicole Dugan-Fultz
2:14cv07271   Ellen Marie Cunningham, Roger Cunningham
2:14cv07275   Penny Sue Smith
2:14cv07276   Debbie Lee Hughes
2:14cv07279   Mary L. Cataldo, Timothy Cataldo
2:14cv07280   Texie Evers
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2:14cv07283   Shellie A. Hall
2:14cv07291   Mary Lou Davis-Hughes
2:14cv07293   Linda L. Geary
2:14cv07294   Lindsay L. Gilley
2:14cv07296   Teresa Marie Herman
2:14cv07298   Donna M. Peters-Holt
2:14cv07299   Eloise J. Ponder
2:14cv07301   Dollatine E. Rinderer
2:14cv07302   Sheila D. Schaefer
2:14cv07303   Sigrid O. Siegert, Robert A. Siegert
2:14cv07304   Margaret E. Skwiat-Gloy
2:14cv07341   Sandra Downey, Brian Downey
2:14cv07366   Tamra Kay Inglis
2:14cv07403   Norma Dean Johns
2:14cv07441   Cecilia Dickinson
2:14cv07444   Cynthia Marie Lyle
2:14cv07446   Terri L. Masters
2:14cv07449   Penny C. McNew
2:14cv07450   Barbara Blake Reyes, Felix Manuel Reyes
2:14cv07461   Erlene Marie Pfeifer-Gifford
2:14cv07462   Shannon Jayne Polston
2:14cv07464   Lisa Werner
2:14cv07474   Constance Susan Smith
2:14cv07479   Margaret Ann Smith
2:14cv07483   Christine D. Steere
2:14cv07487   Carol Sue Thomas
2:14cv07488   Misty Michelle Tregellas
2:14cv07491   Tara Dawn Willett
2:14cv07548   Sandy Alice Montgomery, Dwayne Montgomery
2:14cv07572   Deloris Ann Ayers
2:14cv07578   Penny L. Bradford
2:14cv07583   Bonnie Lynn Confer
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2:14cv07584   Tonya M. Conley
2:14cv07586   Rachel G. Craig
2:14cv07590   Stacy Dyan Delahunty, Edward R. Delahunty
2:14cv07630   Tobi Lyn Adorno
2:14cv07631   Candy Lynn Allison
2:14cv07632   Tina Sue Ault
2:14cv07635   Lupe Dawn Bedolla
2:14cv07640   Linda L. Bergenstein
2:14cv07641   Gwendolyn Carter
2:14cv07647   Vanice Marie Coronado
2:14cv07648   Parthina Davenport
2:14cv07653   Rosemarie Duran
2:14cv07661   Brenda Lousie Harris
2:14cv07662   Sherry A. Harris-Barksdale
2:14cv07669   Maureen Frances Jones
2:14cv07670   Sandra J. Kerrigan
2:14cv07672   Carla Swanson Judah
2:14cv07674   Melondy McClure
2:14cv07679   Joyce A. Niekamp
2:14cv07688   Regina Dorothy Plantikow
2:14cv07689   Cathy Sue Ray
2:14cv07691   Judy Marie Russell
2:14cv07695   Veronica Laraine Storch
2:14cv07696   Julie K. Terry
2:14cv07699   Marguerite A. Von Burg
2:14cv07701   Eleanor C. Welch
2:14cv07704   Deborah Kay Doe
2:14cv07715   Deborah Sue Doyle
2:14cv07719   Melissa Dawn Eekhoff
2:14cv07726   Saundra Sue Emarthla
2:14cv07738   Victoria L. Friend
2:14cv07746   Gayle M. Fahler, David P. Fahler
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2:14cv07749   Lynda Sue Fuqua
2:14cv07750   Sylvia A. Frew
2:14cv07752   Cynthia D. Harris
2:14cv07758   Mary Bernadette Baumgartner
2:14cv07774   Wanda J. Bowles
2:14cv07781   Jill S. Brand
2:14cv07787   Rhonda A. Buchanan
2:14cv07805   Norma O. Cole
2:14cv07806   Stacy L. Beck
2:14cv07807   Sandra Lee Crowe
2:14cv07808   Marlene Eva Beliveau
2:14cv07812   Joyce Dorminy Bowen
2:14cv07819   Catherine Alice Breshears
2:14cv07822   Margaret Arlene DiFranco
2:14cv07825   Gloria D. Brown, Larry S. Brown Sr.
2:14cv07831   Betty M. Durbin
2:14cv07835   Carol Y. Eaker
2:14cv07841   Marilyn Ann Ford
2:14cv07846   Virginia Guadalupe Cantu
2:14cv07850   Maria Gonzalez, Ramon Gonzalez
2:14cv07858   Teresa F. Ellis, Albert E. Elllis
2:14cv07873   Cathy Elaine Herald, Stephen Lee Herald
2:14cv07874   DeLoise Poole, Windell Poole
2:14cv07877   Wilma Wilson
2:14cv07881   Patricia Ann Spence, David Spence
2:14cv07891   Jodi Lynch, Personal Representative of the Estate of Pamela Trautz
2:14cv07902   Kathryn Lee Kinsey
2:14cv07903   Jamie Michelle Howard
2:14cv07904   Diane Koontz
2:14cv07905   Melanie Krambeer
2:14cv07914   Bobbi J. Malcou
2:14cv07916   Katie L. McKown
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2:14cv07923   Sherry Lynn Walsh, George Walsh
2:14cv07924   Jolene Patricia Merkel
2:14cv07926   Debra Kay Sours, Billy D. Sours
2:14cv07932   Jamie Ann Ramirez
2:14cv07937   Cynthia L. Sander
2:14cv07938   Patricia Louise Schultz
2:14cv07940   Marcella M. Shinneman
2:14cv07943   Jessie Stewart Smart
2:14cv07944   Vikki Lynn Sparks
2:14cv07962   Candace Jo Wibbing
2:14cv07963   LaDonna R. Williams
2:14cv07964   Lisa G. Williams
2:14cv07965   Ann M. Gable,
2:14cv07969   Ruby J. Garraway
2:14cv07984   Robin K. Griffiths
2:14cv07991   Judith C. Howard
2:14cv07995   Mandy M. Hamilton
2:14cv07996   Janine R. Conahey
2:14cv08008   Helen K. Hartshorn
2:14cv08012   Cheryl Ann Hill
2:14cv08018   Janice E. Measel
2:14cv08021   Mary A. Powell, Brian E. Powell
2:14cv08025   Candy L. Smith, Tommy G. Smith
2:14cv08036   Nancy J. Heim
2:14cv08047   Elizabeth A. Lacqua
2:14cv08050   Stella Johnson
2:14cv08070   Marva A. Hood
2:14cv08072   Susan A. Hudson
2:14cv08077   Kerri L. Jones
2:14cv08080   Kimberly Evelyn Kinlaw
2:14cv08083   Kathy Louise Klutts
2:14cv08084   Kerri L. Kmetz
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2:14cv08094   Aura I. Alvarez
2:14cv08097   Arzella Mae Marcum
2:14cv08098   Lucille S. Carroll
2:14cv08101   Beverly Jo Clingerman
2:14cv08105   Tina K. McCleary
2:14cv08107   Lisa Kelleher
2:14cv08108   Betty J. McCranie
2:14cv08109   Rita Mae Kent-Rea
2:14cv08111   Joan Marie Krusinski
2:14cv08126   Nancy Sigmon, James Sigmon
2:14cv08129   Brenda A. Sanger
2:14cv08134   Rosario Van Diest, Robert Van Diest
2:14cv08142   Etta R. Miley
2:14cv08150   Charity Lynn Moreland
2:14cv08157   Susan K. Lorenz
2:14cv08159   Pamela Denise Martin
2:14cv08161   Alice Pearline Mudd
2:14cv08163   Dorothy Jeanne Mullett
2:14cv08164   Carol D. Mullins
2:14cv08168   Marjorie Alene Munion
2:14cv08179   Mary L. Nash
2:14cv08183   Alma Luz Rodriguez
2:14cv08188   Elizabeth S. Nilbert
2:14cv08191   Angela Juanita Nichols
2:14cv08192   Bonnie Jean O'Connell
2:14cv08194   Kathleen Ann Pettinato, Robert Pettinato
2:14cv08198   Jacqueline L. Willard, Gregory Willard
2:14cv08199   Angela Harvill Sawyer
2:14cv08201   Shirley Ruth Charles, William Charles
2:14cv08205   Darlene M. Patriok
2:14cv08211   Urszula Sowa
2:14cv08216   Nancy C. Richardson
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2:14cv08224   Vernena Jo Russell
2:14cv08254   Krista Parks, Michael Parks
2:14cv08256   Pamela Robbins, William Robbins
2:14cv08263   Diane E. Lillien
2:14cv08270   Vicki Mae McCreary, Jeff Deeren McCreary
2:14cv08274   Tracye Michelle Klassen
2:14cv08277   Judith Marie Maytum, John P. Maytum
2:14cv08279   Pamela Sue Phillips
2:14cv08280   Gloria Anderson, Thomas Anderson
2:14cv08282   Sherry Marcelle Evans, Gregory G. Evans
2:14cv08284   Tina Marie Strubert, John Walter Strubert
2:14cv08285   Deborah L. Somerville, Ronald Somerville
2:14cv08296   Lovie L. Miller
2:14cv08298   Rhonda S. Smith
2:14cv08300   Carolyn Campbell Stewart
2:14cv08301   Terri Harland Stringer
2:14cv08309   Peggy Sue Wilson
2:14cv08312   Donna McLeod, Christopher McLeod
2:14cv08315   Cheryl Lee Writer
2:14cv08320   Sheryl Marie Arnett
2:14cv08342   Suzette Ward
2:14cv08345   Janice Williams
2:14cv08347   Debra L. Clair
2:14cv08351   Virginia Yurkovic
2:14cv08352   Susan M. Congin
2:14cv08362   Donna J. Di Paolo
2:14cv08372   Beckie L. Wilson
2:14cv08375   Melvonnie G. Sample
2:14cv08377   Beverly A. Scheffel
2:14cv08381   Rita A. King
2:14cv08382   Merrie Lenn Schweigert
2:14cv08384   Barbara H. Shaneberger
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2:14cv08386   Rebecca E. Shebesta
2:14cv08387   Cathy Jo Neff
2:14cv08394   Claudia M. Silvers
2:14cv08395   Carrie J. Skaggs
2:14cv08400   Darlene L. Soto
2:14cv08413   Donna Becco Schroeder
2:14cv08414   Penny Martin, Lester Martin
2:14cv08419   Brenda K. Ternberg
2:14cv08420   Lynn C. Alberti
2:14cv08435   Kathleen M. Tewelow
2:14cv08436   Dianna Beisel Thomas
2:14cv08438   Valerie J. Tolliver
2:14cv08442   Simone Flemming-Tillman
2:14cv08453   Betty F. Hall
2:14cv08454   Betty J. Higbee
2:14cv08455   Elizabeth Trembly
2:14cv08459   Mary Ann Hollen
2:14cv08461   Sandra Kay Howard
2:14cv08471   Kimberly M. Webber
2:14cv08472   Lillian G. Martinez
2:14cv08475   Edna M. McCoy
2:14cv08478   Shirley Ann McGuire
2:14cv08482   Vivian Virginia O'Brian
2:14cv08485   Cynthia Grimwood Pietsch
2:14cv08486   Nancy Marie Wilson
2:14cv08487   Jessie Darlene Reed
2:14cv08489   Vicki Ann Strickley
2:14cv08490   Michele M. Witman
2:14cv08492   Kimberly L. Woloch
2:14cv08499   Michelle R. Wood
2:14cv08507   Sandra Leanne Bandy
2:14cv08509   Kimberlee A. Avila
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2:14cv08516   Marjorie R. Branch, Ronnie Branch
2:14cv08517   Stella Michele Berardino
2:14cv08538   Brenda Bond, Bruce Bond
2:14cv08542   Beverly Rench, Daniel J. Rench
2:14cv08547   Tammy S. Smith, Shawn Smith
2:14cv08548   Enedelia Soliz, Jose H. Soliz
2:14cv08558   Amanda S. Lotton, Jonathan Lotton
2:14cv08563   Debra A. Rondeau
2:14cv08574   Gracy C. Hancock
2:14cv08597   Susan Saline, Brian Saline
2:14cv08604   Betty Sellers, Danny Sellers
2:14cv08610   Sharron Smith
2:14cv08621   Julie Ann Wood
2:14cv08659   Mary Louise Biggers
2:14cv08660   Elizabeth Bizzari
2:14cv08664   Margie Brunner, Douglas Brunner
2:14cv08667   Doris Ann Capps
2:14cv08668   Mary Jo A. Carland
2:14cv08670   Doris Kay Cook, Gary Cook
2:14cv08671   Jacqueline D. Cox, Wayne Cox
2:14cv08679   Veronica Joy Didelot
2:14cv08682   Brenda S. Doty
2:14cv08684   Cheryl Tharp Dunn
2:14cv08686   Peggy Marie Flowers
2:14cv08687   Sandra Marie Georgianna
2:14cv08693   Lisa K. Griffin
2:14cv08703   Adell D. Henry
2:14cv08715   Michaelle K. Cook
2:14cv08717   Cynthia A. Descovich
2:14cv08718   Deneatra Rochelle Early
2:14cv08719   Christina F. Garcia
2:14cv08720   C. Diane Groeger
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2:14cv08724   Karen I. Landry
2:14cv08730   Vicki Lynn Connolly
2:14cv08743   Jewell Dean Davis
2:14cv08754   Brenda Lee Fowler
2:14cv08759   Barbara Lee Hernly
2:14cv08762   Terri L. Irwin
2:14cv08765   Joann W. Lewis
2:14cv08775   Joanne Barbara Martin-Mogis, Terry Mogis
2:14cv08777   Wendy Y. Peters
2:14cv08791   Marcia Ann White
2:14cv08792   Kelley Joan Williams
2:14cv08794   Yvonne Cecil Williams
2:14cv08795   Veronica Juarez Yabumoto
2:14cv08797   Rebecca Lynn Zielinski
2:14cv08820   Athena A. Roe
2:14cv08823   Arlene M. Sherman
2:14cv08824   Sandy Arlean Sims
2:14cv08829   Susan Lynn Smothers
2:14cv08831   June J. Sypek
2:14cv08832   Rita K. Teamer
2:14cv08841   Jennifer Lynn Martel
2:14cv08843   Cheryl L. Meadows
2:14cv08851   Janice L. Ortiz
2:14cv08856   Stephanie D. Roberson, Darren Roberson
2:14cv08858   Marilyn J. Sanden
2:14cv08860   Andrea Eidson Spann
2:14cv08862   Judy Charlotte Wade
2:14cv08863   Debra Elaine Wheelis
2:14cv08865   Adrienne T. Wolchik, Frederic Wolchik
2:14cv08867   Susan Lorraine Jackson
2:14cv08869   Linda S. Jemison
2:14cv08872   Sheree Denise Justice
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2:14cv08873   Chandra R.N. Kanemaru
2:14cv08874   Srpui A. Kasbarian
2:14cv08876   Darla Lynn Kennedy
2:14cv08878   Julie Elizabeth Kopiec
2:14cv08883   Loretta Jean Lyon
2:14cv08884   Susan L. Martini
2:14cv08886   Mary Anne McDaniel
2:14cv08890   Donna L. Mims
2:14cv08896   Jeana Elizabeth Norman
2:14cv08898   Carla D. Oder
2:14cv08900   Jamie Jane Pafford
2:14cv08904   Edna Michelle Petix
2:14cv08905   Denise Lynn Phillips
2:14cv08909   Tina Marie Scott
2:14cv08910   Peggy L. Shea
2:14cv08913   Mavis J. Stark
2:14cv08916   Sharon Louise Thue, formerly known as Sharon Louise Feltner
2:14cv08919   Sheila M. Vorse
2:14cv08920   Michelle K. Wagoner, Darrin G. Wagoner
2:14cv08923   Pamela R. Yurgil
2:14cv08924   Janet Zwiefka
2:14cv09015   Gale H. Balcer
2:14cv09017   Pamela Sue Bloom
2:14cv09038   Beth Ann Smith
2:14cv09043   Pamela Arthurs
2:14cv09056   Kim Wanona Cook
2:14cv09058   Ona Felicia Covington
2:14cv09066   Dorothy M. Forsythe
2:14cv09074   Jacqueline Gragg
2:14cv09076   Vondakay Camillea Hardin
2:14cv09079   Sharon L. Hohlfeld, David Hohlfeld
2:14cv09080   Shari L. Holstead
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2:14cv09082   Suzanne Gutierrez Jackson, Gary W. Jackson
2:14cv09083   Shellie R. Jervik
2:14cv09084   Betty Sue Johnson
2:14cv09086   Selina Carol Keller
2:14cv09088   Annmarie Kimberly, Rammy Kimberly
2:14cv09092   Patricia Lemus
2:14cv09095   Patricia Ann McDermott
2:14cv09096   Cynthia Kay McGuffey
2:14cv09098   Violet E. Moore
2:14cv09099   Marlene L. Nelson
2:14cv09101   Tamara Y. Parra
2:14cv09107   Mary Lou Torres
2:14cv09112   Lorraine Davis-Sonne
2:14cv09114   Sheryl Rodriguez, Kim Rodriguez
2:14cv09116   Patricia W. Parris, Kenneth H. Parris
2:14cv09123   Dorothy J. Reed
2:14cv09130   Lakesha D. Robinson
2:14cv09132   Maria Carmen Saldivar
2:14cv09147   Patreece A. Snell
2:14cv09150   LaVonne V. Templeton
2:14cv09151   Darlene Thomas
2:14cv09155   Bernice P. Turner
2:14cv09164   Darla J. Smith
2:14cv09187   Rachel Livingston
2:14cv09188   Ana Lopez, Dennis Lopez
2:14cv09189   Christine Lyons, Larry Ballou
2:14cv09192   Christina Maldonado, Luis Maldonado
2:14cv09193   Mary Manderscheid, Duane Manderscheid
2:14cv09194   Monica Martinez, Gilbert Martinez
2:14cv09195   Carol Matney, Larry E. Matney
2:14cv09196   Tammy McBride
2:14cv09204   Lisa Weddle
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2:14cv09210   Melodie Meissner, William Meissner
2:14cv09215   Kim Woods
2:14cv09216   Barbara N. Aldrich
2:14cv09225   Ardelia Myles, Myles Necessaral
2:14cv09228   Yvonne Burnett, Kenneth Burnett
2:14cv09235   Connie Brown, Darran Brown
2:14cv09277   Alicia Coggeshell, Aaron Coggeshell
2:14cv09279   Gracie N. Edmond
2:14cv09285   Leaterious J. Gifford, Robert E. Sutton
2:14cv09293   April D. Lauderdale
2:14cv09294   Drena L. Maynard, Paul D. Maynard Sr.
2:14cv09296   Mary Miller
2:14cv09299   Debra Pescatore, Dominick Louis Pescatore
2:14cv09301   Rhonda L. Proffitt, James R. Proffitt
2:14cv09305   Kelly L. Ross
2:14cv09310   Sandy K. Swinderman, Hoyt Marshall Swinderman
2:14cv09311   Edith May Tenney
2:14cv09312   Linda Thistlewood, Paul Faber Thistlewood
2:14cv09315   Mildred DeLane Washburn, Douglas Washburn
2:14cv09353   Connie Hogan, James Hogan
2:14cv09396   Kristy Novian, Robert Novian
2:14cv09434   Patricia E. Mattox, James A. Mattox
2:14cv09436   Dena M. Horne
2:14cv09438   Sandra A. Atkins, Daniel L. Atkins
2:14cv09442   Mary Lou Trujillo, Levi M. Trujillo
2:14cv09443   Peggy Sue Abrams
2:14cv09445   Joanne A. Jandrasitz, William C. Jandrasitz
2:14cv09479   Judy C. Ballew, Jerry Ballew Sr.
2:14cv09493   Donna Bockelman, Kenneth Bockelman
2:14cv09509   Susan Coulson
2:14cv09517   Kathy Jones, Richard Jones
2:14cv09562   Helen M. Wolfgang, Emerson C. Wolfgang
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2:14cv09579   Edith Lucille Hulsey
2:14cv09586   Linda Crowton, Ralph Giles Crowton
2:14cv09611   Terrie Miller Spradley, John E. Spradley
2:14cv09613   Monica A. Westmoreland
2:14cv09617   Nekesha L. Renfroe
2:14cv09623   Robin Holdsworth, James Holdsworth
2:14cv09627   Debbie Seely, Ray Goucher
2:14cv09628   Betty Seith, Herman Seith
2:14cv09629   Connie Stimpert, Alfred Clarence Stimpert
2:14cv09630   Mary L. Adams
2:14cv09634   Vitalia M. Vasquez
2:14cv09635   Bonnie Rivero
2:14cv09637   Mary Tibbetts, Russel G. Tibbetts
2:14cv09650   Charlotte Ryan Bruckner
2:14cv09653   Brooke M. St. Peter, Donald St. Peter
2:14cv09660   Dana M. Smith
2:14cv09689   Lavonda Snyder
2:14cv09693   Karen Staffieri
2:14cv09697   Shirley Smith, David Smith
2:14cv09722   Linda Gay Roberts
2:14cv09813   Roberta Bausum
2:14cv09817   Lisa Lapham, Todd Lapham
2:14cv09819   Kimberly Williams
2:14cv09836   Tonia Green
2:14cv09856   Myrna Welch
2:14cv09898   Lisa Pashenee, James Pashenee
2:14cv09900   Ronda Bridges
2:14cv09915   Tammy Lee Crawford
2:14cv09918   Sherry Adkins
2:14cv09928   Tracy Cost
2:14cv09937   Gabriella Echols Perez, Angleo D. Perez Jr.
2:14cv09938   Christy D. Conn
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2:14cv09941   Joan R. Miller
2:14cv09946   Donna Goble
2:14cv09949   Sherrise Martin
2:14cv09956   Sofia Saiz
2:14cv09960   Darlene Schlosser
2:14cv09964   Jean Wilson
2:14cv09966   Debra K. Taylor
2:14cv09973   Faye I. Shepard
2:14cv09979   Deborah A. Serritella
2:14cv09988   Darlene Gordon
2:14cv10003   Valerie Medrano
2:14cv10015   Leonda Smith
2:14cv10016   Ann Croft, Bailey Cooper Croft
2:14cv10019   Sarah B. Wilson-Stolz
2:14cv10020   Donna Crosby
2:14cv10022   Diana Drury, Carl Drury
2:14cv10025   Kristine Renee Murray
2:14cv10026   Debbie Emola
2:14cv10028   Barbara Epperson
2:14cv10029   Myra Flint, James L. Flint
2:14cv10032   Patricia Force, Edward E. Force
2:14cv10037   Charmian Hall
2:14cv10048   Damaris Hernandez, Milagros Hernandez
2:14cv10050   Ana Samayoa
2:14cv10060   Elainea Jarvis, Robert Jarvis
2:14cv10066   Jeanne Crosby, Sam Crosby
2:14cv10074   Karen L. Colson, Joseph Colson
2:14cv10080   Patricia Lambeth, William Lambeth
2:14cv10097   Jennifer Lloyd, James Lloyd
2:14cv10099   Darylyn Lucas
2:14cv10106   Marcella Myers
2:14cv10108   Tami Napier
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2:14cv10113   Donna L. Boggan, Thomas Boggan
2:14cv10116   Evelyn Pindilli, Elias Pindilli
2:14cv10128   Michelle Pressgrove, Richard D. Pressgrove
2:14cv10131   Charly Price
2:14cv10150   Dorothy M. Sprinkle
2:14cv10199   Frances Wears
2:14cv10237   Jimmie Alewine, Claude B. Alewine Jr.
2:14cv10238   Judy Berthold
2:14cv10239   Joyce Brock, John Brock
2:14cv10244   Clary Dean
2:14cv10245   Nicole Dolan, Kevin Dolan
2:14cv10246   Deborah Durham
2:14cv10247   Marilyn Eddy, Jimmy Eddy
2:14cv10248   Kathleen Eisel
2:14cv10249   Carolyn Elliott
2:14cv10251   Norma Fredrickson, Donald Fredrickson
2:14cv10256   Lindasue Hilbert
2:14cv10257   Betty Hindt, Tim Hindt
2:14cv10260   Diana Hochstetler
2:14cv10262   Anna L. Hughes, Jay DeWitt Hughes
2:14cv10266   Suzan Johnson
2:14cv10268   Sharon Jones, Harlan Ray Jones
2:14cv10273   Janet Lee, Clayton R. Lee
2:14cv10282   Irene Mata
2:14cv10292   Martha Pritchett
2:14cv10294   Kimberly Raiford
2:14cv10295   Jani Roberts
2:14cv10307   Tonya Sanderson, Lonnie Sanderson
2:14cv10312   Barbara Patrick Stark, Kerman Del Stark
2:14cv10313   Laura Still
2:14cv10314   Pamalla Stockho, William Stockho
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2:14cv10319   Tammy Vitaz, Thomas Joseph Vitaz
2:14cv10322   Sharon Brown
2:14cv10325   Frances Willis
2:14cv10408   Kim Waters
2:14cv10438   Dorothy Napier, James Napier
2:14cv10441   Fronia Bryant
2:14cv10445   Dolores Emily Chavez
2:14cv10446   Martha J. Price
2:14cv10448   Ethel Marie Haughey
2:14cv10449   Linda Ketchem
2:14cv10451   Evelyn Irene Lear
2:14cv10454   Roberta Lynn Sherrill
2:14cv10455   Mary Jo Wardell
2:14cv10470   Elaine Schillinger, Gordon Schillinger
2:14cv10485   Lois A. Horton
2:14cv10486   Tina Richmond
2:14cv10516   Karen Baker, Charles Baker
2:14cv10518   Sandra Estus
2:14cv10526   Linda S. Coddington, Joe Coddington
2:14cv10542   Sharon Blankenship, Jerry Lee Blankenship
2:14cv10555   Jean M. Gubelli, Lawrence Gubelli
2:14cv10582   Angela Hubbard, Jonathan Hubbard
2:14cv10589   Dorothy Coleman, Ricky Coleman
2:14cv10602   Melinda Gaye Lanford, Aaron Lanford
2:14cv10609   Jo Beth Whitlow, William Whitlow
2:14cv10615   Romona Chesney
2:14cv10628   Valerie Scudder
2:14cv10631   Isabel I. Jurado
2:14cv10640   Marianna Humbert
2:14cv10646   Janice Childers, Michael Childers
2:14cv10692   Magaly Sanchez-Herrero
2:14cv10707   Angela S. Gainey
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2:14cv10740   Janet Fergoson
2:14cv10781   Cathy Plotkin, Steven Plotkin
2:14cv10810   Kathleen Marie Munjone
2:14cv10823   Olga Estevez, Ralph Estevez Jr.
2:14cv10824   Bonnie L. Haws, Garry Haws
2:14cv10825   Monique S. Mathieu
2:14cv10838   Betty R. Lapoint, Murphy J. Lapoint
2:14cv10843   Lesbia A. Mejia
2:14cv10844   Dallas M. Bowers, Wilton Bowers
2:14cv10852   Frances E. Briggs
2:14cv10867   Melissa Renee Williams,
2:14cv10876   Patricia Wilkes, Kenneth Wilkes
2:14cv10928   Linda L. Martin
2:14cv10965   Brigitte M. Kurtz
2:14cv10987   Charlene K. Garcia
2:14cv10992   Lori Denton
2:14cv10994   Dorothy Ann Valentine
2:14cv11012   Melanie Jo Ouellette
2:14cv11028   Jessica Meyers, Eric James Meyers
2:14cv11061   Susan Diane Christensen
2:14cv11077   Cynthia Wesley
2:14cv11085   Joyce A. Branscum
2:14cv11086   Gina Williams, Alvis Williams Sr.
2:14cv11130   Kathy Tryan, Michael F. Tryan
2:14cv11217   Linda Coffman, Larry W. Coffman Sr.
2:14cv11219   Kristin Lyssy-Purcell, James Purcell Jr.
2:14cv11225   Laura Reed
2:14cv11230   Linda Zentgraf, Edward Zentgraf
2:14cv11231   Patsy Jeantete
2:14cv11232   Evelyn D. Wilborn
2:14cv11245   Margaret A. Beyers, Martin Beyers
2:14cv11261   Gail Ann Coward
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2:14cv11266   Regina A. Cross, Alphonso J. Cross
2:14cv11271   Nancy Lou Ematat
2:14cv11307   Priscilla S. Beckett, Fred Beckett
2:14cv11319   Cynthia Clark
2:14cv11340   Sylvia Smyth
2:14cv11345   Peggy Heinzman, James Heinzman
2:14cv11348   Teresa Powers, Reginald Powers
2:14cv11359   Tami Maple, Steven Maple
2:14cv11375   Joe Anna Pullen
2:14cv11377   Laurie Renninger, James Renninger
2:14cv11380   Luz C. Santa
2:14cv11382   Samantha K. Utrera
2:14cv11383   Renee Spitler
2:14cv11398   Edith C. Taylor
2:14cv11399   Heather M. Shortell
2:14cv11431   Tina Faye Schnipke, Sylvester J. Schnipke
2:14cv11441   Diane Morris
2:14cv11445   Angie Rhoads
2:14cv11450   Melissa Martinez, Ray Martinez
2:14cv11474   Judy Gentile
2:14cv11490   Sherry A. Brillhart
2:14cv11521   Mary J. Banaszewski, Thomas Banaszewski
2:14cv11530   Linda R. Williamson
2:14cv11535   Rebecca Holsinger, Paul Holsinger
2:14cv11550   Bonita E. Steen
2:14cv11679   Barbara L. Cintron, Jose M. Cintron
2:14cv11707   Linda Diane Phillips-Lewis Deas, John L. Deas
2:14cv11745   Maria Lucio
2:14cv11748   Nancy Grindstaff
2:14cv11785   Dorothy J. Melander
2:14cv11787   Eugenia I. Perkins
2:14cv11881   Norma Carlton, Dennis Carlton
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2:14cv11884   Joyce McCormick, Charles McCormick
2:14cv11886   Lana Sue Bush
2:14cv11887   Debbie Bradley, Randy Bradley
2:14cv11893   Rachel C. Blanchard
2:14cv11898   Barbara Jean Clifton
2:14cv11905   Ann Fodge, Kelly Fodge
2:14cv11910   Mary Maxedon
2:14cv11911   Michelle Denise Casey
2:14cv11915   Lisa Couture
2:14cv11925   Neineal Lemons
2:14cv11929   Marsha Story, Paul Hamilton Story
2:14cv11936   Maxine F. Pinnell, Charles S. Pinnell
2:14cv11938   Betty Knapp
2:14cv11944   Charlissa Janeski
2:14cv11968   Frances Vasquez
2:14cv11995   Esther Albright
2:14cv12001   Martha Smith Chance
2:14cv12008   Dimple Faye Dorrill
2:14cv12010   Tonia Dyas
2:14cv12014   Martha June Fancher, Bob Edward Fancher
2:14cv12047   Flora Loveless
2:14cv12071   Suzanne D. Simas, Daniel J. Simas
2:14cv12076   Twyla E. True
2:14cv12081   Addie Hammond, Cecil Hammond
2:14cv12094   Lore Ann Mellon
2:14cv12099   Theresa Kreeger
2:14cv12135   Cynthia Cruz-Garcia
2:14cv12145   Libby Nannette Swindle
2:14cv12146   Janie W. Walker
2:14cv12147   Eleanor A. Swindal
2:14cv12155   Becky Tierce
2:14cv12185   Rose Anne Koerperich, Kevin J. Koerperich
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2:14cv12201   Joan Vlahoulis
2:14cv12214   Judith Smith
2:14cv12217   Mary Jean Posey
2:14cv12275   Brenda Carter
2:14cv12287   Angie A. Baker
2:14cv12295   Barbara J. Jean, Robert Shawn Jean
2:14cv12299   Patricia King
2:14cv12300   Belinda N. Barbee, Benny W. Barbee
2:14cv12311   Shelley Murphy
2:14cv12321   Juanita L. Artman, Dennis Artman
2:14cv12323   Kathleen Grider, Danny Grider
2:14cv12351   Kathleen Dixon
2:14cv12358   Theresa Panther Goben, Dennis R. Goben
2:14cv12359   Shameemun N. Maqbool
2:14cv12365   Cynthia Yoder
2:14cv12368   Eva Renteria
2:14cv12370   Annette Richard
2:14cv12378   Rebecca Stewart, Harvey Blough
2:14cv12379   Althea Truitt
2:14cv12380   Evelyn B. Turner
2:14cv12382   DeAnn Watkins, Marshall Watkins
2:14cv12384   Dena Whited, Edgar Shirel Whited
2:14cv12398   Deborah Sweatte
2:14cv12418   Michelle Siskind, Joel Siskind
2:14cv12441   Vickie Hanshaw, Johnny Hanshaw
2:14cv12442   Rekinya Harmon, Brian Harmon
2:14cv12444   Guadalupe Hernandez, Abel Hernandez
2:14cv12482   Dianne Madison, Jerome Madison
2:14cv12492   Helen Whiting
2:14cv12494   Shanna Williamson, Robert Williamson
2:14cv12510   Christine Godoy
2:14cv12518   Shannon Moriah Brethouwer, Kurt Brethouwer
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2:14cv12540   Julie Mattson, William D. Mattson
2:14cv12561   Penny R. Scheffer
2:14cv12582   Dorothea A. Morris, David K. Morris
2:14cv12595   Penny J. Reed, Gary D. Reed
2:14cv12598   Beverly Johnson
2:14cv12611   Alison Schmid
2:14cv12668   Maureen Sullivan
2:14cv12670   Andrea D. Thomas
2:14cv12715   Kellye Edge, Michael Edge
2:14cv12717   Isabelle Bosch, Paul Bosch
2:14cv12718   Mildred Pierce
2:14cv12721   Melinda Hayden, Stephen Rogers
2:14cv12751   Lisa Mae Die, Robert L. Die
2:14cv12756   Karen Sue Gillum, Samuel Gillum
2:14cv12766   Cynthia L. Holloway, Daniel Holloway
2:14cv12780   Margarett Ann Morgan
2:14cv12796   Teresa Jean Puffinburger, Daniel Reed Puffinburger
2:14cv12805   Cathy Faye Schmutzler
2:14cv12815   Deborah A. Seidel, Steven C. Siedel
2:14cv12817   Robbin Teller
2:14cv12820   Donna Michele Weisheit
2:14cv12822   Cynthia Mincey, Freddie Mincey
2:14cv12827   Amanda Bischoff
2:14cv12830   Ruth Ann Connors
2:14cv12840   Carol Donovan
2:14cv12843   Deborah A. Newman
2:14cv12845   Alana Milstead
2:14cv12850   Veronica J. Sharpe
2:14cv12852   Sheila Greene
2:14cv12853   Judyth Jean Shurkey
2:14cv12860   Melissa McCurry
2:14cv12875   Jualene Green-Winston
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2:14cv12885   Bernadine McReynolds
2:14cv12892   Elizabeth Ann Schultz, Roger Schultz
2:14cv12894   Jeanette March, Richard B. March
2:14cv12898   Kathleen Manata
2:14cv12910   Nicole Lovell
2:14cv12916   Elizabeth A. Ballestoros
2:14cv12925   Eloisa Sanchez
2:14cv12931   Mary Ann Ratliff, Sam J. Ratliff
2:14cv12932   Donna M. Theus
2:14cv12934   Barbara E. Timmons
2:14cv12936   Marilyn Caldwell
2:14cv12954   Elaine Cannefax
2:14cv12958   Mary F. Devor, Brian Devor
2:14cv12964   Sabrina Kalene Adams
2:14cv12965   Linda Diane Anderson
2:14cv12966   Tonya R. Baker
2:14cv12970   Wanda Gail Hendershot, Barton Hendershot
2:14cv12971   MaryAnn Oborne f/k/a Kitts
2:14cv12974   Genevieve L. Beckett
2:14cv12978   Kimberly Dawn Christie
2:14cv12980   Laural L. Coppock
2:14cv12981   Julie D. Cordero
2:14cv12987   Michelle J. Gooding
2:14cv12988   Patricia Gomez, Randy Gomez
2:14cv12991   Tammy B. Lewellyn
2:14cv12998   Mecah C. Odum
2:14cv12999   Charlene Marie Painter
2:14cv13001   Karen L. Richardson
2:14cv13006   Rebecca Jane Stewart
2:14cv13008   Dawn L. Susits
2:14cv13009   Velma L. Wise
2:14cv13022   Margaret Hocking
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2:14cv13032   Lisa Crouch
2:14cv13042   Linda G. Shomo
2:14cv13096   Jean Barron-Laframboise, John Patrick Laframboise
2:14cv13100   Fredia Cable
2:14cv13108   Joan Cline
2:14cv13109   Kathleen P. Cronberg, Steven William Cronberg
2:14cv13110   Deborah Ann Davis, Dean Dexter Davis
2:14cv13127   Alisa Campbell, Joseph Campbell Jr.
2:14cv13153   Alberta Ellis, William Ellis
2:14cv13166   Hazel Pearline Frederick
2:14cv13179   Mary Susan Johnson
2:14cv13199   Diana Leonhard
2:14cv13250   Elena Neal
2:14cv13372   Cheri A. Hopper
2:14cv13377   Queenie Whetstone
2:14cv13383   Amalia Franco
2:14cv13384   Debra Kay Bilger
2:14cv13386   Delia Meadows
2:14cv13390   Pam Manahan
2:14cv13391   Lori Hankinson
2:14cv13402   Olga A. Sanchez
2:14cv13409   Shannon Bogue
2:14cv13422   Jeannie D. Lillibridge
2:14cv13437   Pamela S. Sterling
2:14cv13448   Maria Pecina
2:14cv13453   Kimberly Ratcliff
2:14cv13455   Betty J. Sellers
2:14cv13463   Ann Bernhardt, George T. Bernhardt
2:14cv13485   Gail Goldner, Stuart Goldner
2:14cv13489   Beverly Graham, James Calvin Graham
2:14cv13531   Geneva Lee, Raymond Lee
2:14cv13548   Charity Moffat
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2:14cv13556   Christina Keener
2:14cv13562   Ramona Rivera
2:14cv13565   Delta Dawn East
2:14cv13568   Kathy Tobias, Walter Tobias
2:14cv13570   Glenda Souther, Dwain Souther
2:14cv13572   David Bratton, Tina Bratton
2:14cv13578   Debra Steffen
2:14cv13586   Sarah DeCecco
2:14cv13590   Sarah Brumitt
2:14cv13620   Doreen N. Bond, Charles D. Bond
2:14cv13628   Nancy Morgan, Douglas Morgan
2:14cv13630   Stacy Caldwell
2:14cv13670   Mattie Harris
2:14cv13677   Doris Ann McGinnis
2:14cv13678   Nicole Miller, Matthew Miller
2:14cv13684   Margie E. Ford
2:14cv13687   Melissa Parra
2:14cv13694   Sonia Quinones
2:14cv13700   Joyce A. Sherwood
2:14cv13705   Jacquelyn Van Heest
2:14cv13727   Donna Gore
2:14cv13746   Donna Hammond, Thomas Hammond
2:14cv13750   Carol Christie, James Christie
2:14cv13755   Jeanette Daniel, Matthew Daniel
2:14cv13756   Ina Martin, Willard Martin
2:14cv13759   Carol Rothermel
2:14cv13788   Kelly Brookins, Duane Brookins
2:14cv13791   Ruth Carroll
2:14cv13820   Joan Harwell
2:14cv13824   Julie Luella Jackson
2:14cv13839   Carol Connor
2:14cv13842   Carolyn Ward, James J. Ward, Personal Rep.
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2:14cv13843   Eva Morgan
2:14cv13848   Maria L. Peterson, George Wesley Peterson
2:14cv13857   Natalie Joy Siman, John O'Connel Siman
2:14cv13862   Deborah Fedora, Thomas Fedora
2:14cv13888   Ida Marie Thurman
2:14cv13892   Norma Urias, Lazaro Urias
2:14cv13900   Mary Franklin, Danny Marvin Franklin
2:14cv13924   Shannon Joy Crowley
2:14cv13926   Pauline B. Goumaz
2:14cv13930   Jami Childers
2:14cv13939   Sandra Lee Greene
2:14cv13940   Jane W. Greenland
2:14cv13944   Karen S. Hill, Earl Leon Hill
2:14cv13965   Rue Bruce, Jessie Bruce Jr.
2:14cv13967   Aida L. Jaco, Gabriel Cortes
2:14cv13968   Lynis Poe
2:14cv13976   Terri Knapp
2:14cv13992   Ruth E. Finley
2:14cv13996   Pamela Juarez
2:14cv14006   Catherine Ricketti
2:14cv14011   Mary N. Montoya
2:14cv14022   Mary Lynne Smith
2:14cv14025   Charlotte Pullen
2:14cv14026   Sandra Taylor, David E. Taylor
2:14cv14027   Jill Rogan
2:14cv14055   Marianne Stephanie Derryberry, Bobby Clyde Derryberry
2:14cv14063   Janet Ferguson
2:14cv14064   Patricia White-Huaman
2:14cv14065   Susan McDermott, Larry McDermott
2:14cv14102   Darlene Stutzman
2:14cv14137   Karen Rider, William Rider Jr., William E. Rider
2:14cv14179   Moira Hawk
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2:14cv14183   Linda K. Plath
2:14cv14184   Gertrude Hite
2:14cv14189   Alice Strine
2:14cv14197   Pamela Jo Yeary, Wayne Yeary
2:14cv14288   Katherine Kay Johnson, Erving Conwell Johnson
2:14cv14307   Ann Doe, Jonathan Doe
2:14cv14337   Melissa M. Schultz
2:14cv14338   Marilyn S. Schmacker
2:14cv14340   Wendy A. Ganser
2:14cv14343   Juana R. Wells
2:14cv14370   Lydia F. Howard, Kenneth Howard
2:14cv14380   Darlene Ruth DeGroat
2:14cv14384   Donna S. Olive
2:14cv14403   Lela J. Quillen
2:14cv14409   Heather M. Hardesty
2:14cv14410   Amy Myers
2:14cv14416   Shon Y. Thompson
2:14cv14420   Lisa Adams, Matthew T. Adams Sr.
2:14cv14424   Juanita R. Couch
2:14cv14434   Bernice Tichnell
2:14cv14456   Florence Sullivan
2:14cv14472   Deborah Bridges
2:14cv14477   Lavonna Cameron
2:14cv14481   Carolyn A. Hart
2:14cv14525   Melissa Roberts
2:14cv14541   Kristy Dawn Prince, John Allen Prince
2:14cv14561   Pamela Standard Williams
2:14cv14622   Kady Smith, Willard Smith
2:14cv14736   Debbie Taylor, George Taylor
2:14cv14765   Janet Levy Napoli
2:14cv14797   Elizabeth Kell
2:14cv14948   Arlene Eschenfeldt
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2:14cv14958   Michelle Burrow
2:14cv14971   Dawn Emmerson
2:14cv14978   Jessica M. Raymond
2:14cv14988   Christy Keenan, John-Peeter Keenan
2:14cv14997   Vicki L. Carter, Donald L. Carter
2:14cv15058   Kathryn Crim, Joshua Mitchell
2:14cv15071   Misty Champagne
2:14cv15130   Betty Taylor
2:14cv15133   Virginia Robinson, Lonnie Robinson
2:14cv15217   Nydia Sue Smith
2:14cv15234   Barbara Uribe
2:14cv15237   Vera Carter, Gary Carter
2:14cv15238   Jan Meng, Max Meng
2:14cv15242   Dannette Trowbridge, Joseph Trowbridge
2:14cv15309   Victoria Rodriguez
2:14cv15333   Lillie Cravens, John S. Cravens
2:14cv15339   Elizabeth P. Morelan
2:14cv15342   Letonia Reed
2:14cv15343   Sheila Robbins
2:14cv15355   Lauretta Groom, Mark Groom
2:14cv15356   Shannon Gutierrez
2:14cv15358   Sharon Burdick
2:14cv15388   Nancy Blackney-Lopez, Clarence Lopez
2:14cv15431   Alana Williams
2:14cv15436   Peggy Green
2:14cv15473   Terry L. Taylor
2:14cv15474   Careen D. Adams, Earl Adams
2:14cv15524   Jessica Green
2:14cv15557   Kimberly Borbely, Brian Borbely
2:14cv15577   Sharon E. White
2:14cv15588   Carolyn De Moss
2:14cv15611   Debbie Taylor
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2:14cv15613   Gregoria Reyes Martinez
2:14cv15663   Lisa Lane
2:14cv15677   Lori Aldrich
2:14cv15678   Debra Anders
2:14cv15693   Tina Montgomery
2:14cv15699   Christie Byrd
2:14cv15708   Janice West, Michael West
2:14cv15711   Wendy L. Lynn
2:14cv15723   Tammy Pinckney
2:14cv15736   Brenda Hamilton
2:14cv15739   Marsha Gartee
2:14cv15755   Linda Trevino
2:14cv15781   Nicole Walker, Gary Walker
2:14cv15789   Susan Jennett
2:14cv15797   Judith M. Myers
2:14cv15801   Marian Tobin
2:14cv15848   Kendra Hollins
2:14cv15853   Belinda Cooper, Billy Cooper
2:14cv15865   Sharon Marie Mattingly
2:14cv15900   Denise Garr
2:14cv15915   Melva Turner
2:14cv15939   Kathleen T. Drinkwine
2:14cv15956   Karan Weiler, Bruce Weiler , Brice Weiler
2:14cv15963   Sherry St. John-Klenk, George R. Klenk
2:14cv15966   Norma Pickwith
2:14cv16040   Hope Virch, William Virch
2:14cv16057   Audrey Pugh
2:14cv16067   Annmarie Brown
2:14cv16068   Carin Elbert
2:14cv16126   Danielle L. Gage
2:14cv16128   Jenny Beth Jenkinson
2:14cv16129   Tammy Elizabeth Kirksey
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2:14cv16130   Robyn L. Mays
2:14cv16131   Judy-Ann Miles
2:14cv16132   Teresa Jean Morales
2:14cv16134   Rhonda D. Noles
2:14cv16135   Rebecca Jean Perkins
2:14cv16137   Evelyn R. Shaw-Dunn
2:14cv16140   Doris Jean Stinnett
2:14cv16141   Bernadine Y. Synodinos, Jamie Redman
2:14cv16143   Tammy L. Warrix
2:14cv16144   Helen L. Williams
2:14cv16159   Angela Fowler
2:14cv16169   Donna Head, Gary Head
2:14cv16174   Lisa Van Zee
2:14cv16175   Camelia Gabriel, Juan Carlos Gabriel
2:14cv16179   Linda Slutter
2:14cv16213   Denise Marie Audley
2:14cv16224   Lisa Tucci, Mark Tucci
2:14cv16404   Sally Blankenship
2:14cv16406   Teresa Anderson, William Anderson
2:14cv16407   Carla Bock
2:14cv16445   Lorena Marquez
2:14cv16479   Idolina Santos, Rene Santos
2:14cv16480   Janie Castillo
2:14cv16481   Brenda Gail Wood, Bobby Wood
2:14cv16585   Carmen Jeanenne Bell-Marshall
2:14cv16594   Beatrice Peworchik
2:14cv16598   Mary Royster
2:14cv16617   Christy Buff
2:14cv16688   Carmen Lynn Tejeda
2:14cv16705   Teresa Smith
2:14cv16761   Sally C. Judd
2:14cv16769   Kelly MacDougal
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2:14cv16770   Ruth Stump
2:14cv16773   Louise Knapp
2:14cv16781   Myrtle Covington, Donald Covington
2:14cv16785   Janice R. Gilbert
2:14cv16817   Denise E. Mosure
2:14cv16833   Cheryl Marchuk, Walter Marchuk
2:14cv16840   Linda Mathews, Terry Marcum
2:14cv16841   Stella M. Benally
2:14cv16842   Elizabeth Filback
2:14cv16859   Pamela Moriarty, Steven Moriarty
2:14cv16860   Constance Evans, Wallace Evans
2:14cv16861   Kimberly A. Larson
2:14cv16867   Evelyn E. Pinson
2:14cv16871   Johanna Jones Ruinard
2:14cv16925   Evelyn Rodriguez
2:14cv16957   Karla Gerisch
2:14cv16979   Dorothy Evans
2:14cv16980   Charlene Freitas
2:14cv16983   Delores Garcia
2:14cv16984   Christine Hall, Jody Allen Hall
2:14cv16986   Paula Hoy
2:14cv16987   Gloria Jones, Rufus I. Jones
2:14cv16989   Patricia Kennedy, James Kennedy
2:14cv16998   Donna Porter
2:14cv17000   Hannah Smith
2:14cv17002   Brenda Socha
2:14cv17004   Jeanette Townsend
2:14cv17006   Brenda Vasquez
2:14cv17014   Diana Wiza
2:14cv17015   Vicky L. Liberty, Brad E. Liberty
2:14cv17067   Laura LaBonne, Todd LaBonne
2:14cv17072   Mable Randall, Enree Randall Jr.
   Case WVS/2:15-cv-14812       Document 1     Filed 12/01/17   Page 124 of 267




2:14cv17087   Angelique Iardella, Anthony Iardella
2:14cv17117   Sherry A. Abbe
2:14cv17121   Debrah Zoeller Netzer, Dean M. Netzer
2:14cv17207   Nickie Pittman
2:14cv17209   Milagros Mercado
2:14cv17212   Teresa Ellis, Bud Ellis
2:14cv17213   Debra Schmiz
2:14cv17245   Jennifer Andree, Nathaniel Andree
2:14cv17252   Terrie Baker, Paul Baker
2:14cv17265   Lea Ann Butler, Ben Butler
2:14cv17267   Luanna Hardmann
2:14cv17269   Denise Cipoletta, Joseph Cipoletta
2:14cv17271   Judy Cochran, James Cochran
2:14cv17273   Kimberly Ferguson
2:14cv17284   Libby Rene Hall, Theodore Hall
2:14cv17292   LaTosha Finch
2:14cv17296   Lacey Perry, Jimmie Perry
2:14cv17301   Tina Rich
2:14cv17305   Karen Seers
2:14cv17309   Linda Uselman
2:14cv17314   Tabitha Goff, Andrew Goff
2:14cv17320   Shirley Henderson
2:14cv17323   Zeta R. Leggett
2:14cv17329   Danielle M. Near, Gerald Near
2:14cv17330   Carol S. McKinney
2:14cv17343   Pamela Focan
2:14cv17392   Ruby C. Campbell
2:14cv17398   Twyli M. Ridner
2:14cv17418   Brenda Combs
2:14cv17423   Mary Harmon, Boyd Harmon
2:14cv17430   Patsy Morris
2:14cv17445   Earnestine Beasley
   Case WVS/2:15-cv-14812        Document 1   Filed 12/01/17   Page 125 of 267




2:14cv17447   Christina Armentrout, Matthew Armentrout
2:14cv17450   Anna Burke
2:14cv17452   Leola Cooper
2:14cv17456   Janet Vealey, Clinton Vealey
2:14cv17465   Mary Guptill
2:14cv17470   Alicia Harmon, Theodore Harmon
2:14cv17476   Zandalisa Hunter
2:14cv17479   Jacqueline De Saint Phalle
2:14cv17507   Kathy McKinney
2:14cv17513   Bobbie Scott, Jimmy Scott
2:14cv17514   Bette Louise Smith, Larry Wayne Smith
2:14cv17516   Barbara Denise Young,
2:14cv17517   Kim Gillander, Nicholas Gillander
2:14cv17518   Gayle Jacobsen
2:14cv17520   Sherri Lindberg
2:14cv17521   Denise Lord
2:14cv17522   Diana Mesnil, Gilbert Mesnil
2:14cv17523   Jan Mobley, Bill Mobley
2:14cv17524   Vicky Simpson, Shelmon Simpson
2:14cv17525   Elizabeth Alfords, Danny Alfords
2:14cv17526   Kelli Van Dyken
2:14cv17527   Danette Wilson, Jackey Wilson
2:14cv17528   Catlin Biles
2:14cv17529   Sandra Blaylock
2:14cv17530   Tammy Dement
2:14cv17540   Elizabeth Homan
2:14cv17544   Harriett Jones-Temple
2:14cv17545   Margaret Kuzmic
2:14cv17546   Genevieve Siford
2:14cv17550   Diane Billingsley, Robert C. Reik
2:14cv17551   Debbie Brown
2:14cv17552   Darlene Collier
   Case WVS/2:15-cv-14812       Document 1    Filed 12/01/17   Page 126 of 267




2:14cv17553   Shirley Dickey, Donald Dickey
2:14cv17558   Denise Hunter
2:14cv17559   Becky Jones, Earlie Jones
2:14cv17564   Ruth Brown
2:14cv17565   Donna Cross
2:14cv17568   Tammy Fontaine, Thomas Fontaine
2:14cv17572   Jennifer McNamara
2:14cv17573   Angela Morris
2:14cv17577   Catherine Schau
2:14cv17580   Dorothy Toth
2:14cv17581   Virginia Weatherford
2:14cv17582   Darlene Enos
2:14cv17590   Teresa Marie Hayden
2:14cv17595   Lisa D. Goodwin
2:14cv17609   Lavenia L. Forester
2:14cv17621   Paula Vinklarek, Steve Craig Vinklark
2:14cv17683   Julie Frey
2:14cv17699   Patrice Clark, Kenneth Clark
2:14cv17703   Leanna Lenoir
2:14cv17707   Brenda Moore, John Moore
2:14cv17712   Debra Quiles, Nelson Quiles
2:14cv17718   Patricia Velasquez
2:14cv17720   Sandra Wood, Roy Michael Wood
2:14cv17727   Sandra Bilbrough
2:14cv17729   Tonya Ferrell, Tim Ferrell
2:14cv17731   Karen Lillejord
2:14cv17734   Betty Ann Sluis
2:14cv17740   Eliza Hendrickson
2:14cv17746   Maryellen Meehan
2:14cv17748   Julie Smits
2:14cv17751   Beverly Caldwell
2:14cv17753   Angelia Dexter
   Case WVS/2:15-cv-14812       Document 1     Filed 12/01/17   Page 127 of 267




2:14cv17754   Susie Heyd
2:14cv17755   Mary Jarvis
2:14cv17758   Heidi McAllister, Jimmy McAllister
2:14cv17759   Sharon Smith
2:14cv17760   Connie Woodard, David Woodard
2:14cv17768   Kim Gray, Lenton J. Gray
2:14cv17769   Mattie Hodges
2:14cv17770   Connie L. Pochie
2:14cv17801   Nanci Drew
2:14cv17807   Meg Hoffmann
2:14cv17809   Dorothy Lilly
2:14cv17818   Mary B. Helton, Connie Edward Helton
2:14cv17830   Rachelle Cade
2:14cv17837   Darlena DiMarzo
2:14cv17839   Deborah Glancy, Terry Glancy
2:14cv17840   Martha Reeves, Clifford Reeves
2:14cv17841   Sarah Marie Ruggiero, Thomas A. Snyder
2:14cv17842   Rhoda Smith, Jon Erik Smith
2:14cv17843   Spring Streeter
2:14cv17844   Karen Thibedeau
2:14cv17845   Michelle Lynn Winkers
2:14cv17846   Cara Devoe
2:14cv17850   Adela Staines
2:14cv17851   Sandra Tiffany
2:14cv17855   Mary Adams
2:14cv17858   Katherine Koehler
2:14cv17859   April McGillivray
2:14cv17861   Edna Wallace, Leonard Wallace, Jr.
2:14cv17881   Barbara K. Foisy, Ronald J. Foisy
2:14cv17904   Cheryl Goguen, Shawn Goguen
2:14cv17905   Wendy Brasher, Darth Brasher
2:14cv17956   Deidre Louise Crawford
   Case WVS/2:15-cv-14812        Document 1         Filed 12/01/17   Page 128 of 267




2:14cv17962   Laura Gorosh
2:14cv17987   Earnestine Davis, John Davis
2:14cv18030   Monica Cook
2:14cv18056   Angelia Watt, Marcus Watt
2:14cv18058   Wilma Durst, John Jacob Durst
2:14cv18060   Shannon Gilshian, Timothy Davis
2:14cv18061   Susan Harris, Douglas Harris
2:14cv18066   Margaret Sims
2:14cv18068   Nancy Arnold, Richard L. Arnold
2:14cv18069   Elsie Healey
2:14cv18072   Ruth Reis, Jack Reis
2:14cv18076   Karen Drumsta
2:14cv18078   Barbara Frechette
2:14cv18079   Ruth Gillean
2:14cv18085   Traci Hill
2:14cv18087   Pearl King
2:14cv18105   Juanita L. Ayala
2:14cv18126   Jami Larsen
2:14cv18127   Eva Bradley, Robert Bradley
2:14cv18129   Simone Laroche, Wayne Laroche
2:14cv18131   Constance Young
2:14cv18144   Candice Elizabeth Firgens
2:14cv18157   Donis K. Foster, Donald Foster
2:14cv18163   Annette Cadet
2:14cv18164   Ann Marie Fouts
2:14cv18167   Sandra Ledbetter
2:14cv18168   Wendy K. Levy
2:14cv18169   Kathryn Lucas
2:14cv18173   Freda L. Register
2:14cv18213   Carol Hoopingarner, Jeffrey Hoopingarner
2:14cv18257   Janice Triplett, David Triplett Jr.
2:14cv18258   Betty Brockman
   Case WVS/2:15-cv-14812       Document 1      Filed 12/01/17   Page 129 of 267




2:14cv18262   Mary Armstrong
2:14cv18263   Kristyne L. Behymer, Donald A. Behymer
2:14cv18269   Dawn Beal, Daniel Beal
2:14cv18271   Virginia Hulsey
2:14cv18273   Christine Frazer, Edward Frazer
2:14cv18274   Angel Harris, Raoul Harris
2:14cv18275   Deborah Harvey
2:14cv18276   Patricia Hopson, Rob Hopson
2:14cv18280   Barbara Murray
2:14cv18281   Carolyn Knight
2:14cv18282   Shelly Los
2:14cv18284   Ruth Pearson, Gerry Pearson
2:14cv18288   Sandra Milan, David Milan
2:14cv18292   Elaine Kurek, Joseph Frank Kurek
2:14cv18295   Karen Jones
2:14cv18299   Ellen Demmy, George Demmy
2:14cv18324   Frankie Q. Gettings
2:14cv18350   Fonda Lee Allison, Duane Forrest Allison
2:14cv18377   Jessie Ward, Sherman Ward
2:14cv18378   Linda Gayle Vanwhite-Rosado
2:14cv18380   Shawna M. Smith, Troy Smith
2:14cv18386   Dorothy Joiner
2:14cv18388   Monica Lopez
2:14cv18389   Anita U. Jain, Uttamchand Jain
2:14cv18398   Beverly Howard, George Howard
2:14cv18412   Arlene Henderson, Danny Henderson
2:14cv18416   Judy Ashbrook, Kenneth Ashbrook
2:14cv18420   Karen S. Wood
2:14cv18422   Dianne Marie Stahl, Gary W. Stahl
2:14cv18423   Cynthia A. Shride, David A. Shride
2:14cv18434   Sharon Roberson
2:14cv18436   Jeanell G. Nelson
   Case WVS/2:15-cv-14812         Document 1   Filed 12/01/17   Page 130 of 267




2:14cv18437   Sheila Martinotti
2:14cv18438   Patricia Ann Martin, Gary Lynn Martin
2:14cv18464   Margaret Loera
2:14cv18466   Debra Kuta, Craig Kuta
2:14cv18472   Mary A. McCorkle, Harold McCorkle
2:14cv18496   Staci Christensen
2:14cv18499   Joann E. Correia
2:14cv18504   Teresa Ann Smallwood
2:14cv18527   Michelle Kipp Arellano, Steve Arellano
2:14cv18536   Brenda Howell
2:14cv18544   Teresa Morton, Vincent Morton
2:14cv18552   Leigh Johnson, Fergus Johnson
2:14cv18573   Sheila Lambert
2:14cv18574   Wanita Eisenhower
2:14cv18578   Patricia Lozano
2:14cv18579   Bonnie McDaniel, Alan McDaniel
2:14cv18584   Brenda Mouser, Charles Mouser
2:14cv18586   Graciela Mendez, Refugio Mendez
2:14cv18594   Bertley Thomas
2:14cv18595   Karen Truitt, Ricky Truitt
2:14cv18599   Dona Turch
2:14cv18602   Norma J. Littich, John Littich
2:14cv18610   Sarah Walker, William Walker Jr.
2:14cv18618   Glory Young, Richard Young
2:14cv18634   Angela L. Beam
2:14cv18754   Pamela Jones
2:14cv18764   Julie Warner
2:14cv18777   Colleen Ballinger
2:14cv18780   Sandra Curry
2:14cv18783   Rebecca Hardy
2:14cv18786   Susan Lorenz
2:14cv18789   Sandra Myers
   Case WVS/2:15-cv-14812       Document 1     Filed 12/01/17   Page 131 of 267




2:14cv18799   Dawn Rieffer
2:14cv18803   April Ross
2:14cv18809   Verna M. Nelson, Richard Nelson
2:14cv18811   Angela D. Long, Joseph J. Long
2:14cv18817   Tonya Sue Greene
2:14cv18818   Terri Sue Guthrie, Jerry J. Guthrie
2:14cv18819   Betty Mae Ireland
2:14cv18821   Nadene Carroll Foster
2:14cv18825   Susan Rae Haack
2:14cv18828   Barbara Ellen Spiker, Joseph Spiker
2:14cv18829   Candace L. Mondello
2:14cv18852   Cynthia Berny
2:14cv18861   Sandra Kilmer
2:14cv18863   Annie Paul
2:14cv18869   Mary Torres
2:14cv18901   Linda Kay Kirby
2:14cv18902   Melissa Kirkland-Cook, Marshall Craig Cook
2:14cv18918   Rita Fay Hodge, Donald Lee Hodge
2:14cv18927   Doris Lawanda Smith
2:14cv18929   Carol Ann Snider
2:14cv18930   Mary Louise Teixeira
2:14cv18948   Nancy L. Thompson
2:14cv18960   Angela Brown
2:14cv18963   Pamela Osick, John Osick
2:14cv18967   Lisa Koperwhats
2:14cv18983   Olga Lopez
2:14cv18992   Marcia Aragon
2:14cv18997   Geraldine Brancheau
2:14cv18998   Donna Herring
2:14cv19015   Priscilla Brocato, Marc F. Brocato
2:14cv19027   Paula Ann Butterfield, David Butterfield
2:14cv19029   Jeri Harvey, Richard Harvey
   Case WVS/2:15-cv-14812        Document 1   Filed 12/01/17   Page 132 of 267




2:14cv19030   Debra Lynn Coleman, Henry Coleman
2:14cv19039   Sheila Frank, Robert Frank
2:14cv19041   Deanna Lynn Leverenz, Edward Jay Leverenz
2:14cv19044   Kathy Jane LeClair, David Raymond LeClair
2:14cv19048   Jennifer Frances Stanley, James Stanley
2:14cv19120   Charline Rios, Louis Rios
2:14cv19125   Gloria Trepowski
2:14cv19126   Shelton Toney, Todd Toney
2:14cv19129   Deborah King, Randy King
2:14cv19136   Nancy Harmon, Tom Harmon
2:14cv19145   Deanna Hollingsworth
2:14cv19157   Carolyn Fife
2:14cv19159   Phyllis Creech, Milton Creech
2:14cv19160   Brett Calhoun
2:14cv19161   Pamela Baker
2:14cv19169   Deborah Ulitsky, Neal Ulitsky
2:14cv19171   Vicky Rowland
2:14cv19173   Shiela Powers, Thomas Wright
2:14cv19180   Helena Gilson-Schlauh
2:14cv19181   Leslie Boettcher
2:14cv19187   Eugenia Andrea Miller, Charlton Miller
2:14cv19212   Deborah Rose Choate, Roger Choate
2:14cv19215   Donna Marie Carey
2:14cv19230   Sadie Pearson
2:14cv19232   Adriene Curry
2:14cv19260   Mary Ann Lamore
2:14cv19266   Diana Garringer
2:14cv19268   Janet Towle
2:14cv19273   Liane Dorato
2:14cv19285   Amanda Gable
2:14cv19293   Peggy Earnest
2:14cv19305   Lee Goodman
   Case WVS/2:15-cv-14812        Document 1   Filed 12/01/17   Page 133 of 267




2:14cv19308   Linda Shrewsberry
2:14cv19311   Daphine Stafford
2:14cv19316   Brenda Torraca
2:14cv19320   Diana Raybon
2:14cv19323   Susan Villnave
2:14cv19326   Hortensia Montano
2:14cv19327   Margaret A. Taylor
2:14cv19333   Angela Faith Clark
2:14cv19335   Joy Michelle Coddington, Lorin Chester Coddington
2:14cv19336   Patricia Jones Wall, Johnny Preston Wall
2:14cv19362   Marilyn Bathke
2:14cv19372   Katrina Miles
2:14cv19374   Margaret Maryanne Buff
2:14cv19375   Donna McGill
2:14cv19379   Wanda Cooper
2:14cv19380   Luanne Matthew
2:14cv19405   Claire Hanson
2:14cv19413   Deborah Malone
2:14cv19423   Cecille Orange
2:14cv19447   Beverly Miller
2:14cv19505   Cynthia M. Burkholder, David L. Burkholder
2:14cv19511   Shirley Williamson
2:14cv19538   Betty Mitchell
2:14cv19548   Lorraine Nichols
2:14cv19557   Sheila Wilson
2:14cv19571   Sharon Ainscough, James Ainscough
2:14cv19574   Sandra Lewis, Chad Lewis
2:14cv19583   Beverly Kramp, Henry Kramp
2:14cv19585   Randalee Borglund, Christopher Borglund Jr.
2:14cv19608   Angela Emory
2:14cv19625   Edwina Graustuck
2:14cv19639   Gail L. Shaver
   Case WVS/2:15-cv-14812         Document 1   Filed 12/01/17   Page 134 of 267




2:14cv19683   Joan DeGregory, Humbert DeGregory
2:14cv19688   Debra Crooker, Gilbert Crooker
2:14cv19712   Debra Chandler, Joel Chandler
2:14cv19714   Judith E. Walters
2:14cv19722   Nicole M. Killen, Eric Killen
2:14cv19731   Dorothy R. Schultz, Jeffrey Schultz
2:14cv19735   Dana L. Cory
2:14cv19739   Yvonne Roman, Daniel Roman
2:14cv19765   Melissa Darcy
2:14cv19767   Kelly Strantz
2:14cv19811   Anna Weber, Robert Weber
2:14cv19812   Emily Meighan, John Meighan
2:14cv19823   Betty Snyder
2:14cv19826   Beverly Harrell
2:14cv19867   Christine A. LaBonte, Thomas E. LaBonte
2:14cv19873   Liane Ware
2:14cv19892   Tina Ales
2:14cv19900   Teri Biadasz
2:14cv19902   Deborah Borey
2:14cv19933   Jennie Sweet
2:14cv19950   Terri Knapp
2:14cv19952   Patti Cascio
2:14cv19959   Laura G. Lecornu
2:14cv19964   Jill Mainard
2:14cv19965   Virginia Cruz
2:14cv19966   Karen R. Jones
2:14cv19982   Mary Mariano
2:14cv19987   Brenda Marsengill
2:14cv20042   Surona David
2:14cv20045   Ann Goodwin
2:14cv20054   Loucella Solis, Ernie Solis
2:14cv20063   Cynthia Devaux
   Case WVS/2:15-cv-14812        Document 1   Filed 12/01/17   Page 135 of 267




2:14cv20064   Joyce Brandon
2:14cv20074   Dawna Doan
2:14cv20077   Robin Young Davis, Vernon Ed Davis
2:14cv20080   Shelia Michaud
2:14cv20084   DeeAnne Middleton
2:14cv20086   Jean Doyle
2:14cv20092   Leanna Lynn Little
2:14cv20096   Kim R. Macklin
2:14cv20108   Elizabeth Ann Parkerson
2:14cv20111   Maria Elders
2:14cv20113   Adria Moran
2:14cv20119   Nancy Tanner
2:14cv20122   Lillie Cotton, Kenneth Cotton
2:14cv20123   LaVetta Cenell White, Byron White
2:14cv20124   Susan Lynn Wilkins, Paul Wilkins
2:14cv20125   Sandra Marie Williams
2:14cv20126   Christie Farrell
2:14cv20149   Mary Filippi
2:14cv20154   Kelly Pennington
2:14cv20157   Pamela Peters
2:14cv20159   Charmaine Frid
2:14cv20163   Patricia Potter
2:14cv20166   Carina Ratcliff
2:14cv20175   Andrea Garcia
2:14cv20178   Vicky Gilmore
2:14cv20184   Sandra Giggey
2:14cv20226   Stacy Sadey
2:14cv20228   Cynthia Hall
2:14cv20237   Vicki Hall
2:14cv20240   Pamela Sage
2:14cv20254   Karen Sasser
2:14cv20266   Patricia Hazelwood, James Hazelwood
   Case WVS/2:15-cv-14812       Document 1      Filed 12/01/17   Page 136 of 267
                           Exhibit A - part 2




2:14cv20277   Renee Hunt
2:14cv20285   Pauline S. Latham Hawk, Richard A. Hawk
2:14cv20293   Teresa Holland
2:14cv20301   Cathy James
2:14cv20309   Beverly Torres
2:14cv20311   Gloria Joy
2:14cv20314   Tanya Ridley, Paul Ridley
2:14cv20315   Jeannine Van Cott
2:14cv20319   Reda Ward
2:14cv20323   Sharon Washington
2:14cv20330   Beverly Westbrook
2:14cv20332   Dawn Fitzgerald
2:14cv20351   Venita Velasquez
2:14cv20358   Ellen Bledsoe
2:14cv20362   Joyce L. Mendoza
2:14cv20364   Rebecca G. Mizelle, Walter Mizelle
2:14cv20366   Delphine Nowak, Edward F. Nowak Jr.
2:14cv20414   Beth Bingham
2:14cv20447   Nelda Gail Chase, Timothy R. Chase
2:14cv20450   Beth E. Burge, Randall Burge
2:14cv20452   Iris Perez
2:14cv20458   Linda C. Gilstrap
2:14cv20459   Juanita I. Henderson
2:14cv20461   Elizabeth Martinez, Cristobal Martinez
2:14cv20465   Lena Wolfley
2:14cv20476   Jenny Fusher
2:14cv20482   Elana Orlando
2:14cv20483   Christine Kavanaugh
2:14cv20487   Valerie Kenny
2:14cv20493   Sandra Streat
2:14cv20495   Mary Tyler
2:14cv20501   Joanne Martel
   Case WVS/2:15-cv-14812        Document 1    Filed 12/01/17   Page 137 of 267




2:14cv20505   Carrie Plante,
2:14cv20507   Anna Wright
2:14cv20508   Hazel Ware
2:14cv20510   Herdranne Ben, Carlos A. Herrera
2:14cv20511   Sabrina Wicker
2:14cv20512   Brenda Wiggins
2:14cv20514   Kathleen Wood
2:14cv20524   Janice M. Lewis, William Lewis
2:14cv20525   Kimberly Ann Berger
2:14cv20526   Teresa Lynn Best, Russell LeRoy Best
2:14cv20527   Newanna Jo Dennett, Lloyd Dennett
2:14cv20528   Laura Ann Denney
2:14cv20532   Lisa Ann Franklin
2:14cv20537   Cindy L. Franz
2:14cv20546   Eveline Lee Gray, Eddie Lee Gray
2:14cv20550   Carolyn Diane Nance-Lunsford
2:14cv20555   Shawn Marie Meyers
2:14cv20556   Angie Nutter
2:14cv20557   Bonnie Lou Piper, Jim Piper
2:14cv20559   Marjorie Youells
2:14cv20562   Charlotte Ann Posey, Marcus Everett Posey
2:14cv20593   Carolyn Ann Weil, Dean Weil
2:14cv20599   Aileen Douglass, James Douglass
2:14cv20600   Donna Marie Driscoll
2:14cv20602   Terri L. Penn, William Ploof
2:14cv20606   Suzanne Edette Ravitz, Frank Ravitz
2:14cv20608   Heather Marie Sabourin
2:14cv20609   Charlene Mary Schaefer, Robert Schaefer
2:14cv20610   Deena Diane Sierra
2:14cv20638   Ann Marie Epps
2:14cv20666   Melissa Pettigrew
2:14cv20667   Robin Anderson
   Case WVS/2:15-cv-14812       Document 1    Filed 12/01/17   Page 138 of 267




2:14cv20668   Brenda Lee Catlett
2:14cv20669   Tereasa Ann Curley
2:14cv20670   Gloria Jean Gauer
2:14cv20692   Sheri Britton, James Britton
2:14cv20718   Amber Roberts
2:14cv20724   Cherie Freeman
2:14cv20725   Marjorie Dul
2:14cv20730   Kellie Cremar
2:14cv20735   Norma Rutherford
2:14cv20738   Judith Van Appledorn, William Van Appledorn
2:14cv20740   Maude M. Stanfield
2:14cv20741   Paige S. Taylor, Terry Taylor
2:14cv20742   Patty Ann Bowens, Eric Bowens
2:14cv20747   Delana Lorenzo
2:14cv20786   Michelle Cantrell
2:14cv20787   Shannon Riggs, Roberts Riggs
2:14cv20795   Iana Beatrice Cichocki
2:14cv20800   Leona Westerberg, Arlyn R. Westerberg
2:14cv20871   Anita Sheperd
2:14cv20904   Sherry Cordova, Jason Cordova
2:14cv20963   Tamra DiGiovanni
2:14cv20965   Joan E. Evans
2:14cv20967   Ramona R. Frew
2:14cv20983   Kimberly Kinlaw
2:14cv20987   Pamela Rick
2:14cv20998   Patricia Richardson
2:14cv21008   Laurie Hiegel
2:14cv21009   Susan Grace
2:14cv21012   Kim Bruins
2:14cv21027   Kim Matthews
2:14cv21145   Carmen Tantalos
2:14cv21158   Carol McKeon, Patrick McKeon
   Case WVS/2:15-cv-14812         Document 1   Filed 12/01/17   Page 139 of 267




2:14cv21160   Heidi Thomas
2:14cv21187   Mary K. Cushing, Edward Cushing
2:14cv21203   Angela Comstock
2:14cv21273   Sherys Monia
2:14cv21274   Virginia Smith, Lawrence Smith
2:14cv21318   Karen Rudd, David Rudd
2:14cv21322   Jeanne Touhey
2:14cv21328   Kim Page, Michael Page
2:14cv21332   Rosemary Williams
2:14cv21335   Roberta Trosclair
2:14cv21339   Jennifer Trujillo
2:14cv21344   Celia Snipes
2:14cv21346   Mary Hucik
2:14cv21355   Gloria Reisler, Wayne Reisler
2:14cv21359   Malta Colwell
2:14cv21365   Lisa Wells, Keith Wells
2:14cv21464   Cynthia Crouch
2:14cv21585   Kimberly O'Roark
2:14cv21604   Sherry Amos, Calvin Amos
2:14cv21606   Michelle LaCroix
2:14cv21621   Brenda Dixon Bolt, Martin Louis Bolt
2:14cv21624   Michelle Masalkowski
2:14cv21627   Anna Iris Brea
2:14cv21631   Brenda Joyce Emmons, Thomas Emmons
2:14cv21633   Mendi E. Cramer
2:14cv21639   Karen M. Harding, Raymond D. Harding
2:14cv21649   Shylo Michelle Reinan
2:14cv21650   Ruth Aileen Douglass, James Donald Douglass
2:14cv21652   Pat S. Lay, John H. Lay
2:14cv21655   Cheryl Mulhauser, Donald Mulhauser
2:14cv21665   Deborah A. Scholvin, Gary L. Scholvin
2:14cv21668   Christine Koveleski, David E. Koveleski
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2:14cv21679   Annetta M. Cooper
2:14cv21696   Joye Pruitt, Charles Pruitt
2:14cv21702   Patricia M. Giangregorio
2:14cv21703   Shelly Britton
2:14cv21704   Helen M. Brennan
2:14cv21705   Randalee Borglund, Christopher Borglund
2:14cv21709   Abby Sage, Christopher Sage
2:14cv21712   Susan Lynn Wardrip
2:14cv21715   Caryn Michele Gaines
2:14cv21717   Ann Megel
2:14cv21718   Margaret E. Santone
2:14cv21719   Mayra Enid Valle
2:14cv21720   Antonia Santiago
2:14cv21721   Ernestine Giles
2:14cv21724   Beverly R. Haughton, Sylvester Watson
2:14cv21726   Cora Betty Gray, Bill Gray
2:14cv21727   Carol Salmon
2:14cv21736   Lesley Coffee, Paul Coffee
2:14cv21737   Jeanna Irish, Steve Irish
2:14cv21738   Tina Landosky
2:14cv21739   Mya Mills
2:14cv21746   Sue B. McNeill, Daniel A. McNeill
2:14cv21785   Brenda Vaughn
2:14cv21788   Yvonne Jackson
2:14cv21791   Mary D. Davis, Larry Davis
2:14cv21793   Shannon Edens
2:14cv21801   Helen G. Ripa, Eugene Ripa
2:14cv21802   Nina Demunoz
2:14cv21803   Carol Chahwan, Boutros Chahwan
2:14cv21812   Jessica Hostler
2:14cv21813   Jennifer Rivera
2:14cv21814   Patricia Purcell
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2:14cv21815   Kimberly Dengler
2:14cv21817   Angie Lentz
2:14cv21818   Jacqueline Shendow
2:14cv21819   Sandra Mongeluzi
2:14cv21822   Sherry Speers
2:14cv21826   Pamela Rae Favorite, Stephen J. Favorite, Jr.
2:14cv21834   Bonnie Van Vliet
2:14cv21835   Janet S. Wilson
2:14cv21837   Mildred Underwood
2:14cv21838   Sheila Gallagher
2:14cv21840   Carmen Turbay
2:14cv21841   Jane Tobin
2:14cv21847   Patricia Swartwood
2:14cv21861   Donna Bryant-Robinson
2:14cv21865   LaVonne Page
2:14cv21866   Dana Jean Marlow, Larry Marlow
2:14cv21867   Shelia Legault
2:14cv21870   Cheri Lyn Chan, Ronald W. Chan
2:14cv21873   Janett Kirby
2:14cv21875   Kathleen Shackett
2:14cv21877   Melissa Clark
2:14cv21882   Jean Irene Jordan
2:14cv21897   Miriam G. Rodriguez
2:14cv21903   Anita Cole, Gary Cole
2:14cv21915   Linda Jane Morgan
2:14cv21921   Lorie Gaston, Tim Gaston
2:14cv21936   Betty Ann Birdwell, Sammy Birdwell
2:14cv21938   Gloria Matteson
2:14cv21944   Patricia J. McDaniel, Robert W. McDaniel
2:14cv21950   Robin Moskowitz
2:14cv21957   Everee C. Ray, John W. Ray, Sr.
2:14cv21960   Patricia Presley
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2:14cv21962   Dolores Rosenthal
2:14cv21973   Melvy Mendez
2:14cv21981   Helen Soucie
2:14cv21987   Jamie Horn
2:14cv21997   Tonja Morris
2:14cv22000   Deanna Red Luvene, Juan Luvene
2:14cv22001   Connie Richardson
2:14cv22005   Janine Ruiz
2:14cv22007   Melissa Stoll
2:14cv22009   Stephanie Simms
2:14cv22010   Diane Little, Sammy D. Little
2:14cv22013   Pamela Acklin
2:14cv22015   Marie Valles
2:14cv22022   Peggy Arnold
2:14cv22023   Barbara Ware
2:14cv22027   Alita R. Prince
2:14cv22028   Sylvia Bern
2:14cv22040   Jeanne D. Shea, Dale Shea
2:14cv22042   Karen Erickson
2:14cv22054   Dawn Denise Plonty
2:14cv22059   Gloria E. Troester, Rickey D. Troester
2:14cv22063   Christy Burroughs
2:14cv22068   Lisa Ortman
2:14cv22069   Sharon Rambo
2:14cv22072   Lisa Faulkner
2:14cv22074   Patricia Bruce, Ronald E. Bruce
2:14cv22075   Barbara Chase
2:14cv22078   Evelyn Rugg
2:14cv22079   Jane Kelly, Ronald Kelly
2:14cv22091   Amelia Dennis
2:14cv22101   Lola Snyder
2:14cv22102   Marsha L. Rogers
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2:14cv22108   Billie R. Thompson, Tommy Thompson
2:14cv22109   Laurie Perez
2:14cv22113   Nancie Ann Oechsner
2:14cv22114   Diana L. Champion
2:14cv22120   Linae Turner-Goodman
2:14cv22124   Jacqueline Walsh
2:14cv22126   Kimberley Anne Davis
2:14cv22139   Lisa Ann Tally, Kelly Tally
2:14cv22140   Sarah Griffin
2:14cv22148   Shirley Short
2:14cv22167   Susannah Franklin
2:14cv22168   Shirley Haag
2:14cv22169   Savannah Rae Foster
2:14cv22170   Carole M. Davis, Jim Davis
2:14cv22174   Jessica Cox
2:14cv22175   Connie Cady
2:14cv22176   Dorothy Samonisky
2:14cv22177   Lina Reiss, Martin Reiss
2:14cv22179   Starlett Anglin, Bruce Anglin
2:14cv22183   Paula Jill Rice
2:14cv22189   Nancy Deever, Daniel Lynn Deever
2:14cv22196   Kathaleen Alston
2:14cv22198   Carol Atchley
              Rebecca E. Whitehead (deceased), Shane Whitehead, Personal
2:14cv22201   Representative of the Estate of Rebecca E. Whitehead, Deceased
2:14cv22205   Lynne A. Cooper, Josh Cooper
2:14cv22216   Brenda Fagre
2:14cv22224   Ernestine Giles
2:14cv22228   Darla Herbst
2:14cv22233   Cira Fernandez
2:14cv22235   Patricia Moers-Patterson
2:14cv22236   Patricia Ann Lee, Bobby R. Lee
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2:14cv22246   Faye Keefe, Denis Keefe
2:14cv22250   Karen L. Cool
2:14cv22251   Donna Mayo
2:14cv22252   Linda Ann McClain
2:14cv22253   Kathy Moore, Mickey J. Moore
2:14cv22254   Julie A. Mustain
2:14cv22259   Wendy Lyn Petenbrink, Donald Petenbrink
2:14cv22261   Colleen Wheeler, Joseph Wheeler
2:14cv22262   Dorice Roberts, Stanley Roberts
2:14cv22264   Connie Routley
2:14cv22270   Xiomara Justina Rodriguez
2:14cv22271   Ruby Lee Vegas
2:14cv22273   Madell Weeks, Eric Weeks
2:14cv22274   Rebecca Ann Zeller, Jerome H. Zeller, Jr.
2:14cv22280   Mary White
2:14cv22283   Fawnette Renee Richard, Bud B. Richard
2:14cv22284   Vicki Kellogg, Paul Kellogg
2:14cv22285   Catherine Hamlett
2:14cv22289   Lisa Sisk Pitman
2:14cv22298   Sherrie Lynn Green
2:14cv22299   Evelyn Amelia Bray, Wayne D. Bray
2:14cv22300   Anita Twyne, formerly known as Anita Gwaltney
2:14cv22301   Nancy A. Herman
2:14cv22302   Teresa House, Douglas K. House
2:14cv22303   Donna Larson, Christopher Larson
2:14cv22304   Katherine H. Hutton
2:14cv22305   Teresa Lunsford
2:14cv22309   Naomi Sloan,
2:14cv22310   Cynthia Tate, Pete F. Tate
2:14cv22311   Carol Mason
2:14cv22312   Angela Taylor
2:14cv22314   Betty D. Butler Thomas, f/k/a Betty D. Thomas, Vance L. Thomas
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2:14cv22315   Martha Hoyle
2:14cv22317   Betty Thompkins
2:14cv22320   Sandra Elizabeth LaPierre
2:14cv22321   Lorrie Archambeault
2:14cv22323   Deborah Randall
2:14cv22325   Beverly Logan, Marlin Logan
2:14cv22326   Roma Hunt
2:14cv22331   Linda Walsh, Edward Walsh
2:14cv22333   Theresa Santacroce
2:14cv22334   Rhonda L. Moran
2:14cv22336   Tammy Lynn LaMarche, Gary LaMarche
2:14cv22339   Diane Labella
2:14cv22340   Karen Knight
2:14cv22341   Virginia Hicks
2:14cv22343   Diana Castellano, Hector Castellano
2:14cv22346   Linda Antidormi
2:14cv22347   Suzanne Agurkis
2:14cv22351   Jennifer Schuhardt, James Schuhardt
2:14cv22355   Patricia Caporale
2:14cv22361   Suzanne Strittmatter, Steve Strittmatter
2:14cv22442   Michelle Hodges
2:14cv22450   Donna Brink
2:14cv22455   Aimee Weathersby
2:14cv22531   Danielle Connolly, Robert Connolly
2:14cv22541   Gretchen Killeen, John Lawerence Killeen
2:14cv22559   Lisa Elaine Kovaleski
2:14cv22572   Judith Kay Lantz
2:14cv22576   Jacqueline Kay Leszyk
2:14cv22577   Pearline Faye Giddens
2:14cv22586   Debra Litz
2:14cv22602   Lynne Melvin, Timothy W. Melvin
2:14cv22609   Deborah Rose Middlecamp, Marvin Middlecamp
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2:14cv22613   Earline Miller
2:14cv22621   Pamela Ann Mundt, Kenneth Mundt
2:14cv22623   Michelle Call, Harold Call
2:14cv22626   Donna Nelson, Scotty Nelson
2:14cv22630   Sondra B. Sipes, Colen Sipes
2:14cv22631   Cherri R. Norman, John Vail
2:14cv22634   Winnifred Mae Payne, James Christopher Payne
2:14cv22638   Sarah Allen
2:14cv22640   Jennifer M. Penland
2:14cv22648   Elizabeth A. Nehme
2:14cv22653   Sylvie Robert
2:14cv22654   Angela Weber, Timothy Weber
2:14cv22667   Teresa Brown
2:14cv22670   Jane R. Allan, Jeff Allan
2:14cv22672   Jeannette DeShano, William DeShano
2:14cv22680   Valerie Washington
2:14cv22689   Kay Jean Axel, William Axel II
2:14cv22698   Denise Battle
2:14cv22701   Ivonne Contreras, Marcos Rodriguez
2:14cv22711   Misty R. Richens
2:14cv22715   Shirley Dilley
              Arlene Ruth Ash, Deceased, Dan W. Ash, Dan W. Ash, as Personal
2:14cv22716   Representative of the Estate of Arlene Ruth Ash, Deceased
2:14cv22718   Sally A. Lavallee, Brian K. Lavallee
2:14cv22726   Kay England
2:14cv22734   Kelly Leann Beck-McIntee, John J. McIntee
2:14cv22735   Anna L. Beall
2:14cv22741   Iva Bish
2:14cv22744   Genevia Bender
2:14cv22748   Christine Marie Wetter
2:14cv22749   Donna M. Dambra
2:14cv22750   Jayok Ellis Brown-House
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2:14cv22751   Valerie Booth, Kelly S. Booth
2:14cv22758   Donna Bouthillier
2:14cv22765   Natalie K. Kennedy
2:14cv22769   Stella Butler
2:14cv22774   Carol Seguin, James Seguin
2:14cv22781   Linda Lou Brunelle
2:14cv22783   Geni Carey
2:14cv22784   Belinda C. Lalas-Keigley
2:14cv22791   Georgia Penn
2:14cv22793   Susan Marr
2:14cv22797   Mabel R. Seibert, Peter Seibert
2:14cv22802   Debera A. Rooney
2:14cv22805   Tracy J. Stark
2:14cv22806   Marguerite Chaundy
2:14cv22808   Lorraine Giffen
2:14cv22810   Dawn M. Sweet
2:14cv22812   Ellen Dorean Hayes, Roy Michael Hayes
2:14cv22824   Esther A. Collard
2:14cv22825   Carolyn Sherfield
2:14cv22833   Cecilia Lynn Shirley Cooper, Richard Thomas Cooper
2:14cv22839   Sara Ann Cox, Kenneth William Cox
2:14cv22882   Lucinda Rose Massey
2:14cv22884   Suzanne Marie Dierich, Donald Dierich
2:14cv22895   Susan Williams McCoy, Michael McCoy
2:14cv22897   Alice Lindley
2:14cv22904   Angela Livingston
2:14cv22907   Mary F. McKee
2:14cv22909   Connie S. Ross, Lannie Mick Ross
2:14cv22916   Betty Ratliff
2:14cv22917   Jennifer Shipman
2:14cv22920   Lorry Jones
2:14cv22922   Berneice H. Simcox
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2:14cv22925   Susan Skasko-Swallows
2:14cv22933   Kelly A. Rouse
2:14cv22937   Tammy Jean MacMillan, Tim MacMillan
2:14cv22947   Linda Lou DuBois, Duane DuBois
2:14cv22957   Vera Mae Dunkelberger
2:14cv22960   Ri-Hwa Endo, Akio Endo
2:14cv22967   Lynn Fefee, Ranca T. Fefee Sr.
2:14cv22974   Mary N. Goff, William D. Goff
2:14cv22975   Lillie Greene
2:14cv22980   Shelby Hammond, Lonney Hammond
2:14cv22981   Gladys Harpin
2:14cv22983   Gayle Harris
2:14cv22985   Betty Hendley, Bobby James Hendley
2:14cv22986   Glenda Hensley
2:14cv22988   Kathryn Jane Herman, Clarence Raymond Herman
2:14cv22995   Cathy Melinda Iliff, William Ray Iliff
2:14cv23000   Sheryl Summers, Dale Eugene Summers
2:14cv23006   Arlene B. Turner, Richard R. Turner Sr.
2:14cv23009   Cheryl Viera
2:14cv23010   Robin Dorothy Vincent, Gifford Warren Vincent
2:14cv23015   Janice Ramsey Hardy
2:14cv23018   Betty L. Wiles
2:14cv23025   Judith E. Woodland, William Woodland
2:14cv23031   Sharon Nance Graham, Jack Donaldson Graham III
2:14cv23062   Sharon Buckman
2:14cv23138   Kathryn Ann Martin, James A. Martin
2:14cv23178   Tracie Lewis
2:14cv23182   Gloria Peak
2:14cv23183   Rose Scarberry
2:14cv23185   Valarie Waller
2:14cv23209   Mary Robin Roberts, Jeff Roberts
2:14cv23212   Serena Vanessa Frasier
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2:14cv23220   Sima D. Guy
2:14cv23233   Wilma Hanna
2:14cv23237   Sandra Harmon
2:14cv23238   Willa Ray Holt
2:14cv23247   Ardis Richardson
2:14cv23362   Yvonne Thurmond
2:14cv23363   Erma Turner
2:14cv23366   Angelita Williams
2:14cv23397   Debra Wiltsie, Arthur Wiltsie
2:14cv23445   Mary McDonald
2:14cv23447   Jeannie Hodge
2:14cv23451   Dora Vorbach
2:14cv23452   Gloria Peluso
2:14cv23480   Mary Lewis
2:14cv23485   Deborah Manley
2:14cv23517   Eileen Zimmerman
2:14cv23518   Robin Barlow
2:14cv23520   Eileen Zaracki
2:14cv23524   Nelda Smith
2:14cv23527   Ruth Burgess
2:14cv23531   Joann Veal
2:14cv23533   Julie Cartwright
2:14cv23535   Madeline Taylor
2:14cv23536   Erin Cescon
2:14cv23537   Alene Marsha Bolding
2:14cv23542   Laura Snider
2:14cv23545   Tammy Smith
2:14cv23549   Nancy Smith
2:14cv23562   Marta Rhea-Johnson
2:14cv23567   Heather D'Orvilliers
2:14cv23575   Mary Smith
2:14cv23577   Lillie Fuller-Spears
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2:14cv23578   Dianne Kay Ahola
2:14cv23580   Pearly Irene Alhameed
2:14cv23583   Lydia C. Roberts
2:14cv23584   Sharon Joy Allen
2:14cv23586   Cathy Babcock
2:14cv23592   Elizabeth Biesbrock
2:14cv23593   Lois Ann Mick Hickox
2:14cv23597   Roberta Silva
2:14cv23604   Brenda Buyce
2:14cv23617   Tamara McKim
2:14cv23624   Karen Kruithoff, Matt Kruithoff
2:14cv23625   Alisa Louise Kirby, William Kirby
2:14cv23630   Carmen Vega, Walter Oldes
2:14cv23631   Clara S. Moore
2:14cv23632   Evelyn Johnson, Kenneth Johnson
2:14cv23637   Lea Holmes, John Holmes
2:14cv23639   Patricia Herendeen, Troy Michael Herendeen
2:14cv23642   Lucinda J. Flach
2:14cv23644   Brenda Elliott, David Elliot
2:14cv23646   Linda Durfee
2:14cv23653   Barbara Fye, Michael Fye
2:14cv23656   Geraldine Labron
2:14cv23658   Tammy R. Lopeman, William Lopeman
2:14cv23662   Angela Daniels
2:14cv23664   Laura Parry (Copperwheat), Timothy Parry
2:14cv23676   Lisa Ann Workman, Terry Workman
2:14cv23683   Angelique Latrice Travier
2:14cv23688   Evita Waybrant
2:14cv23691   Katherine M. Cole, robert L. Cole, Sr.
2:14cv23692   Viola W. Strech
2:14cv23698   Lori Ann McMann, James McMann Jr.
2:14cv23713   Donna Stephens, Anthony Stephens
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2:14cv23737   Catherine J. Burden, Joe Burden
2:14cv23808   Kimberly Chippy
2:14cv23832   Amanda Anderson
2:14cv23835   Tina Marie Nadzak
2:14cv23871   Debbi R. Creasy, Irvin C. Creasy Jr.
2:14cv23872   Melinda Gray, Michael Gray
2:14cv23873   Angelica Chandler
2:14cv23884   Ida Giddens
2:14cv23899   Frances Metzner
2:14cv23930   Tara Hyatt, Kevin Hyatt
2:14cv23931   Cynthia Giovengo
2:14cv24007   Beverly Slaughter, James Slaughter
2:14cv24016   Bonnie Coats, Dennis Earl Coats
2:14cv24036   Rhonda Patterson
2:14cv24080   Bertiva Lovett, James Lovett Jr.
2:14cv24100   Angela Haight, Donald Haight
2:14cv24116   Deidra Hall, Joseph Hall
2:14cv24139   Diane Barnett, Charles Barnett
2:14cv24155   Deborah Pestel
2:14cv24205   Diana Sue Barber
2:14cv24233   Linda S. Hudson, Joseph E. Hudson
2:14cv24297   Gema D. Orr, Gary Orr
2:14cv24299   Jennifer D. Self
2:14cv24303   Kathleen F. White, John J. White
2:14cv24314   Patricia Pearce, Jackie Pearce
2:14cv24326   Carolyn James
2:14cv24330   Maxine Bumstead, Jerry Bumstead
2:14cv24359   Sarah Custer
2:14cv24362   Ruby J. Rowe, Roger Rowe
2:14cv24377   Carla Bryan, Kim Andre Bryan
2:14cv24378   Donna L. Clark
2:14cv24391   Diana Shoulders
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2:14cv24495   Rhonda Arther
2:14cv24532   Cynthia S. Doss
2:14cv24533   Madeline Holloway
2:14cv24534   Brenda Kelly
2:14cv24542   Rubye R. Moyer
2:14cv24545   Nicole Rodney
2:14cv24548   Angela Walker
2:14cv24550   Linda Sockwell
2:14cv24551   Shelia Wilson
2:14cv24556   Mildred Hearn
2:14cv24565   Lisa Webb, Dennis Webb
2:14cv24567   Florette Matthews, Errol Matthews
2:14cv24571   Shawna Kelley
2:14cv24575   Angela Boutwell, Scotty Boutwell
2:14cv24580   Joy Purscell, Leon Purscell
2:14cv24590   Heather Gindra Morrison, Douglas C. Morrison Jr.
2:14cv24592   Arlene Berglund
2:14cv24595   Pamela McLaughlin
2:14cv24597   Michelle Madison, Allen Madison
2:14cv24600   Catherine Bouvaird
2:14cv24601   Lorraine Stout
2:14cv24615   Terri Dickard
2:14cv24637   Diane V. Parrott
2:14cv24639   Dixie Bowlus
2:14cv24664   Melissa Diane Howlett
2:14cv24710   Denise Scales-Smith
2:14cv24777   Kathleen Moss
2:14cv24799   Beverly Woolley
2:14cv24801   Celia R. Post, Michael D. Post
2:14cv24803   Doris M. Pritchard and Bill Pritchard
2:14cv24845   Mary Culver, Michael Culver
2:14cv24858   Victoria Stewart
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2:14cv24879   Pamela J. Archer
2:14cv24911   Irene M. Lundell
2:14cv24926   Jean M. Bell, Brian Bell
2:14cv24975   Cynthia L. Evers
2:14cv24980   Mary Pate
2:14cv24981   Virginia Sommerfield
2:14cv24982   Linda Showalter
2:14cv24983   Christina Smith
2:14cv24984   Jennifer Bruner
2:14cv24986   Nubia Rodriguez
2:14cv24991   Stacy Y. Upton
2:14cv24994   Laura Haduch
2:14cv24998   Janice Turner
2:14cv25006   Diane Ross
2:14cv25055   Selina Fontenot
2:14cv25059   Mary Ann Weishuhn
2:14cv25080   Kathlyne J. Lloyd
2:14cv25095   Karen Harriman
2:14cv25101   Tina Foley, Kevin Foley
2:14cv25138   Tamara Foss, David Foss
2:14cv25156   Cynthia Kean
2:14cv25162   Susan Bone
2:14cv25201   Tina Rosser, Daniel Rosser
2:14cv25217   Toni Polumbus
2:14cv25264   Tammy L. Cook, Jonathan M. Cook
2:14cv25272   Keren Safty, Noam Safty
2:14cv25288   Leslie Hall
2:14cv25316   Beautifol Anderson
2:14cv25317   Patty Edgil, Harold Edgil
2:14cv25325   Brenda Stokovich
2:14cv25414   Bonnie Powers
2:14cv25441   Brenda K. Hayden
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2:14cv25470   Sheila A. Amstutz
2:14cv25478   Frances R. Clay, Harold E. Clay
2:14cv25480   Kathie D. Lanham, Richard W. Lanham
2:14cv25488   Kjersti E. Walker
2:14cv25503   Elizabeth F. Keyser, James E. Keyser
2:14cv25504   Deborah Rhoderick
2:14cv25508   Thelma E. Stone, Timothy W. Stone
2:14cv25531   Katherine S. Hamalainen
2:14cv25549   Anne Knigh
2:14cv25553   Linda Malone
2:14cv25719   Agnes J. Tiburzi
2:14cv25721   Angela Lowman
2:14cv25722   Heather N. Poole, Kevin B. Poole Sr.
2:14cv25727   Tracey Oldridge
2:14cv25779   Wendy Fields
2:14cv25808   Katie Tomlinson
2:14cv25810   Karen Brown, Randy Brown
2:14cv25859   Karen Noble, Alfred Noble
2:14cv25879   Danielle Epps
2:14cv25912   Stacey J. Peterson, Gary L. Peterson
2:14cv25915   Theresa Walker, Floyd Walker
2:14cv25923   Lisa Smith, James Smith
2:14cv25924   Rusvelinda Lopez, Juan Carlos Lopez
2:14cv25926   Karlene Cunningham
2:14cv25960   Dixie R. Hulse
2:14cv25981   Sharon Osmera
2:14cv26004   Tammy Lee Williams, Robert James Williams
2:14cv26009   Samantha Rivera
2:14cv26051   Amanda Ramsey
2:14cv26090   Loretta M. Markham West
2:14cv26104   Nancy Young
2:14cv26154   Alice F. Chapman
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2:14cv26194   Stephine J. McCoy
2:14cv26210   Lisa D. Moyer
2:14cv26211   Denise Carpenter
2:14cv26225   Tammy M. Hodo
2:14cv26262   Sandra Cyr
2:14cv26263   Debbie Mendieta
2:14cv26267   Magdeline White
2:14cv26285   Miriam Benado
2:14cv26286   Amy M. Boone
2:14cv26288   Katherine V. Collier
2:14cv26292   Thelma D. Grady
2:14cv26295   Bonnie J. Heath
2:14cv26296   Lori L. Johnson
2:14cv26300   Lois D. Mullins
2:14cv26304   Deborah K. Tindal
2:14cv26385   Mary H. Patterson
2:14cv26436   Kelechi Agwara
2:14cv26484   Lauralee Finke
2:14cv26485   Tracy Kemp
2:14cv26488   Theresa L. Lutman
2:14cv26493   Cherie Fine
2:14cv26496   Lillie Mojico
2:14cv26577   Brenda L. Fagre
2:14cv26582   Christine Taylor
2:14cv26613   Debra Pickett, John F. Pickett Jr.
2:14cv26621   Gail Lisek
2:14cv26628   Marliss Lam
2:14cv26647   Alice Hardin, William Hardin Sr.
2:14cv26677   Lisa M. Knutson, Benjamin T. Knutson
2:14cv26678   Donna J. Hanna
2:14cv26693   Doris Hitzfield
2:14cv26702   Margaret A. Prichinello, Rocco Prichinello
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2:14cv26703   Susie Ramsey
2:14cv26704   Dianna L. Rhoades
2:14cv26753   Kay Zariski, Robert Zariski
2:14cv26838   Cynthia D Hernandez-Balluch
2:14cv26880   Cathy Harris, Kenneth Harris
2:14cv26893   Miriam Arriaga
2:14cv26894   Sally J. DeBoer
2:14cv26895   Michelle P. Koon
2:14cv26941   Dedra A. Hardin
2:14cv26947   Deborah Marcelli
2:14cv26981   Amanda Meza
2:14cv27018   Roxye Rowell, William Rowell
2:14cv27037   Doris J. Hensinger, Larry Hensinger
2:14cv27057   Diana Wade,
2:14cv27063   Diane Shaffer, Carl Fredback
2:14cv27065   Kimberly A. Raitt
2:14cv27128   Diana Bailey
2:14cv27130   Darlene M. Dennis, David Dennis
2:14cv27131   Geraldine G. Edwards
2:14cv27133   Melanie D. Ghanim
2:14cv27134   Lisa S. Green
2:14cv27136   Julie Hudson, Bill Hudson
2:14cv27137   Della S. Jones
2:14cv27139   Kristin L. Kulikowski, Robert Kulikowski
2:14cv27140   Linda S. McElroy
2:14cv27143   Teresa Sauerheber, John Sauerheber
2:14cv27145   Pamela E. Thomas, Andy Thomas
2:14cv27146   Linda J. Weston
2:14cv27151   Sharon Jennings
2:14cv27152   Robbin Phillips
2:14cv27162   Marilyn Fuentes
2:14cv27208   Dianna Griffith
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2:14cv27214   Edna L. Hill
2:14cv27218   Nancy Mischler
2:14cv27230   Tami L. Fauth
2:14cv27247   Gladys E. Jerkins
2:14cv27341   Willminor Grant
2:14cv27460   Leslie Jean Johnson
2:14cv27538   Shirley R. Strait
2:14cv27539   Katina D. Hulse
2:14cv27623   Mary E. Plummer, Todd Plummer
2:14cv27711   Megon L. Smith
2:14cv27727   Susan Hicks, Daniel Hicks
2:14cv27753   Donna R. Jones
2:14cv27754   Edna Mccoy
2:14cv27791   Amy L. Williamson
2:14cv27793   Kimberlie M. Snare, Phillip Snare
2:14cv27846   Beverly Ray
2:14cv27849   Marlene Reisinger
2:14cv27852   Barbara Roberts
2:14cv27863   Effie Romans
2:14cv27889   Kelly Ryder
2:14cv27896   Ella Shanklin
2:14cv27899   Rebecca Shugart, Samantha Jones, Executor
2:14cv27903   Stephanie R. Sims
2:14cv27905   Nancy Sloan
2:14cv27911   Bernadette Speiser
2:14cv27913   Sarah Stack
2:14cv27914   Mary Staser
2:14cv27935   Pamela Trull, Steven Trull
2:14cv27940   Connie Wilson
2:14cv27945   Connie Thompson
2:14cv27949   Barbara Taylor
2:14cv27951   Iris Teat
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2:14cv27952   Charlene Tessari
2:14cv27968   Debbie Vickers
2:14cv27970   Jeannette Watson
2:14cv27971   Kathy Lynn Watson
2:14cv27978   Tawyna Werthman
2:14cv27983   Paula Whorton
2:14cv28002   Tina Windholz
2:14cv28005   Patricia Woehler
2:14cv28010   Rosetta Wolfe
2:14cv28033   Teressa Scoggin
2:14cv28036   Cheri L. Chan, Ronald W. Chan
2:14cv28051   Angel D. Snell
2:14cv28062   June M. Adams
2:14cv28064   Terry Ales
2:14cv28065   Catherine Alvarez
2:14cv28068   Shannon M. Arlet
2:14cv28072   June Bueno
2:14cv28073   Bernessa Burse
2:14cv28075   Kathy Johnson
2:14cv28077   Nancy Knibb
2:14cv28079   Yvonne Krout
2:14cv28081   Sherry Lance
2:14cv28082   Pearle Larsen
2:14cv28087   Amberly Lowman
2:14cv28088   Jacqueline Macri
2:14cv28095   Melissa Marmolejo
2:14cv28096   Debra Marshall
2:14cv28098   Jayme Mason
2:14cv28100   Karen McBride
2:14cv28115   Virginia Busby
2:14cv28117   Christina McLean, Ron McLean
2:14cv28118   Sharan Bush
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2:14cv28119   Lisa McLeod
2:14cv28124   Candice M. Byrum, Terry E. Byrum
2:14cv28143   Sandy K. Clay
2:14cv28146   Janice R. Coll
2:14cv28148   Ronnilyn Collins-Bell, Warren Bell
2:14cv28153   Patricia L Coronel
2:14cv28159   Priscilla Cruz, Jose Cruz
2:14cv28163   Sandra Davidson
2:14cv28164   Jeanette de Mauney
2:14cv28165   Charlotte Dehn
2:14cv28168   Norma DeLeon
2:14cv28183   Virginia Moon
2:14cv28184   Marcene Fisher
2:14cv28185   Vickie Schmidt Parsons
2:14cv28195   Jacqueline Shaak
2:14cv28198   Myrtle Shadd, Frank Shadd
2:14cv28202   Brenda Espinoza
2:14cv28214   Carol Shaw
2:14cv28217   Karen Sheridan
2:14cv28223   Theresa Sisson
2:14cv28228   Joan Smith
2:14cv28229   Joann Smith
2:14cv28233   Marie Smith
2:14cv28253   Elizabeth Tarin
2:14cv28257   Donna Miller
2:14cv28261   April Morgan
2:14cv28264   Valerie Morris
2:14cv28266   Carol Morsovillo
2:14cv28270   Karrie Templeman
2:14cv28273   Marsha Norona
2:14cv28274   Lucille Norrell
2:14cv28277   Nature Ann Nunez
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2:14cv28278   Eva Nunley
2:14cv28281   Elizabeth Parmer
2:14cv28282   Alberta Peek
2:14cv28287   Kathryn Pettit, Kristopher Pettit
2:14cv28296   Sandra Choate
2:14cv28298   Susan Wilson
2:14cv28299   Lissette Santana
2:14cv28304   Jo Zuschlag
2:14cv28307   Tamara Spencer
2:14cv28316   Anna W. Creek
2:14cv28320   Rita K. Daily
2:14cv28326   Leslie Vanaskey
2:14cv28328   Julie Ann Vandestouwe
2:14cv28334   Tonya Vogt
2:14cv28337   Judith Demchak, Bradley Demchak
2:14cv28340   Deborah E. Doyle
2:14cv28343   Teresa Ann Dunn
2:14cv28349   Marilyn E. Ecoff
2:14cv28355   Debra Kay Elward
2:14cv28357   Delores Farmer
2:14cv28360   Zella M. Farmer
2:14cv28369   Bernadette E. Feikert
2:14cv28370   Linda Ferguson
2:14cv28371   Norma Fisher
2:14cv28390   Cindy Behler
2:14cv28393   Stefani Bender
2:14cv28395   Teresa Bender
2:14cv28396   Mary Blair
2:14cv28405   Andrea Brown
2:14cv28411   Gayle Buck
2:14cv28413   Joy Bullington
2:14cv28414   Linda Bullock, Raymond Bullock
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2:14cv28415   Sherry Burrichter
2:14cv28417   Mary Camacho
2:14cv28418   Paula Campbell, Glynn Campbell
2:14cv28420   Arline Cannata
2:14cv28421   Eunice Cantu
2:14cv28423   Yvonne Carrabine
2:14cv28424   Lorena Cartagena
2:14cv28425   Deanna Jenkins
2:14cv28427   Geraldine Jenkins
2:14cv28428   Patricia Jinright
2:14cv28429   Nellie Johns
2:14cv28446   Josephine Koziol
2:14cv28451   Shuntel Carter
2:14cv28452   Joyce Carvalho
2:14cv28453   Melissa Chavez
2:14cv28457   Anita Cooper
2:14cv28472   Anna M. Fulgham
2:14cv28474   Judy K. Batalia, Arthur L. Batalia Jr.
2:14cv28476   Julia Hernandez, Exiquio Hernandez
2:14cv28480   Tawney Frantz
2:14cv28483   Susan L. Fronek
2:14cv28489   Susan Krengulec
2:14cv28492   Rosemary Lascarez
2:14cv28496   Carol Linn
2:14cv28498   Nancy Litke
2:14cv28502   Martha Markham
2:14cv28512   Karen Smith, Willie Smith
2:14cv28514   Christina Tillis
2:14cv28518   Cheryl McClain
2:14cv28525   Janice Whitlock
2:14cv28530   Essie Middlebrooks
2:14cv28553   Kewanda Williams
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2:14cv28557   LeEllen Williams
2:14cv28567   Paulette Wright
2:14cv28568   Teresa Wright
2:14cv28573   Deborah Young
2:14cv28588   Dori Boyer
2:14cv28594   Melissa Blaylock
2:14cv28596   Wanda Black
2:14cv28602   Angela Benford
2:14cv28604   Martha Benavides
2:14cv28607   Brenda Bedosky
2:14cv28621   Stephanie Banks
2:14cv28633   Debra Anderson, Thomas Anderson
2:14cv28636   Beverley Armour
2:14cv28642   Linda Austin
2:14cv28686   Virjeanna Maddox
2:14cv28691   Judy Wilbanks
2:14cv28704   Debbie Ewbank
2:14cv28738   Gail A. Morgan
2:14cv28779   Jamie Davis
2:14cv28786   Debra Atkinson
2:14cv28798   Mary Doss
2:14cv28809   Betty Fitzsimmons
2:14cv28812   Shannon Ford
2:14cv28814   Tonya Gallardo
2:14cv28824   Mary Goodman
2:14cv28825   Karen Gotshall
2:14cv28829   Anita Green
2:14cv28846   Holly Hahn
2:14cv28850   Donna Hamrick
2:14cv28855   Wanda Hartley
2:14cv28863   Donna Mae Hall, Tommy L. Hall
2:14cv28865   Mary P. Harwood
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2:14cv28867   Lisa Hill
2:14cv28869   Natalie Hodgkinson
2:14cv28871   Joyce Holloway
2:14cv28880   Rhonda Hudgins
2:14cv28882   Jennifer Hutchins
2:14cv28897   Janet Dicke, Ronald Dicke
2:14cv28902   Christina Elzig, Barry Elzig
2:14cv28917   Deanna Eagles-Thompson
2:14cv28921   Brenda Hunnicutt Taylor
2:14cv29025   Donna Walters
2:14cv29065   Jennifer Foxall
2:14cv29066   Virginia Jones
2:14cv29069   Charlotte Torpy
2:14cv29073   Deborah G. Davis
2:14cv29077   Cheryl Glass-Smith
2:14cv29079   Rosanne Miller
2:14cv29121   Melissa Palmer, Andrew Palmer
2:14cv29148   Deborah Hamilton
2:14cv29149   Lisa G. Burnette
2:14cv29156   Darla Hambleton
2:14cv29197   Blanche Wilson, deceased, Jerry Wilson, Personal Rep.
2:14cv29296   Laura L. Harrison, Ray Harrison
2:14cv29313   Aileen T. Greco
2:14cv29316   Ana Maria Asalde, Eliseo Asalde
2:14cv29393   Charlotte Bowen
2:14cv29394   Mary Taveirne
2:14cv29416   Jacqueline Brown
2:14cv29451   Ruth Kay Adkins, James Adkins
2:14cv29452   Fawn Walker
2:14cv29477   Cheryl Herring
2:14cv29485   Tammy Renee Burkhart
2:14cv29494   Paula Reed
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2:14cv29501   Sharon Arlene Elliott
2:14cv29504   Carlota Arambula
2:14cv29511   Starr W. Plank, Vernon L. Plank
2:14cv29518   Pamela A. Townsend, James D. Townsend
2:14cv29521   Sondra Reynolds
2:14cv29561   Debbi M. Millison
2:14cv29562   Rose Garcia
2:14cv29647   Phyllis A. Nielsen
2:14cv29675   Sally Ann Carry, Todd Carry
2:14cv29680   Holly Ellis
2:14cv29689   Ethel Bodenstein, Steven Bodenstein
2:14cv29696   Rosie Morris, Walter Morris
2:14cv29697   Deborah Christy
2:14cv29702   Barbara Y. Coldiron
2:14cv29708   Laura Clingerman, Albert Clingerman
2:14cv29713   Dorothy Fiore, Ferdinand Fiore
2:14cv29720   Mitzi May
2:14cv29729   Dorothy Fae Langseth, Martin D. Langseth
2:14cv29736   Judy McLemore, Herbert M. McLemore
2:14cv29746   Angela L. Lopez, Joseph Garcia
2:14cv29751   Joan Gauthier, Ed Gauthier
2:14cv29753   Patty Gilchrist
2:14cv29759   Lidia Neira
2:14cv29761   Rita Abramczyk
2:14cv29768   Sally Bachmeier
2:14cv29772   Barbara Raw
2:14cv29775   Erline Krebs, Harry Krebs
2:14cv29778   Helen DenHartog, Gerald Denhartog
2:14cv29794   Laura Eubanks, Albert F. Eubanks
2:14cv29799   Rebecca Quinton, Barlow Quinton
2:14cv29805   Bonnie Grady, Charles Grady Jr.
2:14cv29809   Sharlene Cleaver
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2:14cv29814   Natasha Drake, Floyd Drake Sr.
2:14cv29822   Karen Benefield, Steve Benefield
2:14cv29828   Tiffany Elaine Perez, Jason Perez
2:14cv29829   Shonnette Edith Athey
2:14cv29839   Teresa Furrow
2:14cv29850   Jeanetta Gay Salling
2:14cv29854   Melissa M. Nakley - Rios, Fernando Rios Jr.
2:14cv29858   Christine Erickson
2:14cv29874   Laura N. Jacobson
2:14cv29878   Pamela Delaney
2:14cv29880   Pauline Garza
2:14cv29891   Mary Pratt
2:14cv29902   Charlotte Bright, Jerry Bright
2:14cv29912   Joyce Strausburger
2:14cv29913   Socorro A. Corral
2:14cv29916   Lois Rutherford, Kenneth Rutherford
2:14cv29919   Tori Patterson
2:14cv29925   Sandra Spoon, Robert Spoon
2:14cv29932   Prudence N. Williams
2:14cv29933   Dolores Parisi
2:14cv29936   Trena Nugent
2:14cv29939   Ruby Moore
2:14cv29940   Laura Osterling
2:14cv29942   Maureen Bow
2:14cv29954   Judy Jousma
2:14cv29959   Beatriz Elena Brenes
2:14cv29961   Barbara S. Nickell, John R. Nickell
2:14cv29962   Valerie Nielsen, Tom Nielsen
2:14cv29970   Andrea Boyle, Charles W. Boyle Jr.
2:14cv29976   Flora Ruiz, Adalberto Ruiz Sr.
2:14cv29985   Arlene Neumann
2:14cv29987   Annette Noel
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2:14cv29992   Yllanira Paulino
2:14cv30001   Andrea Kaiser
2:14cv30002   Brenda Betts
2:14cv30013   Madeline Baker
2:14cv30015   Maria I. Garcia, George Garcia
2:14cv30016   Aida Corral
2:14cv30023   Barbara J. Hinthorn
2:14cv30027   Joyce Baraw, David N. Baraw
2:14cv30028   Arlene E. Cummings, Charles A. Cummings
2:14cv30030   Olivia Cabiles, Angelo Cabiles
2:14cv30031   Larita Daniels, Alton Daniels
2:14cv30036   Stacey Isaacson
2:14cv30043   Belinda K. O'Neal
2:14cv30049   Joyce Parker, Jackie Parker
2:14cv30050   Cynthia Parrish
2:14cv30052   Kimberly Pratzer, Timothy Pratzer
2:14cv30058   Annette Marie Volkmer, Fordney C. Volkmer
2:14cv30099   Heidi Leitzen, John Leitzen
2:14cv30104   Joyce Bouchard
2:14cv30146   Chandra Reiko Kanemaru, Ronald Kanemaru
2:14cv30147   Gloria Jean Otis, James L. Otis Sr.
2:14cv30148   Kimberly Kickhafer, Thomas Kickhafer
2:14cv30151   Cheyenne Yakenya Velez, Jose Velez
2:14cv30153   Carol Ann Nyland, Mark Nyland
2:14cv30213   Shirley E. Cleaton Jones
2:14cv30222   Mary Jones
2:14cv30233   Jennifer LeAnne Stankiewicz, Danny Stankiewicz
2:14cv30238   Felipa Lechuga, Rodolfo Lechuga
2:14cv30244   Tammy Roberson
2:14cv30253   Paulette Hunter
2:14cv30260   Mary Lynn Budnick, John W. Budnick
2:14cv30263   Robin Campbell
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2:14cv30264   Cecilia Grugin
2:14cv30268   Savannah Bueb, Mark Beub
2:14cv30271   Samudra DeAlwis, Sura DeAlwis
2:14cv30272   Nancy Jo Riddle
2:14cv30274   Marsha Ann Burrell, Donald Silvers
2:14cv30276   Martha Burch, Dennis Burch
2:14cv30280   Janice Graf
2:14cv30284   Vivian Cormier
2:14cv30294   Brenda Clark
2:14cv30297   Donna Chatman
2:14cv30302   Kathryn Holt, Eugene Holt Jr.
2:14cv30311   Lisa Bozeman
2:14cv30318   Lanett Laskie
2:14cv30319   Gale McCann
2:14cv30326   Diana Labbe
2:14cv30331   Katherine Tuttle
2:14cv30334   Karen C. Wilkes, David Wilkes
2:14cv30335   Amanda Renee Miller, Mark A. Miller
2:14cv30337   Kay Poole
2:14cv30340   Eva Phelps, Duane Phelps
2:14cv30341   Angela Pietrantonio, Joseph Pietrantonio
2:14cv30350   Elizabeth F. Miller, Eric K. Miller
2:14cv30357   Annie Smith, William Jr. Smith Sr.
2:14cv30358   Mary Prater
2:14cv30361   Eunice Williams
2:14cv30363   Tawanna L. Hutton, Jeffrey S. Hutton
2:14cv30364   Connie Deshotel
2:14cv30367   Debbie Knapp
2:14cv30368   Carol Irvin, Johnny Irvin
2:14cv30375   Martie L. Shatney, Michael P. Shatney
2:14cv30379   Cheryl Wilson
2:14cv30383   Deborah Helmick, f/k/a Deborah Seymour
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2:14cv30389   Noemi Holguin, Mario Holguin
2:14cv30399   Carmen Herrera
2:14cv30403   Anne Sullivan
2:14cv30405   Pamela L. LeMay, Michael LeMay
2:14cv30410   Cynthia A. Spencer, Walter H. Spencer
2:14cv30411   Susan Schexnaildre, Barry Schexnaildre
2:14cv30424   Maryanne B. Murray
2:14cv30437   Joyce E. Jones, Larry D. Jones, Jr.
2:14cv30443   Jacquelyne Soto-Bonilla
2:14cv30447   Patricia Chamberlain, Marvin Norby
2:14cv30449   Teri Bard
2:14cv30462   Maria Batista
2:14cv30469   Tina Jackson, Scott Jackson
2:14cv30471   Marguerite Bernaquer
2:14cv30483   Cruz Maria Bermudez
2:14cv30484   Sandra Baxter, Robert Baxter
2:14cv30485   Paula Barker, Mike Barker
2:14cv30496   Marianne M. Boehme, Richard Boehme
2:14cv30503   Bonnie L. Carden, Stanley Carden
2:14cv30505   Shelli Osterle Clevenger
2:14cv30506   Brenda Clubb, Floyd Clubb
2:14cv30509   Lynn Cullins
2:14cv30510   Sharon Curran
2:14cv30513   Pamaula Campbell Fitzgerald
2:14cv30514   Betty Fraker
2:14cv30536   Donna Long, Edwin C. Long III
2:14cv30547   Wendy Counts, William Counts
2:14cv30552   Latanya Addison
2:14cv30553   Bridgette Adkins, Glenn Earl Adkins Sr.
2:14cv30570   Martha Louise Aiken, Donald Aiken
2:14cv30573   Amanda Andries, Greg Andries
2:14cv30586   Eileen Lenihan
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2:14cv30594   Tina Springer
2:14cv30613   Rose G. Aubrey
2:14cv30621   Mendi Erin Cramer
2:14cv30624   Ellen Lewis
2:14cv30625   Deborah Rhodes
2:14cv30627   Carleen Reeder
2:14cv30628   Cynthia Coleman
2:14cv30629   Sandy Revell
2:14cv30638   Susan Ruby
2:14cv30646   Merrily Holley Walters, David R. Walters
2:14cv30652   Melba Lee Mullis, James B. Mullis
2:14cv30691   Loriann Bremer, John Bremer
2:14cv30697   Angela Brouillette, Thomas Brouillette
2:14cv30713   Marilyn A. Moorman, Mont Sanford Moorman
2:14cv30764   Shari Lucero, Frank Lucero
2:14cv30795   Pamela Frascella
2:14cv30796   Judith Fuller, Terry W. Fuller, Personal Representative
2:14cv30814   Patricia Renae Harris
2:14cv30818   Wanda Lynn Roberts
2:14cv30822   Susan Romo, Victor Romo
2:14cv30824   Ynetta Myers
2:14cv30828   Tina Ann Smith
2:14cv30923   Melisa Adams
2:14cv30942   Faith Swann Woody
2:14cv30948   Joanne Seavey
2:14cv30954   Mary Hawkins, Darrell Maze
2:14cv30960   Judith Hoffman
2:14cv30972   LaDonna Johnston
2:14cv30973   Christine Joy Jones, Stephen Jones
2:14cv30984   Cynthia Johnson, Michael Johnson
2:14cv30985   Christy Gorwell
2:14cv30992   Victoria Nellis
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2:14cv30995   Salomy George
2:14cv31001   Alfreda Wagner
2:14cv31097   Lynne M. Amason
2:14cv31105   Mona A. Stephenson
2:14cv31108   Esther E. Van Dunk
2:14cv31110   Sonja E. Walker
2:14cv31146   Dana Cory
2:14cv31147   Patricia Costa, Frank Costa
2:14cv31153   Lisa M. DeMedeiros
2:14cv31177   Wendy L. Shivers, James K. Shivers
2:14cv31219   Yvonne Styron, Johnny Alton Styron
2:14cv31220   Joyce Y. Suggs
2:14cv31222   Sherry Sulser, William Sulser
2:14cv31226   Rita Thomas
2:14cv31237   Susan Linda Woodin, Gene R. Woodin Jr.
2:14cv31261   Judy G. McKinney
2:14cv31267   Lydia Saragosa
2:14cv31277   Patricia McVearry, Daniel T. McVearry Jr.
2:14cv31283   Deborah Schroeder
2:14cv31286   Patricia Thornton
2:14cv31302   Kendra Thompson
2:14cv31304   Kathleen A. McInerney, John McInerney
2:14cv31307   Diane Thompson, Brian Thompson
2:14cv31312   Brandy Shafer, Eugene Shafer
2:14cv31314   Debra Singleton
2:14cv31316   Gayle Ruth Clements, Warren Clements
2:14cv31339   Dove Howard, Johnny Walker
2:14cv31342   Kathryn M. Watkins
2:14cv31366   Susan S. Schmidt, Lane D. Schmidt
2:14cv31379   Tina Ales, Thomas Ales
2:14cv31382   Penny Ballard
2:14cv31397   Anne Eick, John Eick
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2:14cv31401   Hilda Turner, Bura Turner
2:14cv31412   Anne Shope
2:14cv31413   Arlene Austin
2:14cv31429   Pamela J. Goodwin, Charles R. Goodwin
2:14cv31445   Heidi Stone, Thomas Stone
2:14cv31446   Peggy Fischer, Joseph Fischer
2:14cv31449   Lena M. Cupp
2:14cv31452   Vicky Thomason, Danny Thomason
2:14cv31455   Julia V. Pozzi, Joe W. Pozzi
2:14cv31463   Christine Greene
2:14cv31480   Marlene Robbins, Charles Robbins
2:14cv31482   Deborah Vachon, Yvan Vachon
2:14cv31491   Waneta Myers
2:14cv31493   Carolie Mitchell
2:14cv31499   Judith Lane
2:15cv00079   Paulette L. Mumme
2:15cv00086   Cheryle Crabtree
2:15cv00245   Tracy Lynn Beach, Jeffrey L. Beach
2:15cv00247   M. Sharon Parago, James Parago
2:15cv00331   Lisa Streier
2:15cv00421   Antonia Manibusan
2:15cv00422   Marla Mills
2:15cv00452   Mary Sandoval
2:15cv00504   Debra Smith, Mark Cowart
2:15cv00514   Rebecca K. Brewster, Alan Brewster
2:15cv00531   Harriet Goetz
2:15cv00555   Claudia Byrd
2:15cv00560   Judith Hartman
2:15cv00619   Ranesha Yisrael
2:15cv00692   Amber N. Friend
2:15cv00730   Betty Owens
2:15cv00731   Tracy Jackson
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2:15cv00736   Diane M. Friedmeyer, Donald C. Friedmeyer
2:15cv00737   Jackie Lipinski
2:15cv00739   Molly Lara
2:15cv00740   Marta Mangrum
2:15cv00756   Mary Anna Pittz, Thomas Pittz
2:15cv00785   Donna Eckhard
2:15cv00841   Mary T. Hurst
2:15cv01016   Shelia Decker
2:15cv01023   Patricia Butts
2:15cv01024   Gail Richey
2:15cv01026   Charlotte Ayers
2:15cv01044   Tracy Benitez
2:15cv01046   Karen A. Shayer
2:15cv01052   Dawn Childs
2:15cv01069   Betty J. Draper, Ace L. Draper
2:15cv01074   Tammy Merklin
2:15cv01087   Wendi Goodwin, Harlie Goodwin
2:15cv01284   Vestina Lingham, Ivan Lingham
2:15cv01289   Michelle Tully Tolbert, Glenn Tully-Tolbert
2:15cv01307   Cherie Freeman
2:15cv01312   Diana Ash, Jeff Ash
2:15cv01329   Carolina Sanchez
2:15cv01335   Meggan Paige
2:15cv01337   Aron Frogg
2:15cv01343   Nanette Savignac
2:15cv01346   Margaret R. Reed
2:15cv01352   Mary E. Gutierrez
2:15cv01357   Maria Baez
2:15cv01511   Shirley Credeur
2:15cv01533   Nancy Williams, Phil Williams
2:15cv01566   Linda D. Stewart
2:15cv01585   Lorene A. Kuklinski
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2:15cv01692   Theresa Wilson
2:15cv01722   Nadine Small
2:15cv01740   Deanna Walker
2:15cv01822   Meredith Denney-Hutchins
2:15cv01878   Annie Hunter, James Hunter
2:15cv01882   Gloria A. Arce
2:15cv01891   Charlotte Hale
2:15cv01908   Alexandra L. Buchholz, Steven Buchholz
2:15cv01938   Lauren McLeod, William McLeod
2:15cv01942   Diane Williams
2:15cv02066   Tammy Perry, Craig Perry
2:15cv02078   Janae Diane Johnson
2:15cv02082   Victoria F. Littleton, John Littleton
2:15cv02089   Margaret Van Matre
2:15cv02093   DeEldra E. Rodgers, Ardell Rodgers
2:15cv02111   Cathryn Olson
2:15cv02112   Victoria Renter
2:15cv02113   Melinda Thompson
2:15cv02133   Brenetta Hall
2:15cv02220   Elisa L. Adams
2:15cv02313   Cynthia Webb, Matthew Webb
2:15cv02377   Debra J. Pewitt
2:15cv02405   Eleanor Abbott
2:15cv02409   Lynda Gifford
2:15cv02439   Angela Lavaid Washington
2:15cv02443   Nancy D. Bremer
2:15cv02511   Dana Baldwin
2:15cv02537   Elizabeth A. Callan
2:15cv02538   Mistie Carter
2:15cv02540   Linda S. Clark
2:15cv02556   Helen A. Davis
2:15cv02558   Noris Diaz
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2:15cv02599   Diana L. Farr
2:15cv02600   Evelyn Gaskins
2:15cv02611   Janice R. Oaks
2:15cv02612   Carla Ritchey
2:15cv02613   Kathleen Rose
2:15cv02630   Donna Hester
2:15cv02677   Kathy L. Wilson, William P. Wilson
2:15cv02706   Peggy Sloan
2:15cv02709   Anna Marie Smetana
2:15cv02718   Charlene Reynolds
2:15cv02720   Peggy Trantham
2:15cv02724   Donna Towell
2:15cv02726   Karen Thorson
2:15cv02727   Nina Ricciardone
2:15cv02729   Jennifer Thompson
2:15cv02730   Dorothy Richeson
2:15cv02750   Lori Teeple
2:15cv02751   Phyllis Tabler
2:15cv02755   Eunice Stopple
2:15cv02757   Peggy J. Stallings
2:15cv02760   Judith Robbins
2:15cv02761   June Roberts
2:15cv02763   Jami L. Robinson-Osborne
2:15cv02764   Karla Roche
2:15cv02765   Linda Rodriguez
2:15cv02767   Rhonda Romero
2:15cv02769   Kim Schlise
2:15cv02770   Susan Schmidt
2:15cv02771   Tammy Schmidt
2:15cv02781   Nancy Simpson
2:15cv02782   Cindy Sinsky, Edward Sinsky
2:15cv02783   Ruby Sprowls
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2:15cv02784   Sandra Sprinkles
2:15cv02785   Janet Spriggs
2:15cv02786   Ruth Spears
2:15cv02787   Carole A. Sparacco
2:15cv02789   Carol D. Smith
2:15cv02792   Kathy Zeiders
2:15cv02793   Jerry Zecca, Franklin Zecca
2:15cv02794   Brenda Young
2:15cv02795   Kim Yoder
2:15cv02797   Crystal Renee Wooten
2:15cv02802   Lynda Diane Truluck
2:15cv02804   Debra Williams
2:15cv02805   Tommie Jo Tucker
2:15cv02806   Bonnie Jean Williams
2:15cv02807   Vivian Turner, Michael J. Turner
2:15cv02808   Beverly Carol Williams
2:15cv02812   Yvonne Valentine
2:15cv02815   Teresa Welch, Herman Welch
2:15cv02819   Nancy Vander Leest
2:15cv02824   Rita Vasconcellos
2:15cv02826   Kathleen Viggiano
2:15cv02828   Brenda Vigil
2:15cv02867   Debra Schrimsher, Lewis Schrimsher
2:15cv02884   Pamela Whalen
2:15cv02917   Lizeth Carrera
2:15cv02926   Pamela S. Gill
2:15cv02927   Debra S. Godwin
2:15cv02930   Vickie A. Hemb
2:15cv02931   Mary T. Hennessy
2:15cv02932   Brenda A. Hess
2:15cv02935   Stephanie S. Hobson
2:15cv02939   Sue A. Jones
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2:15cv02940   R. Kaye Kellar
2:15cv02942   Michelle Labrie
2:15cv02944   Belinda Leos
2:15cv02945   Lorilynn R. Lindsey
2:15cv02952   Betty J. Morse
2:15cv02954   Frances Myron
2:15cv03019   Willie Mae Salters
2:15cv03087   Linda Kay Arthur
2:15cv03088   Mary Ann Baker
2:15cv03089   Martha Basadre
2:15cv03092   Karen Bennerotte
2:15cv03093   Maria Burks
2:15cv03095   Tammy K. Curtis
2:15cv03096   Jackie Decker
2:15cv03099   Andria K. Fierro
2:15cv03100   Norma J. Fisher
2:15cv03104   Joyce Ann Gillespie
2:15cv03105   Susan K. Givens
2:15cv03106   Mary F. Hennrich
2:15cv03109   Bonnie K. Johnson
2:15cv03110   Karrie Lee Johnson
2:15cv03117   Tamara Suzanne Tamblyn
2:15cv03118   Kim Marie Templeton
2:15cv03119   Debra J. Thompson, Stevan A. Thompson
2:15cv03122   Sylvia Touchton
2:15cv03129   Shannon P. Winsborough
2:15cv03130   Maria V. Zuniga
2:15cv03210   Kimberly Morgan
2:15cv03242   Diane M. Asmus
2:15cv03244   Christin Denise Smith
2:15cv03246   Stacy Franklin
2:15cv03290   Ruth Powell-Coblentz
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2:15cv03297   Rebecca Griffin, Percy Griffin Jr.
2:15cv03327   Jana Doolen, Steven Doolen
2:15cv03431   Patricia Hillman
2:15cv03441   Priscilla Fitts
2:15cv03442   Christine Cabral
2:15cv03444   Freda Hollen
2:15cv03445   Judith Odeh
2:15cv03447   Charmie Hayton
2:15cv03470   Christiane Applegate
2:15cv03473   Sylvania Sturgeon
2:15cv03481   Juanita Fernandez, Alberto Fernandez
2:15cv03484   Dora Gallardo
2:15cv03537   Kimberly McDonough, Dusken James McDonough
2:15cv03565   Beverly S. Masters
2:15cv03566   Frances Parks Nix, Ricky Alan Nix
2:15cv03568   Margaret Adams, Dwight Adams
2:15cv03569   Mimi Borkstrom
2:15cv03579   Glenda Hammonds
2:15cv03580   Maria Cavileer
2:15cv03582   Olga Romero
2:15cv03583   Rhonda Grimstead
2:15cv03587   Judith A. Green, Michael G. Green
2:15cv03633   Donna S. Hopper, Steve Hopper
2:15cv03637   Roberta Ferrari
2:15cv03638   Brenda Schmiett
2:15cv03641   Robin Lee
2:15cv03647   Sheila Kinsey
2:15cv03653   Marilyn Hart
2:15cv03659   Norma L. Kovach
2:15cv03668   Nevelyn R. Schooler
2:15cv03669   Linda I. Sorensen
2:15cv03686   Tracy L. Payne
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2:15cv03688   Diane L. Richer
2:15cv03734   Celia Thorington, Robert Thorington Jr.
2:15cv03737   Lisa K. Vaughan, Charles B. Vaughan
2:15cv03738   Peggy Grooms
2:15cv03826   Dorothy Kitzmiller
2:15cv03828   Stacy Hamlin Adams, Allen Adams
2:15cv03831   Nancy O'Donnel, Patrick O'Donnel
2:15cv03832   Jayne Pawlisa, Richard Pawlisa
2:15cv03854   Dawn Adkins
2:15cv03874   Kendra Pitchford, Steve Pitchford
2:15cv03888   Peggy L. Hodgdon, Robert A. Hodgdon
2:15cv03898   Eva Terry, Ed Terry
2:15cv03905   Sarah LeVahn Begnoche
2:15cv03908   Anastasia McTarsney
2:15cv03917   Julie Vara, Daniel Vara
2:15cv03920   Cynthia Gonzalez, Rogelio Gonzalez
2:15cv04001   Monyah E. Cathey
2:15cv04014   Tammy D. Taylor, Jon Taylor
2:15cv04043   Diana Villanueva
2:15cv04089   Donnitta S. Williamson, Bill Williamson
2:15cv04159   Donna Valdez
2:15cv04164   Leigh Ross
2:15cv04212   Venus Herring, Robert Herring
2:15cv04215   Darlene McQueen
2:15cv04216   Angela Rodriguez, Carlos Rodriguez
2:15cv04334   Ruth Mills
2:15cv04335   Ramona I. Perez
2:15cv04341   Mary White
2:15cv04348   Kathleen Gibbs, Lauren R. Gibbs Jr.
2:15cv04405   Mary Jo Mattson
2:15cv04410   Deborah Middleton
2:15cv04411   Sandra Koenes
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2:15cv04432   Mary Adams
2:15cv04433   Velma G. Thompson-Hampton
2:15cv04436   Sharon Clark, Davis Clark
2:15cv04438   Deborah L. Davis
2:15cv04491   Carrie Hill
2:15cv04540   Lisa Roland
2:15cv04543   Leonya I. Bates Threatt
2:15cv04552   Helen I. Arndt
2:15cv04558   Lynn M. Bosk
2:15cv04567   Rosemary J. Gonzales
2:15cv04586   Patricia Lynn Johnson
2:15cv04590   Sandra Lee Kost
2:15cv04593   Rhonda Davis Abee
2:15cv04596   Shirley P. McNeil
2:15cv04604   Jean Quintin
2:15cv04605   Gail Raimondo
2:15cv04613   Debra K. Anders
2:15cv04614   Neva F. Stegall
2:15cv04616   Anneska Daisy Torres
2:15cv04623   Jean E. Wilbanks, Curtis Wilbanks
2:15cv04626   Kelly A. Yeater
2:15cv04627   Linda Adams
2:15cv04629   Lela Burley
2:15cv04630   Vickie L Kanupp
2:15cv04633   Deborah King
2:15cv04634   Claire G. Lariviere
2:15cv04635   Darla Alpizar
2:15cv04636   Nancy Lauderback
2:15cv04637   Marianne Amato
2:15cv04639   Greta Anderson
2:15cv04643   Jane Lindquist
2:15cv04645   Nadine H. Logan
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2:15cv04647   Ellen F. Lyons
2:15cv04648   Joanne Asencio
2:15cv04649   Tanjia Ashley
2:15cv04652   Beverly J. Avadikian
2:15cv04653   Fatima Mahmoud
2:15cv04654   Cathy Maney
2:15cv04660   Linda Banks
2:15cv04661   Jennifer J. Martin
2:15cv04662   Juanita Martindale
2:15cv04663   Susan Banse
2:15cv04667   Wendy Barker
2:15cv04668   Cathy Barry
2:15cv04670   Wanda Moran
2:15cv04673   Romona Bebo
2:15cv04675   Barbara Collins
2:15cv04676   Sylvia Beckham
2:15cv04677   Kerry Aleccia
2:15cv04679   Sandra Benston
2:15cv04680   Diane Naylor
2:15cv04682   Deborah Biddix
2:15cv04684   Maureen Bill
2:15cv04685   Elizabeth Lambert
2:15cv04688   Dawn Hoge
2:15cv04690   Tamela Black
2:15cv04693   Cheryl Boeck
2:15cv04696   Carol Booker
2:15cv04697   Sandra Borchelt
2:15cv04699   Rachel Bowers
2:15cv04701   Sandra R. Bradley, Jerry Bradley
2:15cv04702   Debra McNeill
2:15cv04707   Maxine Brock
2:15cv04710   Dorothy Brown
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2:15cv04711   Barbara Brown
2:15cv04715   Karen Anglin, Don G. Anglin
2:15cv04718   Irene J. Middleton, William Middleton
2:15cv04719   Bettye Mixon
2:15cv04724   Denise K. Morgan
2:15cv04728   Heather Nash-Randolph, William Randolph
2:15cv04730   Gail L. Obradovich
2:15cv04735   Teresa L Pendleton
2:15cv04738   Margaret Perkins, Wesley Perkins
2:15cv04739   Joan Perry
2:15cv04740   Darlene M. Petty
2:15cv04741   Marlene Renee Picard
2:15cv04744   Debbie Pope
2:15cv04745   Lashawn R. Powell
2:15cv04747   Helen Przybyl
2:15cv04748   kimberly Pullen
2:15cv04750   Barbara A Raines
2:15cv04752   Anise S. Ramos
2:15cv04757   Laura Katleman
2:15cv04758   Kathleen D. Kernizan
2:15cv04759   Ronda Kirkpatrick
2:15cv04760   Leocadia Labedz
2:15cv04763   Donna M. LaJoy
2:15cv04764   Annie L. LaPorte
2:15cv04765   Brenda J. Larson
2:15cv04767   Learnesha Lewis
2:15cv04768   Brenda Loock
2:15cv04769   Natalia P. Lopez
2:15cv04770   Tori L. Lovins
2:15cv04772   Sharon Bunch
2:15cv04773   Patricia A. Lozano
2:15cv04775   Stephanie Burlingame
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2:15cv04776   Joyce Lusinger
2:15cv04779   Dolly L. Lussier
2:15cv04784   Annie Malone
2:15cv04786   Margaret Bushley
2:15cv04787   Sandra Cabral, Pedro Cabral, Jr.
2:15cv04788   Vivian Campbell
2:15cv04789   Patricia Ann Candler
2:15cv04790   Diana Caproni, Richard Caproni Jr.
2:15cv04792   Elizabeth Carey
2:15cv04793   Ruby Chase
2:15cv04795   Colleen Checkai
2:15cv04799   Maria McCoy
2:15cv04800   Rose Christian
2:15cv04801   Patricia Lynn Adams
2:15cv04803   Susan Christianson, Chris Christianson
2:15cv04805   Donna Clark
2:15cv04808   Louise Coates
2:15cv04812   Mary Collins
2:15cv04819   Carmen Crumble
2:15cv04821   Jaclyn Cruse
2:15cv04826   Annessa Davidson
2:15cv04830   Christine Dean
2:15cv04834   Debra Derryberry
2:15cv04836   Sandra Deyo
2:15cv04838   Elaine Dodson
2:15cv04861   Judy A. Vastine
2:15cv04865   Twanda R. Bailey
2:15cv04866   Sharon P. Antwine
2:15cv04867   Rebecca Lorraine Bailey
2:15cv04896   Deborah L. Jarrett, Bobby Dale Jarrett
2:15cv04897   Rachel L. Terry
2:15cv04904   Virginia Ablonsky
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2:15cv04922   Patricia A. Keefer, Albert R. Keefer
2:15cv04928   Rita McClure
2:15cv04933   Lori Hodge
2:15cv04936   Virpi Hamner
2:15cv04941   Pamela Holmon, Eddie Holmon
2:15cv04944   Robyn Barr
2:15cv04946   Rhonda Beck
2:15cv04997   Samantha E. Bois
2:15cv05001   Lisa Davis
2:15cv05004   Sandrico Huzzie, Curtis Huzzie
2:15cv05008   Irene Ochoa, Laureano Ochoa Jr.
2:15cv05011   Sonia Bermudez
2:15cv05015   Sheila A. Carrigan
2:15cv05017   Janet Beeman-Busby
2:15cv05018   Vickie A. Childers
2:15cv05019   Martha Fahnestock
2:15cv05039   Joyce Ann Camp
2:15cv05062   Carmen Pettis
2:15cv05073   Judy M. Thompson
2:15cv05077   Yolanda Martin, Eddie Martin
2:15cv05102   Sandra W. Church
2:15cv05120   Laurie C. Chapin
2:15cv05125   Sheryl L. Cassel
2:15cv05136   Lisa Cooley
2:15cv05192   Dorothy Cockrell
2:15cv05216   Nicole Chisholm
2:15cv05217   Pandora Dorry
2:15cv05229   Anne Whalen
2:15cv05232   Lou Ann Ray, James T. Ray Jr.
2:15cv05238   Paula S. Read
2:15cv05259   Peggy Jo Slone, Gary L. Slone
2:15cv05313   Phyllis Devey
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2:15cv05322   Alma Lee Burchett
2:15cv05323   Marie A. Coletta
2:15cv05368   Carolyn Lucille Doran
2:15cv05369   Holly Jean Rodriguez, Russell G. Panos
2:15cv05387   Pamela S. Crossen
2:15cv05389   Lisa K. Ennis
2:15cv05405   Greer Moore
2:15cv05410   Valerie Pleasant, Russell Pleasant
2:15cv05427   Elida R. Rodriguez, Marciano P. Rodriguez
2:15cv05444   Joan Patricia De Marco
2:15cv05445   Cheryl L. Brown
2:15cv05448   Teresa Darlene Franks
2:15cv05456   Linda M. Frawley
2:15cv05457   Vera Fernandes
2:15cv05503   Geraldine Honeycutt
2:15cv05510   Earnestine Paulding
2:15cv05530   Stephanie Henriques
2:15cv05533   Dana S. Garlick, Robert R. Garlick
2:15cv05541   Renee Maynard
2:15cv05551   Yvette Kelley
2:15cv05563   Carolyn J. Aldridge
2:15cv05586   Billie R. Milam
2:15cv05602   Cathy Yates
2:15cv05611   Janelle B. Gutierrez
2:15cv05618   Tina M. Davison-Berglund
2:15cv05630   Amelia Owens Dennis
2:15cv05635   Angela Robin Hubbard
2:15cv05637   Eve Marie Johnson
2:15cv05653   Bonnie Parsons
2:15cv05656   Alba R. Pedersen
2:15cv05657   Winifred L. Peters
2:15cv05658   Bobby J. Plucinik
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2:15cv05659   Brenda J. Poland
2:15cv05660   Sheri Poor
2:15cv05661   Patricia Racine
2:15cv05668   Patricia Marie Robbins
2:15cv05670   Tracy Rogers
2:15cv05673   Kimberly A. Ryan
2:15cv05676   Norma J. Seid
2:15cv05678   Robin Jayne Shy
2:15cv05679   Eileen Mae Sills
2:15cv05683   Mimi L. Sorg
2:15cv05693   Bonnie Whitehead
2:15cv05780   Kimberley F. Hart
2:15cv05787   Linda M. Galligan
2:15cv05801   Catherine Galliot
2:15cv05802   Barbara A. Gallert
2:15cv05859   Pearl Gale
2:15cv05861   Glenda N. Hoak
2:15cv05862   Janice R. Harris
2:15cv05865   Deborah Ann Good
2:15cv05866   Theresa Mae Harrell
2:15cv05944   Jenny Lynn Hill
2:15cv05952   Angela K. Stafford
2:15cv05967   Donna Howington, Bruce Howington
2:15cv05975   Tammie Lynne Baty, Byron Baty
2:15cv06008   Lisa Marie LeMay
2:15cv06011   Dale McClelland
2:15cv06018   Joyce Williams
2:15cv06047   Bonnie R. Gilchrist, David Gilchrist
2:15cv06067   Evelyn Jane Horton
2:15cv06079   Frankie E. Johnson
2:15cv06088   Margaret McNeely
2:15cv06096   Alice M. Klein
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2:15cv06138   Andrea L. Bagley
2:15cv06141   Robbin G. Johnson
2:15cv06142   Diana Marie Lewis
2:15cv06146   Barbara Holmes
2:15cv06183   Lynn M. Kamps
2:15cv06186   Jane F. Hogan
2:15cv06237   Bonniekay Parker, Richard Parker
2:15cv06242   Lisa Hall
2:15cv06251   Kathy Donald
2:15cv06254   Deborah Dunbar
2:15cv06255   Darlene Duzan
2:15cv06257   Sharon Eaton
2:15cv06259   Mary Ebert
2:15cv06261   Joann Eisenhart
2:15cv06262   Loretta Ellery
2:15cv06264   Judith Erban
2:15cv06265   Lashawna McFarland
2:15cv06266   Beatrice W. Preston
2:15cv06272   Clara Mae Faw
2:15cv06275   Gladys Fernandez
2:15cv06279   Mary Ann Ferreira
2:15cv06280   Sherry Fietzer
2:15cv06282   Donna Kallam
2:15cv06284   Vivian Jones
2:15cv06285   Patricia Fleming
2:15cv06289   Linda Jones
2:15cv06291   Delphine Jones
2:15cv06292   Patsy Johnson
2:15cv06295   Cynthia Frias
2:15cv06299   Lisa Jernigan
2:15cv06302   Patricia Fuller, Byron Fuller
2:15cv06304   Lysette Galindo
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2:15cv06309   Sandra Jenkins
2:15cv06310   Janet Jackson
2:15cv06313   Deana Gischel
2:15cv06314   Tina Gleghorn
2:15cv06315   Robin Hunt
2:15cv06317   Kathy Hughes
2:15cv06321   Helen Gonzalez
2:15cv06322   Susan Hudson
2:15cv06324   Tina Holbert
2:15cv06325   Jill Gossett
2:15cv06326   Lois Grady
2:15cv06328   Rose Hinson
2:15cv06329   Vickey Gray
2:15cv06330   Patsy Gray
2:15cv06332   JoAnn Greengrass
2:15cv06333   Vickie Greenleaf
2:15cv06336   Eleanor Grinsold-Harris
2:15cv06337   Debra Hinckle
2:15cv06339   Glenda Higgason
2:15cv06341   Lisa Herila
2:15cv06343   Margarita Gutierrez
2:15cv06344   Aretha Hendrix
2:15cv06346   Dorothea Haas
2:15cv06347   Rita Halle, Raymond Halle
2:15cv06351   Martha Harp
2:15cv06352   Janice Hartness Thomas
2:15cv06354   Virginia Diane Hefner
2:15cv06355   Phyllis Heil
2:15cv06356   Juliette Heim
2:15cv06378   Donita Bettencourt, Mark Bettencourt
2:15cv06380   Carla Kincaid, Greg Kincaid
2:15cv06385   Karen Maher
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2:15cv06386   Barbara E. Madsen
2:15cv06388   Linda E. Lindberg
2:15cv06389   Alfreda A. Lockwood
2:15cv06390   Bessie Massey
2:15cv06392   Deanna Murphy
2:15cv06395   Mary Vasquez
2:15cv06397   Tammy Ann Studdard
2:15cv06399   Bertha Lopez
2:15cv06400   Jane A. McKinnon
2:15cv06403   Valarie Jane Lowry
2:15cv06411   Jill Bancheri
2:15cv06414   Dana Miller
2:15cv06417   Fran Lovelace
2:15cv06428   Kay W. McKinney
2:15cv06456   Delores Crouch
2:15cv06499   Diane Strotz, William J. Strotz
2:15cv06502   Ethel M. Maag
2:15cv06503   Nerissa S. Long
2:15cv06505   Patricia A. Lizotte
2:15cv06577   Martha Coe
2:15cv06727   Shannon Phillips
2:15cv06858   Vicky Nimroozi
2:15cv06867   Mary Pettey
2:15cv06868   Hazel I. Morrow
2:15cv06873   Jackie Lyn Noe
2:15cv06884   Diane Rapoza
2:15cv06886   Penny Marie Padalino
2:15cv06892   Alice Hendrickson
2:15cv06893   Rebecca J. Nicol
2:15cv06914   Shannon A. Brantley, William A. Brantley
2:15cv06928   Sandra C. Garbs
2:15cv06929   Judy C. Clements
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2:15cv06933   Ruby Preston
2:15cv06950   Mary Rasberry
2:15cv06969   Wendy Nagy
2:15cv06978   Angelia Richardson
2:15cv06985   Sarah Elizabeth Keeler
2:15cv07003   Darlene Koprowski, James C. Koprowski
2:15cv07004   Colleen A. Kurupas, James A. Kurupas
2:15cv07023   Faye Duncan
2:15cv07026   Bernadette Sanders
2:15cv07056   Marlo Fuller
2:15cv07140   Deborah K. Piercy, Rex D. Piercy
2:15cv07147   Teresa Massa
2:15cv07148   Mary Martini
2:15cv07170   Scarlett Hall, Rex Hall
2:15cv07243   Shauna Rivera
2:15cv07358   Lynn Green
2:15cv07390   Donna J. Hoialmen
2:15cv07393   LeShanda Wingard
2:15cv07484   Rita Stephan
2:15cv07485   Pamela Wachholz, Duane Wachholz
2:15cv07491   Maria Conesa
2:15cv07492   Daryl Cox, Brian Cox
2:15cv07503   Barbara Regina Sanders
2:15cv07506   Crystal Seiber
2:15cv07514   Dianne Marie Smith
2:15cv07515   Deborah Rourke
2:15cv07526   Deborah A. Rotolo
2:15cv07530   Barbara Lee Southern
2:15cv07532   Nada D. Scurto
2:15cv07533   Virginia A. Spellicy, James W. Spellicy
2:15cv07534   Gloria Jean Schwartzlow
2:15cv07536   Annice Darlene Schrepfer
   Case WVS/2:15-cv-14812         Document 1   Filed 12/01/17   Page 190 of 267




2:15cv07537   Mariel G. Synder
2:15cv07543   Jahalia Bruck, also known as Haley Bruck
2:15cv07552   Wanda L. Simmons
2:15cv07587   Rose Marie Staidl
2:15cv07604   Beverly E. Stemen
2:15cv07606   Kary Teister
2:15cv07607   Louise Simpson
2:15cv07612   Christye Bryant, Byron H. Bryant III
2:15cv07613   Irene Kujawski Yaghoubian, David Yahgoubian
2:15cv07615   Laurie Barnes
2:15cv07617   Rebecca Bardin
2:15cv07619   Deanna Rottkamp
2:15cv07626   Maritza Nunez
2:15cv07629   Stacy Hein
2:15cv07630   Elizabeth A Keoppel
2:15cv07633   Cindy Maria Salvitti
2:15cv07634   Barbara Jean Smith
2:15cv07644   Rita C. Spicer-McLain
2:15cv07657   Staci D. Sullivan
2:15cv07659   Connie Rouzee
2:15cv07660   Laurie A. Beaudry
2:15cv07661   Candice Fay Bodrie
2:15cv07667   Stacy D. Strong
2:15cv07669   Jan E. Moore, Richard A. Moore
2:15cv07672   Giselle Anne Stilphen
2:15cv07673   Mandy D. Bowden
2:15cv07674   Gretchen S. Sumpter-Irwin
2:15cv07702   Virginia Shelby-Simer
2:15cv07706   Felicia Johnson
2:15cv07716   Deborah Roldan
2:15cv07720   Joylaine Serie
2:15cv07727   Christine E. Carter
   Case WVS/2:15-cv-14812        Document 1   Filed 12/01/17   Page 191 of 267




2:15cv07731   Mary Jo Thomas
2:15cv07735   Maureen A. Swearingen
2:15cv07743   Hilda Gonzalez
2:15cv07746   Terri Griffeth
2:15cv07751   Sherry Nilsson, Carl Nilsson
2:15cv07753   Kelly Keating
2:15cv07756   Gena M. Stockton
2:15cv07778   Irene Dennis
2:15cv07788   Barbara Angelo
2:15cv07792   Bonnie Maez
2:15cv07795   Dorothy Thomas
2:15cv07798   Paula Goodson
2:15cv07800   Debra Hawley
2:15cv07805   Christina Pavlik-Linder, Robert Linder
2:15cv07807   Betty Quadrozzi
2:15cv07808   Carrie Voss
2:15cv07822   Christina Berry
2:15cv07823   Mary Boisclair-Christensen
2:15cv07837   Michelle L. Dishon
2:15cv07838   Patricia P. Gallman
2:15cv07849   Renee Buholz
2:15cv07854   Evelyn Campbell
2:15cv07855   Sherry Carter
2:15cv07856   Melinda Caton
2:15cv07858   Karen Bennerotte
2:15cv07861   Andrea Frye, Charles Frye
2:15cv07863   Olive M. Brayall
2:15cv07864   Ana Colon
2:15cv07868   Barbara Cooper
2:15cv07870   Terry Ann Jones
2:15cv07872   Roberta Jeanne Harnois-Roby
2:15cv07873   Anna Marie Mayhew
   Case WVS/2:15-cv-14812         Document 1   Filed 12/01/17   Page 192 of 267




2:15cv07874   Evelyn Valdez
2:15cv07878   Yaned Forero-Salazar
2:15cv07885   Maria Raimo-Landecho
2:15cv07890   Lynn Ann Vital
2:15cv07894   Irene Viviano
2:15cv07895   Christine J. Ferguson
2:15cv07900   Jodi B. Landry
2:15cv07901   Darlene J. Vaccarelli
2:15cv07905   Angel Denise Crain
2:15cv07907   Brenda Jane Warnick
2:15cv07909   Diane Kay Veltema
2:15cv07910   Denise Wright
2:15cv07950   Anita Maestas
2:15cv07975   Felicia Deraville
2:15cv07976   Lynne M. Hendrix
2:15cv07981   Nan Nedela
2:15cv08019   Doris Lindsey-Baker, Charles Baker Jr.
2:15cv08042   Louise Maes, Robert Maes
2:15cv08069   Sharon Walker
2:15cv08130   Joyce Gwaltney
2:15cv08163   Marilyn L. Czajkowski
2:15cv08165   Sandy Zoll
2:15cv08167   Sandra Campbell
2:15cv08169   Patricia Dean
2:15cv08188   Thaieka Anderson
2:15cv08209   Debra M. Rauch
2:15cv08240   Lisa A. Oxendine
2:15cv08242   Deana Louis Reid
2:15cv08243   Rosalina Vazquez
2:15cv08246   Shelley Eyestone
2:15cv08247   Jill Faber
2:15cv08268   Zelma Case
   Case WVS/2:15-cv-14812       Document 1      Filed 12/01/17   Page 193 of 267




2:15cv08269   Sandra L. Bianconi
2:15cv08274   Dolores Fernandez
2:15cv08278   Ann Fierro
2:15cv08282   Victoria Seale
2:15cv08286   Tonya Franklin
2:15cv08290   Barbara Deskins
2:15cv08301   Larraine Wild
2:15cv08309   Isabel Garcia-Bonanno
2:15cv08310   Nanci Chabriel, Israel Chabriel
2:15cv08312   Sallie Konruff
2:15cv08316   Linda Kutak
2:15cv08333   Janice Gienger
2:15cv08335   Carolyn Hall
2:15cv08341   Delnas Harper
2:15cv08344   Amy Hart
2:15cv08348   Shirley Hartzog
2:15cv08353   Denise Cooney, Frank Cooney
2:15cv08359   Donna Declue, Gary Declue
2:15cv08373   Wanda Goodson, Terry Goodson
2:15cv08397   Lisa Houston
2:15cv08402   Heather Aaron
2:15cv08419   Laurie Crane
2:15cv08434   Amy Hurst
2:15cv08438   Dianna Hurt
2:15cv08440   Kathleen Marie Ross
2:15cv08449   Isabel Garner, Charles John Garner
2:15cv08452   Paula Jerzyk
2:15cv08461   Anna Goken
2:15cv08464   Yvonne Johnson
2:15cv08490   Rebecca Burton, Phillip Burton
2:15cv08499   Dianne Hallman
2:15cv08513   Doreen Hunter, Homer Hunter
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2:15cv08526   Marion Martinelli
2:15cv08569   Lisa Rayburn, Thomas Rayburn
2:15cv08577   Marilyn L. O'Dea
2:15cv08582   Isabel Paret
2:15cv08589   Ethel Parsley
2:15cv08590   Nora Peet, Lawrence Peet
2:15cv08612   Norma Schlegel
2:15cv08633   Laura Slane
2:15cv08677   Heather Stuckrath
2:15cv08680   Maria Tejera
2:15cv08684   Wanda Marie Trenier
2:15cv08688   Paulette Tyrrell
2:15cv08702   Wanda Kirtley
2:15cv08716   Paula Luten
2:15cv08720   Janet M. Barnovsky, Robert Barnovsky
2:15cv08722   Annie L. Major, Jeffrey Major
2:15cv08724   Mary Marshall-Carter, Thomas Henry Carter Sr.
2:15cv08727   Betty Ann Brown
2:15cv08730   Shirley Buckner, Larry Buckner
2:15cv08738   Sandra Alvarado
2:15cv08740   Geraldine Andrefsky
2:15cv08747   Rebecca Belless, Leroy Belless
2:15cv08748   Lannis Bennett, Glenwood C. Bennett
2:15cv08758   Martha Bowser
2:15cv08793   Corina Meyers
2:15cv08807   Susan Renae Molitor, Joseph Molitor
2:15cv08827   Tawana Williams
2:15cv08832   Cindy Woods, Rosamond Sean Woods
2:15cv08847   Rita Kouba
2:15cv08852   Lori Cousineau
2:15cv08867   Florence Jean Edgerley
2:15cv08879   Marilyn R. Fountain
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2:15cv08881   Mary Lee Manley
2:15cv08882   Neerja Garg, Brij Garg
2:15cv08902   Shirley Marsh
2:15cv08915   Deborah Hill, Allen McPherson
2:15cv08916   Rashell Hillis
2:15cv08918   Kathryn Ingrando
2:15cv08921   Wendy Jacobs
2:15cv08922   Betsy McAlpine
2:15cv08924   Jayne E. McMahon
2:15cv08943   Carolyn Kemp - Trout, Roy Trout Jr.
2:15cv08944   Nila Spradling
2:15cv08946   Patricia Gurley
2:15cv08953   Donna Miller
2:15cv08957   Margaret DeLong
2:15cv08959   Terri Kinder
2:15cv08966   Judith Reyes, Oscar Reyes
2:15cv08967   Dana Morris
2:15cv08974   Sharon Lambert, Jerry R. Lambert Sr.
2:15cv08982   Janie Murphy
2:15cv08996   Jessica Velasquez
2:15cv09000   Karen Olson
2:15cv09017   Bertilda Christian, Dwain Christian
2:15cv09036   Debra L. Bradley
2:15cv09039   Mary L. Morgan, Danny Morgan
2:15cv09044   Shellie M. Shanks, Marcus Shanks
2:15cv09056   Dawn Oslund
2:15cv09068   Jennifer Perrino
2:15cv09073   Maria Dominguez
2:15cv09079   Susan Plummer
2:15cv09086   Martha Daniels
2:15cv09089   Leah Devos
2:15cv09095   Priscilla Fitts
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2:15cv09103   Nicole J. Hudson, Steven T. Hudson
2:15cv09123   Evelyn Quinones
2:15cv09125   Tracy Reynolds
2:15cv09129   Leslie Jade Caldwell, Ray E. Caldwell
2:15cv09151   Myrtis Simmons
2:15cv09153   Diane Gilchrist
2:15cv09154   Lynn Kemper
2:15cv09156   Suzanne Smith
2:15cv09162   Brenda Harris-Robak, Jerry Robak
2:15cv09163   Barbara Strong
2:15cv09164   Mary Taylor
2:15cv09167   Angela Tellez
2:15cv09177   Tina Treadway
2:15cv09178   Carol Unzen
2:15cv09179   Barbara Aldrich
2:15cv09180   Diane Arwine, Thomas Arwine
2:15cv09182   Kari Cravens
2:15cv09183   Carol Heidbrink
2:15cv09184   Bettie Ellen Ray
2:15cv09186   Lisa Terwilliger, William Terwilliger
2:15cv09194   Melanie Thomas
2:15cv09206   Miranda K. Worthey, James Worthey
2:15cv09208   Monserrate Caraballo, Damian Roberto Lopez
2:15cv09218   Raquel Almonte
2:15cv09220   Debbie Wilgus
2:15cv09231   Mary Anne Bauer, William George Bauer
2:15cv09240   Brenda Boyette, Jeff Boyette
2:15cv09247   Margaret Sue Brewer, Nathan Brewer
2:15cv09249   Joy Bond-Nelson
2:15cv09251   Kimberly Cone, Clint Cone
2:15cv09252   Tara Brunson
2:15cv09254   Pamela Connor
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2:15cv09256   Caroljean Mcdermott
2:15cv09257   Lisa Burcham
2:15cv09258   Lisa Owen, Matt Owen
2:15cv09259   Diane Roth, Sheldon L. Roth
2:15cv09260   Carolyn Calvert
2:15cv09267   Teresa Clewis
2:15cv09268   Sandra Coleman
2:15cv09272   Margaret Conley, Randall Conley
2:15cv09276   April Vaccaro
2:15cv09281   Sandra Vanmeter, Russell J. Vanmeter
2:15cv09284   Tina Wainwright, Shane Wainwright
2:15cv09286   Gertrudis Camacho, Jose Camacho
2:15cv09295   Sharon Watts
2:15cv09327   Mary Wilkins
2:15cv09329   Anna Zak
2:15cv09346   Xiomara Martinez, Erick R. Martinez
2:15cv09353   Maria Martinez-Yenor
2:15cv09356   Beverly Lovejoy
2:15cv09369   Tina McGilvary, Calvin L. McGilvary Sr.
2:15cv09379   Malinda Baker
2:15cv09380   Oveda Hockenheimer
2:15cv09382   Camille Markham
2:15cv09383   Jennifer Thomas
2:15cv09386   Mary Vogt-Patton
2:15cv09425   Suzette Romero
2:15cv09444   Marlene Blevins
2:15cv09446   Mary Bruce
2:15cv09463   Vicky Carra
2:15cv09466   Penny Chunn
2:15cv09473   Teresa Foley
2:15cv09502   Patty Dick, Kenneth Dick
2:15cv09510   Theresa Gamez
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2:15cv09512   Katherine Gerber, Jeffrey Gerber
2:15cv09521   Ruth Hardy, Thomas J. Hardy Jr.
2:15cv09528   Sherry Hoffmann
2:15cv09529   Maryann Huff
2:15cv09530   Janice Hunter
2:15cv09535   Bambi Jernigan, David Jernigan
2:15cv09536   Judith Johnson
2:15cv09537   Mary Ann Jordan
2:15cv09539   Lindsay Keller
2:15cv09546   Dianne Kimball
2:15cv09552   Wendy Bingle
2:15cv09561   Marliss Kingsley
2:15cv09578   Penny Parish
2:15cv09579   Betty Penley
2:15cv09580   Estela Rincon
2:15cv09582   Donna Sahr
2:15cv09585   Christine Karsch
2:15cv09588   Charlotte Rogers
2:15cv09589   Phyllis Santini
2:15cv09597   Nancy Vincent
2:15cv09599   Amy Gant, Monty Gant
2:15cv09600   Eve Emerson
2:15cv09609   Victoria Wellington
2:15cv09614   Debra Yates
2:15cv09629   Laura Kercelius
2:15cv09632   Doreen Goynes
2:15cv09636   Sandra Parks
2:15cv09637   Catherine Ann Steinhagen, John H. Steinhagen
2:15cv09670   Peggy Kocks
2:15cv09743   June E. Sonnier, Toby Sonnier Sr.
2:15cv09763   Christy Dailey, Heath Dailey
2:15cv09765   Brynne Molnar, Frank M. Del Popolo
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2:15cv09766   Barbara J. Hipp
2:15cv09767   Melanie I. Wilson
2:15cv09781   Fleta L. Jones
2:15cv09812   Linda Murray, Roger Murray
2:15cv09825   Audrea Pena
2:15cv09832   Tracy Rank
2:15cv09872   Tina Werkheiser
2:15cv09880   Elena Hernandez
2:15cv09979   Judy Rodriguez
2:15cv09989   Susan Frankfurth, Thomas Frankfurth
2:15cv10022   Kimberly Durkin
2:15cv10029   Odean R. Thomas, Andrew J. Thomas
2:15cv10057   Lynette Ashes
2:15cv10069   Sandra L. Cimolonski, John Cimolonski
2:15cv10123   Margie Cruz
2:15cv10131   Judith Fili
2:15cv10136   Carolyn Frakes, f/k/a Carolyn Frakes-Ries
2:15cv10144   Geneva Glover
2:15cv10158   Kristie M. Cuer, Carl R. Cuer
2:15cv10174   Kim Hanley, Ray Hanley
2:15cv10204   Carolyn Hodge
2:15cv10209   Margaret Hostler
2:15cv10240   Dorothy Jones
2:15cv10336   Sondra Jones, Albert Jones
2:15cv10351   Emily Lebron
2:15cv10352   Debra L. Lyles
2:15cv10356   Sharon Mizell
2:15cv10400   Gilda Rojas
2:15cv10415   Jeanette Royle
2:15cv10420   Rosa Ruiz
2:15cv10424   Charity Scholl
2:15cv10432   Patricia S. Thomas
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2:15cv10439   Lisa Villanova-White, Richard White
2:15cv10442   Kathleen Virgillito, Louis Virgillito
2:15cv10456   Susan Wylie
2:15cv10474   Chandra N. Brown, Kenneth Ford
2:15cv10646   Cheryl Ashley
2:15cv10655   Santos Canales, Angel Solorzano
2:15cv10660   Judy A. Collins, Bobby Collins Sr.
2:15cv10668   Zahira Diaz
2:15cv10702   Dawn Horning, Patrick Horning
2:15cv10705   Delilah Johnson
2:15cv10714   Patricia A. Miller
2:15cv10720   Jane Pashia
2:15cv10724   Laura Payne
2:15cv10743   Roxanna Reading
2:15cv10757   Madge Rodriguez, Macario Redriquez
2:15cv10759   Denise Rogers, Charles G. Rogers
2:15cv10765   Joyce Singleton
2:15cv10766   Karen Smith, Rick M. Smith
2:15cv10767   Lisa Smith
2:15cv10768   Milagros Soto, Sergio Soto
2:15cv10778   Joundria Underwood
2:15cv10786   Helen VanHorn, Lloyd VanHorn
2:15cv10986   Itza Bishop, Scott Bishop
2:15cv11022   Jennifer Becker
2:15cv11024   Diana Sue Bragg
2:15cv11043   Cynthia Lilley
2:15cv11047   Aletha H. Pardue
2:15cv11065   Heidi Scherr
2:15cv11067   Wadra Stubin
2:15cv11069   Tamyra Langdale
2:15cv11074   Cheryl Vaska
2:15cv11081   Sophia Glenn
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2:15cv11107   Yolanda Otero-Vazquez
2:15cv11121   Randi Case
2:15cv11126   Debra Debarr
2:15cv11152   Beverly Sullivan, Frank Sullivan
2:15cv11157   Mary A. Mondon
2:15cv11162   Tiffany Craig, Cody Craig
2:15cv11183   Carole Malcom
2:15cv11187   Helen R. Moore
2:15cv11201   Susan Hammelman
2:15cv11221   Charlotte Schultz, Millard Schultz
2:15cv11225   Brenda Cole Mace, David Allen Mace
2:15cv11266   Karen A. Fisher, Robert Fisher
2:15cv11269   Jennifer Cotton
2:15cv11274   Emily L. Glass, William D. Glass
2:15cv11280   Maurilia Razo, Jose Antonio Razo
2:15cv11311   Sheilia G. Hyczwa, Michael Hyczwa
2:15cv11365   Jeanne M. Smercak
2:15cv11374   Lizabeth A. Kane, Edward M. Kane
2:15cv11384   Angela Lurz
2:15cv11385   Tammy Fulp
2:15cv11386   Sharon Wyatt, Steven Wyatt
2:15cv11395   Rebecca Fields
2:15cv11443   Elizabeth A. Saia, John P. Saia
2:15cv11513   Amy Kennedy
2:15cv11559   Catherine Gray
2:15cv11612   Karen Schramm
2:15cv11617   Judith Feld
2:15cv11633   Norma Rodgers, Jim Rodgers
2:15cv11641   Joyce Keeley
2:15cv11646   Dawn Smolik, Michael J. Smolik
2:15cv11663   Felicita Serrano
2:15cv11679   Elena Costa, Miguel Costa
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2:15cv11695   Barbara Helton
2:15cv11699   Doreen Hamlyn, John A. Seeber
2:15cv11700   Janice B. Hull
2:15cv11703   Rebecca L. Scott, Gerald T. Scott
2:15cv11721   Sharon L. Rice
2:15cv11723   Connie K. Avery, William Leeland Avery
2:15cv11734   Jeanacarol Kaufman
2:15cv11746   Sherry Nichols
2:15cv11747   Jada Perkins
2:15cv11762   Mary H. Guerra
2:15cv11763   Tamara L. Barber, Layne L. Barber
2:15cv11764   Nancy Lawrence
2:15cv11765   April A. Thiel
2:15cv11769   Penny Sowell
2:15cv11877   Theresa S. Montano, Nicholas J. Montano
2:15cv11926   Karina Rodriguez de Chavez
2:15cv11937   Tina Marie Cotton, Phillip Aaron Miller
2:15cv12004   Guadalupe Serna
2:15cv12038   Angela Gerling
2:15cv12045   Sherry Melancon, Carlyle Melancon
2:15cv12144   Wendy Ford, Mark Ford
2:15cv12152   Marie Gray
2:15cv12249   Rhonda G. Holcomb, Marc Holcomb
2:15cv12270   Cynthia L. Phillips
2:15cv12323   Glenda Morris
2:15cv12325   Mary Ellen Mullins
2:15cv12380   Nancy G. Luce
2:15cv12400   Jane Comero
2:15cv12461   Carole McKibbin
2:15cv12462   Marilyn McVey
2:15cv12466   Nancy O'Connor
2:15cv12506   Teresa Brewer
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2:15cv12509   Cathy R. Pressley
2:15cv12515   Marie D. Bonilla
2:15cv12540   Dorothy Street, Rodney Street
2:15cv12577   Heidi Luster, Stuart L. Luster
2:15cv12581   Marilyn B. Hughes
2:15cv12582   Palcynth Bailey
2:15cv12583   Graciela J. Neria, Marcos Neria
2:15cv12587   Sherron Neal-Putman, Arthur Putman
2:15cv12608   Patricia G. Melton
2:15cv12645   Carol Padgett
2:15cv12646   Brenda Joyce Aughtman
2:15cv12653   Hazel Mathena
2:15cv12660   Agnes Marshall
2:15cv12662   Margaret McMahen
2:15cv12665   Stacy Ann Szwarckop, Bryan Szwarckop
2:15cv12670   Gina White
2:15cv12757   Marta Fernandez
2:15cv12766   Margaret A. McGarry, Michael A. McGarry
2:15cv12767   Marilyn Bonds
2:15cv12810   Geraldine Caldwell, Phillip Caldwell
2:15cv12811   Shonda Hardin
2:15cv12814   Martha Woodside, William D. Woodside
2:15cv12817   Melinda Whitehurst
2:15cv12825   Virginia Fadely
2:15cv12826   Susan Glass
2:15cv12827   Sheleene Hanson
2:15cv12828   Georgia Omer
2:15cv12829   Madeline M. Rivera
2:15cv12830   Gwendolyn Scales
2:15cv12853   Heather L. Thompson
2:15cv12857   Eleanor K. Brewer
2:15cv12858   Penny T. Payne, Tom Payne
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2:15cv12864   Sara Lavoie
2:15cv12867   Artionette Johnson
2:15cv12873   Laura Acosta
2:15cv12874   Dena L. Hood, Robert L. McFadden
2:15cv12875   Christine Londrigan
2:15cv12877   Dawn M. Nester, Terry N. Nester
2:15cv12878   Patricia A. Bloom, Ronald C. Bloom
2:15cv12892   Rustine May Brady, James Brady Jr.
2:15cv12940   Lynn Rahman
2:15cv12946   Sylvia Rodriguez
2:15cv12955   Carole Carlson, Stephen Albertson
2:15cv12997   Victoria A. King, Paul King
2:15cv13013   Brenda Ann Ingram, Hubert S. Ingram Jr.
2:15cv13016   Amy Chappell
2:15cv13090   Martha Ortiz
2:15cv13103   Leeann Morrison
2:15cv13129   Debra K. Puckett
2:15cv13132   Barbara McConnell, Mike W. McConnell
2:15cv13169   Melanie Hickam
2:15cv13258   Tonya Shriver
2:15cv13343   Anna M. Arizaga
2:15cv13365   Dian Storts, Jayson Storts
2:15cv13418   Gwen Sullentrup, Oscar Sullentrup
2:15cv13447   Annette Gill
2:15cv13448   Karen Nez
2:15cv13451   Dorothy Vecere-Riley, Larry W. Davis
2:15cv13605   Lara Pelleriti, Rick Pelleriti
2:15cv13607   Renee Sapp, William D. Sapp
2:15cv13608   Paula Doss
2:15cv13609   Dawn Bridges
2:15cv13611   Denise Rineer
2:15cv13622   Andrea Rafiner, Rodger Cory Rafiner
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2:15cv13625   Dawn Pettet
2:15cv13632   Joanna Hawkins
2:15cv13686   Carol Akers, Daniel J. Akers
2:15cv13699   Julie M. Corrales
2:15cv13700   Deirdre Cook, Wendel B. Cook
2:15cv13704   Lisa Edmonds-Anakwa
2:15cv13717   Sara Brooks
2:15cv13720   Mary Foy
2:15cv13737   Linda R. Isom
2:15cv13739   Kelley Jackson, James Jackson
2:15cv13752   Donna Lapierre
2:15cv13755   Gloria Lepri
2:15cv13760   Joan McKay
2:15cv13768   Laura Prince, Michael Prince
2:15cv13774   Rhonda Hafner, Brandon Hafner
2:15cv13823   Bettina Strange, Malcolm Strange
2:15cv13827   Vicki Warber, Robert Warber
2:15cv13829   Teresa Weyer, Christopher Weyer
2:15cv13851   Mary Williams
2:15cv13904   Judith Allen
2:15cv13909   Rita Andrews
2:15cv13910   Catherine Angotti
2:15cv13933   Maria Cruz, Ismael Rodriguez
2:15cv13946   Kelly Deneau, Richard Deneau
2:15cv13947   Deborah Eisenhart
2:15cv13950   Mary Erdahl, James Erdahl
2:15cv13951   Sandra Estrada, Romeo Estrada
2:15cv13955   Linda Isham
2:15cv13957   Linda Yarbrough
2:15cv13992   Pamela Jean Harper
2:15cv14011   Thelma Killian
2:15cv14040   Martha Davis
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2:15cv14051   Wilhelmina Newman
2:15cv14060   Phyllis Goodman, Charles Goodman
2:15cv14066   Amy Morris, David Morris
2:15cv14069   Peggy Floyd
2:15cv14070   April A. Ford
2:15cv14074   Katherine R. Pitts
2:15cv14095   Shelley Parkes
2:15cv14099   Judy May, Earl May
2:15cv14103   Bronwyn Tholen
2:15cv14106   Lisa Thompson, Todd Thompson
2:15cv14107   Peggy S. Thompson, Donald Thompson
2:15cv14123   Connie Tringler
2:15cv14137   Pamela Stewart
2:15cv14167   Nanette Anglin
2:15cv14173   Janice Benson
2:15cv14177   Angela Boe
2:15cv14179   Barbara Bowen, Berry Bowen
2:15cv14181   Megan Elizabeth Bramble
2:15cv14187   Melba June Bryant
2:15cv14192   Ann Colley, Robert Colley
2:15cv14195   Carol S. Courtway, Joseph Courtway
2:15cv14197   Helen Craft, Alan Craft
2:15cv14202   Joyce Deas
2:15cv14206   Barbara Easton, Charles Easton
2:15cv14213   Esther Hancock
2:15cv14214   Diane Hansen, Carl Hansen
2:15cv14215   Ginny Harris
2:15cv14220   Camille Hendrix, Timothy K. Hendrix
2:15cv14221   Theresa Herd, William Herd
2:15cv14224   Patricia Ignowski, David Ignowski
2:15cv14226   Betty Hatter
2:15cv14227   Brandi Jackson
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2:15cv14231   Hilda M. Kolb
2:15cv14232   Kathy Lawson
2:15cv14235   Mary Jane McCoy, Bobby E. McCoy Jr.
2:15cv14237   Sharon R. Meade, James Meade
2:15cv14251   Lisa Meyer
2:15cv14259   Jill Osborn
2:15cv14262   Frances Parlapiano
2:15cv14263   Maria Pastore
2:15cv14266   Frances Peters
2:15cv14271   Carolyn Rogers
2:15cv14286   Jeannie Barron, Don Barron
2:15cv14294   Tonya Smith-Green, Michael Green
2:15cv14357   Penelope Chamorro
2:15cv14358   Jeanine Cichacki
2:15cv14361   Seema Chowhan, Masood Chowhan
2:15cv14371   Anne Gentry, James Perry Gentry
2:15cv14386   Helen Holdren
2:15cv14396   Beverly June Jackson
2:15cv14397   Charla Jackson, Rodney Jackson
2:15cv14400   Rebecca Izaguirre Marquez
2:15cv14409   Linda Toedter
2:15cv14421   Laura Long
2:15cv14422   Sharon A. Montagne, Patrick Montagne
2:15cv14423   Kasaundra L. Morgan
2:15cv14424   Bernice Smith
2:15cv14459   Lana Lones, Eddie Lones
2:15cv14462   Sharon Mausteller, Raymond Mausteller
2:15cv14465   Donnie McClendon, John K. McClendon
2:15cv14496   Dianna McKenzie
2:15cv14501   Diane Marie Newton, Robert Newton Sr.
2:15cv14530   Jeanette Sanchez
2:15cv14533   Angela Scannell, Paul Scannell
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2:15cv14540   Iva J. Werito
2:15cv14542   Wanda T. Wheeler
2:15cv14543   Linda Morgan
2:15cv14552   Bianca Falu
2:15cv14573   Dorothy Antonson
2:15cv14595   Mary Baldovinos, Jose Gomez Baldovinos
2:15cv14599   Dorothy Barr
2:15cv14600   Denise Baskerville
2:15cv14605   Patricia Sue Cadenhead, Bert D. Cadenhead Jr.
2:15cv14626   Karen Cantinella
2:15cv14629   Kathy Dixon
2:15cv14642   Anna M. Deverman
2:15cv14643   Elizabeth Dye
2:15cv14689   Carol L. Bird
2:15cv14698   Bette Gannon
2:15cv14717   Edith Davis
2:15cv14741   Joleen Kofoid
2:15cv14745   Sarah L. Spicer
2:15cv14761   Donna Ruth Marsten, John Joseph Marsten
2:15cv14781   Marie Moody, David Moody
2:15cv14786   Patricia M. Nelson, Sterling Nelson
2:15cv14788   Helena Parda
2:15cv14789   Tammy Perkins
2:15cv14790   Julia Spicer, Fred Spicer
2:15cv14806   Darlene Archuleta
2:15cv14810   Paulette Williams
2:15cv14812   Jeanette Wilson
2:15cv14817   Suzanne A Yost, Merlin Yost
2:15cv14858   Cindy Benford, Dennis Benford
2:15cv14862   Kristine Mucho Burger, Thomas Burger
2:15cv14863   Kelly S. Burrows
2:15cv14866   Sylvia Carter
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2:15cv14909   Judy Houser, Bill Houser
2:15cv14914   Mavis Hughes-Friant, Ronald Arthur Friant
2:15cv14916   Marelyn Chris Imbler, David Imbler
2:15cv14918   Patsy M. Imler, Neal Imler
2:15cv14920   Catherine Keck, Dwaine Keck
2:15cv14931   Sandra Wilson
2:15cv14942   Donella Knauss
2:15cv14950   Janet Lufkin, George Lufkin
2:15cv14952   Maria Milczarek
2:15cv14955   Karen Mortenson
2:15cv14956   June Motzer, Roger Comstock
2:15cv14974   Elizabeth Parker
2:15cv14975   Theresa Elaine Parker, Richard L. Parker Jr.
2:15cv14977   Angela Patterson, Dennis Hempker
2:15cv14982   Cindy L. Pray
2:15cv14984   Tina Robinson
2:15cv14998   Tami Young Senkowski, Lonnie Senkowski
2:15cv15012   Debra L. Lyles
2:15cv15015   Johanna M. Anderson
2:15cv15017   Lydia Andrews
2:15cv15019   Maria Avila
2:15cv15022   Antonia Batista
2:15cv15024   Earma Beasley
2:15cv15026   Johnnie Hutto Betterly
2:15cv15028   Kathleen Stefanide, James John Stefanide
2:15cv15032   Ann A. Mattera
2:15cv15034   Betty Jane Bonner
2:15cv15043   Christine Joy Melton
2:15cv15045   Kimberly A. Merwin
2:15cv15049   Vickie Chapman
2:15cv15051   Sandra Christensen
2:15cv15055   Patty Monson
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2:15cv15056   Brandy Corley
2:15cv15067   Anna Nottingham
2:15cv15068   Lynn Offen
2:15cv15078   Karen Pennig
2:15cv15080   Peggy Quattlebaum
2:15cv15081   Jessica Quinones
2:15cv15085   Mildred DeZiel
2:15cv15087   Barbara Reynolds
2:15cv15088   Joy Dodge
2:15cv15092   Veronica Richardson
2:15cv15099   Patricia Foster
2:15cv15100   Elizabeth Fry
2:15cv15105   Antoinette Russ
2:15cv15107   Carol Saarela
2:15cv15108   Anna Gotcher
2:15cv15109   Janice Johnson
2:15cv15110   Jennifer Graham
2:15cv15111   Lynda Ann Sand
2:15cv15112   Marlene Greenwell
2:15cv15114   Rita Griffin
2:15cv15117   Marilyn Grossman
2:15cv15124   Mary Yelle
2:15cv15125   Shannon Schiller
2:15cv15127   Lisa Schmiesing
2:15cv15133   Sharon Helms
2:15cv15134   Rita Henderson
2:15cv15139   Teresa Heydorn
2:15cv15143   Diane Hoffman
2:15cv15144   Kristine Huertas
2:15cv15145   Jodie Smith
2:15cv15146   Edith Husted
2:15cv15147   Debbie Hutto
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2:15cv15152   Kim Snook
2:15cv15156   Ana Solis
2:15cv15160   Cecelia Lundy
2:15cv15161   Chris Irwin
2:15cv15176   Rosandra Jordan
2:15cv15180   Kathy Jungemann
2:15cv15190   Sally Vodney
2:15cv15193   Joan Lambott
2:15cv15194   Michelle Wall
2:15cv15195   Marsha Wand
2:15cv15197   Sophia Washington
2:15cv15199   Elwanda Wentz
2:15cv15206   Elaina Wilson-Henderson
2:15cv15208   Elisabeth Leyva-Castaneda
2:15cv15209   Roberta Yancey
2:15cv15233   Gay Anne Martin, Andrew Martin
2:15cv15234   Sheila V. Aleman
2:15cv15246   Candice Tullier Cook, Charles Everett Cook
2:15cv15247   Karen D. Cooper, James A. Cooper
2:15cv15248   Lauren Cooper
2:15cv15250   Paula Dailey, Mark Dailey
2:15cv15265   Pamela Guy, Lee A. Guy
2:15cv15268   Rosemary Hernandez, David Hernandez
2:15cv15269   Victoria Hiesterman
2:15cv15275   Michele Hughes, William Hughes
2:15cv15277   Carol A. Hunt, Donald J. Hunt
2:15cv15281   Margaret Johnson
2:15cv15337   Marguerite P. Boucher
2:15cv15339   Annie Jones, Derrick Morton
2:15cv15360   Nena Tucker, Ralph Tucker
2:15cv15362   Dawn Wooten, Tracy Wooten
2:15cv15374   Willa Mae Ray
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2:15cv15376   Kathleen Richio, Anthony Richio
2:15cv15377   Elizabeth Robinson, Franklin Robinson Jr.
2:15cv15379   Connie Schuler, Robert C. Schuler
2:15cv15387   Carolyn Smithwick
2:15cv15391   Vickie Sue Tucker
2:15cv15412   Debra J. Wachob
2:15cv15424   Melissa Whiting
2:15cv15425   Susan Wiles, Terry Wiles
2:15cv15445   Rosemary Allen
2:15cv15449   Bonita Barshinger, John Barshinger
2:15cv15453   Esther Betancourt, John Maldonado
2:15cv15455   Suzanne Boatwright
2:15cv15456   Marguerite Boucher
2:15cv15457   Cathy Boulanger, William L. Boulanger
2:15cv15461   Candis Brink, Todd Brink
2:15cv15465   Bernadette T. Campbell, Timothy J. Campbell
2:15cv15483   Charlene Greene
2:15cv15485   Barbara Griffin, John Griffin
2:15cv15489   Tammy Grimes
2:15cv15493   Elizabeth Marie Hack
2:15cv15495   Carol Hopkins
2:15cv15497   Nancy Kellum, Russell Kellum
2:15cv15499   Dorthy Kenworthy
2:15cv15516   Kelly Ann Kinkoph
2:15cv15517   Pamela M. Koloc, AJ Koloc
2:15cv15548   Nancy B. Greene, f/k/a Nancy Miller
2:15cv15550   Deanna Mokosak, Carl Mokosak
2:15cv15551   Noelle Ochs
2:15cv15574   Alice Oyakawa
2:15cv15589   Melinda Lowery
2:15cv15604   Brenda Ritchey, William Ritchey
2:15cv15610   Christy B. Rehbein, Fritz Rehbein
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2:15cv15613   Suzanne Richards
2:15cv15620   Kelly Rowell
2:15cv15626   Barbara Savage
2:15cv15631   Patsy Wiley, Walter Wiley
2:15cv15632   Patricia Williams
2:15cv15644   Brandie G. Mullane, Jerry Mullane
2:15cv15647   Rebecca Cardwell
2:15cv15648   Gloria Alvarez, Juan Alvarez
2:15cv15651   Karen Bieniek
2:15cv15659   Susan Bone
2:15cv15696   Isabel Buckner, Randy Buckner
2:15cv15698   Amanda Bullard
2:15cv15700   Debra Bustillo
2:15cv15705   Molly Ann Church
2:15cv15707   Barbara England, John T. England Sr.
2:15cv15708   Shannon Essert, Shawn Essert
2:15cv15709   Dana Ezell, Travis Ezell
2:15cv15710   Tara Falteisek, Michael Falteisek
2:15cv15711   Lorraine Fielding, David J. Fielding
2:15cv15712   Bonetta Fischer, Thomas E. Fischer
2:15cv15718   Willia Gammill
2:15cv15745   Brooke Gurley
2:15cv15748   Stephanie D. Heard, David L. Heard
2:15cv15751   Mary Holloway
2:15cv15755   Debora Kaminski, Dale Kaminski
2:15cv15763   Diana Moon
2:15cv15767   Carol Nail, Kevin Nail
2:15cv15783   Mary Bartle
2:15cv15788   Linda Xia
2:15cv15800   Barbara Holder, Phillip Holder
2:15cv15803   Valerie Weston, Earl Williams
2:15cv15809   Susan Parsons, Damon Parsons
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2:15cv15817   Laurie Pierce
2:15cv15824   Jennifer Plato-Rushing, Kevin E. Rushing
2:15cv15832   Penny Lynn Scurry, Alex Lee Scurry
2:15cv15833   Janet Steals
2:15cv15841   Dawn Stokoszynski, Donald Stokoszynski
2:15cv15854   Victoria Gonzales
2:15cv15870   Stephanie Chapa, Adolfo Chapa
2:15cv15871   Carolyn L. Marsh
2:15cv15874   Connie L. Nakoneczny, Christopher Nakoneczny
2:15cv15876   Linda S. Renteria, Daniel Renteria
2:15cv15886   Pamela Kathleen Troutman, Rick Troutman
2:15cv15887   Judith Tusing
2:15cv15888   Lisa Vasseur, Mark Vasseur
2:15cv15893   Kimberly Spees
2:15cv15895   Helen Wilson
2:15cv15899   Alice Wolkoff
2:15cv15953   MaryAnn Evanko, Christopher Evanko
2:15cv15957   Suzanne Gilbert, Timothy L. Gilbert
2:15cv15960   Betty Grammer
2:15cv15968   Sandra Holbrook
2:15cv15972   Judith Osborne
2:15cv15973   Rhonda Pack, James Pack
2:15cv15994   Encarnacion Rivas, Sergio Rivas
2:15cv15997   Pamela Sekulich, Randal D. Sekulich
2:15cv16000   Lula Slagle
2:15cv16002   Kelly P. Smith, Daniel E. Smith II
2:15cv16008   Rebecca Thompson
2:15cv16012   Lisa Westbrooks
2:15cv16013   Neila Whitfield, Arthur Whitfield
2:15cv16014   Rhonda Woods
2:15cv16017   Kyong Zehm, Kenneth Zehm
2:15cv16034   Xochilt Elizabeth Robinson
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2:15cv16045   Brenda Trudel
2:15cv16046   Wanda J. Turner
2:15cv16050   Deborah Martin
2:15cv16076   Tammy Morrow
2:15cv16081   Hallycin Benson
2:15cv16085   Ronda Holden
2:15cv16088   Mary Kemp Peterson, Johnnie Peterson
2:15cv16092   Jessica E. Coyle
2:15cv16093   Sarah E. Browne, Justin Browne
2:15cv16094   Sharon L. Francis
2:15cv16095   Barbara John
2:15cv16098   Deborah A. Akers
2:15cv16099   Melissa Gore
2:15cv16100   Judy M. Heinze
2:15cv16101   Jeanette F. Rosales
2:15cv16102   Patricia Navarre
2:15cv16103   Tanya M. Phillips
2:15cv16104   Shirley D. Padgett
2:15cv16105   Sherry K. Garlington
2:15cv16106   Sharon Stover
2:15cv16108   Marilee Wald
2:15cv16114   Victoria Wellington, Gregory Wellington Sr.
2:15cv16115   Suzanne Wentworth, John Smith
2:15cv16144   Miranda L. Emel, Brent M. Emel
2:15cv16145   Bonnie Hand
2:15cv16156   Lisa Adasek, James Adasek
2:15cv16159   Claudine Arcieri, John Arcieri
2:15cv16164   Peggy Dotson
2:15cv16175   Zulema D. Gahona
2:15cv16232   Patricia Howard
2:15cv16235   Marjorie Atkinson
2:15cv16416   Marie Collins, Darrell L. Collins
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2:15cv16514   Rhonda Jean Rayl
2:15cv16573   Tania Stephens
2:16cv00008   Donna Friedrich
2:16cv00109   Marjorie Hutton, Jim Hutton
2:16cv00148   Lawanda Featherly Adams
2:16cv00185   Cynthia Chamberlain
2:16cv00188   Paula Oliverio, Joseph Oliverio
2:16cv00190   Lucy A. Walker
2:16cv00192   Maria Williams, Scott Williams
2:16cv00228   Laura Boynton
2:16cv00229   Melania Herndon
2:16cv00270   Tonya Scarpulla
2:16cv00271   Ethel Knox
2:16cv00272   Ruby Roberts
2:16cv00273   Naheda Jablonski
2:16cv00274   Jackie Hessing
2:16cv00275   Brenda Kay Green
2:16cv00289   Natalie H. Apelbaum
2:16cv00297   Rhonda McVey
2:16cv00342   Catherine Devore
2:16cv00357   Donna Chrisman, Andy Chrisman
2:16cv00371   Barbara Johnson
2:16cv00387   Davina Haught
2:16cv00397   Glenda Shepard
2:16cv00405   Deborah McEachin
2:16cv00413   Alejandra Salazar
2:16cv00414   Joann Canada
2:16cv00416   Deborha Castle
2:16cv00479   Lisa Aponte
2:16cv00497   Sharon Johnson, Donald Downey
2:16cv00541   Angela Turner
2:16cv00601   Magdalena Cazares, Armando Cazares
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2:16cv00627   Linda J. Hall, Chris W. Hall
2:16cv00629   Athanasia Carney, Joseph M. Carney
2:16cv00641   Janet Stebok, Walter Stebok
2:16cv00644   Bridget Kao
2:16cv00650   Theresa Rogers
2:16cv00660   Dawn Hall
2:16cv00663   Grace Harris
2:16cv00680   Lillian Harris
2:16cv00699   Barbara Gordon, Thomas Gordon
2:16cv00700   Patricia Heaberlin
2:16cv00702   Ramonita Santa
2:16cv00703   Donna L. Zimmer, Robert D. Zimmer
2:16cv00706   Betty L. Sellers, Danny Sellers
2:16cv00708   Tracy M. Weeks, John R. Weeks
2:16cv00714   Mary Horner
2:16cv00719   Debra Girvin
2:16cv00724   Susan Randell
2:16cv00778   Ressie Tidmore, Donny Tidmore
2:16cv00779   Pamela Cornett
2:16cv00782   Thelma Y. Tishner
2:16cv00800   Ruth Ann Dolph
2:16cv00802   Tammy Helton, James Helton Jr.
2:16cv00808   Pamela Breckenridge
2:16cv00812   Vivian Chisman
2:16cv00817   Carol Haplin, Thomas Conroy
2:16cv00829   Claudine Kressman, Ross Kressman
2:16cv00852   Sharon Price, Jack Price
2:16cv00858   Rose C. Clarke, William B. Clarke Sr.
2:16cv00866   Barbara Overby
2:16cv00867   Maria Ortiz
2:16cv00869   Lauren Johnson, Ronald Johnson
2:16cv00872   Brenda Laminack, Ronald Laminack
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2:16cv00874   Teresa Lehr, Brian Lehr
2:16cv00905   Betty Isaacson
2:16cv00936   Betty Ferguson-Velezquez
2:16cv00949   Tiffany St. John, Donald St. John
2:16cv01013   Argene McDowell
2:16cv01042   Joan E. Thackston, Robert Thackston
2:16cv01059   Loretta Freeman, Wayne Freeman
2:16cv01060   Jeanette Mabey, Milford Mabey
2:16cv01061   Irene Lepore, Nicholas Lepore
2:16cv01085   Regina Horsley
2:16cv01087   Dayle Sarnes
2:16cv01097   Darla L. Starkey, James R. Starkey
2:16cv01109   Beth A. Swartz, Glenn R. Swartz
2:16cv01111   Melissa Richardson
2:16cv01127   Linda Duncan
2:16cv01144   Regina Lensky
2:16cv01145   Rosena Lytle
2:16cv01149   Karen Frade, Celso M. Frade
2:16cv01166   Sandra Lesesky, David Lesesky
2:16cv01224   Carol Sauzek
2:16cv01248   Jennifer Brooks, Greg Brooks
2:16cv01273   Georgiana Kolpin
2:16cv01305   Glennia Justice
2:16cv01352   Barbara J. Chaney, Carl Chaney Jr.
2:16cv01377   Tanya Baker
2:16cv01440   Allyson Hocutt
2:16cv01455   Martha S. Flores, Juan Garza
2:16cv01480   Martha Joan McCollough, James Owen McCollough Jr.
2:16cv01495   Doreen Lopez, Ruben Lopez
2:16cv01512   Patricia Apolinar
2:16cv01521   Kimberly Johnson
2:16cv01532   Prasanna Babu, Babu Divakaran
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2:16cv01533   Judith Barresi
2:16cv01534   Stephanie Beaulieu
2:16cv01535   Karen Bellor
2:16cv01536   Nona Beneke, Tom Beneke
2:16cv01537   Charlotte Anne Berck, Wayne R. Berck
2:16cv01539   Candace Satterfield, Christopher Satterfield Jr.
2:16cv01543   Karin Webb, Phillip Brooks Webb
2:16cv01544   Mona Lisa Wempren, David Wempren
2:16cv01573   Jackaline Bianco
2:16cv01575   Stephanie Bloomfield, Mark Bloomfield
2:16cv01577   Kelly Brogan, James Brogan
2:16cv01579   Theresa Cable-Finley, Robert Finley
2:16cv01585   Kathy Carnahan
2:16cv01587   Sylvia Castillo Aviles, Jose Nazario Aviles
2:16cv01609   Mary S. Thompson, Donald Thompson
2:16cv01625   Nickie Chagoya
2:16cv01630   Kimmerly Cooper
2:16cv01633   Christina Creasy
2:16cv01634   Tanya Damron, Billy Damron
2:16cv01638   Kellie Scott, Jeffery Scott
2:16cv01640   Vickie Spradlin
2:16cv01641   Susan Skodocek, John Skodocek
2:16cv01653   Juliann Rounds, Douglas Rounds
2:16cv01655   Barbara Platt
2:16cv01656   Geri Parrish
2:16cv01657   Ruth Peel
2:16cv01660   Cynthia Overstreet
2:16cv01661   Sue Outlaw
2:16cv01662   Jane Ott, William Ott
2:16cv01663   Marianne Diamond
2:16cv01664   Andrea Doss, Brandon Doss
2:16cv01665   Montine Doucette
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2:16cv01666   Lisa Dunlap
2:16cv01667   Martha Dean Durfey
2:16cv01704   Katherine Wilson
2:16cv01711   Jeanette Ebersole, Edwin Ebersole Jr.
2:16cv01712   Noreen Frederick, Charles Frederick
2:16cv01714   Carolyn Elizabeth Fuller, John A. Fuller Jr.
2:16cv01715   Gail Gibson
2:16cv01717   Paula Gossage, Jeffery Gossage
2:16cv01718   Jacqueline Olsen, Jeff Olsen
2:16cv01720   Lisa Mobley, David Shane Mobley
2:16cv01736   Susan Frisbie, Harry Frisbie
2:16cv01738   Lenise Haag, Gary Haag
2:16cv01743   Terri Harkey, Kerry Harkey
2:16cv01745   Victoria Harvey
2:16cv01746   Kameron Hege, Erick Hege
2:16cv01747   Davida Hill, Marchlo Hines
2:16cv01748   Joan Mogensen, Kevin Mogensen
2:16cv01773   Ramona Holmes
2:16cv01776   Diana Johnson, John Johnson
2:16cv01778   Linda J. Jones
2:16cv01780   Bernice Murdock, Hobert Murdock
2:16cv01781   Dolly Morris, Jerry Ray Morris
2:16cv01791   Diann Jensen Poepping, Ron Poepping
2:16cv01795   Jennifer Klingel
2:16cv01796   Hazel Stanton Wilson
2:16cv01799   Grace McFearin
2:16cv01806   Sheila Pearl Poague
2:16cv01818   Lisa Serigne, Kimmie Serigne
2:16cv01820   Denise Masias
2:16cv01821   Helene McGregor
2:16cv01826   Francine Sarro
2:16cv01827   Terri Smith, Michael D. Smith
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2:16cv01845   Mary Ann Sirr
2:16cv01846   Ruth Langstaff
2:16cv01847   Annette Larsen, Brett Larsen
2:16cv01848   Margaret LaRue, Norman LaRue
2:16cv01849   Gale Lascarbeau
2:16cv01862   Tamara Neumann, John Neumann
2:16cv01875   Maria Plemmons, Zane Plemmons
2:16cv01876   Pamela Hamson, Leonard Hamson
2:16cv01880   Kristy Shoemaker, Jared Shoemaker
2:16cv01881   Bertha Marie Brandon
2:16cv01882   Cynthia Hahn
2:16cv01900   Joanne Abbott
2:16cv01902   Sheri Barber
2:16cv01905   Sandra Bullock
2:16cv01906   Sandra Campbell
2:16cv01914   Maria German
2:16cv01916   Dorothy Cullifer
2:16cv01922   Sandra Knowles
2:16cv01927   Debra McKinney
2:16cv01928   Traci Jo Millsap
2:16cv01930   Marie Pace
2:16cv01933   Karrie Schow
2:16cv01934   Mary Shelton
2:16cv01959   Lesly Lainez Hoang
2:16cv01960   Roberta L. Banks
2:16cv01961   Rose Marie Bassett
2:16cv01962   Sherry Jo Brown
              Wendy L. Catron, Administrator of the Estate of Lillie Mae Rogers,
2:16cv01964   deceased
2:16cv01966   Roberta Davis
2:16cv01968   Jeanne R. Doran
2:16cv01971   Lavone Forest
   Case WVS/2:15-cv-14812         Document 1   Filed 12/01/17   Page 222 of 267




2:16cv01972   Tracy Ann Garcia
2:16cv01974   Sharon K. Hacker
2:16cv01986   Terry Mize
2:16cv01987   Carole Jane Myrick
2:16cv01988   Elizabeth S. Pool
2:16cv01989   Ladonna Rothwell
2:16cv01993   Sharon Wallace
2:16cv01995   Leslie D. White
2:16cv01996   Jennifer L. Wilcox
2:16cv02013   Josephine Garcia
2:16cv02017   Marianela Santana, Alex Santana
2:16cv02028   Rebecca Bargo
2:16cv02031   Angela D. Walden
2:16cv02092   Anne Rosso, Patrick Rosso
2:16cv02093   Sandee Smith
2:16cv02106   Paula Anderson, Daniel Anderson
2:16cv02111   Sherry Novis
2:16cv02114   Jessica Ramos
2:16cv02117   Diane Sturgeon-West
2:16cv02119   Amanda Hamric
2:16cv02172   Brenda Diane Barbour, Sam Barbour
2:16cv02197   Kathy Elkins, Steven Elkins
2:16cv02243   Wilma J. Joplin
2:16cv02245   Colleen L. Hildebrand
2:16cv02254   Karen Melissa Ellison, William Ray Ellison Jr.
2:16cv02264   Yvonne Schonborg
2:16cv02265   Brenda Southworth, Timothy Southworth
2:16cv02304   Sandra Stewart, Norman Stewart
2:16cv02320   Diane Conley
2:16cv02335   LaRay Gilbert, Daniel Gilbert
2:16cv02343   Antonia Rodriguez
2:16cv02363   Victoria Davila
   Case WVS/2:15-cv-14812        Document 1    Filed 12/01/17   Page 223 of 267




2:16cv02366   Stephanie Jamar
2:16cv02375   Deborah Brown
2:16cv02390   Siham Shunnarah
2:16cv02437   Jonnie K. Myers
2:16cv02440   Fareena Ali, Anil Narayan
2:16cv02513   Adeline Matheys
2:16cv02527   Brenda Hardin, William A. Hardin
2:16cv02531   Doris Dickerson
2:16cv02551   Patricia Brannan
2:16cv02553   Kathy Kreber, Lawrence Kreber
2:16cv02578   Tanya S. Bartling, Mark Bartling
2:16cv02585   Buffie J. Kerstetter, Heath Kerstetter
2:16cv02598   Martha Sue Clark, James Stephen Clarke
2:16cv02615   Pansy Lee Bryant, James A. Bryant
2:16cv02617   Dana Freed, James Freed
2:16cv02622   Cordelia Hanks, Raymond Hanks
2:16cv02624   Margaret Haroth
2:16cv02648   Kelly Kalfuntzos, Dino Kalfuntzos
2:16cv02663   Tina Chinault, Robert Hall
2:16cv02665   Cindy Cross, Jeffrey Cross
2:16cv02666   Lauren Devineaux
2:16cv02669   Eleonora Ferreira, Frank Ferreira
2:16cv02670   Joanne Gordon
2:16cv02671   Johanna Grabusnik
2:16cv02681   Danuta Sekula, Robert Sekula
2:16cv02682   Irene Spence, Alageldin Abdelrzaek
2:16cv02685   Rosemary Stonerook, Jeffer Knipper
2:16cv02696   Frances Orlando
2:16cv02699   Dezrae Paniagua
2:16cv02700   Yovanna Colon
2:16cv02708   Lisa Crapo
2:16cv02712   Patricia Lanoue, Gerard Lanoue
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2:16cv02773   Amy Sue Locy, Darin James Locy
2:16cv02774   Linda Lewis-Smith
2:16cv02778   Linda Vogler
2:16cv02800   Elizabeth J. Kernodle, Bruce W. Kernodle
2:16cv02808   Deborah Kell
2:16cv02813   Suzi Perron
2:16cv02819   Joyce Roberts, Carl Roberts
2:16cv02828   Mary Kubin, Henry Kubin
2:16cv02858   Effie Abney
2:16cv02861   Londa Bates
2:16cv02865   Sherry Dean
2:16cv02866   Catherine Dortch
2:16cv02938   Mary Daniel, Leon Daniel
2:16cv02939   Marisa Devereaux
2:16cv02940   Xiomara Steinberg
2:16cv02954   Shirley Drinnon, Douglas Drinnon
2:16cv02958   Helen J. Milton
2:16cv02970   Brooke Parker, Christopher Parker
2:16cv02975   April Teichrow, Robert Teichrow
2:16cv02987   Robina Herman Keith
2:16cv02997   Laurie Gagnon
2:16cv03035   Sandena Byrd
2:16cv03119   Beatris Rodriguez, Jose Rodriguez
2:16cv03144   Beverly Evans, James Evans
2:16cv03153   Roxanne Burgess, Steven Burgess
2:16cv03157   Genia Coefield
2:16cv03161   Rebecca Harvey
2:16cv03162   Lisa Hook
2:16cv03189   Sharon E. Saylor, Michael W. Saylor
2:16cv03200   Tammy Plante, Kelly Plante
2:16cv03202   Pamela Zaleski
2:16cv03312   Daphne Thomas
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2:16cv03313   Amy Wahl, Timothy Wahl
2:16cv03335   Pamela Callahan
2:16cv03496   Jessica Stringari
2:16cv03498   Cynthia Thompson
2:16cv03506   Peggy Prater, James Prater
2:16cv03568   Veronica Abrego
2:16cv03571   Jody Reagan, Craig Reagan
2:16cv03572   Anita Arnold, Alvin Arnold
2:16cv03593   Mona Graves, Robert Graves
2:16cv03596   Melissa Kardos
2:16cv03602   Kristian Harrison, William Harrison
2:16cv03604   Debbie Ault
2:16cv03606   Melissa D. Johnson
2:16cv03613   Christine Harrington
2:16cv03633   Lois Gilstrap
2:16cv03634   Margie McNeill
2:16cv03642   Jacqueline Harter
2:16cv03643   Marilyn Rhodes
2:16cv03644   Hazel Richard
2:16cv03645   Mary Bailer, Adam Bailer
2:16cv03646   Melba A. Kuntzelman, Paul R. Kuntzelman
2:16cv03656   Niki Shealy Crolley, Jeffery Curtis Crolley
2:16cv03670   Elizabeth Vickery
2:16cv03673   Janice Brendle, Randy Brendle
2:16cv03674   Gwen Harding, Gaylan Harding
2:16cv03676   Karen Borkenhagen, Robert Borkenhagen
2:16cv03690   Sandra Gaynor, Francis Gaynor
2:16cv03694   Moira Fellows, Bruce Fellows
2:16cv03702   Lillian Dawson
2:16cv03710   Merita Herron
2:16cv03728   Laura Thompson
2:16cv03730   Carlotta Chi Voorhies
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2:16cv03737   Charlotte J. Bateman
2:16cv03738   Kimberly S. Bennett, Terry Bennett
2:16cv03740   Shelley Brown
2:16cv03741   Leona S. Burden
2:16cv03743   Patricia A. Magretto
2:16cv03747   Gina Rider, David Rider
2:16cv03750   Theresa Rossi, Anthony Rossi
2:16cv03781   Eileen Cooper
2:16cv03782   Sherri L. Cravens
2:16cv03783   Stella M. Davis, John E. Davis
2:16cv03784   Dinah Fabel
2:16cv03786   Suzette Patton, T. George Patton
2:16cv03787   Patricia Hyppolite
2:16cv03789   Mary Ann Palmer, Thomas Palmer
2:16cv03792   Eleanor Faye Donahue, Jerry Donahue
2:16cv03819   Judy Elizabeth Brunk, David A. Brunk
2:16cv03820   Donna Butler
2:16cv03821   Monica V. Dittmar
2:16cv03824   Pamela Sue Fitzsimmons, Gary P. Fitzsimmons
2:16cv03827   Ann Gillenwaters
2:16cv03832   Kenia Soto
2:16cv03833   Patricia Monaco, Alan Monaco
2:16cv03835   Jacqueline Santana
2:16cv03854   Edith Greenwood, Jack Greenwood
2:16cv03858   Leslie Hackler
2:16cv03861   Stephanie Hartford, Glenn Hartford
2:16cv03876   Linda Chandler
2:16cv03878   Thelma Hazelwood, Aaron Hazelwood
2:16cv03879   Barbara Starnes
2:16cv03883   Betty E. Hall
2:16cv03901   Gwendolyn Renee McFarland
2:16cv03902   Jana Shultz
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2:16cv03903   Ione Segar
2:16cv03905   Jane Steger
2:16cv03910   Teresa Marie Tunnell
2:16cv03911   Melissa Gay Williams
2:16cv03915   Carolyn Moore, Lawrence Moore
2:16cv03923   Susan Morris
2:16cv03924   Dorothy Napoletano
2:16cv03936   Kim Nitchol, Kenneth Nitchol
2:16cv03937   Sandra Paul-Cotton, Lyle Cotton
2:16cv03938   Cecilia Pina, Santos Pina
2:16cv03942   Cynthia Ballard
2:16cv03943   Vera Pearson
2:16cv03947   Alfreda McMurren
2:16cv03955   Dawn Timothy, Troy Timothy
2:16cv03956   Deanna Thrash
2:16cv03957   Esperanza Smith, Dennis Smith
2:16cv03996   JoAnn Poole
2:16cv03997   Katharina Johnson, Larry Johnson
2:16cv03998   Ebony S. Jones, Chad Gordon
2:16cv03999   Christina Smith, Loren Smith
2:16cv04000   Emma Stanley, Arthur Stanley
2:16cv04002   Geneva Paxton, Larry Paxton
2:16cv04003   Kavra Lantz
2:16cv04004   Pauline Labbe, Kenneth Labbe
2:16cv04046   Candace Miller
2:16cv04047   Susan Music
2:16cv04051   Rose Russell
2:16cv04052   JoAnn Sirko
2:16cv04061   Sandra K. Hutson, James L. Hutson
2:16cv04064   Rhondia Pack, Jimmy Pack
2:16cv04066   Jo Anne Strauch, Douglas Strauch
2:16cv04067   Tammy Vercher
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2:16cv04083   Jeanna Lundgren-Beagle, Charles Beagle
2:16cv04084   Lisa Linton
2:16cv04085   Annette Williams Jackson
2:16cv04109   Betty Robinson
2:16cv04113   Linda Hall, Roy Hall
2:16cv04114   Tricia Summa, Charles Summa
2:16cv04117   Teresa Brakes
2:16cv04130   Shannon Arnold
2:16cv04131   Kathy Becerra
2:16cv04133   Wanda Lewis, Desmond Lewis
2:16cv04134   Patricia Nye
2:16cv04136   Gloria Merritt, Franklin Merritt
2:16cv04165   Linda Poole
2:16cv04176   Ginger Wolfe, Roger Wolfe
2:16cv04177   Michelle Stevens
2:16cv04206   Lori Coots
2:16cv04207   Teresa Liles, Donald Liles
2:16cv04208   Helen Castilleja, John Castilleja
2:16cv04212   Randilyn Blaylock, Marcus Blaylock
2:16cv04228   Karen Husband, Donnie Husband
2:16cv04253   Charlene R. Mangold
2:16cv04282   Diane Cook, Brian Cook
2:16cv04284   Charlene Williams
2:16cv04295   Dimitra James
2:16cv04311   Susan Fagerland, Dennis Fagerland
2:16cv04315   Carissa Shannon, Jamie Shannon
2:16cv04317   Vicky Horne Taylor
2:16cv04320   Jenny Reynolds
2:16cv04321   Elizabeth Moore, Michael Moore
2:16cv04322   Paula Rae Martin, Ryan Martin
2:16cv04339   Stacey Tatum, Nicholas Tatum
2:16cv04344   Lois Bennett
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2:16cv04361   Jamie D. Alaniz, John M. Alaniz
2:16cv04379   Mei Carter
2:16cv04386   Deborah Falco
2:16cv04395   Mary Adams
2:16cv04396   Susan Arscott, Michael Arscott
2:16cv04398   Virginia Alvarez
2:16cv04417   Alicia Neria, Jose Romero
2:16cv04424   Kelly Lu Rexroth
2:16cv04435   Rina Rabinowitz, Neal Rabinowitz
2:16cv04440   Milagros Alberich
2:16cv04441   Angela Redmond
2:16cv04444   Lori J. Nodine, Dennis R. Nodine
2:16cv04446   Nanette Cyr
2:16cv04460   Claudia Stevenson
2:16cv04477   Lucille Vizzari
2:16cv04480   Nory I. Deoleo
2:16cv04482   Jennifer Bowman Rone, Christopher Rone
2:16cv04484   Myra Drossel
2:16cv04486   Kendra Ritlinger
2:16cv04521   Sarah Cain
2:16cv04522   Patti Jo Dollar
2:16cv04523   Janice B. Gillihan
2:16cv04525   Audrey Kampin
2:16cv04529   Leslie Taylor
2:16cv04530   Anzhelika Tolmasova
2:16cv04531   Susan Walsh
2:16cv04555   Dianne Stevens
2:16cv04556   Larisa Hollenbach, William Hollenbach
2:16cv04557   Karen Taylor, Rodney Taylor
2:16cv04563   Ernestine Venable
2:16cv04568   Karen Gable
2:16cv04570   Jean M. Stadtlander, Todd Stadtlander
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2:16cv04571   Joan Snow, Alfred Snow
2:16cv04597   Joan Hardison, Stephen Williams
2:16cv04630   Nancy Bardouche, Wayne Bardouche
2:16cv04635   Sherri Abbott, Rebecca Minnick
2:16cv04636   Julie Miller, Harold Miller
2:16cv04641   Billie Watkins, Phillip Watkins
2:16cv04655   Amanda McKenzie
2:16cv04660   Linda Collins, Michael Collins
2:16cv04663   Wendy Eames, Philip Eames
2:16cv04670   Alicia Hickman
2:16cv04675   Meggan Jimenez, Gabriel Jimenez Sr.
2:16cv04678   Calliope Davis
2:16cv04681   Giovanna Rice, Harold Rice
2:16cv04701   Tempy LaRae Taylor, Troy Taylor
2:16cv04705   Victoria Greer, Joey Greer
2:16cv04715   Kim Allen, Daniel Allen
2:16cv04721   Deborah Jagger
2:16cv04722   Katherine Miller
2:16cv04724   Lori O'Connor
2:16cv04726   Gloria Ramirez, Francisco Rameriz
2:16cv04730   Veronica Steele, James Steele
2:16cv04736   Marian J. Tomich, Rudy Tomich
2:16cv04746   Karen Landrum, Ricky Landrum
2:16cv04749   Reyna Bonilla, Jorge Bonilla
2:16cv04752   Joan Hazeltine, Mark Hazeltine
2:16cv04753   Jeanette Madsen
2:16cv04754   Donna Michalowski, Ronald Lorusso
2:16cv04756   Susie Powers, Jerry Powers
2:16cv04757   Paula Quinones, Genaro Quinones
2:16cv04758   Deanna Reed, Wayne Reed
2:16cv04759   Lora Reed, Kent Reed
2:16cv04810   Teri Meeks
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2:16cv04817   Avery McIntosh
2:16cv04821   Terri Thomas, Bobby Thomas
2:16cv04823   Kimberly Burton, Phillip Burton
2:16cv04828   Tamara Desrochers, James Desrochers
2:16cv04831   Toni Greanias, David Greanias
2:16cv04832   Denise Jarrard, William Jarrard Jr.
2:16cv04834   Ruth Hargis
2:16cv04842   Cheryl Moody
2:16cv04846   Jennifer Dusek
2:16cv04847   Georgia Byrdsong
2:16cv04849   Ruth Watson
2:16cv04867   Doreen Dugan
2:16cv04874   Jean Kritschgau, John Kritschgau
2:16cv04876   Jamie Noe, Jeff Noe
2:16cv04877   Rhonda Rodriguez
2:16cv04899   Barbara Igney
2:16cv04908   Robyn Avellan
2:16cv04911   Lisa Kiser
2:16cv04913   Diane Kackenmeister
2:16cv04934   Cathy Barker
2:16cv04938   Lorraine L. Carty
2:16cv04939   Sheryl Ann Rooney
2:16cv04942   Kerry Jo Robertson, Brian Robertson
2:16cv04943   Bette Love
2:16cv04946   Sonya Michelle St. Arnold, Robert St. Arnold
2:16cv04947   Karen Hollis, Carl Hollis
2:16cv04951   Thea Harris
2:16cv04968   Pamela Hecht, Daniel Hecht
2:16cv04972   Agnes Barringer, Monty Barringer
2:16cv04982   Tammy Schwab, Steven Schwab
2:16cv04994   Donna Smith
2:16cv04998   Barbara Platt
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2:16cv05000   Etta Earls
2:16cv05013   Sheree G. Bush, Albert L. Bush
2:16cv05029   Connie Morris, Leroy L. Morris Jr.
2:16cv05034   Betty Day, J. Y. Day Jr.
2:16cv05038   Hilde Meussner, Richard Meussner
2:16cv05042   Sarah Koosman, Aaron Koosman
2:16cv05047   Kim King
2:16cv05048   Cleda M. Smith
2:16cv05056   Phyllis Grandison
2:16cv05082   Sharon Kay Oliver, Dennis Michael Oliver
2:16cv05092   Sheila Treece
2:16cv05093   Trixann Black, John Black
2:16cv05099   Jennifer Smith
2:16cv05119   Adriana Pracitto, Christopher Pracitto
2:16cv05120   Dawn Potter
2:16cv05142   Sandra Lynch, Juliun Lynch
2:16cv05148   Cheryl Hopkins, Vernon R. Hopkins Jr.
2:16cv05194   Patricia Dean
2:16cv05197   Lisa Marie Harding, Christopher Lewis Harding
2:16cv05198   Rosa Lodato, Larry Lodato
2:16cv05240   Gloria Jones, Billy Joe Jones
2:16cv05247   Rosie Bethmann, Robert Bethmann
2:16cv05297   MaLinda Goodman, Charles Goodman
2:16cv05299   Charlotte Caldwell, Timothy Caldwell
2:16cv05300   Sandra Taha
2:16cv05303   Loretta Stevenson
2:16cv05333   Muriel Fuqua, Danny Fuqua
2:16cv05334   Ana Caceda
2:16cv05335   Wanda Evans, Bobby Evans
2:16cv05337   Wanda Parker
2:16cv05340   Cricket Caroll, Dennis Hogland
2:16cv05364   Ethel Bailess, Carroll Bailess
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2:16cv05366   Dona Hall
2:16cv05376   Diane Addison
2:16cv05380   Brenda Myers, Hobert Myers
2:16cv05383   Connie Shoulette
2:16cv05384   Shirley Smith, Marvin Smith
2:16cv05421   Tammie Kirsebom
2:16cv05457   Janice Hammons
2:16cv05458   Christine Montoya
2:16cv05461   Lena Taylor, James Taylor
2:16cv05463   Kimberly Teuteberg
2:16cv05464   Joan Waddell, Paul A Waddell Jr.
2:16cv05474   Dana Wright, Angela Wright
2:16cv05494   Barbara Hartwig
2:16cv05496   Ronda Miller, Robert Miller
2:16cv05529   Nettie Beckner
2:16cv05531   Trish Brown
2:16cv05535   Tammy Coffey-Hard
2:16cv05537   Teresa Doughty
2:16cv05538   June Elizabeth Ellis
2:16cv05543   Bobbie Jo Graham
2:16cv05549   Naquita Rene Parker-Richardson
2:16cv05553   Tina Hartsock, Alfred Hartsock
2:16cv05554   Sara Martinez
2:16cv05555   Kathryn Troutman, Darrell Troutman
2:16cv05582   Alvin Hixon, Lina Hixon
2:16cv05586   Allison Pichardo
2:16cv05589   Yolanda Bowden
2:16cv05594   Alice Weigel
2:16cv05599   Dawn M. Albrecht
2:16cv05600   Janine Ankney
2:16cv05610   Arlene Hill
2:16cv05612   Cornelia Lechner
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2:16cv05618   Rebecca Morado, Paul Hernandez
2:16cv05628   Shirley Winship, Michael Winship
2:16cv05631   Mercedes Teresa Loayza-Arocutipa
2:16cv05643   Opal Adams
2:16cv05686   Cheryl Leasure
2:16cv05688   Brenda Bozarth
2:16cv05699   Barbara J. Newman, Mark Newman
2:16cv05715   Patricia Mower, Derek Mower
2:16cv05756   Peggy P. Gilchrist
2:16cv05761   Billie Michelle Johnson
2:16cv05764   Sheilah Jordan
2:16cv05765   Arleen Lee
2:16cv05769   Vicki Lynn Lopez
2:16cv05784   Yanira Rodriguez, Mario Rodriguez
2:16cv05785   Kimberly Reed
2:16cv05787   Cynthia Reed
2:16cv05832   Sara Christensen, Lorin Christensen
2:16cv05833   Peggy McCuiston, Curtis McCuiston
2:16cv05835   Patricia Woliner, Alan Woliner
2:16cv05837   Angela Beatty
2:16cv05839   Eleanor Russman, John Russman
2:16cv05846   Pamela Postlethwait
2:16cv05857   Lillian Cameron
2:16cv05859   Doris Capito, George Capito Sr
2:16cv05865   Natalie Cychosz, Dennis Cychosz
2:16cv05870   Bonnell Forstner
2:16cv05871   Beverly McCall
2:16cv05875   Diana Tinkham
2:16cv05882   Lynn A. Palasciano, Anthony Palasciano
2:16cv05900   Katherine M. Lynch
2:16cv05903   Gloria Marshall
2:16cv05907   Donna Seeger
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2:16cv05912   Tammie Blizard
2:16cv05913   Judy Eglinton, Richard Eglinton
2:16cv05914   Donna S. Mattingly, John Craig Mattingly
2:16cv05921   Victoria Wright, George Wright
2:16cv05955   Karen Boyd
2:16cv05958   Tamika L. Higgins, Patrick Higgins
2:16cv05959   Bonnie J. McDaniel, Jim McDaniel
2:16cv05960   Linda McElreath
2:16cv05961   Carmen Rodriguez, Juan Rodriguez
2:16cv05964   Teresa J. Smith
2:16cv05966   Sandra M. Yingling
2:16cv05975   Linda Woods
2:16cv05979   Linda Moss, Jerry Moss
2:16cv05988   Juanita Spearman
2:16cv05990   Barbara G. Endewelt
2:16cv05992   RoseAnn Bonanno
2:16cv05995   Aimee Weathersby, Donald Lee Lewis
2:16cv05998   Jackie Johnson
2:16cv06008   Sharon Ann Stone
2:16cv06009   Karyn Tacconelli
2:16cv06010   Angela M. Tamalavic
2:16cv06011   Lynda Tatum
2:16cv06013   Ann Thurber
2:16cv06016   Kecia Lorraine Triemert
2:16cv06020   Susan E. Vascek
2:16cv06021   Carol Lynn Weinhauer
2:16cv06022   Shirley Haley
2:16cv06038   Terri Humes
2:16cv06040   Denise Quinlan, Thomas Quinlan
2:16cv06057   Lynn Mitchell
2:16cv06062   Mary Ann Rowe
2:16cv06077   Michal Logan, Tony Logan
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2:16cv06078   Ketrina Reinhart, Stanley Reinhart
2:16cv06090   Diane Harsch
2:16cv06111   Murl Winfield
2:16cv06120   Daisy Kelly
2:16cv06121   Andrea Harris
2:16cv06124   Rebecca Nagle
2:16cv06166   Tamara Henderson, Michael Henderson
2:16cv06167   Jane Lanza
2:16cv06168   Carolyn Thigpen, Bryan Thigpen
2:16cv06195   Brandy Rusk, Eric Rusk
2:16cv06196   Lisa Belcher
2:16cv06199   Leah Lamb, Evan Lamb III
2:16cv06200   Melinda Larzo, Gary Larzo
2:16cv06203   Debra Lynn Tankersley
2:16cv06235   Ada Lovekamp
2:16cv06259   Christine Acree, Peter Acree
2:16cv06264   Kellie Taylor-Pierce, Daniel Pierce
2:16cv06266   Tina Abbott, Michael Abbott
2:16cv06268   Brenda Bouvatte, Donald Bouvatte
2:16cv06271   Janell Hale, Kenneth Hale
2:16cv06277   Ladonna Woolley
2:16cv06280   Nancy Caskanett, William Caskanett
2:16cv06287   Teresa File
2:16cv06290   Ellen Mathes
2:16cv06296   Rebecca Seals
2:16cv06322   Sandra Isbell, Garry Isbell
2:16cv06327   Emma Shattuck
2:16cv06328   Pamaula Campbell
2:16cv06356   Janet Whalen
2:16cv06367   Nancy Lueck, Daniel Lueck
2:16cv06368   Rebecca L. Perry, Todd Perry
2:16cv06371   Barbara G. Whitehead
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2:16cv06382   Dawn Angeline Hartsell, Mark Hartsell
2:16cv06409   Linda K. Baltimore, Robert L. Baltimore
2:16cv06412   Paula Insko
2:16cv06413   Carrie F. Munroe
2:16cv06415   Melissa Altman
2:16cv06416   Dina De Leon, Juan De Leon
2:16cv06417   Beverly K. Nelson, Roger M. Nelson
2:16cv06438   Jenny Bowden, Richard Leon Bowden
2:16cv06440   Audrey E. Plante, Leo Plante
2:16cv06449   Glenda Moleski, Michael Moleski
2:16cv06489   Frances Dargan, James Dargan
2:16cv06492   Sandra Stoker, Randall Stoker
2:16cv06493   Connie Thomas
2:16cv06503   Laurinda Alexander-Green
2:16cv06506   Patricia Monholland
2:16cv06507   Shelly Sparks
2:16cv06516   Sandra Towne, Ronald Towne
2:16cv06518   Elizabeth A. Coolbaugh
2:16cv06521   Jolene N. Droze
2:16cv06523   Susan A. Martinez, Alex Silva
2:16cv06548   Patricia Calvert, Jack Calvert
2:16cv06550   Barbara DeRitis
2:16cv06553   Teresa E. Scott, Martin L. Scott
2:16cv06572   April Wright Sullivan, Jonathan Sullivan
2:16cv06574   Rebecca Minnick, Sherri Abbott
2:16cv06579   Patrocinia Ong
2:16cv06580   Angela Christmann
2:16cv06592   Pamela J. Crisler, Gregg Crisler
2:16cv06624   Donna Dawson
2:16cv06629   Jerretta K. Seager, Robert J. Seager Jr.
2:16cv06631   Ellen L. Ware
2:16cv06639   Juanita Robertson
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2:16cv06649   Kathleen Meraglia, Daniel Meraglia
2:16cv06678   Karen Petero, Jack Petero
2:16cv06687   Deborah G. Kelley, Devin Kelley
2:16cv06709   Jeannette Ortega
2:16cv06714   Shelly Martin, Robert Martin
2:16cv06716   Cynthia S. Wiggins, Russell Wiggins
2:16cv06724   Deborah Jines
2:16cv06746   Sharon Cifello, Charles Cifello
2:16cv06747   Carol DeGruy, Melvin DeGruy
2:16cv06750   Bertha Mosley
2:16cv06774   Loris Moen
2:16cv06795   Sharon Dean
2:16cv06843   Leeida Broom
2:16cv06848   Karen R. Bryant, Dale Bryant
2:16cv06865   Patricia Mack
2:16cv06873   Sally Cary
2:16cv06875   Hazel Cohee
2:16cv06876   Rochelle Ruffin
2:16cv06881   Melody Cox
2:16cv06884   Barbara Foy
2:16cv06886   Terry Gibson
2:16cv06890   Rosa Jordan
2:16cv06898   Rebecca Montoya
2:16cv06901   Barbara Polan
2:16cv06908   Nena Renfrew
2:16cv06935   Lisa M. Ashberry
2:16cv06941   Brenda K. Babb
2:16cv06949   Linda J. Baumgartner
2:16cv06951   Linda L. Beck
2:16cv07043   Sandra Picard
2:16cv07053   Ramona Kendrick
2:16cv07054   Elsa Perry
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2:16cv07059   Tammy Lawson
2:16cv07132   Anita Black
2:16cv07169   Stacy Tarape
2:16cv07202   Pamela Franco
2:16cv07225   June Corrente, George Corrente
2:16cv07229   Tamela J. Ivy, James M. Ivy II
2:16cv07255   Raquel Rodriguez, Juan Rodriguez
2:16cv07294   Rosaura Sias, Armin Pipenburg
2:16cv07297   Dawn Rivera, Raymond Rivera
2:16cv07347   Christine Bayer, Charles Bayer
2:16cv07357   Chalice Lundquist, Robert Lundquist
2:16cv07395   Margaret Reble
2:16cv07420   Ksandra Thomas
2:16cv07422   JoAnn Anderson
2:16cv07445   Sue Ann Bradshaw, Cecil G. Bradshaw
2:16cv07457   Stephanie L. Delrie, Derwin K. Delrie
2:16cv07472   Tonya Lane
2:16cv07525   Glenda Lawshe, William Lawshe
2:16cv07584   Barbara Ann Ernst, Bret Ernst
2:16cv07585   Mary C. Strohl, Douglas T. Strohl
2:16cv07587   Theila Barker
2:16cv07676   Misty Jennings
2:16cv07680   Virginia Stuart
2:16cv07696   Beverly Fowler
2:16cv07700   Bonnie M. Ramon, Gary A. Ramon
2:16cv07701   Hilda Griffin
2:16cv07702   Ida Rodriguez
2:16cv07733   Linda Cotham, Michael Cotham
2:16cv07737   Teresa Martinez, Efrain Martinez
2:16cv07738   Kimberly Morse, Arthur Morse
2:16cv07783   Margaret Chrisman, Gale Chrisman
2:16cv07786   Angelita Olavarria
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2:16cv07845   Pamela Mote, Michael Mote
2:16cv07865   Delisha M. Allen
2:16cv07867   Charlene R. Elliott
2:16cv07869   Marilyn L. Erskin
2:16cv07884   Patricia R. Fisk
2:16cv07888   Lydia Fontana
2:16cv07889   Princess Y. Fore
2:16cv07900   Peggy Scully
2:16cv07904   Holly Sherman, Harold Sherman
2:16cv07906   Suzan Whiting, Steven Whiting
2:16cv07907   Faith Cutliff
2:16cv07922   Marlene Laviola
2:16cv07923   Glena Lawson, Charles Lawson
2:16cv07935   Emma Lee Locklear
2:16cv07949   Fran P. Mosley, Richard A. Mosley
2:16cv07958   Maria Roman
2:16cv07961   Deborah Scott
2:16cv07970   Catherine Shea
2:16cv07975   Ruth S. Cavalluzzi
2:16cv07976   Vange S. Cesarotti
2:16cv07980   Joyce Childers
2:16cv08005   Sherrie Robinson
2:16cv08029   Debra J. Benzing
2:16cv08033   Lenise Bethea-Christian
2:16cv08035   Elizabeth K. Blair
2:16cv08038   Robin E. Andrews
2:16cv08039   Linda J. Antretter
2:16cv08071   Juanita Alcorta
2:16cv08087   Mary Marlbrough
2:16cv08128   Ruby Freudenstein
2:16cv08144   Maureen Giffin
2:16cv08149   Minerva Gonzales
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2:16cv08151   Deborah Grant
2:16cv08155   Wanda Gail Crowley, John Crowley
2:16cv08156   Teresa Douglas, John Dale Douglas
2:16cv08188   Earlene Joyce Kilburn
2:16cv08190   Robin Sidders
2:16cv08192   Bonnie Mae Martin
2:16cv08197   Dianna Darling
2:16cv08200   Wanda Martin
2:16cv08221   Joyce McDevitt
2:16cv08234   Rhonda Gullette
2:16cv08236   Dawn Shirey
2:16cv08251   Margaret Simmons
2:16cv08268   Tamla D. Carroll
2:16cv08270   Elsa Castellano-Ortiz
2:16cv08272   Vickie J. Clayborn
2:16cv08274   Patricia Coy
2:16cv08275   Ruth Derbyshire
2:16cv08277   Georgeanne Donnelly
2:16cv08280   Audrey G. Meyers
2:16cv08282   Gisela Irene Noland
2:16cv08283   Tina Parham
2:16cv08305   Judith Fetheroff
2:16cv08309   Renee Harper
2:16cv08312   Theresa Smith
2:16cv08319   Christal Fisher, Jeremy Fisher
2:16cv08334   Maxine Barrett
2:16cv08350   Carol J. Fidler, John G. Fidler, Executor
2:16cv08352   Tami Gillentine
2:16cv08358   Sylvia Hohn
2:16cv08368   Jessica Miller
2:16cv08369   Betty Messman
2:16cv08377   Rena Bland
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2:16cv08381   Brenda G. Bledsoe
2:16cv08414   Argelis E. Frederick
2:16cv08416   Barbara Freeny
2:16cv08423   Kenda Miller
2:16cv08431   Linda P. Hall
2:16cv08477   Francis Perez, Angel Mercado
2:16cv08480   Shirley A. Bauer, Fred C. Bauer
2:16cv08481   Joyce B. Schmidt, Allan K. Schmidt
2:16cv08491   Frances Minard
2:16cv08497   Stephanie Griswold
2:16cv08499   Marlene R. Guthrie
2:16cv08504   Chonitta LaTrice Yarber, Albert Yarber
2:16cv08506   Gwendolyn Hunter
2:16cv08510   Teresa F. Bowdler
2:16cv08516   Flora Hall
2:16cv08523   Margaret Moore
2:16cv08530   Allyson Mulkey
2:16cv08532   Shirley Myers
2:16cv08553   Lena Fink
2:16cv08555   Karen K. Simmons, Jerry Simmons
2:16cv08556   Margaret Merry, Jeffery Merry
2:16cv08558   Brenda Stowers, Scott Stowers
2:16cv08568   Ramonita Gaud
2:16cv08571   Elizabeth Carroll, Barry Carroll
2:16cv08573   Helen Colon
2:16cv08607   Jayne Beesley
2:16cv08615   Sylvia Auten
2:16cv08623   Leslie Callies Hollis, Micheal Hollis
2:16cv08630   Theresa Imani, Hicham Imani
2:16cv08631   Susan Naranjo-Doyle
2:16cv08639   Tanya Clark
2:16cv08658   Fonda Gritts
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2:16cv08686   Lee Ockey
2:16cv08780   Vonia Thomas, Malcolm Thomas
2:16cv08781   Elizabeth Salmons
2:16cv08814   Diane Vandervort
2:16cv08825   Lynne Gray
2:16cv08867   Maria Luzania, John Luzania
2:16cv08886   Debra Corlis
2:16cv08892   Esther J. Williams
2:16cv08932   Cindy B. Riley, Ricky Lee Riley
2:16cv08933   Mary C. Tamin, Robert A. Tamin
2:16cv08936   Tracy Garrett
2:16cv08961   Harriett Medlin
2:16cv08967   Lila Symmonds, Michael Symmonds
2:16cv08969   Gaylene Helling, Dennis B. Helling
2:16cv08970   Sarabeth Epperson, John J. Epperson
2:16cv08985   Wanda Howard
2:16cv09019   Donna L. Savage, William K. Savage
2:16cv09034   Katherine Peel, John Peel
2:16cv09035   Coral Haggard
2:16cv09037   Brenda Sanders, Preston Sanders
2:16cv09040   Virginia Berg
2:16cv09054   Patricia Scott
2:16cv09056   Kay Frances Lamb, Kenneth D. Lamb
2:16cv09057   Mirna Rizo, Ivan Rizo
2:16cv09061   Deborah Carithers
2:16cv09066   Veronica Gaston
2:16cv09104   Melissa Morrison, Michael Morrison
2:16cv09107   Linda Cookie Watts
2:16cv09108   Beth Cannon, David Cannon
2:16cv09164   Noreen Mitchell
2:16cv09166   Shelley Lewis, James Lewis
2:16cv09169   Patricia Morris, Mark Morris
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2:16cv09172   Norma Cox
2:16cv09175   Ioka Simants
2:16cv09178   Luz Roman Maldonado
2:16cv09186   Haydee Beovides
2:16cv09240   Christine McNamara
2:16cv09255   Georgia Allen, Ronald Allen
2:16cv09315   Lori Bennett
2:16cv09316   Cheri Evans
2:16cv09320   Tamara Veal, Anthony Veal
2:16cv09366   Amanda Pursel
2:16cv09422   Leona Willecke, Mark Willecke
2:16cv09430   Ruth Washington
2:16cv09431   Melinda Avery, Garland Avery
2:16cv09439   Carolyn Hosey
2:16cv09448   Kathleen Masartis
2:16cv09450   Paula Greeves, Steve Greeves
2:16cv09452   Maryann Pecoraro
2:16cv09465   Carolyn Schmidt
2:16cv09491   Janice Day
2:16cv09494   Yvonne Kapelczak, Edmund Kapelczak
2:16cv09498   Cheryl Stocksett, Jeffrey Stocksett
2:16cv09523   Patricia R. Knight, Bruce D. Knight
2:16cv09567   Patsy Denise Turner, Charles K. Turner Jr.
2:16cv09608   Raquel M. Crowe
2:16cv09610   Amelia Drew
2:16cv09614   Sandra Keener
2:16cv09615   Louann Souza
2:16cv09618   Angela Willis
2:16cv09623   Sue Friedman
2:16cv09639   Sabra Hobson
2:16cv09670   Molly Bounds
2:16cv09671   Mary Ann Fay
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2:16cv09672   Judith Gillespie
2:16cv09673   Deborah Hernandez
2:16cv09675   Misty Kropelnicki
2:16cv09679   Helen Laza
2:16cv09681   Brenda L. Lott
2:16cv09684   Elizabeth Meredith
2:16cv09686   Angel Moulder
2:16cv09687   Cynthia Oakley
2:16cv09709   Kathryn Hilpisch
2:16cv09712   Jennie L. Carman
2:16cv09727   Hellen Hixson
2:16cv09733   Donna M. Hudson
2:16cv09739   Esperanza Martinez
2:16cv09741   Michelle Mize
2:16cv09743   Patricia J. Page
2:16cv09748   Ann Phelps
2:16cv09752   Delight Huyett
2:16cv09754   Lisa Pousson
2:16cv09755   Irma Rodriguez
2:16cv09756   Brenda Jo Saxe
2:16cv09757   Michelle R. Strickland
2:16cv09758   Joanna Vega
2:16cv09759   Sally Williams
2:16cv09760   Gloria Williamson
2:16cv09764   Jean Wilson
2:16cv09766   Connie L. Carigon
2:16cv09767   Sharon Chaffin
2:16cv09769   Magaly Newcomb
2:16cv09770   Bridget Bittles
2:16cv09772   Serena Clarkson
2:16cv09774   Frances Galal
2:16cv09775   Dorothy M. Baker
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2:16cv09776   Clydie Gardner
2:16cv09780   Angelica Gutierrez
2:16cv09784   Donna Juelfs
2:16cv09785   Melissa Rimes
2:16cv09811   Marie Lane
2:16cv09866   Angela Murcia
2:16cv09872   Jeri Glazer
2:16cv09892   Brenda G. Tanner
2:16cv09898   Valene Evans
2:16cv09912   Sandra Gillmore
2:16cv09926   Alice M. Worley
2:16cv09970   Judith E. Crowley
2:16cv09992   Jennifer Brown
2:16cv10180   Elizabeth Chavarie
2:16cv10184   Hilda Cortes
2:16cv10193   Erin Harlow
2:16cv10263   Madonna Moore, Jeffery Moore
2:16cv10264   Cheryl Schaul
2:16cv10278   Rossana Lanaro
2:16cv10301   Mary Willoughby
2:16cv10327   Maria Acosta
2:16cv10353   Donna Brown
2:16cv10354   Emelina Aquino
2:16cv10356   Linda Lea Clark
2:16cv10358   Debra Turner
2:16cv10360   Denise L. Heath
2:16cv10361   Michelle Lynn Smith
2:16cv10364   Judith Claire Beacon
2:16cv10365   Vickie Sloan
2:16cv10368   Cynthia Maynard
2:16cv10374   Darla McMinn
2:16cv10375   Sheryl Atkinson
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2:16cv10378   Rosalyn D Simonton
2:16cv10402   Robyn Cole
2:16cv10407   Marcia Hodges
2:16cv10460   Twila Davis
2:16cv10469   Tracie Wallace
2:16cv10489   Karen E. King
2:16cv10491   Jacqueline Maciak
2:16cv10493   Mildred Palazzola, Joseph Palazzola
2:16cv10500   Marcia Olivieri
2:16cv10513   Marsha Heidt
2:16cv10528   Kelly Smedsrud
2:16cv10529   Cheryl Young
2:16cv10552   Antoinette Garbacik
2:16cv10555   Elizabeth Gilliam
2:16cv10557   Eva Montgomery
2:16cv10558   Nicole Hooks
2:16cv10559   Kim Southers
2:16cv10590   Cheryl Hamilton
2:16cv10606   Brenda Abreu
2:16cv10607   Jwan L. Allen
2:16cv10608   Celia Stone
2:16cv10609   Teresa M. Jordan
2:16cv10612   Rashell A. Brunner
2:16cv10632   Victoria Manfredonia
2:16cv10633   Marsha Jared
2:16cv10646   Judith Weldon
2:16cv10650   Deborah Manno
2:16cv10655   Julie Layne
2:16cv10657   Shana Fisk
2:16cv10659   Terri L. Stiner
2:16cv10662   Mona Fox
2:16cv10673   Theresa M. Colletta
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2:16cv10685   Heidi E. Dean
2:16cv10689   Ava Galebach
2:16cv10690   Susanne L. Rocheleau
2:16cv10701   Alison D. Libby, Clinton Libby
2:16cv10706   Tracey D. McKinnie
2:16cv10732   Corrine Kamish
2:16cv10733   Martha Knowles
2:16cv10735   Donna Bowlby
2:16cv10737   Katherine Lampert
2:16cv10738   Judith Kennedy
2:16cv10743   Vivian Humphrey, Penny Leckbee, Administrator
2:16cv10747   Beverly Paradee
2:16cv10753   Angela Mahr
2:16cv10754   Lori S. Price
2:16cv10766   Donna Tyacke
2:16cv10769   Mary Kuykendall
2:16cv10770   Julia Walsdorf
2:16cv10774   Tamalette Scott
2:16cv10775   Holly Zeisloft, Brian Zeisloft
2:16cv10776   Susan Fairchild
2:16cv10778   Theresa D' Antini
2:16cv10787   Christine Webb
2:16cv10795   Patricia A. Ritter
2:16cv10826   Janet Wall
2:16cv10827   Juanita Vicory
2:16cv10833   Loriann Johnson
2:16cv10842   Thereasa Ann Brown
2:16cv10856   Mary Webster
2:16cv10870   Porsha M. Lebard
2:16cv10878   Patricia G. Moser
2:16cv10880   Deborah Sturgeon
2:16cv10886   Sharon McKee
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2:16cv10917   Deborah (Debbie) Kee
2:16cv10919   Linda Sargent
2:16cv10925   Dolores J. Peare
2:16cv10940   Leah Prince
2:16cv10943   Tanda Allen
2:16cv10957   Colleen S. Horton
2:16cv10958   Joyce B. Sachse
2:16cv10966   Jennifer Brandt
2:16cv10967   Sandra Bullen
2:16cv10968   Hadassa Levi
2:16cv10970   Betty Anna Casinelli
2:16cv10972   Myrtle Green
2:16cv10973   Doris Halbrook
2:16cv10974   Tamera I. Martinez
2:16cv10976   Verna L. Thomas
2:16cv10977   Elizabeth M. Villa
2:16cv10978   Suzanne P. Williams
2:16cv10979   Carolyn J. Wirts
2:16cv10981   Charissa Taylor
2:16cv10986   Karla Trembly
2:16cv10989   Rena Hern
2:16cv10993   Kendall Crittenden
2:16cv11023   Ellen Smith
2:16cv11029   Shady Jo Sanchez
2:16cv11036   Dawn F. Newhouse
2:16cv11042   Helen Fitzpatrick
2:16cv11043   Kathy L. Folk
2:16cv11046   Sandra S. Froust
2:16cv11047   Elnora Gandy
2:16cv11048   Libertad Hassan
2:16cv11052   Wendy Johnson
2:16cv11053   Nora Virginia Keene
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2:16cv11056   Brittany McElroy Collins
2:16cv11057   Linda J. Raynor
2:16cv11058   Jodi Rivera
2:16cv11060   Juanita Rogers
2:16cv11062   Kathleen Weatherwax
2:16cv11063   Mary J. Bouchard
2:16cv11064   Tina C. Bowling
2:16cv11065   Virginia G. Brown
2:16cv11066   Bridget Davis
2:16cv11067   Susan Diane Backus
2:16cv11068   Ethel Inez Bailes
2:16cv11069   Marion Barrett
2:16cv11070   Debora Bell
2:16cv11071   Kimberley Dugan
2:16cv11072   Kim Hinkle
2:16cv11073   Robin L. Hoskins
2:16cv11075   Tracy Lucas
2:16cv11076   Cristi McCaslin
2:16cv11077   Jackie Lynn Morrison
2:16cv11078   Esmeralda Pena
2:16cv11081   Gail L. Wilkinson
2:16cv11082   Katherine Wittmer
2:16cv11085   Linda G. Calloway
2:16cv11086   Rebecca Hill
2:16cv11087   Jennifer Owens
2:16cv11089   Peggy D. Chase
2:16cv11091   Marguerite C. Connolly
2:16cv11093   Joana Feiteira
2:16cv11094   Stephanie McNabb
2:16cv11122   Shirley McCormack
2:16cv11123   Rosemary Holic
2:16cv11185   Phyllis Walsh
   Case WVS/2:15-cv-14812        Document 1   Filed 12/01/17   Page 251 of 267




2:16cv11189   Ruth Owens
2:16cv11190   Mary Phillips
2:16cv11192   Sheila Caison
2:16cv11195   Marian Fazah
2:16cv11203   Suzanne Gentry
2:16cv11209   Amy Bartz
2:16cv11214   Terri Koenig
2:16cv11216   Dianna L. Stringfellow
2:16cv11229   Laura Veronica Torres
2:16cv11230   Barbi Burchard
2:16cv11231   Lisa L. Lord
2:16cv11232   Donna Lee Dowell
2:16cv11236   Lisa Patrick
2:16cv11239   Virginia Rowland
2:16cv11240   Rhonda Cox
2:16cv11242   Veronica D. Chavez
2:16cv11243   Marilyn Iverson
2:16cv11244   Annette Cook
2:16cv11245   Julieta Ortega
2:16cv11249   Karen D. Leyba
2:16cv11253   Joann Rich
2:16cv11258   Patricia Berg
2:16cv11259   Vicki Hutson
2:16cv11260   Diana L. Cinque
2:16cv11261   Tammy Copenhaver
2:16cv11263   Darcy Watson
2:16cv11265   Hazel C. Tinsley
2:16cv11280   Dawn E. Berrier
2:16cv11285   Melba Janke
2:16cv11286   Jana Cooke
2:16cv11290   Cheryl Lynn Jones
2:16cv11291   Christina Turpen
   Case WVS/2:15-cv-14812       Document 1   Filed 12/01/17   Page 252 of 267




2:16cv11298   Kathleen Ann Roche
2:16cv11309   Victoria Bearcomesout
2:16cv11310   Alice Hill
2:16cv11312   Peggy Saxon
2:16cv11313   Kathleen Bonaccorsi
2:16cv11314   Judith Anne Daugherty
2:16cv11315   Linda Duke
2:16cv11322   Ellen Greer
2:16cv11323   Mary Saunders
2:16cv11325   Laura Peters
2:16cv11327   Caroline Hobbs
2:16cv11420   April Bain
2:16cv11426   Katherine Hymer
2:16cv11430   Claudia Green
2:16cv11434   Vickie Nichols
2:16cv11436   Carol Lewis Johnson
2:16cv11447   Barbara Jean Sadler
2:16cv11449   Daisy Mae Lorance
2:16cv11459   Laura J. Usrey
2:16cv11461   Peggy Lee Hyatt
2:16cv11462   Marla J. Shyken
2:16cv11463   Carolyn J. Wright
2:16cv11464   Norma Martinez
2:16cv11465   Leila Williams
2:16cv11467   Shirley Kelley
2:16cv11468   Patricia Donato
2:16cv11471   Sheila Crawford
2:16cv11477   Adelia Emerson
2:16cv11478   Thelma Kothenbeutel
2:16cv11479   Roseann Wiltsey
2:16cv11480   Margie Green
2:16cv11483   Caroline Ramkissoon
   Case WVS/2:15-cv-14812        Document 1   Filed 12/01/17   Page 253 of 267




2:16cv11486   Ruth Knoke
2:16cv11487   Paula Hunt
2:16cv11489   Teresa Good
2:16cv11493   Debra S. Short
2:16cv11495   Rosana Ribeiro
2:16cv11497   Ellen Enslen
2:16cv11498   Sheila Kessler
2:16cv11519   Betty Bryant
2:16cv11522   Cheryl Stewart
2:16cv11524   Kimberly Baxter
2:16cv11527   Alicia Perales
2:16cv11532   Rosa M. Cardiel
2:16cv11538   Jeanine D. Nix
2:16cv11544   Rachel Butler
2:16cv11546   Ruth Thompson
2:16cv11547   Caridad Triana
2:16cv11548   Donna Taves
2:16cv11554   Denise Davis
2:16cv11558   Dorothea Bressler
2:16cv11561   Charlene Wilson
2:16cv11586   Teresa Arrington
2:16cv11587   Majorie Ritter
2:16cv11598   Tammy L. Brannon
2:16cv11603   Helen Holderbaum
2:16cv11604   Joy Roxann Thornhill
2:16cv11605   Eileen Gonzales
2:16cv11607   Cynthia Shearer
2:16cv11608   Beverly Burt
2:16cv11609   Brenda Phillips
2:16cv11610   Rosemarie Queen
2:16cv11611   Sherry Berney
2:16cv11615   Sonya Shannon
   Case WVS/2:15-cv-14812         Document 1   Filed 12/01/17   Page 254 of 267




2:16cv11618   Carol Smead
2:16cv11619   Denise Rivera
2:16cv11620   Mary Beth Sinn
2:16cv11645   Christina Smith
2:16cv11649   Melissa Collins
2:16cv11650   Amelia Baber
2:16cv11668   Vanessa Rivers
2:16cv11671   Jacklyn Harris
2:16cv11699   Naomi Lonergan
2:16cv11701   Joan E. Gunick
2:16cv11711   Chantal Haddad
2:16cv11712   Anita Lynn Stringer
2:16cv11718   Naomi Clements
2:16cv11721   Georgia Richardson
2:16cv11722   Deborah A. Kingcade
2:16cv11724   Pamela Holloway Alexander
2:16cv11725   Pamela Smith
2:16cv11734   Ida Rubalcado
2:16cv11735   Marcella Johnson
2:16cv11757   Barbara Higginbotham
2:16cv11761   Crystal Leone
2:16cv11770   Cheryl Marino
2:16cv11774   Kimberley Shuler
2:16cv11778   Mary Collins-Johnson
2:16cv11779   Vivian Clemons
2:16cv11781   Jewel A. Mason
2:16cv11782   Eileen Harvey
2:16cv11784   Sandra Glaze
2:16cv11833   Jessica J. Novelo
2:16cv11834   Lynn M. McDougall
2:16cv11835   Sandra Wallace
2:16cv11838   Rita S. Gill
   Case WVS/2:15-cv-14812       Document 1   Filed 12/01/17   Page 255 of 267




2:16cv11839   Donna A. Verner
2:16cv11840   Brenda L. Beal
2:16cv11841   Edith Katchmazenski
2:16cv11865   Liduvina Aparicio Caserta
2:16cv11943   Rebecca A. Young
2:16cv11947   Margie A. Hunt
2:16cv11959   Mary Roderick
2:16cv11960   Carolyn Wright
2:16cv11966   Sharron Morgan
2:16cv11967   Pamela Brook
2:16cv11968   Tammy Mattina
2:16cv11969   Janet Bitzer
2:16cv11970   Ann Rodriguez
2:16cv11973   Annie Johnson
2:16cv11975   Amy Shivener
2:16cv11976   Brenda Gregowicz
2:16cv11994   Jean Merrill
2:16cv11996   Rebecca Del Conte
2:16cv11997   Tracie Rivera
2:16cv11998   Christine Stewart
2:16cv12000   Brigitte Yero
2:16cv12001   Patricia Haugen
2:16cv12002   Annette Pittman
2:16cv12003   Judith Talley
2:16cv12004   Deborah Van Pelt
2:16cv12005   Grace A. Miller
2:16cv12008   Amy Williamson
2:16cv12011   Bella Silberman
2:16cv12012   Cristina Leal
2:16cv12013   Patricia A. Livingston
2:16cv12014   Pamela J. Hall
2:16cv12015   Catherine Amato
   Case WVS/2:15-cv-14812       Document 1   Filed 12/01/17   Page 256 of 267




2:16cv12016   Cathaleen Maude Donovan
2:16cv12025   Denise Hayhurst
2:16cv12032   Bonnie Parks
2:16cv12045   Bonnie Chandler
2:16cv12046   Sherry Hill
2:16cv12048   Jewel Zimmerman
2:16cv12051   Diana Robinson
2:16cv12054   Teresa A. Baker
2:16cv12057   Ligia Uriarte
2:16cv12058   Thelma Tomalewicz
2:16cv12060   Jacquelin Bainter
2:16cv12061   Donna Mains
2:16cv12065   Deanne Kehoe
2:16cv12067   Gayle Krajewski
2:16cv12069   Ramona Castillo
2:16cv12070   Audrey Gosser
2:16cv12109   Jeanne K. Anderson
2:16cv12111   Kimberly Hemond
2:16cv12120   Rita Mick
2:16cv12121   Judy Frandsen
2:16cv12125   Sharon Taylor
2:16cv12154   Terry Winn
2:16cv12155   Joan Black
2:16cv12164   Dana Jones
2:16cv12166   Marqueta Russell
2:16cv12167   Diane Madsen
2:16cv12170   Maxine Wagner
2:16cv12175   Amy Cate
2:16cv12181   Edna Suttles
2:16cv12182   Donna Payne
2:16cv12195   Cynthia Gilbert
2:16cv12198   Jelicious A. Baker
   Case WVS/2:15-cv-14812         Document 1   Filed 12/01/17   Page 257 of 267




2:16cv12199   Bonnie F. Jones
2:16cv12211   Deborah Entrekin
2:16cv12216   Linda Morgan
2:16cv12217   Cara J. Neth
2:16cv12221   Lola Sons
2:16cv12223   Karleen Davis
2:16cv12243   Mary D. Hughes
2:16cv12246   Mary L. Crider
2:16cv12250   Sharon Houtz
2:16cv12253   Beverly P. Sabol
2:16cv12255   JoAnna Rhine
2:16cv12260   Marjorie Fiori
2:16cv12290   Viola Wiblin
2:16cv12298   Christina C. Just
2:16cv12310   Deidra G. Morrison
2:16cv12315   Stephanie Alexander
2:16cv12318   Leisel Barter
2:16cv12319   Karla Burton
2:16cv12320   Donna Virginia Jones
2:16cv12321   Eddie-Jo Powell
2:16cv12346   Carolyn E. McCarty
2:16cv12347   Gladys Randall
2:16cv12348   Tamara Hopkins-Butler
2:16cv12351   Mary Thomas
2:16cv12352   Judy Cheek
2:16cv12353   Janet Siegel
2:16cv12354   Julia Steele
2:16cv12356   Karyn Winders
2:16cv12357   Amy Nutt
2:16cv12358   Felcie Sparks
2:16cv12360   Myrtle Trimm
2:16cv12375   Lori A. Bellew
   Case WVS/2:15-cv-14812         Document 1   Filed 12/01/17   Page 258 of 267




2:16cv12380   Kimberly Tredick
2:16cv12381   Kelley Dickson
2:16cv12393   Jennifer J. Smith
2:16cv12394   Teresa Jenkins
2:16cv12398   Staci Evans
2:16cv12399   Mary Lawanda Bartee
2:16cv12416   Melanie Mills
2:16cv12430   Thelma Higgins
2:16cv12431   Janice Fryman
2:16cv12433   Virginia Elrod
2:16cv12436   Sherry L. Emswiler
2:16cv12439   Elizabeth June Storey
2:16cv12442   Paula Moskovits
2:16cv12444   Odessa Bouathong
2:16cv12445   Darla F. Rose
2:16cv12448   Angelica M. Diaz
2:16cv12452   Jessica A. Cox
2:16cv12453   Florence Duggan
2:16cv12454   Vicki R. Schwartz
2:16cv12457   Ann Viens
2:16cv12480   Olivia Ann Diaz
2:16cv12483   Hilda Pavez
2:16cv12485   Sally Stein
2:16cv12487   Susan Fitch
2:16cv12488   Linda Sue Tiemann
2:16cv12489   Jennifer Denison
2:16cv12508   Diana Davidson
2:16cv12524   Ruth E. Johnson
2:16cv12525   Gloria Wheeler
2:16cv12532   Debra K. Echols
2:16cv12533   Denise L. Tolley
2:16cv12537   Tina S. Ponce
   Case WVS/2:15-cv-14812        Document 1   Filed 12/01/17   Page 259 of 267




2:16cv12541   Katheryn G. Kendall
2:16cv12545   Bonnie Fields
2:16cv12546   Diane Ward
2:16cv12547   Michelle Windy
2:16cv12562   Toni Carnes
2:16cv12568   Vanessa Manuel
2:16cv12571   Nora Scaggs
2:16cv12572   Juanita Gordon
2:16cv12577   Rhea Rodgers
2:16cv12587   Betty Zilm
2:16cv12589   Shawnell Ryan
2:16cv12590   Joanne Tropea
2:16cv12591   Stacy George
2:16cv12599   Nina Martinez-Mangia
2:16cv12615   Janet Hunter
2:16cv12626   Michelle Llewellyn
2:16cv12627   Esther Fellhauer
2:16cv12637   Anita S. Leab
2:16cv12646   Irmak Ucar
2:16cv12650   Marie Castro-Diaz
2:16cv12696   Marcia M. Huffman
2:16cv12698   Sharon D. Mura
2:16cv12702   Debra Ames
2:16cv12704   Priscilla DiNatale
2:16cv12705   Elise Manfredi
2:16cv12710   Pamela J. Bain
2:16cv12715   Tammy Silcox
2:16cv12720   Angela Young
2:16cv12722   Sandra K. Rexroad
2:16cv12728   Diane Sabal
2:16cv12756   Vicki Boulware
2:16cv12763   Marilyn Hilbert
   Case WVS/2:15-cv-14812        Document 1   Filed 12/01/17   Page 260 of 267




2:16cv12767   Paullette M. McElhenny
2:16cv12772   Lisa A. Smith
2:16cv12773   Carol L. Vagnoni
2:16cv12774   Tere Andrea Vasquez
2:16cv12777   Patricia Bolduc
2:17cv00017   Beth Brafford
2:17cv00019   Vicki M. Brodbeck
2:17cv00027   Valerie Frem
2:17cv00031   Ruth Ann Whealdon
2:17cv00034   Kimberly Soltis
2:17cv00037   Karen Queen
2:17cv00051   Eugenia Cobar
2:17cv00053   Tammy Damron
2:17cv00055   Celeste Edwards
2:17cv00056   Linda Guisset
2:17cv00065   Rosemary G. Hernandez
2:17cv00076   Rita Covey
2:17cv00079   Cynthia Dennis
2:17cv00081   Jane W. Dimmock
2:17cv00086   Alethea Erwin
2:17cv00087   Anabelle Gamboa
2:17cv00089   Cynthia Chartier
2:17cv00091   Ruth Marie Chavez
2:17cv00162   Mary Hernandez
2:17cv00163   Stacey Amos, f/k/a Stacey Herndon
2:17cv00167   Tonya P. Hodges
2:17cv00168   Sharon Hollifield
2:17cv00169   Cynthia Marie Reynolds
2:17cv00174   Nancy Riner
2:17cv00175   Kathleen Cope
2:17cv00180   Sharon Crowley
2:17cv00187   Linda Gramatky Smith
   Case WVS/2:15-cv-14812        Document 1   Filed 12/01/17   Page 261 of 267




2:17cv00200   Catherine Curtis
2:17cv00265   Tammy Annette Bryant
2:17cv00267   Patricia Hester Burch
2:17cv00268   Mary R. DeCoite
2:17cv00269   Wendy Domyan
2:17cv00270   Tracie Duggan
2:17cv00273   Debra Hall
2:17cv00275   Nancy Harriman
2:17cv00278   Anna Lebovich
2:17cv00279   Dorothy M. Lee
2:17cv00280   Kathleen Lewis
2:17cv00282   Marcella Little
2:17cv00373   Mary Beth Morgan
2:17cv00376   Ceceilia Nichols
2:17cv00380   Amelia Pace
2:17cv00386   Faith Red
2:17cv00388   Theresa Richard
2:17cv00389   Christine L. Riley
2:17cv00458   Lora Marshall
2:17cv00493   Erika Miller
2:17cv00507   Anna Schutt
2:17cv00509   Jodi Pickrel
2:17cv00538   Patricia Speed
2:17cv00552   Johnnena J. Washington Jr.
2:17cv00562   Melissa Burton
2:17cv00564   Brenda Galvin
2:17cv00580   Susan Sheldon
2:17cv00581   Leah Topping
2:17cv00583   Janet Erlandson
2:17cv00584   Michelle Madden
2:17cv00593   Lauren Rogers
2:17cv00648   Avelina Martinez
   Case WVS/2:15-cv-14812       Document 1   Filed 12/01/17   Page 262 of 267




2:17cv00650   Naedine Austin
2:17cv00652   Sharon Blaxton
2:17cv00654   Bonnye Frost
2:17cv00655   Sandra Gobbel
2:17cv00658   Judy G. Browne
2:17cv00666   Ann Marie Granelli
2:17cv00672   Lisa Phillips
2:17cv00674   Carolyn Zimmerman
2:17cv00680   Roberta Dietz, William Dietz
2:17cv00682   Dawn White
2:17cv00853   Donna J. McClenny
2:17cv00860   Linda Bolle
2:17cv00863   Melissa Keen
2:17cv01019   Sharon Taylor
2:17cv01028   Tammra Brooks
2:17cv01067   Wendy Bailey
2:17cv01069   Susan Lee
2:17cv01092   Elna Nyblom
2:17cv01106   Tricia Hansen
2:17cv01188   Sherri Richley
2:17cv01887   Arona Devore-Schultz
2:17cv02037   Mary Frye
2:17cv02068   Lori Lassanske
2:17cv02074   Korina Nadel
2:17cv02094   Christine E. Smith
2:17cv02099   Shelley Walters
2:17cv02121   Carla Van Gorp
2:17cv02192   Donna Westberry
2:17cv02194   Marion Yetman
2:17cv02274   Florence Anders
2:17cv02282   Melissa A. Cooper
2:17cv02305   Donna Eiland
   Case WVS/2:15-cv-14812       Document 1    Filed 12/01/17   Page 263 of 267




2:17cv02306   Judith Green
2:17cv02308   Deborah Harris
2:17cv02343   Meredith L. Pride
2:17cv02371   Carol Pugh
2:17cv02375   Iris Rivera
2:17cv02376   Otenaida Rivera
2:17cv02403   Mary V. Thompson
2:17cv02406   Dona Tucker
2:17cv02409   Deborah Weissman
2:17cv02432   Debra Best
2:17cv02460   Silvia Calderon
2:17cv02466   Robin Campbell
2:17cv02476   Joy MacConnell Peters
2:17cv02478   Vicki A. Smith
2:17cv02499   Janet Crompton
2:17cv02501   Dorothea (Dottie) E. Dennison
2:17cv02502   Linda Dieker
2:17cv02503   Pamela Dinardo
2:17cv02509   Bobalene Vohs
2:17cv02512   Mary Whipple
2:17cv02517   Ollie Young
2:17cv02534   Nelsa Sanchez
2:17cv02538   Paula Scribner
2:17cv02582   Sarah Higginbotham
2:17cv02584   Angela Hutchinson
2:17cv02608   Rachel Mabe
2:17cv02612   Susan Marconi
2:17cv02615   Judy McQuillen
2:17cv02656   Rosemarie Fermaintt
2:17cv02657   Joan Fernandez
2:17cv02659   Kimberly Flanigan
2:17cv02662   Margaret Havens
   Case WVS/2:15-cv-14812        Document 1   Filed 12/01/17   Page 264 of 267




2:17cv02664   Ann James
2:17cv02679   Marie F. Jenkins
2:17cv02682   Brandie Johnson
2:17cv02684   Vivian Johnson
2:17cv02687   Shirley J. Jones
2:17cv02691   Mary Taylor
2:17cv02692   Sonia Terry
2:17cv02693   Ruth Thorson
2:17cv02696   Nancy Utsinger
2:17cv02698   Linda Van Hooser
2:17cv02719   Sherry Lloyd
2:17cv02724   Theresa Gray
2:17cv02725   Diana Guzman
2:17cv02775   Wilhelmina Graham
2:17cv02779   Martha Hendricks
2:17cv02792   Tracee A. Kennedy
2:17cv02797   Lisa Kitchen
2:17cv02809   Rosa Quispe
2:17cv02902   Judy Pinney
2:17cv02967   Jackie Lynn Gilliam
2:17cv02973   Suean Walters
2:17cv02977   Tiaffany Eck
2:17cv02990   Pauline Harrington
2:17cv02999   Teresa Liesemeyer
2:17cv03034   Lorena Garbarino
2:17cv03037   Jan Price
2:17cv03039   Colleen Pugh
2:17cv03052   Angele di Liscia
2:17cv03091   Rebecca LaRue
2:17cv03181   Phyllis Huskisson
2:17cv03454   Shirley Drennan
2:17cv03479   Kimberley Bryan
   Case WVS/2:15-cv-14812       Document 1   Filed 12/01/17   Page 265 of 267




2:17cv03486   Regina Bullen
2:17cv03487   Kathy M. Cole, Danny Cole
2:17cv03501   Marsherry Thomas
2:17cv03705   Sally Virginia Baldwin
2:17cv03719   Nanette Fitzgerald
2:12cv09792   Ellen Helton
2:12cv09793   Naseema Ahmad
2:13cv02357   Glenda Kantun
2:13cv28169   Patricia Schneider
2:13cv29671   Christine Lotenero
2:13cv30310   LaDonna Hansen
2:13cv30899   Janice Gocha
2:13cv32922   Mollie Sessor
2:13cv33131   Sandra Valdez
2:13cv33136   Julia Dye
2:13cv33139   Marlene Jackson
2:13cv33143   Faye Leatherman
2:13cv33146   Bobbie Measells
2:13cv33147   Brenda Wigington
2:13cv33148   Carmel Wright
2:13cv33833   Patricia Korn
2:14cv00152   Traci Benefield
2:14cv00167   Barbara Beckett
2:14cv00170   Judith Birmingham
2:14cv00174   Anne Calhoun
2:14cv00179   Wanda Chancellor
2:14cv00184   Melinda Kennedy
2:14cv00186   Pamela Mears
2:14cv00190   Shontelle Smith
2:14cv07475   Julie Sanderlin
2:14cv07505   Sharron Valentine
2:14cv07509   Deborah Griffin
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2:14cv07517   Vicky Hughes
2:14cv08019   Evelyn Hollifield
2:14cv08258   Pennie Gilbert
2:14cv10557   Nancy Albanese
2:14cv10570   Verda "Ann" Rogers
2:14cv10583   Barbara Hubbard
2:14cv10698   Janet Perry
2:14cv10993   Janice Dieckow
2:14cv11007   Norma Ingham
2:14cv14172   Deborah Seiler
2:14cv14180   Sandra Thorpe
2:14cv14201   Ruth Rose
2:14cv14497   Shirley Cadle
2:14cv14504   Tonya Jore
2:14cv15115   Andrea Phelan
2:14cv15534   Vena Bradley
2:14cv15548   Robin Gipson
2:14cv16398   Deborah Ciganek
2:14cv18668   Ruth Logan
2:14cv19109   Hazel Green
2:14cv19254   Jamie Northrup
2:14cv20431   Melanee Davis
2:14cv23854   Jerri Parker
2:14cv24064   Gloria Mansolo
2:14cv24066   Cynthia Newman
2:14cv24067   Jackie Busey
2:14cv24069   Patricia Reed
2:14cv24070   Celeste Coelho
2:14cv25229   Nelida Velazquez
2:14cv25339   Enid Declet
2:14cv25427   Sandra Harbin
2:14cv25487   Pamela Chester
   Case WVS/2:15-cv-14812        Document 1   Filed 12/01/17   Page 267 of 267




2:14cv26763   Kimberly Wright
2:14cv26835   Susanne Cash
2:15cv01518   Nina Maree
2:15cv01983   Ann Sharlyne Fox
2:15cv02019   Lisa Barnes
2:15cv03205   April Maxwell
2:15cv03372   Elizabeth Pirtle
2:15cv11924   Brenda J. Miller
2:15cv14612   Melissa Lunsford
2:15cv14614   Dolores Jonson
2:15cv14662   Margaret Benavides
2:16cv00481   Sherri Harris
2:16cv05130   Marlene Rose Meadors
2:16cv07149   Jatonda Ousley
